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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION                                                        ENTERED
                                                                                                              01/03/2019
                                                                    )
    In re:                                                          ) Chapter 11
                                                                    )
    PARKER DRILLING COMPANY, et al.,1                               ) Case No. 18-18-36958 (MI)
                                                                    )
                               Debtors.                             ) (Jointly Administered)
                                                                    )

                FINAL ORDER AUTHORIZING LIMITED USE OF
               CASH COLLATERAL, OBTAINING POST-PETITION
     CREDIT SECURED BY SENIOR LIENS, GRANTING ADEQUATE PROTECTION,
       SCHEDULING A FINAL HEARING, AND GRANTING RELATED RELIEF

             Upon the Debtors’ Emergency Motion for Entry of Interim and Final Orders

(I) Authorizing Limited Use of Cash Collateral, (II) Obtaining Post-Petition Credit Secured by

Senior Liens, (III) Granting Adequate Protection, (IV) Scheduling a Final Hearing, and (V)

Granting Related Relief (the “DIP Motion”)2, filed by the above-captioned debtors and debtors-

in-possession (collectively, the “Debtors”), seeking, inter alia, pursuant to Sections 105, 361,

362(d), 363(c), 364(c)(1), 364(c)(2), 364(d)(1), 503(b), and 507 of Title 11 of the United States

Code (the “Bankruptcy Code”), and Rules 2002, 4001, and 9014 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), the following:

             (a)     authority for the Debtors to obtain post-petition loans and other extensions of credit
                     from Bank of America, N.A. (“Bank of America”) and Deutsche Bank AG New


1
          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Parker Drilling Company (8660); 2M-TEK, Inc. (1761); Anachoreta, Inc. (3667); Pardril,
Inc. (4469); Parker Aviation Inc. (6372); Parker Drilling Arctic Operating, LLC (6834); Parker Drilling Company of
Niger (4204); Parker Drilling Company North America, Inc. (6381); Parker Drilling Company of Oklahoma
Incorporated (8949), Parker Drilling Company of South America, Inc. (0657); Parker Drilling Management Services,
Ltd. (7200); Parker Drilling Offshore Company, LLC (9092); Parker Drilling Offshore USA, L.L.C. (1469); Parker
North America Operations, LLC (1180); Parker Technology, Inc. (6599); Parker Technology, L.L.C. (1875); Parker
Tools, LLC (8864); Parker-VSE, LLC (2282); Quail USA, LLC (8885); and Quail Tools, L.P. (1471). The Debtors’
service address is: 5 Greenway Plaza, Suite 100, Houston, Texas 77046.
2
             Capitalized terms used but not defined herein shall have the meaning ascribed to such terms in the DIP
Motion.
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                 York Branch (in their capacities as lenders under the DIP Credit Agreement,
                 collectively, the “DIP Lenders”) in an amount not to exceed $50,000,000 on a final
                 basis, cumulative of any amounts advanced on an interim basis (the “DIP Loan
                 Commitments”), and including, without limitation, incurring principal, other
                 extensions of credit and financial accommodations, interest, fees, expenses, and
                 other costs of the DIP Secured Parties (as defined below) in these bankruptcy cases
                 (collectively, the “Cases”), in accordance with the terms and conditions set forth
                 herein and in that certain Debtor in Possession Credit Agreement (the “DIP Credit
                 Agreement”3), and all other related agreements and documents (collectively, the
                 “DIP Credit Facility”);

        (b)      authority for the Debtors to execute, deliver, and perform under the DIP Credit
                 Facility and DIP Documents, and all other related agreements and documents
                 creating, evidencing, or securing indebtedness or obligations of any of the Debtors
                 to Bank of America, N.A., as agent for the DIP Lenders (in such capacity, the “DIP
                 Agent” and, together with the DIP Lenders, the “DIP Secured Parties”) and the DIP
                 Lenders on account of the DIP Credit Facility (all obligations and indebtedness of
                 any of the Debtors to the DIP Secured Parties under the DIP Documents,
                 collectively, the “DIP Obligations”) or granting or perfecting liens or security
                 interests by any of the Debtors in favor of and for the benefit of the DIP Agent, for
                 itself and for and on behalf of the DIP Lenders, on account of the DIP Credit
                 Facility, as same now exists or may hereafter be amended, modified, supplemented,
                 ratified, assumed, extended, renewed, restated, or replaced, and any and all of the
                 agreements and documents currently executed or to be executed in connection
                 therewith or related thereto, by and among any of the Debtors, the DIP Agent, and
                 the DIP Lenders, the terms of which are referenced and incorporated herein as if
                 set forth in haec verba (collectively, the “DIP Documents”);

        (c)      approval of the terms and conditions of the DIP Credit Facility and the DIP
                 Documents;

        (d)      authority for the Debtors to use Cash Collateral (as defined below) of the DIP
                 Agent, for itself and on behalf of the DIP Lenders, under the DIP Credit Agreement
                 in accordance with the terms and conditions set forth herein;

        (e)      modification of the automatic stay of Bankruptcy Code § 362 (the “Automatic
                 Stay”) to the extent provided herein;

        (f)      authority for the indefeasible transfer of Cash Collateral to and for the benefit of
                 (i) the DIP Agent, for itself and for and on behalf of the DIP Lenders, and (ii) the
                 Existing L/C Issuer, as set forth herein;



3
         A copy of the DIP Credit Agreement is attached hereto as Exhibit 1, and incorporated herein as if set forth
in haec verba.


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       (g)     granting of automatically perfected first priority priming liens and security interests
               to the DIP Agent, for itself and on behalf of the DIP Lenders, to secure the DIP
               Obligations in the Collateral (as defined below), and granting automatically
               perfected liens, security interests, and other adequate protection to (i) the Existing
               L/C Issuer (as defined below) with respect to its interest in the L/C Cash Collateral
               (as defined below), and (ii) Bank of America with respect to its interest in the P-
               Card Account (as defined below);

       (h)     authority for the Debtors to maintain the Bank of America Credit Card Program (as
               defined below) subject to the terms and conditions thereof on a postpetition basis
               consistent with past practice; and

       (i)     a waiver of any applicable stay (including under Bankruptcy Rule 6004) with
               respect to the effectiveness and enforceability of the Final DIP Order (as defined
               below) and providing for the immediate effectiveness of the Final DIP Order.

       The Bankruptcy Court having considered the Motion, the terms of the DIP Credit

Agreement and the DIP Documents, the Declaration of Ryan Omohundro in Support of Debtors’

Emergency Motion for Entry of Interim and Final Orders (I) Authorizing Limited Use of Cash

Collateral, (II) Obtaining Post-Petition Credit Secured By Senior Liens, (III) Granting Adequate

Protection, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief, the Declaration of

Bassam J. Latif in Support of Debtors’ Emergency Motion for Entry of Interim and Final Orders

(I) Authorizing Limited Use of Cash Collateral, (II) Obtaining Post-Petition Credit Secured By

Senior Liens, (III) Granting Adequate Protection, (IV) Scheduling a Final Hearing, and (V)

Granting Related Relief, and the evidence submitted at the final hearing held before this

Bankruptcy Court on January 3, 2019 (the “Final Hearing”), to consider entry of this Final Order

Authorizing Limited Use of Cash Collateral, Obtaining Post-Petition Credit Secured by Senior

Liens, Granting Adequate Protection, and Granting Related Relief (the “Final DIP Order”); and

in accordance with Bankruptcy Rules 2002, 4001(b), (c), and (d), and 9014 and the Local

Bankruptcy Rules, due and proper notice of the DIP Motion and the Final Hearing having been

given; and it appearing that approval of the final relief requested in the DIP Motion is fair and

reasonable and in the best interests of the Debtors, their creditors and their estates, and essential
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for the continued operation of the Debtors’ businesses; and all objections, if any, to the entry of

this Final DIP Order having been withdrawn, resolved or overruled by the Bankruptcy Court; and

after due deliberation and consideration, and for good and sufficient cause appearing therefor:

THE BANKRUPTCY COURT HEREBY MAKES THE FOLLOWING FINDINGS OF
FACT AND CONCLUSIONS OF LAW:

       1.      The Debtors and the DIP Agent have represented to this Bankruptcy Court that they

have agreed in good faith to the terms and conditions of the DIP Credit Agreement and this Final

DIP Order.

       2.      The Debtors and the DIP Agent have stipulated and agreed as follows, and based

upon the pleadings and evidence presented at the Final Hearing before this Bankruptcy Court, this

Bankruptcy Court hereby acknowledges such stipulations, and grants the relief herein, on a final

basis, pursuant to Bankruptcy Rule 4001. Therefore, consistent with Bankruptcy Code §§ 361,

362, 363, 364, 503(b), and 507, this Bankruptcy Court hereby finds and orders:

                                OPPORTUNITY TO OBJECT

       3.      Pursuant to the Interim DIP Order (as defined below), any party objecting to the

entry of the Final DIP Order was required to file such objection in writing with the Clerk of the

Bankruptcy Court on or before 4:00 p.m. Central Time on January 2, 2019 (the “Objection

Deadline”).

       4.      The Debtors and the DIP Agent have represented to the Bankruptcy Court that they

have negotiated at arm’s length and have acted in good faith in the negotiation and preparation of

the DIP Credit Agreement, the Interim DIP Order, and this Final DIP Order, have been represented

by counsel, and intend to be and are bound by their respective terms. The terms and conditions of

this Final DIP Order and the DIP Documents reflect the Debtors’ exercise of prudent business



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judgment under exigent circumstances and are consistent with their fiduciary duties and are

supported by reasonably equivalent value and fair consideration.

                             STATEMENT OF JURISDICTION

       5.      This Bankruptcy Court has jurisdiction over this proceeding and the parties and

property affected hereby pursuant to 28 U.S.C. § 1334. This matter is a core proceeding pursuant

to 28 U.S.C. § 157(b)(2)(A), (B), (D), (G), (K), (M) and (O).

                                            NOTICE

       6.      Sufficient and adequate notice of the DIP Motion and the Final Hearing has been

given to prevent immediate and irreparable harm pursuant to Bankruptcy Rules 2002, 4001, 9006,

and 9014 and the Local Bankruptcy Rules, and as required by Bankruptcy Code §§ 102, 105, 361,

362, 363, and 364. Other than the notice provided for herein, no further notice of the final relief

sought in the DIP Motion is necessary.

                     FACTUAL AND PROCEDURAL BACKGROUND

       7.      On December 12, 2018 (the “Petition Date”), the Debtors filed voluntary petitions

for relief under chapter 11 of the Bankruptcy Code.         The Debtors have continued in the

management and possession of their business and property as debtors-in-possession pursuant to

Bankruptcy Code §§ 1107 and 1108.

       8.      On December 13, 2018, the Bankruptcy Court conducted a hearing to consider

interim approval of the DIP Motion (the “Interim Hearing”) and pronounced such interim approval

as set forth in the Interim Order Authorizing Limited Use of Cash Collateral, Obtaining Post-

Petition Credit Secured by Senior Liens, Granting Adequate Protection, Scheduling a Final

Hearing, and Granting Related Relief [Docket No. 80] (the “Interim DIP Order” and, together

with the Final DIP Order, the “DIP Orders”).

       9.      An official committee of unsecured creditors has not been appointed in these Cases.
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                         PRE-PETITION ABL CREDIT AGREEMENT

                                   The Pre-Petition ABL Claim

       10.       Without prejudice to the rights of any party in interest (subject to the limitations

contained in paragraph 80 below), the Debtors admit, stipulate, and agree that:

                 (a)    Pursuant to the Pre-Petition ABL Claim Documents (as defined below) and

applicable law, the Pre-Petition Agent and the Pre-Petition Lenders held valid, enforceable, and

allowable claims against Debtor Parker Drilling Company (“Parker”) and one or more of the

Debtor subsidiaries for unused commitment fees and reimbursable expenses, plus any and all costs,

expenses, charges, and other claims, debts or obligations of the Debtors to the Pre-Petition Agent

and the Pre-Petition Lenders that accrued prior to the Petition Date under the Pre-Petition ABL

Claim Documents and applicable law (collectively, the “Pre-Petition ABL Claim”). Prior to the

Petition Date and pursuant to the Payoff Confirmation Letter dated December 11, 2018, the

Debtors paid and satisfied in full all of the Pre-Petition ABL Claim other than contingent

indemnification and other obligations arising pursuant to the Pre-Petition ABL Claim Documents

which by their express terms survive such repayment and termination (the “Continuing ABL

Obligations”).

                 (b)    The Pre-Petition ABL Claim constituted a legal, valid, binding, enforceable,

and non-avoidable obligation of and claim against the Debtors, and was not subject to any offset,

defense, counterclaim, avoidance, recharacterization, or subordination pursuant to the Bankruptcy

Code or any other applicable law, and the Debtors, their estates, and any official committee

appointed in these Cases do not possess and shall not assert any claim, counterclaim, setoff, or

defense of any kind, nature, or description which would in any way affect the validity,

enforceability, allowance, and non-avoidability of the Pre-Petition ABL Claim.


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                 (c)      The Continuing ABL Obligations constitute an allowed, legal, valid,

binding, enforceable, and non-avoidable obligation of and claim against the Debtors, and shall not

be subject to any offset, defense, counterclaim, avoidance, recharacterization, or subordination

pursuant to the Bankruptcy Code or any other applicable law, and the Debtors, their estates, and

any official committee appointed in these Cases do not possess and shall not assert any claim,

counterclaim, setoff, or defense of any kind, nature, or description which would in any way affect

the validity, enforceability, allowance, and non-avoidability of the Continuing ABL Obligations.

                                The Pre-Petition ABL Claim Documents

        11.      Without prejudice to the rights of any party in interest (subject to the limitations

contained in paragraph 80 below), the Debtors admit, stipulate, and agree that:

                 (a)      The Pre-Petition ABL Claim has been evidenced by certain documents

executed and delivered to the Pre-Petition Agent and the Pre-Petition Lenders by the Debtors,

including, without limitation, the Pre-Petition Credit Agreement.4                    The Pre-Petition Credit

Agreement, and all notes, security agreements, assignments, pledges, mortgages, deeds of trust,

guaranties, forbearance agreements, letters of credit, and other instruments or documents executed

in connection therewith or related thereto shall be referred to herein collectively as the “Pre-

Petition ABL Claim Documents.” True and correct copies of certain of the Pre-Petition ABL

Claim Documents are retained by the Debtors and will be made available to interested parties upon

request.




4
  The “Pre-Petition Credit Agreement” means the Second Amended and Restated Credit Agreement, dated as of
January 26, 2015 (as amended by the First Amendment dated as of June 1, 2015, the Second Amendment dated as of
September 29, 2015, the Third Amendment, dated May 27, 2016, the Fourth Amendment dated as of February 21,
2017, the Fifth Amendment dated as of February 14, 2018, and any other supplements, amendments, amendments and
restatements or other modifications prior to the date hereof), among certain of the Debtors, Bank of America, N.A.,
as administrative agent (in such capacity, the “Pre-Petition Agent”), the other agents party thereto and each lender
from time to time party thereto (collectively, the “Pre-Petition Lenders”).
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               (b)     The Pre-Petition ABL Claim Documents are genuine, valid, existing,

legally enforceable, unavoidable, and admissible in the Cases for all purposes.

               (c)     Pursuant to the Payoff Confirmation Letter dated December 11, 2018, the

commitments of the Pre-Petition Lenders to make loans or otherwise extend credit to the Debtors

under the Pre-Petition Credit Agreement automatically and irrevocably terminated prior to the

Petition Date, and the Pre-Petition Credit Agreement and the other Pre-Petition ABL Claim

Documents automatically terminated prior to the Petition Date.

                                 The Pre-Petition ABL Collateral

       12.     Without prejudice to the rights of any party in interest (subject to the limitations

contained in paragraph 80 below), the Debtors admit, stipulate, and agree that:

               (a)     The Pre-Petition ABL Claim evidenced by the Pre-Petition ABL Claim

Documents was secured by perfected first priority liens and security interests in certain personal

property and vessels of the Debtors as covered by those certain mortgages, collateral and pledge

agreements forming a component of the Security Instruments, as defined in the Pre-Petition ABL

Claim Documents (collectively, the “Pre-Petition ABL Collateral”), including, without limitation,

the following personal property: (a) accounts, (b) chattel paper, (c) commercial tort claims, (d)

certain deposit accounts, (e) documents, (f) fixtures (g) general intangibles, (h) goods, (i)

instruments, (j) intellectual property collateral, (k) investment property, (l) supporting obligations,

(m) books, records, writings databases, information, and other property relating to, used or useful

in connection with, evidencing, embodying, incorporating, or referring to, any of the foregoing,

(n) all proceeds of the foregoing and, to the extent not otherwise included, all payments under

insurance (whether or not the Pre-Petition Agent is the loss payee thereof), and (o) all other

property and rights of every kind and description and interests therein but only to the extent that a

security interest in such other personal property and rights may be perfected by filing a filing
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statement with the relevant governmental authority. The Pre-Petition Agent’s and the Pre-Petition

Lenders’ liens and security interests in the Pre-Petition ABL Collateral were granted pursuant to,

inter alia, the Pre-Petition ABL Claim Documents.

               (b)     The Pre-Petition Agent and the Pre-Petition Lenders properly perfected

their first-priority liens and security interests and other liens in the applicable Pre-Petition ABL

Collateral as evidenced by, among other things, the Pre-Petition ABL Claim Documents,

documents held in possession of the Pre-Petition Agent and the Pre-Petition Lenders, and

documents filed with the appropriate state, county, and other offices.

                              EXISTING LETTERS OF CREDIT

                                        The Existing L/Cs

       13.     Without prejudice to the rights of any party in interest (subject to the limitations

contained in paragraph 80 below), the Debtors admit, stipulate, and agree that:

               (a)     As of the Petition Date, one or more of the Debtors were account debtors

for certain letters of credit (the “Existing L/Cs”) issued by of credit Bank of America, N.A. (in its

capacity as issuer of the Existing L/Cs, the “Existing L/C Issuer”), which Existing L/Cs remain

outstanding post-petition. Pursuant to the Existing L/Cs and applicable law, as of the Petition

Date, the Existing L/C Issuer holds a valid, enforceable, and allowable claim for reimbursement

against one or more of the Debtors in an aggregate amount equal to at least $9,291,428. The claim

of the Existing L/C Issuer, together with all post-Petition Date interest, fees, costs, and charges

allowed to the Existing L/C Issuer on such claim, shall collectively be referred to hereunder as

the “Existing L/C Claim.”

               (b)     The Existing L/C Claim constitutes an allowed, legal, valid, binding,

enforceable, and non-avoidable obligation of and claim against the Debtors, and shall not be

subject to any offset, defense, counterclaim, avoidance, recharacterization, or subordination
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pursuant to the Bankruptcy Code or any other applicable law, and the Debtors, their estates, and

any official committee appointed in these Cases do not possess and shall not assert any claim,

counterclaim, setoff, or defense of any kind, nature, or description which would in any way affect

the validity, enforceability, allowance, and non-avoidability of the Existing L/C Claim.

               (c)    The Existing L/C Claim is evidenced by certain documents executed and

delivered to the Existing L/C Issuer by certain of the Debtors in connection with the issuance of

the Existing L/Cs (all such documents, collectively, the “Existing L/C Documents”). True and

correct copies of certain of the Existing L/C Documents are retained by the Debtors and will be

made available to interested parties upon request.

               (d)    The Existing L/C Documents are genuine, valid, existing, legally

enforceable, unavoidable, and admissible in the Cases for all purposes.

               (e)    The Existing L/Cs are fully secured by genuine, valid, existing, legally

enforceable, first priority, unavoidable liens in Cash Collateral in the amount of $9,753,862 (the

“L/C Cash Collateral”) pursuant to the Existing L/C Documents (the “Existing L/C Liens”).

                     BANK OF AMERICA CREDIT CARD PROGRAM

       14.     Without prejudice to the rights of any party in interest (subject to the limitations

contained in paragraph 80 below), the Debtors admit, stipulate, and agree that:

               (a)    As of the Petition Date, the Debtors utilize a commercial credit card

program (the “Bank of America Credit Card Program”) to pay for everyday business expenses

incurred by their employees in the ordinary course of business. Consistent with industry practice,

the Debtors provide their employees with purchase cards issued by Bank of America (“P-Cards”)

to use for approved, legitimate business expenses and supplies incurred on behalf of the Debtors

in the ordinary course of business.


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               (b)     As security for all indebtedness owed by the Debtors to Bank of America in

connection with the Bank of America Credit Program, Parker entered into that certain Treasury

Management Services Security and Control Agreement (Money Market Account) dated as of

October 26, 2018 with Bank of America (the “P-Card Collateral Agreement”). Pursuant to the P-

Card Collateral Agreement, Bank of America holds a genuine, valid, existing, legally enforceable,

first-priority, unavoidable lien (the “P-Card Lien”) in, and Parker assigned and transferred to Bank

of America, that certain money market account no. 4451311755 (the “P-Card Account”), in which

Parker is required to maintain funds of at least $250,000 at all times.

       15.     The Debtors are authorized to continue to use the Bank of America Credit Card

Program subject to the terms and conditions thereof and shall continue to maintain funds of at least

$250,000 at all times in the P-Card Account. With respect to the Bank of America Credit Card

Program, Bank of America is authorized to extend credit and make advances from time to time on

behalf of the Debtors with a maximum exposure to the Debtors of $200,000, and the Debtors are

authorized to obtain such credit under the Bank of America Credit Card Program pursuant to

section 364(c) of the Bankruptcy Code. In accordance with the Bank of America Credit Card

Program, Bank of America is authorized to exercise any of its remedies under the P-Card Collateral

Agreement in the event of any default under the Bank of America Credit Card Program.

Notwithstanding anything to the contrary in any document or order of this Court, no relief shall be

requested or granted that would in any way interfere with the right of Bank of America to exercise

remedies under the P-Card Collateral Agreement.

                                     CASH COLLATERAL

                                  DIP Lenders’ Cash Collateral

       16.     All cash of each of the Debtors’ bankruptcy estates, wherever located, and all cash

equivalents, whether in the form of negotiable instruments, documents of title, securities, deposit
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accounts, investment accounts, or in any other form, that were on the Petition Date in any of the

Debtors’ possession, custody or control (or persons in privity with any of the Debtors), or in which

any of the Debtors will obtain an interest during the pendency of these Cases whether via advances

under the DIP Credit Facility or otherwise, or which represent income, proceeds, products, rents,

or profits of any of the Collateral (as defined below) shall constitute the cash collateral of (i) except

for the L/C Cash Collateral, the DIP Agent, for itself and for and on behalf of the DIP Lenders,

and (ii) in the case of the L/C Cash Collateral only, the Existing L/C Issuer (collectively, the “Cash

Collateral”). The DIP Secured Parties and the Existing L/C Issuer have, subject to the Carve Out

(as defined below), first-priority perfected liens and security interests in the Cash Collateral

pursuant to the applicable provisions of the DIP Documents, Bankruptcy Code §§ 363(a) and

552(b), and the DIP Orders, and the “equities of the case” exception of Bankruptcy Code § 552(b)

shall not apply.

          17.   Each Debtor shall segregate and account to the DIP Secured Parties and the Existing

L/C Issuer for all Cash Collateral that they now possess, that they have permitted to be transferred

into the possession of others (if any), that is being held by those in privity with the Debtors, or that

any Debtor might hereafter obtain or have any interest in. Each Debtor shall account to the DIP

Secured Parties for the receipt and use, if any, of the Cash Collateral received by the Debtors since

the Petition Date and prior to the entry of this Final DIP Order. Absent a further order of this

Bankruptcy Court or the consent of the DIP Secured Parties and the Existing L/C Issuer, the

Debtors are strictly prohibited from using the Cash Collateral except as expressly provided for

herein.

                    Need For and Consent to Limited Use of Cash Collateral

          18.   The DIP Secured Parties do not consent to the Debtors’ use of Cash Collateral

except in strict accordance with the terms and conditions contained in this Final DIP Order.
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Without the use of Cash Collateral, the Debtors will not have the funds necessary to maintain their

assets, sell or otherwise liquidate their assets, provide financial information, and pay employee

compensation, payroll taxes, overhead, and other expenses necessary to maximize the value of the

Debtors’ estates. The Debtors require the use of Cash Collateral as provided herein.

       19.     Good, adequate, and sufficient cause has been shown to justify the granting of the

relief requested herein. The use of Cash Collateral will benefit the Debtors and their estates. The

ability of the Debtors to maximize the value of their estates depends upon the Debtors’ ability to

use the Cash Collateral of the DIP Secured Parties. Accordingly, the use of Cash Collateral by the

Debtors is actual and necessary to preserving their estates.

                       Authorization for Limited Use of Cash Collateral

       20.     The Debtors are hereby authorized, on a limited basis, to use Cash Collateral of the

DIP Secured Parties only in strict accordance with the terms and conditions provided in this Final

DIP Order.

       21.     Notwithstanding the foregoing or anything to the contrary herein, (i) the Debtors

shall not use any L/C Cash Collateral without the prior written consent of the Existing L/C Issuer

other than to indefeasibly pay in full the Existing L/C Claim, and (ii) the Debtors shall not use any

funds from the P-Card Account without the prior written consent of Bank of America other than

to indefeasibly pay in full any balance owed on the P-Cards.

                                    DIP CREDIT FACILITY

                                  Need for DIP Credit Facility

       22.     Without the use of Cash Collateral and the DIP Credit Facility, the Debtors will not

have the funds necessary to maintain their assets, operate their businesses, reorganize, provide

financial information, or pay employee compensation, payroll taxes, overhead, and other expenses

necessary to maximize the value of the Debtors’ estates and reorganize. The need for the use of
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the Cash Collateral and obtaining the DIP Credit Facility is actual and necessary to preserving the

Debtors and their estates. The DIP Secured Parties are willing to provide the DIP Credit Facility

to or for the benefit of the Debtors only in accordance with the terms of the DIP Credit Agreement

and the DIP Orders.

       23.     The Debtors have requested that the DIP Secured Parties permit use of Cash

Collateral and the DIP Credit Facility in order to provide funds to be used for the purposes set

forth in the Budget (as defined below), and such other purposes as permitted by the DIP Orders

and to which the DIP Agent, for itself and on behalf of the DIP Lenders, consents in writing.

       24.     The Debtors have sought to obtain financing from other sources and are unable to

obtain credit allowable under Bankruptcy Code § 503(b)(1), or pursuant to Bankruptcy Code

§§ 364(a) and (b), on terms more favorable to the Debtors than the terms of the DIP Credit Facility.

       25.     The terms of the DIP Credit Facility and this Final DIP Order, including, without

limitation, the related fees and priming liens granted in accordance therewith, are fair, just, and

reasonable under the circumstances, are ordinary and appropriate for secured financing to debtors-

in-possession, reflect the Debtors’ exercise of their prudent business judgment consistent with their

fiduciary duties, and are supported by reasonably equivalent value and fair consideration. Any

credit extended under the terms of the DIP Orders and the DIP Credit Facility shall be deemed to

have been extended in good faith by the DIP Secured Parties, as the term “good faith” is used in

Bankruptcy Code § 364(e).

                                 Authorization to Obtain Credit

       26.     The Debtors are hereby authorized to obtain credit only in accordance with the DIP

Credit Agreement, the DIP Credit Facility, this Final DIP Order, and the Budget.

       27.     The Debtors are hereby authorized to obtain post-petition loans and other

extensions of credit in an amount not to exceed $50,000,000, pursuant to the terms of this Final
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DIP Order and the terms of the DIP Credit Agreement, solely for the purposes set forth in the

Budget or as otherwise provided in the DIP Credit Agreement. Amounts borrowed and repaid

under the DIP Credit Facility may be reborrowed. Unless otherwise agreed, no borrowing shall

be made more frequently than once per week.

        28.     The Debtors are authorized to execute, deliver, and perform under the DIP

Documents on the terms therein, including, without limitation, the fees, indemnification provisions

(including, without limitation, the indemnification provisions of the DIP Credit Agreement), and

priming lien provisions. The Debtors, the DIP Agent, and the DIP Lenders stipulate that the DIP

Documents are valid and binding.

                      DIP Liens and Superpriority Administrative Claims

        29.     Effective as of the Petition Date, the DIP Agent, for itself and for and on behalf of

the DIP Lenders, is entitled to first-priority claims, liens, and security interests on any property not

subject to a lien and priming liens and security interests in the Collateral (as defined below), and

the protections of good faith credit providers to the fullest extent under Bankruptcy Code

§§ 364(c)(1) and (c)(2), 364(d)(1), and 364(e), and thus such claims, liens, and security interests

are hereby granted (a) pursuant to Bankruptcy Code § 364(c)(1), superpriority claims (the “DIP

Superpriority Claims”) with priority over all other administrative and other post-Petition Date

claims against the Debtors’ estates, including, without limitation, Bankruptcy Code §§ 105, 326,

327, 328, 330, 331, 365, 503(b), 507(b), 1113, and 1114, (b) pursuant to Bankruptcy Code

§ 364(c)(2), a first-priority lien on, and security interest in, Collateral that is not subject to any lien

or security interest, if any; and (c) pursuant to Bankruptcy Code § 364(d)(1), a first-priority

priming lien on and security interest in the Collateral, but excluding the Existing L/C Liens and

the P-Card Lien (such liens and security interests granted in (b) and (c) of this paragraph, the “DIP

Liens”) (which DIP Liens do not secure any prepetition claim), and all of which claims, liens, and
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security interests granted in (a) through (c) of this paragraph shall secure the DIP Credit Facility

and DIP Obligations (including, without limitation, principal and any other extensions of credit,

interest, fees, expenses, and any fees and expenses of the DIP Secured Parties in these Cases,

however incurred), senior to all other liens, encumbrances, and security interests, including,

without limitation, adequate protection and replacement liens granted pursuant to the terms of the

DIP Orders, but subject only to the Carve Out; provided, however, that such claim, lien, and

security interest shall not apply to in excess of 65% of the voting stock of (i) any “controlled

foreign corporation” within the meaning of Section 957 of the Internal Revenue Code of 1986, as

amended, (a “CFC”) that is a first-tier CFC (i.e., a direct subsidiary of a domestic subsidiary), (ii)

any entity that is a U.S. entity for U.S. federal income tax purposes that has no material assets

other than (A) the equity interests (including, for this purpose, any debt or other instrument treated

as equity for U.S. federal income tax purposes) in (x) one or more non-U.S. subsidiaries that are

CFCs or (y) one or more other CFC Holding Companies and (B) cash and cash equivalents and

other assets being held on a temporary basis incidental to the holding of assets described in clause

(A) of this definition (a “CFC Holding Company”), and (iii) any direct or indirect domestic

subsidiary of a CFC or CFC Holding Company. Each of the Debtors shall be jointly and severally

liable for the DIP Credit Facility, and the performance of all obligations under the terms of the

DIP Credit Agreement, the DIP Orders, and the DIP Documents, and shall grant the DIP Liens as

security for the same.

       30.     All liens and security interests granted in the DIP Orders and under the DIP

Documents securing the DIP Credit Facility, including the DIP Liens, are effective as of the

Petition Date and are valid and automatically perfected first-priority priming liens and security

interests, subject only to the Carve Out, in and upon, and hereby are granted in and attach to, any


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and all assets and properties of the Debtors and the Debtors’ bankruptcy estates, wherever located,

including property subject to avoided liens, now owned or after acquired, real and personal,

tangible and intangible, and all proceeds, substitutions, products, rents, or profits thereof, and for

further description only without limitation, shall include (1) the following presently-owned and

after-acquired personal property: (a) accounts, (b) accessions, (c) chattel paper (both tangible and

electronic), (d) commercial tort claims and any other causes of actions but excluding Avoidance

Actions except to the extent set forth below, (e) commodity accounts, (f) commodity contracts, (g)

deposit accounts, (h) documents, (i) equipment, (j) financial assets, (k) fixtures, (l) general

intangibles, (m) goods, (n) intellectual property, (o) instruments, (p) inventory, (q) investment

property, (r) letters of credit, (s) letters of credit rights, (t) payment intangibles, (u) permits, (v)

timber, (w) as-extracted collateral, (x) notes, (y) promissory notes, (z) securities (certificated and

uncertificated), (aa) securities accounts, (ab) securities entitlements, (ac) software, (ad) supporting

obligations, (ae) collateral records, (af) insurance, (ag) causes of action, (ah), and (ai) money (as

each such term may be defined in the New York Uniform Commercial Code as of the date hereof

(the “UCC”)), (2) proceeds of avoidance actions under Chapter 5 of the Bankruptcy Code, and (3)

all presently owned or after acquired real property and improvements thereon and leases of real

property, wherever located (collectively, and together with the Cash Collateral other than the L/C

Cash Collateral, the “Collateral ; provided, however, that the term Collateral shall exclude (a) in

excess of 65% of the voting stock of (i) any CFC, (ii) any CFC Holding Company, (iii) any direct

or indirect domestic subsidiary of a CFC or CFC Holding Company; (b) any deposit accounts,

trust accounts, escrow accounts or security deposits, and the funds therein, established pursuant to

statutory obligations or for the payment of taxes or holding funds in trust for third parties; and (c)

any Excluded Building as defined in the DIP Credit Agreement. The Collateral shall secure all


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obligations under the DIP Credit Facility and the DIP Orders as set forth in the DIP Documents

and the DIP Orders.

                                     Cash Collateral Accounts

        31.    The Debtors shall immediately, and shall continue to, segregate, remit, and deposit

all Cash Collateral in each of the Debtors’ accounts, possession, custody or control and which any

of the Debtors may receive in the future, in accordance with the applicable cash management

orders entered by this Bankruptcy Court and as permitted by the DIP Credit Agreement. The bank

accounts of each of the Debtors that are maintained with the DIP Agent shall be in the name of the

Debtors (individually or collectively, the “Dominion Accounts”), and the DIP Agent, for itself and

for and on behalf of the DIP Lenders, shall have full dominion and control over each such account;

provided that the Debtors may access the funds in the Dominion Accounts until such time as an

Event of Default (as defined in the DIP Credit Agreement and for the purposes of this Final DIP

Order shall include any breach, default, or event of default with the terms and provisions of the

DIP Orders), shall have occurred and is continuing. Subject to paragraph 70 hereof, during the

continuance of an Event of Default, the DIP Agent shall have the right to send a written notice to

the Debtors and to any person other than the DIP Agent maintaining a deposit account in the name

of the Debtors containing Cash Collateral (a “Non-DIP Agent Depository”) directing the Debtors

and/or such Non-DIP Agent Depository to immediately transfer, or cause the transfer of, all such

funds to a Dominion Account, and the Debtors and such Non-DIP Agent Depository shall transfer

all funds in such deposit account of the Debtors to a Dominion Account within 3 business days

after the date of such notice and thereafter on a daily basis.

        32.    The Debtors shall be prohibited from withdrawing funds from their deposit

accounts except in strict compliance with the terms of this Final DIP Order and the DIP Credit

Facility.
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        33.      Each of the Debtor’s Banks (as defined below) is authorized to debit the applicable

Debtor’s accounts in the ordinary course of business without the need for further order of this

Bankruptcy Court for: (i) all checks drawn on the Debtor’s accounts which are cashed at such

Bank’s counters or exchanged for cashier’s checks by the payees thereof prior to the Petition Date;

(ii) all checks or other items deposited in one of Debtor’s accounts with such Bank prior to the

Petition Date which have been dishonored or returned unpaid for any reason, together with any

fees and costs in connection therewith, to the same extent the Debtor was responsible for such

items prior to the Petition Date; and (iii) all undisputed prepetition amounts outstanding as of the

date hereof, if any, owed to any Bank as service charges for the maintenance of the Debtors’ cash

management system; and that any of the Debtor’s Banks may rely on the representations of such

Debtor with respect to whether any check or other payment order drawn or issued by the Debtor

prior to the Petition Date should be honored pursuant to this or any other order of this Bankruptcy

Court, and such Bank shall not have any liability to any party for relying on such representations

by the Debtor as provided for herein; and that (i) those certain existing deposit agreements between

the Debtors and their existing depository and disbursement banks (collectively, the “Banks”) shall

continue to govern the postpetition cash management relationship between the Debtors and the

Banks, and that all of the provisions of such agreements, including, without limitation, the

termination and fee provisions, shall remain in full force and effect, (ii) the Debtors and the Banks

may, without further Order of this Bankruptcy Court, agree to and implement changes to the cash

management systems and procedures in the ordinary course of business, including, without

limitation, the opening and closing of bank accounts.5




5
        This paragraph is intended to be consistent with the cash management order in these Cases, to the extent of
any inconsistency, this paragraph shall control.
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       34.     To the extent there exists or comes to exist any cash of the Debtors’ estates that is

not Cash Collateral, wherever located and however held, such cash shall be deemed to have been

used first by the Debtors’ estates, and such cash, to the extent applicable, shall be subject to the

liens and security interests granted to the DIP Secured Parties hereunder.

       35.     Reserved

                   ADEQUATE PROTECTION OF THE DIP LENDERS

                                Budgeted Cash Collateral Usage

       36.     As adequate protection of the DIP Lenders’ interest in the Collateral and for the

Debtors’ use of the DIP Secured Parties’ Cash Collateral and only so long as an Event of Default

(as defined below) shall not have occurred and continue to exist after the Default Notice Period

(as defined below), the Debtors are authorized to and shall use the DIP Secured Parties’ Cash

Collateral (including, without limitation, the advances under the DIP Credit Facility) strictly in

accordance with the 13-week budget attached hereto as Exhibit 2 (the “Budget”); provided,

however, that, beginning on the Monday of the third week after the Petition Date, (i) the aggregate

actual expenditures by the Debtors (before any debt service payments) for the immediately

preceding period of four (or, in the case of the first testing period, three weeks covered by the

Budget) consecutive weeks (each, a “Testing Period”) may not exceed the projected amount

therefor set forth in the Budget by more than 10% and (ii) the aggregate actual receipts of the

Debtors for the Test Period may not be less than the projected amount therefor by more than 20%

(any variance not exceeding such maximum or less than such minimum, a “Permitted Variance”).

For the purpose of calculating any Permitted Variance, the fees and expenses of any counsel,

advisors or other professionals retained by the Debtors, DIP Agent or the DIP Lenders shall not be

considered. Unless otherwise agreed, no advances under the DIP Credit Facility shall be made

more frequently than once per week. Each advance under the DIP Credit Facility shall be
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conditioned upon the Debtors’ compliance with the Budget. Prior to any transfer or use of Cash

Collateral by the Debtors, the Debtors’ Chief Financial Officer shall review and verify the

proposed transfer or use of Cash Collateral for strict compliance with the Budget and the DIP

Credit Agreement.

         37.      Beginning on the first Thursday following the delivery of the initial Budget, and

each Thursday thereafter (or, if such Thursday is not a Business Day, the immediately succeeding

Business Day) until the repayment in full in cash of the obligations under the DIP Credit Facility,

the Debtors shall deliver to the DIP Agent and, so long as the RSA remains in full force and effect,

the legal and financial advisors to the Consenting Stakeholders6 a weekly line-by-line variance

report (a “Variance Report”), which Variance Report shall compare actual cash receipts and

disbursements of the Debtors with corresponding amounts provided for in the Budget on a line-

by-line basis for the prior week period and the Testing Period (or such shorter period as may have

elapsed from the date hereof), including written descriptions in reasonable detail explaining any

material positive or negative variances, and shall otherwise be in form and substance reasonably

acceptable to the DIP Secured Parties.

         38.      The DIP Lenders’ consent to use of Cash Collateral and agreement to extend credit

extends only to (i) amounts due under the DIP Credit Facility and (ii) amounts actually incurred

in accordance with the Budget. Upon the occurrence of an Event of Default that continues to exist

after the Default Notice Period (as defined below), the DIP Lenders’ consent to use of Cash

Collateral or agreement to extend credit shall automatically and immediately terminate and any




6
         “Consenting Stakeholders” shall have the meaning ascribed to such term in that certain Restructuring Support
Agreement, dated as of December 12, 2018, by and among the Debtors and certain holders of the Debtors’ debt and
equity securities that are party thereto, including any additional Support Agreement (as defined therein) (collectively,
the “RSA”).
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consent for use of Cash Collateral or agreement to extend credit to satisfy projected, budgeted

expenditures shall be immediately terminated and deemed withdrawn unless such Event of Default

is waived by the DIP Agent, for itself and for and on behalf of the DIP Lenders, in its sole and

absolute discretion.

       39.     The Budget may be modified in writing only with the prior written consent of the

DIP Secured Parties and, so long as the RSA remains in full force and effect, with notice to the

legal and financial advisors to the Consenting Stakeholders. The Budget may be updated every

four weeks in form and substance acceptable to the DIP Secured Parties and with notice to the

legal and financial advisors to the Consenting Stakeholders.

    Replacement and Adequate Protection Liens; Superpriority Administrative Claims

       40.     Taking into account all factors in these Cases, as adequate protection of (i) the

Existing L/C Issuer’s interest in the L/C Cash Collateral and any post-Petition Date interest, fees,

costs, and charges allowed to the Existing L/C Issuer in connection with the Existing L/C Claim,

and (ii) Bank of America’s interest in the P-Card Account, and subject only to the Carve Out and

the DIP Liens, the Existing L/C Issuer, and Bank of America are hereby granted, effective as of

the Petition Date, valid and automatically perfected first-priority replacement liens and security

interests in and upon the Collateral, in each case subject to the Carve Out, to secure any diminution

in value of (x) the L/C Issuer’s interest in the L/C Cash Collateral from and after the Petition Date

(the “L/C Adequate Protection Liens”), and (y) Bank of America’s interest in the P-Card Account

from and after the Petition Date (the “P-Card Adequate Protection Liens” and, together with the

L/C Adequate Protection Liens, the “Adequate Protection Liens”); provided, however, that the any

such liens or securities interests shall exclude in excess of 65% of the voting stock of (i) any CFC,

(ii) any CFC Holding Company. and (iii) any direct or indirect domestic subsidiary of a CFC or

CFC Holding Company, but, for the avoidance of doubt, to the extent voting stock of any CFC,
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any CFC Holding Company, or any direct or indirect domestic subsidiary of a CFC or CFC

Holding Company is subject to an existing lien with respect to the Existing L/Cs or the P-Card

Account, the Adequate Protection Lien shall apply to the same stock that was pledged in support

of the Existing L/Cs.

       41.     To the extent any adequate protection is insufficient to adequately protect (i) the

Existing L/C Issuer’s interest in the L/C Cash Collateral and any post-Petition Date interest, fees,

costs, and charges allowed to the Existing L/C Issuer in connection with the Existing L/C Claim,

and (ii) Bank of America’s interest in the P-Card Account, the Existing L/C Issuer, and Bank of

America are hereby granted superpriority administrative claims against the same entities that the

DIP Superpriority Claims apply to and all of the other benefits and protections allowable under

Bankruptcy Code § 507(b), junior only in right to the DIP Superpriority Claims and the Carve Out

(the “L/C Superpriority Claim,” and the “P-Card Superpriority Claim,” respectively, and

collectively, the “Adequate Protection Superpriority Claims”).

                                       Automatic Perfection

       42.     This Final DIP Order shall be sufficient and conclusive evidence of the priority,

perfection, attachment, and validity of all of the DIP Agent’s and the DIP Lenders’ security

interests in and liens on the Collateral granted and created in the DIP Orders, and such security

interests and liens shall constitute valid, automatically perfected and unavoidable security interests

and liens, with the priorities granted hereunder, effective as of the Petition Date, without the

necessity of creating, filing, recording, or serving any financing statements, mortgages, or other

documents that might otherwise be required under federal or state law in any jurisdiction or the

taking of any other action to validate or perfect the security interests and liens granted to the DIP

Agent, for itself and for and on behalf of the DIP Lenders, by the DIP Orders.


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       43.     To the extent that any applicable non-bankruptcy law otherwise would restrict the

granting, scope, enforceability, attachment, or perfection of the DIP Agent’s and the DIP Lenders’

liens and security interests granted and created by the DIP Orders or otherwise would impose filing

or registration requirements with respect to such liens and security interests, such law is hereby

pre-empted to the maximum extent permitted by the Bankruptcy Code, applicable federal law, and

the judicial power of the United States Bankruptcy Court.

       44.     By virtue of the terms of this Final DIP Order, to the extent that the DIP Agent has

filed Uniform Commercial Code financing statements, mortgages, deeds of trust, or other security

or perfection documents under the names of any of the Debtors, such filings shall be deemed to

properly perfect its liens and security interests granted under the DIP Orders without further action

by the DIP Agent or by any of the DIP Lenders.

       45.     If the DIP Agent shall, in its sole and absolute discretion, elect for any reason to

file any Uniform Commercial Code financing statements, mortgages, deeds of trust, or other

recordable documents to further evidence perfection of its interests in property of the estates, the

DIP Agent, or, upon the request of the DIP Agent, the Debtors, are authorized and directed to

execute, or cause to be executed, all such mortgages, deeds of trust, or other documents, and the

filing, recording, or service (as the case may be) of such financing statements, mortgages, deeds

of trust, or similar documents shall be deemed to have been made at the time of and on the Petition

Date, and the signature(s) of any person(s) designated by the Debtors, whether by letter to the DIP

Agent or by appearing on any one or more of the agreements or other documents respecting the

security interests and liens of the DIP Agent, for itself and for and on behalf of the DIP Lenders,

granted hereunder shall bind the Debtors and their estates. The DIP Agent may, in its sole and

absolute discretion, execute such documents on behalf of the Debtors as the Debtors’ attorney-in-


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fact, or file a certified copy of this Final DIP Order in any filing or recording office in any county

or other jurisdiction in which any of the Debtors have real or personal property, and, in such event,

the subject filing or recording officer is authorized and directed to file or record such documents

or certified copy of this Final DIP Order.

                                        Authorization to Act

       46.     The Debtors are hereby authorized and directed to perform all acts, take any action,

and execute and comply with the terms of such other documents, instruments and agreements, as

the DIP Agent may require as evidence of and for the protection of the Collateral, or that may be

otherwise deemed necessary by the DIP Agent to effectuate the terms and conditions of this Final

DIP Order and the DIP Credit Facility.

       47.     Until such time as the DIP Obligations shall have been indefeasibly paid and

satisfied in full in accordance with the terms of the DIP Documents, and without further order of

the Bankruptcy Court: (a) the Debtors shall use the DIP Credit Facility proceeds and all Cash

Collateral strictly in accordance with the terms of the Budget requirements and the other terms of

this Final DIP Order; (b) the Debtors shall not, without prior order from the Bankruptcy Court

(after notice to the DIP Agent and, so long as the RSA remains in full force and effect, counsel to

the Consenting Stakeholders), engage in any transaction that is not in the ordinary course of the

Debtors’ business, and (c) the Debtors shall timely comply with all of the covenants set forth in

the DIP Documents.

                                    No Subordination of Liens

       48.     Subject to the Carve Out, the DIP Liens granted to the DIP Secured Parties pursuant

to the DIP Orders shall not at any time be (a) made subject or subordinated to, or made pari passu

with, any other lien or security interest existing on the Petition Date, or any claim, lien, or security

interest created under Bankruptcy Code §§ 363 or 364(d) or otherwise, or (b) subject to any lien
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or security interest that is avoided and preserved for the benefit of the Debtors’ estates under

Bankruptcy Code § 551.

                                      No Additional Liens

       49.     Subject to the DIP Credit Agreement, until such time as the DIP Obligations shall

have been indefeasibly paid and satisfied in full in accordance with the terms of the DIP

Documents, the Debtors shall not be authorized to obtain credit secured by a lien or security

interest in the Collateral, other than the DIP Credit Facility, without the prior written consent of

the DIP Agent, for itself and for and on behalf of the DIP Lenders, or order of the Bankruptcy

Court upon reasonable notice.

                                           No Liability

       50.     No act committed or action taken by the DIP Agent, for itself and for and on behalf

of the DIP Lenders, or the Existing L/C Issuer, as applicable, under the DIP Orders, the DIP Credit

Facility, the Existing L/Cs, shall be used, construed, or deemed to hold the DIP Agent, the DIP

Lenders, and or the Existing L/C Issuer to be in “control” of or participating in the governance,

management, or operations of any of the Debtors for any purpose, without limitation, or to be

acting as a “responsible person(s)” or “owner(s) or operator(s)” or a person(s) in “control” with

respect to the governance, management, or operation of any of the Debtors or their respective

businesses (as such terms, or any similar terms, are used in the Internal Revenue Code, WARN

Act, Comprehensive Environmental Response, Compensation and Liability Act, or the Bankruptcy

Code, each as may be amended from time to time, or any other federal or state statute, at law, in

equity, or otherwise) by virtue of the interests, rights, and remedies granted to or conferred upon

the DIP Secured Parties or the Existing L/C Issuer under the DIP Documents or the DIP Orders

including, without limitation, such rights and remedies as may be exercisable by the DIP Secured

Parties or the Existing L/C Issuer in connection with the DIP Orders.
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                                         Automatic Stay

       51.     Subject to paragraph 70 hereof, the Automatic Stay is hereby vacated and modified

to the extent necessary to permit (a) the Debtors, the DIP Agent, and the DIP Lenders to commit

all acts and take all actions necessary to implement the DIP Credit Facility and this Final DIP

Order, (b) all acts, actions, and transfers contemplated herein, including, without limitation,

transfers of Cash Collateral and other funds to the DIP Agent, for itself and for and on behalf of

the DIP Lenders, by the Debtors as provided herein, and (c) consistent with the terms of this Final

DIP Order, to permit the DIP Agent and/or the DIP Lenders, at their option, to pursue their rights

and remedies as to the Collateral in accordance with the DIP Documents and applicable law. The

automatic stay is not modified by this paragraph to allow any “self-help” remedies.

                   Collateral Insurance, Maintenance, Taxes, and Deposits

       52.     The Debtors shall maintain, with financially sound and reputable insurance

companies, insurance of the kind covering the Collateral, and in accordance with the DIP

Documents (covering such risks in amounts as shall be satisfactory to the DIP Agent and shall

name the DIP Agent, for itself and for and on behalf of the DIP Lenders, as loss payee thereunder),

including, without limitation, insurance covering the Collateral and such other collateral of the

DIP Lenders, if any, as the DIP Agent may from time to time request; and, at the DIP Agent’s

request, the Debtors shall deliver to the DIP Agent evidence of the maintenance of such insurance.

       53.     Upon receipt of notification (written or oral) that an insurance policy covering any

Collateral will not be renewed by the respective carrier, the Debtors will promptly notify the DIP

Agent in writing of such occurrence and thereafter provide the DIP Agent with the status of all

negotiations, if any, regarding such policy on a weekly basis.

       54.     To the extent permitted by the Budget, the Debtors shall make any and all payments

necessary to keep the Collateral and their other property in good repair and condition and not
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permit or commit any waste thereof. The Debtors shall exercise their business judgment and, in

so doing shall preserve, maintain, and continue all material leases, patents, licenses, privileges,

franchises, certificates and the like necessary for the operation of their businesses.

       55.     To the extent the Debtors have made or make any deposits for the benefit of utility

companies or any other entity (and the Debtors shall not make any such deposits which are not

included in the Budget without first obtaining prior written consent of the DIP Agent), such

deposits shall be, and hereby are, upon any return of same to the Debtors, subject to the DIP Liens

and the Debtors’ use of Cash Collateral granted by the DIP Orders.

                                     Reporting Requirements

       56.     The Debtors are authorized and directed to provide to the DIP Agent all of the

documentation and reports required under the DIP Credit Agreement and the other DIP

Documents, including, without limitation, the reports required by the DIP Credit Agreement,

schedules, assignments, financial statements, insurance policies, and endorsements, unless the DIP

Agent waives or modifies such requirements in writing (the “Reporting Information”).

       57.     The Reporting Information shall also include: (a) weekly reports of receipts and

budgeted cash usage; (b) Variance Reports; (c) copies of all reports submitted or filed with the

Office of the United States Trustee within two (2) days after such submission or filing; and (d) such

additional financial or other information concerning the acts, conduct, property, assets, liabilities,

operations, financial condition, and transactions of any of the Debtors, or concerning any matter

that may affect the administration of any of the Debtors’ estates, as the DIP Agent may from time

to time reasonably request. All Reporting Information shall be in accordance with accounting

principles and bookkeeping practices consistently applied with past accounting principles and

bookkeeping practices and reporting of the Debtors to the DIP Agent. So long as the RSA remains

in full force and effect, the Debtors shall deliver copies all Reporting Information to the legal and
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financial advisors to the Consenting Stakeholders at substantially the same time that the Debtors

deliver such Reporting Information to the DIP Agent.

       58.     Subject to any confidentiality requirements, the Debtors shall promptly deliver to

the DIP Agent any and all material documentation that in any way relates to a solicitation, offer,

or proposed sale or disposition of a material amount of property of any of the Debtors’ estates,

including, without limitation, letters of inquiry, solicitations, letters of intent, or asset purchase

agreements.

       59.     The DIP Agent, and its representatives, agents, consultants and other professionals,

shall be permitted, in coordination with Debtors’ counsel, to contact and communicate with the

Debtors and their financial and restructuring advisors regarding potential transactions for the

Debtors’ reorganization and the sale or other disposition of material assets of any of the Debtors’

estates. The Debtors shall be responsive and employ their commercially reasonable efforts to

cooperate in the coordination of all such contacts and communications, including, without

limitation, by conducting update telephone conferences with the Debtors, their financial and

restructuring advisors, and the DIP Secured Parties upon reasonable request regarding any

potential restructuring transactions or transactions for the sale or other disposition of the assets of

any of the Debtors’ estates.

       60.     The DIP Agent, and its representatives, agents and advisors, shall have reasonable

access, upon reasonable notice during normal business hours, to the Debtors’ business records,

business premises, and to the Collateral to enable the DIP Agent or its representatives, agents and

advisors to (a) review, appraise, and evaluate the physical condition of the Collateral, (b) inspect

and review the financial records and all other records of the Debtors concerning the operation of

the Debtors’ businesses, and (c) evaluate the Debtors’ overall financial condition and all other


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records relating to the operations of the Debtors. The Debtors shall fully cooperate with the DIP

Agent regarding such reviews, evaluations, and inspections, and shall make their employees and

professionals available to the DIP Agent and its representatives, agents and advisors, to conduct

such reviews, evaluations, and inspections.

                Interest, Fees, Costs and Expenses of the DIP Secured Parties

       61.     During the Cases, as additional adequate protection, all interest, fees, costs, and

expenses, including, without limitation, attorneys’ fees and expenses and financial advisors’ fees

and expenses, due at any time to the DIP Secured Parties under the DIP Documents that are

incurred as a result of or in way related to the Debtors’ Cases, or incurred prior to and unpaid on

the Petition Date (collectively, the “DIP Lenders’ Costs”), may be charged by the DIP Secured

Parties and shall be paid by the Debtors out of the Cash Collateral or out of any DIP Credit Facility

advances, up to the aggregate amount for such DIP Lenders’ Costs set forth in the Budget or, if

greater than such amount in the Budget, only if approved in writing by the DIP Agent. The Debtors

are hereby authorized to pay such DIP Lenders’ Costs without the DIP Agent or the DIP Lenders,

or the DIP Agent’s or the DIP Lenders’ counsel, having to file any further application with this

Bankruptcy Court for approval or payment. Any such DIP Lenders’ Costs that constitute fees and

expenses incurred by any professional retained by the DIP Agent shall be paid within ten (10)

calendar days of delivery of a summary invoice to the Debtors, the U.S. Trustee, and, so long as

the RSA remains in full force and effect, counsel to the Consenting Stakeholders, and which may

be redacted for privilege as determined by the DIP Agent; provided, however, that (i) any redacted

fee statements shall retain all privileges irrespective of any disclosure of any privileged matter,

and any such disclosure shall be deemed inadvertent for all purposes and deemed stricken from

any record in these Cases or otherwise, (ii) if the Debtors, U.S. Trustee, the Consenting

Stakeholders, or any official committee objects to the reasonableness of such fees and expenses
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     and cannot resolve such objection within five (5) business days of service of such invoice(s), the

     Debtors, U.S. Trustee, the Consenting Stakeholders, or any official committee, as the case may be,

     shall file and serve upon such professional an objection with the Bankruptcy Court (a “Fee

     Objection”) limited to the issue of the reasonableness of the disputed fees and expenses within ten

     (10) calendar days of the delivery of such invoice; (iii) if the Debtors, U.S. Trustee, the Consenting

     Stakeholders, or any official committee fails to object to the reasonableness of such fees and

     expenses within ten (10) calendar days, any objection of the Debtors, U.S. Trustee, or any official

     committee, as the case may be, shall be waived, (iv) the Debtors shall timely pay in accordance

     with this Final DIP Order the undisputed fees and expenses reflected on any invoice to which a

     Fee Objection has been timely filed, and (v) notwithstanding the foregoing (i), (ii), (iii), and (iv)

     of this sentence, the DIP Lenders’ Costs incurred prior to and unpaid as of the Petition Date shall

     be paid indefeasibly upon the initial funding of the DIP Credit Facility. Payments of DIP Lenders’

     Costs may be effectuated directly by the DIP Agent and all such payments shall constitute

     advances under the DIP Credit Facility. All DIP Lenders’ Costs owed to the DIP Agent and/or the

     DIP Lenders, regardless of whether or not such DIP Lenders’ Costs are set forth in the Budget and

     including, without limitation, all fees referred to in the DIP Documents (including, without

     limitation, all attorneys’ and other professionals’ fees and expenses), shall constitute obligations

     under the DIP Credit Facility and shall be secured by the Collateral and afforded all priorities and

     protections afforded to the DIP Credit Facility under the DIP Orders and the DIP Documents.

     Except as provided in subparagraph (v) above this paragraph does not authorize the payment of

     any prepetition Claim.

                                                  Carve Out

             62.    Priority of Carve Out. Notwithstanding anything to the contrary in the DIP Orders,

any DIP Documents, or any other order of this Bankruptcy Court, all of the DIP Liens, the DIP
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Superpriority Claims, the Adequate Protection Liens, and the Adequate Protection Superpriority Claims

shall be subject and subordinate only to the payment of the Carve Out as and only to the extent set forth

in the DIP Orders. As used in this Final DIP Order, the term “Carve Out” means an amount necessary

to pay (a) all fees required to be paid to (A) the Clerk of the Bankruptcy Court and (B) the Office of the

United States Trustee under Section 1930(a) of Title 28 of the United States Code, plus interest required

to be paid on any past due amount at the statutory rate (collectively, the “UST Carve Out”); (b) all

reasonable fees and expenses, up to $50,000, incurred by a trustee under Section 726(b) of the

Bankruptcy Code (the “Chapter 7 Trustee Carve Out”); (c) to the extent allowed by the Bankruptcy Court

at any time, whether by interim order, procedural order, or otherwise, all unpaid fees and expenses

(the “Allowed Professional Fees”) of persons or firms retained by the Debtors pursuant to Sections 327,

328, or 363 of the Bankruptcy Code (the “Debtor Professionals”) or by the creditors’ committee pursuant

to Section 328 or 1103 of the Bankruptcy Code (the “Committee Professionals” and, together with the

Debtor Professionals, the “Professional Persons”) that are incurred or earned at any time before or on the

first Business Day (as defined in the DIP Credit Agreement) following delivery by the DIP Agent of a

Carve Out Trigger Notice (as defined in this Paragraph 62 below), whether allowed by the Bankruptcy

Court prior to or after delivery of a Carve Out Trigger Notice (which, for purposes of determining the

amount of the Carve Out that may be charged against any DIP Collateral or that must be funded by DIP

Loans pursuant to Paragraphs 64(a) and (b) below, shall be limited to an aggregate amount not to exceed

the Professional Fee Carve Out Cap (as defined in Paragraph 63 below)); and (d) Allowed Professional

Fees of Professional Persons in an aggregate amount not to exceed $3,000,000 incurred after the first

Business Day following delivery by the DIP Agent of the Carve Out Trigger Notice, to the extent allowed

by the Bankruptcy Court at any time, whether by interim order, procedural order, or otherwise (the




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amounts set forth in this clause (iv) being the “Post-Trigger Carve Out”).7 For purposes of the foregoing,

“Carve Out Trigger Notice” shall mean a written notice delivered by email (or other electronic means)

by the DIP Agent to lead restructuring counsel to the Debtors, the U.S. Trustee, and counsel to the

creditors’ committee, stating that the Post-Trigger Carve Out has been invoked, which notice may be

delivered at any time following the occurrence and during the continuation of an Event of Default under

(and as defined in) the DIP Credit Agreement, and acceleration of the DIP Obligations owed by the

Borrower Debtors under the DIP Credit Agreement.

                63.    Delivery of Weekly Fee Statements. Not later than 7:00 p.m. (prevailing Eastern

Time) on the third Business Day of each week starting with the second week following the Petition Date,

each Professional Person shall deliver to the Debtors and the DIP Agent a statement setting forth the

amount of Professional Fees incurred during the preceding week by such Professional Person (through

Saturday of such week, the “Calculation Date”), together with a cumulative total and a statement of the

amount of Allowed Professional Fees that have been paid to date by the Debtors, and the cumulative total

of the amount of Allowed Professional Fees of such Professional Person that remain unpaid (each such

statement, a “Weekly Statement”); provided that within one (1) Business Day after the occurrence of the

Termination Declaration Date (as defined in Paragraph 64(a) below), each Professional Person shall

deliver an additional Weekly Statement (the “Final Statement”) setting forth the amount and a description

of the fees and expenses incurred during the period commencing on the calendar day after the prior

Calculation Date and concluding on the Termination Declaration Date. If any Professional Person fails

to deliver a Weekly Statement within two (2) days after such Weekly Statement is due hereunder and

such failure continues unremedied for a period of two (2) days, then such Professional Person’s



      7
               Notwithstanding the foregoing, up to $500,000 of the Post-Trigger Carve Out may be used to pay Allowed
      Professional Fees of Professional Persons incurred prior to the delivery of a Carve Out Trigger Notice to the extent
      such Allowed Professional Fees exceed the Pre-Trigger Carve Out Amount (as defined in Paragraph 64(a) herein).
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entitlement to any funds in the Carve Out Reserve Accounts (as defined in Paragraph 64(b)) with respect

to the aggregate unpaid amount of Allowed Professional Fees of such Professional Person for the

applicable period(s) for which such Professional Person failed to deliver a Weekly Statement covering

such period shall be limited to any aggregate unpaid amount of Allowed Professional Fees included in

the Budget for such period to the extent allocated in the Budget to such Professional Person; provided

that if the Pre-Trigger Notice Reserve Accounts (as defined in Paragraph 64(a) below) are not funded

pursuant to the provisions of Paragraph 64(a) in an amount sufficient to pay all Allowed Professional

Fees, including the full amount of Allowed Professional Fees of such Professional Person, then such

Professional Person shall be entitled to be paid any unpaid amount of Allowed Professional Fees in excess

of Allowed Professional Fees included in the Budget for such period, from the Pre-Trigger Notice

Reserve Account to the extent funded from cash proceeds in accordance with Paragraphs 64(a) and (b)

below. In addition, not later than 7:00 p.m.(prevailing Eastern Time) on the third Business Day of each

week starting with the second week following the Petition Date, the Debtors shall provide Weekly

Statements to the DIP Agent reflecting (i) the actual aggregate cumulative amount of unpaid Allowed

Professional Fees for all Professional Persons as of the end of the previous week, and (ii) the difference

between that actual cumulative amount of unpaid Allowed Professional Fees for all Professional Persons

as of the end of such week and the budgeted amount of such unpaid Allowed Professional Fees shown

for such period in the most recent Budget delivered to the DIP Agent. The amount of the Carve Out

described in Paragraph 62 above that may be charged against any DIP Collateral or that must be funded

by DIP Loans pursuant to Paragraphs 64(a) and (b) below, shall be limited to the greater of (x) the sum

of (i) the aggregate unpaid amount of Allowed Professional Fees included in such Weekly Statements

timely received by the DIP Agent prior to the Termination Declaration Date plus (without duplication)

(ii) the aggregate unpaid amount of Allowed Professional Fees included in the Final Statement timely


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received by the DIP Agent pertaining to the period through and including the Termination Declaration

Date, and (y) the aggregate unpaid amount of Allowed Professional Fees to the extent included in the

Budget for the period prior to the Termination Declaration Date (such amount, the “Professional Fee

Carve Out Cap”). For the avoidance of doubt, the DIP Agent shall be entitled to maintain, as part of the

Reserves (as defined in the DIP Credit Agreement), a Carve Out Reserve (as defined in the DIP Credit

Agreement) against availability equal to the DIP Agent’s estimate of the Carve Out on such date, which

shall be calculated and may be adjusted from time to time as provided in the DIP Credit Agreement.

              64.    Carve Out Reserve Accounts.

                     (a)     On the day on which a Carve Out Trigger Notice is given by the DIP Agent

      (the “Termination Declaration Date”), the Carve Out Trigger Notice shall be deemed a Borrowing

      Request (as defined in the DIP Credit Agreement) by the Borrowers for DIP Loans in an amount

      equal to the sum (such sum being referred to as the “Pre-Trigger Carve Out Amount”) of (x) the

      UST Carve Out (the funding of which shall be contingent upon the Debtors’ provision to the DIP

      Agent of the Debtors’ calculation thereof), plus (y) the Chapter 7 Trustee Carve Out, plus (z) the

      then unpaid amount of the Allowed Professional Fees (the funding of which shall be contingent

      upon the Debtor’s provision to the DIP Agent in writing of the calculation and amount thereof)

      not to exceed the Professional Fee Carve Out Cap, which will be funded into one or more

      segregated accounts at the DIP Agent, in trust, exclusively to pay such unpaid Allowed

      Professional Fees (each such account, a “Pre-Trigger Notice Reserve Account”), subject to

      paragraph 65 below titled “Application of the Carve Out Reserve Account.” To the extent the Pre-

      Trigger Carve Out Amount is not funded as of the end of the second Business Day after the

      Termination Declaration Date (or such later date on which the Debtors provide the requisite

      confirmation and calculation) (the “Funding Deadline”), the Debtors are hereby authorized and


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directed thereafter to utilize cash constituting DIP Collateral on hand as of such date, and any

available cash constituting DIP Collateral thereafter held by any Debtor, to fund a Pre-Trigger

Notice Reserve Account equal to the amount required to be funded pursuant to the preceding

sentence (which cash amounts shall reduce, on a dollar for dollar basis, the Borrowing Request for

DIP Loans pursuant to such sentence); provided, that notwithstanding any failure of the DIP Credit

Parties to timely make DIP Loans as provided above, if the DIP Credit Parties subsequently make

DIP Loans to fund the Pre-Trigger Notice Reserve Account up to the amount of the Pre-Trigger

Carve Out, then the Debtors’ authorization to use cash constituting DIP Collateral for such purpose

shall immediately cease.

               (b)     On the Termination Declaration Date, the Carve Out Trigger Notice shall

also be deemed a Borrowing Request for funding of DIP Loans in an amount equal to the Post-

Trigger Carve Out, the funding of which Borrowing Request shall be a several obligation of each

DIP Lender to the extent of its Applicable Percentage (under, and as defined in, the DIP Loan

Agreement) of such DIP Loans. To the extent amounts under the preceding sentence are not

funded on or before the Funding Deadline, the Debtors are hereby authorized and directed

thereafter to utilize all cash constituting DIP Collateral on hand as of such date, and any available

cash constituting DIP Collateral thereafter held by any Debtor to fund the Post-Trigger Notice

Reserve Account (as defined below) in an amount equal to the amount required to be funded

pursuant to such preceding sentence (which cash amounts shall reduce, on a dollar for dollar basis,

the Borrowing Request pursuant to that preceding sentence). The Debtors shall deposit and hold

such amounts in one or more segregated accounts at the DIP Agent, in trust, exclusively to pay

such Allowed Professional Fees benefiting from the Post-Trigger Carve Out (each, a “Post-Trigger

Notice Reserve Account” and, together with the Pre-Trigger Notice Reserve Account, the “Carve


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Out Reserve Accounts”), subject to paragraph 65 below titled “Application of the Carve Out

Reserve Account”; provided, that notwithstanding any failure of the DIP Credit Parties to timely

make DIP Loans as provided above, if the DIP Credit Parties subsequently make DIP Loans to

fund the Post-Trigger Notice Reserve Account up to the amount of the Post-Trigger Carve Out,

then the Debtors’ authorization to use DIP Collateral for such purpose shall immediately cease.

                (c)    Notwithstanding anything in the DIP Credit Agreement to the contrary, but

subject to the amount of the DIP Loan Commitments, including with respect to (1) the existence

of a Default (as defined in the DIP Credit Agreement) or Event of Default, (2) the failure of the

Borrowers to satisfy any or all of the conditions precedent for the making of any DIP Loan, (3) any

termination of the U.S. Commitments (as defined in the DIP Loan Agreement) following an Event

of Default, or (4) the occurrence of the Maturity Date (as defined in the DIP Credit Agreement),

each DIP Lender with an outstanding Commitment shall be severally (and not jointly and

severally) obligated to make available to the DIP Agent on or before the Funding Deadline such

DIP Lender’s pro rata share of the DIP Loans required by Paragraphs 64(a) and (b), and no DIP

Lender shall be responsible for any other DIP Lender’s failure or delay in doing so.

                (d)    For the avoidance of doubt, the balances in the Carve Out Reserve Accounts

shall constitute the primary source for payment of Allowed Professional Fees entitled to benefit

from the Carve Out, provided that if such balances are insufficient to pay the Carve Out in full, the

priority of the Carve Out with respect to such shortfall shall remain unaffected (as described

below).

          65.   Application of Carve Out Reserve Account.

                (a)    All funds in the Pre-Trigger Notice Reserve Accounts shall be used first to

pay the Pre-Trigger Carve Out Amount (but not the Post-Trigger Carve Out) until paid in full. If


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the aggregate balances in the Pre-Trigger Notice Reserve Accounts have not been reduced to zero,

subject to clause (iii) below, all remaining funds in the Pre-Trigger Notice Reserve Account funded

by the DIP Lenders (or by use of DIP Collateral) shall be distributed to the DIP Agent on account

of the DIP Outstanding Amounts in accordance with the DIP Credit Agreement until the DIP

Outstanding Amounts are paid in full.

               (b)    All funds in the Post-Trigger Notice Reserve Accounts (other than up to

$500,000 which may be used to pay the Pre-Trigger Carve Out Amount to the extent the Allowed

Professional Fees exceed the Professional Fee Carve Out Cap) shall be used first to pay the

obligations constituting the Post-Trigger Carve Out. If, after such application, the aggregate

balances in the Post-Trigger Notice Reserve Accounts have not been reduced to zero, subject to

clause (iii) below, all remaining funds in respect of the Post-Trigger Carve Out Reserve Accounts

funded by the DIP Lenders (or by using DIP Collateral) shall be distributed to the DIP Agent on

account of the DIP Outstanding Amounts until the DIP Outstanding Amounts are paid in full.

               (c)    Notwithstanding anything to the contrary in the DIP Documents or the DIP

Orders, if the DIP Lenders fail to fund DIP Loans for deposit into the applicable Carve Out

Accounts in the amounts required in Paragraphs 64(a) and (b) with respect to either the Pre-Trigger

Carve Out Amount or the Post-Trigger Carve Out, then any excess funds in either the Pre-Trigger

Notice Reserve Accounts or Post-Trigger Reserve Accounts after the payment of the Pre-Trigger

Carve Out Amount or the amount of the Post-Trigger Carve Out, as applicable (subject to the limits

contained in the Pre-Trigger Carve Out Amount and the Post-Trigger Carve Out, respectively)

shall be used to fund the other Carve Out Reserve Accounts to the extent of any Shortfall (as

defined in Paragraph 65(e) below) in such accounts, prior to remitting any balances to the DIP

Agent.


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               (d)     Notwithstanding anything to the contrary in the DIP Documents or the DIP

Orders, following the end of the second Business Day after delivery of a Carve Out Trigger Notice,

the DIP Agent shall not sweep or foreclose on cash (including cash received as a result of the sale

or other disposition of any assets) of the Debtors until the Carve Out Reserve Accounts required

to be funded by DIP Loans have been fully funded, but the DIP Agent shall have continuous DIP

Liens on any remaining balances in the Carve Out Reserve Accounts, with any excess paid as

provided in Paragraph 64(b) above.

               (e)     Notwithstanding anything to the contrary in the DIP Orders, (i) if the

aggregate amounts funded for deposit to the Carve Out Reserve Accounts from DIP Loans or cash

constituting DIP Collateral are less than the Pre-Trigger Carve Out Amount or the Post-Trigger

Carve Out, respectively, any insufficiency in the Carve Out Reserve Accounts to satisfy in full the

Allowed Professional Fees up to the Pre-Trigger Carve Out Amount or the Post-Trigger Carve

Out, respectively (such insufficiency, a “Shortfall”), shall not affect the priority of the Carve Out

with respect to any Shortfall, and (ii) in no event shall any approved Budget, Carve Out, Post-

Trigger Carve Out, or Carve Out Reserve Account be construed as a cap or limitation on the

amount of the Allowed Professional Fees due and payable by the Debtors, provided that after the

Termination Declaration Date, that such payment is made from sources other than cash

constituting DIP Collateral or DIP Loans (until all DIP Outstanding Amounts are paid in full). In

no event shall the Carve Out, or the funding of any DIP Loans or use of any cash constituting DIP

Collateral to satisfy the Carve Out, result in any reduction in (or operate as a credit against) the

amount of any DIP Outstanding Amounts. For the avoidance of doubt, the amount of any Shortfall

shall continue to be deemed a part of the Carve Out and be entitled to the same priority as the

Carve Out as specified in the first sentence of Paragraph 62.


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                      (f)    No Direct Obligation to Pay Allowed Professional Fees. The DIP Agent

      and DIP Lenders shall not be responsible for the payment or reimbursement of any fees or

      disbursements of any Professional Person incurred in connection with the Chapter 11 Cases or any

      Successor Case under any chapter of the Bankruptcy Code or otherwise. Nothing in either DIP

      Order or otherwise shall be construed to obligate any DIP Secured Party, in any way, to pay

      compensation to, or to reimburse expenses of, any Professional Person or to guarantee that the

      Debtors have sufficient funds to pay such compensation or reimbursement.

                      (g)    Payment of Allowed Professional Fees Prior to Termination Declaration

      Date. Any payment or reimbursement made prior to the occurrence of the Termination Declaration

      Date in respect of any Allowed Professional Fees shall not reduce the Carve Out.

                      (h)    Payment of Carve Out on or after Termination Declaration Date. Any

      payment or reimbursement to a Professional Person made on or after the occurrence of the

      Termination Declaration Date in respect of any Allowed Professional Fees shall permanently

      reduce the Carve Out on a dollar-for-dollar basis. Any funding of the Carve Out with the proceeds

      of DIP Loans shall be added to, and made a part of, the DIP Outstanding Amounts, shall be secured

      by all of the DIP Collateral, and shall be entitled to all of the other protections granted in the DIP

      Orders, the DIP Documents, the Bankruptcy Code, and applicable law. In no event shall the Carve

      Out, or the funding of any DIP Loans or use of DIP Collateral to satisfy the Carve Out, result in

      any reduction in the amount of any DIP Outstanding Amounts, the security therefor, or the

      obligations of the Debtors to pay same in accordance with the DIP Documents.

               66.    Excluded Professional Fees. Notwithstanding anything to the contrary in the DIP

Orders, neither the Carve Out nor any proceeds of any DIP Loans, letters of credit issued under the DIP

Facility, Cash Collateral, or DIP Collateral shall be used to pay any Professional Fees (including, without


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limitation, expenses) in connection with any of the following (each a “Prohibited Purpose”): (a) objecting

to, seeking subordination of, or contesting the validity, perfection, priority, or enforceability of, or

asserting any defense, counterclaim or offset to, the DIP Orders, any DIP Outstanding Amounts, or the

perfected status or priority of any of the DIP Liens or liens securing the Debtors obligations to Bank of

America, N.A. on account of the Existing L/Cs; (b) asserting or prosecuting any claim, demand, or cause

of action against any DIP Secured Party, including, without limitation, for lender liability, breach of

contract, or tort, or pursuant to Section 105, 506, 510, 544, 547, 548, 549, 550, 552 or 553 of the

Bankruptcy Code, applicable non-bankruptcy law, or otherwise (other than to enforce the terms of the

DIP Documents or the DIP Orders); (c) seeking to modify any of the rights granted under the DIP Orders

to any DIP Secured Party; (d) objecting to, contesting, or seeking to avoid or subordinate any DIP Lien

or its priority; or (e) objecting to, contesting, delaying, preventing, or interfering in any way with the

exercise of any rights and remedies by any DIP Secured Party with respect to any DIP Collateral after

the occurrence and during the continuance of an Event of Default, provided that the Debtors or the

creditors’ committee may contest or dispute whether an Event of Default has occurred and shall be

entitled to any notice provisions set forth in this Final DIP Order.

                                                 No Surcharge

              67.     No costs or expenses of administration which have or may at any time be incurred

      in these Cases (or in any successor chapter 7 case) shall be charged against the DIP Agent, the DIP

      Lenders, or the Existing L/C Issuer, their respective claims, the Collateral, or the Cash Collateral

      securing the Existing L/Cs pursuant to Bankruptcy Code § 506(c) without the prior written consent

      of the DIP Secured Parties or the Existing L/C Issuer, as applicable, and no such consent shall be

      implied from any other action, inaction, or acquiescence by the DIP Secured Parties or the Existing

      L/C Issuer, as applicable. The DIP Secured Parties and the Existing L/C Issuer shall not be subject


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in any way whatsoever to the equitable doctrine of “marshaling” or any similar doctrine with

respect to the Collateral or the Cash Collateral securing the Existing L/Cs.

                                         Proofs of Claim

       68.     None of the Pre-Petition Agent, the Pre-Petition Lenders, the Existing L/C Issuer,

or Bank of America (on account of the Bank of America Credit Card Program) shall be required

to file proofs of claim in any of the Cases or subsequent cases of the Debtors under any chapter of

the Bankruptcy Code, and the Debtors’ stipulations in this Final DIP Order shall be deemed to

constitute a timely filed proof of claim against the applicable Debtor(s) (subject to the limitations

contained in paragraph 80 below). Notwithstanding anything to the contrary in the Bankruptcy

Code, the Bankruptcy Rules, the Local Bankruptcy Rules, any subsequent order entered by the

Court in relation to the establishment of a bar date for any claim (including without limitation,

administrative expense claims and priority claims) in any of the Cases or subsequent cases, or any

notice served by the Debtors in relation to any such bar date, no bar date shall apply to the Pre-

Petition Agent, the Pre-Petition Lenders, the Existing L/C Issuer, Bank of America, the DIP Agent,

or the DIP Lender with respect to the Pre-Petition ABL Claim, the Existing L/C Claim, the Bank

of America Credit Card Program, or the DIP Obligations, as applicable. Notwithstanding the

foregoing, the Pre-Petition Agent (on behalf of itself and the Pre-Petition Lenders), the Existing

L/C Issuer, and Bank of America are hereby authorized and entitled, in their discretion, but not

required, to file (and amend and/or supplement, as applicable) a master proof of claim for any

claims of any of (i) the Pre-Petition Lenders arising from the Pre-Petition ABL Claim Documents

or in respect of the Pre-Petition Lenders’ Pre-Petition ABL Claim, (ii) the Existing L/C Issuer

arising from the Existing L/C Documents or in respect of the Existing L/C Claim, or (iii) Bank of

America arising from the Bank of America Credit Card Program; provided, however, that nothing


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in this Final DIP Order shall waive the right of any Pre-Petition Lender to file its own proof of

claim against any of the Debtors.

                                           REMEDIES

       69.     Reserved.

       70.     Without requiring further order from the Bankruptcy Court and without the need

for filing any motion for relief from the automatic stay or any other pleading, immediately upon

the occurrence and during the continuance of any Event of Default (as defined in the DIP Credit

Agreement) upon written notice to the Debtors, (a) any and all obligations of the DIP Secured

Parties in connection with the DIP Credit Facility or under the DIP Orders and the DIP Documents

shall immediately terminate other than to fund the Carve Out Reserves as provided herein, (b) the

DIP Agent, for itself and for and on behalf of the DIP Lenders, may declare all or any part of the

DIP Credit Facility to be immediately accelerated and due and payable for all purposes, rights, and

remedies, and (c) the Debtors’ authority to use Cash Collateral shall immediately terminate other

than to fund the Carve Out Reserves as provided herein; provided that in the five (5) days’ period

after such written notice to the Debtors (the “Default Notice Period”), the Debtors and any official

committee appointed in these Cases may seek an emergency hearing before this Bankruptcy Court,

and must provide prompt notice of such hearing to the DIP Secured Parties, to contest whether an

Event of Default has occurred; and provided further that the DIP Lenders shall not be obligated to

make any loans or advances under the DIP Credit Facility during any Default Notice Period other

than to fund the Carve Out Reserves as provided herein. Upon the occurrence and during the

continuation of an Event of Default, the DIP Lenders or the DIP Agent in accordance with the DIP

Documents are hereby authorized to file a motion on shortened notice of no less than 5 business

days seeking relief from the automatic stay (the “Stay Relief Motion”) in order to permit the DIP

Lenders to exercise any or all of their other rights and remedies set forth in the DIP Orders or the
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DIP Documents, pursuant to and subject to the terms and provisions of the DIP Orders and the

DIP Documents. Notwithstanding the occurrence of an Event of Default, the Maturity Date, and/or

termination of the commitments under the DIP Credit Agreement, all of the rights, remedies,

benefits, and protections provided to the DIP Secured Parties under the DIP Documents and the

DIP Orders shall survive. Notwithstanding the foregoing or anything herein to the contrary, the

automatic stay of Bankruptcy Code § 362 is hereby vacated and modified (a) to authorize Bank of

America to exercise any of its remedies under the P-Card Collateral Agreement against cash

securing the P-Card obligation in the event of any default under the Bank of America Credit Card

Program, (b) to authorize the Existing L/C Issuer to apply the L/C Cash Collateral to any draw on

the Existing L/Cs or any other Existing L/C Claims, and (c) upon the occurrence of any Event of

Default that continues to exist after the Default Notice Period identified in Sections 8.1(p), 8.1(q),

8.1(r) (other than relating to the appointment of an examiner or to any appointment that is sought

or supported by the DIP Agent), or 8.1(v) of the DIP Credit Agreement, then without further act

or action by the DIP Agent, or any further notice, hearing, or order of this Bankruptcy Court, the

Automatic Stay shall be immediately modified and the DIP Agent shall be and is hereby

authorized, in its sole and absolute discretion, to take any and all actions and remedies that the DIP

Agent may deem appropriate to proceed against, take possession of, protect, and realize upon the

Collateral, including, without limitation, to exercise any right or remedy set forth in the DIP

Documents.

                                        Right to Credit Bid

       71.     The DIP Agent, for itself and for and on behalf of the DIP Lenders, may credit bid,

in its sole and absolute discretion, any portion and up to the entire amount of the DIP Agent’s and

the DIP Lenders’ respective claims, including, without limitation, the DIP Obligations, at any time

on any individual asset, portion of the assets, or all assets constituting their respective Collateral
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in conjunction with any sale of the Debtors’ assets pursuant to any plan of reorganization or sale

transaction.

                                        OTHER TERMS

       72.     The Debtors and the DIP Agent are authorized to implement, in accordance with

the terms of the DIP Documents, any modifications or amendments to any DIP Document, except

with respect to certain matters specified in the DIP Credit Agreement or the DIP Documents

requiring the approval of all DIP Lenders that are not both material and adverse to the Debtors;

provided that any material modifications that are adverse to the Debtors will be filed with the

Bankruptcy Court and parties in interest shall have seven (7) days to object to such modification.

       73.     Other than the Carve Out, no priority claims shall be allowed that are or will be

prior to or on parity with the superpriority claims or secured claims of the DIP Secured Parties

against the Debtors and their estates arising from the DIP Documents and the DIP Orders.

       74.     No obligations incurred or payments or other transfers made by or on behalf of the

Debtors on account of the post-petition financing arrangements with the DIP Secured Parties shall

be avoidable or recoverable from the DIP Secured Parties under any section of the Bankruptcy

Code, or any other federal, state, or other applicable law.

       75.     Except for the reasonable and necessary sale of inventory in the ordinary course of

the Debtors’ business and as may be provided for in the Budget and consistent with the terms of

the DIP Credit Agreement, the Debtors shall not sell, transfer, lease, encumber, or otherwise

dispose of any of the Collateral, without the prior written consent of the DIP Agent.

       76.     All post-petition advances under the DIP Credit Agreement are made in reliance on

the DIP Orders and so long as the DIP Obligations remain unpaid, there shall not at any time be

entered in the Debtors’ Cases any other order that, except as consented to by the DIP Agent in

writing, (a) authorizes the use of Cash Collateral or the sale, lease, or other disposition of the
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Collateral unless the cash proceeds will indefeasibly pay the DIP Obligations in full, (b) authorizes

the obtaining of credit or the incurring of indebtedness secured by a lien or security interest in

property in which the DIP Agent or the DIP Lenders hold or assert liens or security interests, or

(c) grants to any claim a priority administrative claim status that is equal or superior to the

superpriority status granted to the DIP Secured Parties herein. In furtherance of clause (a) of this

paragraph 76, and notwithstanding anything to the contrary in any other existing or future order of

the Bankruptcy Court, so long as the DIP Obligations shall not have been fully and finally paid

and satisfied, the Debtors shall use the proceeds of the DIP Credit Facility and the Cash Collateral

solely as provided in this Final Order and the DIP Credit Agreement.

         77.   The terms hereunder and under the DIP Documents, the DIP Liens granted to the

DIP Secured Parties under the DIP Orders, and the rights of the DIP Secured Parties pursuant to

the DIP Orders with respect to the Collateral shall not be altered, modified, extended, impaired, or

affected by any plan of reorganization of the Debtors without the prior written approval of the DIP

Agent.

         78.   The terms and provisions of this Final DIP Order and any actions taken pursuant

hereto shall survive entry of any order that may be entered converting to chapter 7 or dismissing

the Debtors’ Cases, except for the Debtors’ authority to use Cash Collateral and any obligations

of the DIP Secured Parties under the DIP Documents (all of which shall immediately terminate

upon entry of such an order). The terms and provisions of the DIP Orders, as well as the priorities

in payment, liens, and security interests granted pursuant to the DIP Orders and the DIP

Documents, shall continue after any dismissal of the Debtors’ Cases in this or any superseding

case under the Bankruptcy Code of any of the Debtors, and such priorities in payment, liens, and

security interests shall maintain their priority as provided by the DIP Orders until such time as the


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DIP Obligations shall have been indefeasibly paid and satisfied in full in accordance with the terms

of the DIP Documents and the DIP Secured Parties shall have no further obligation or financial

accommodation to any of the Debtors.

        79.     The provisions of the DIP Orders shall inure to the benefit of the Debtors, the DIP

Agent, and the DIP Lenders, and they shall be binding upon (a) the Debtors and their successors

and assigns, including, without limitation, any trustee or other fiduciary hereafter appointed as

legal representative of the Debtors or with respect to property of the estates of the Debtors, whether

under chapter 11 of the Bankruptcy Code, any confirmed plan, any subsequent chapter 7 case, or

after any dismissal of the Debtors’ Cases and (b) all creditors of any of the Debtors and other

parties in interest.

        80.     The stipulations and admissions contained in this Final DIP Order, including,

without limitation, in Paragraphs 10, 11, 12, 13, and 14 of this Final DIP Order, shall be binding

on the Debtors’ estates and any successor thereto (including, without limitation, any chapter 7 or

chapter 11 trustee appointed or elected for any of the Debtors) and all parties in interest, including,

without limitation, any statutory committee appointed in the Chapter 11 Cases, unless the Debtors,

any statutory committee appointed in the Chapter 11 Cases, or any other party in interest has timely

filed a motion seeking requisite standing and authority (a “Challenge”) (a) challenging the amount,

validity, or enforceability of the Existing L/C Claims, (b) challenging the perfection or priority of

the priming liens, (c) challenging the existence of any Collateral, or (d) otherwise asserting any

objections, claims, or causes of action (including, without limitation, any actions for preferences,

fraudulent conveyances, or other avoidance power claims) relating to the priming liens or the

Existing L/C Claims no later than the earlier of (i) forty (40) days after the Petition Date, (ii) thirty

(30) days after the appointment of a creditors’ committee, but in any event not later than 60 days


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after the Petition Date, or (iii) the date of confirmation of a chapter 11 plan of reorganization in

these chapter 11 cases. If no such Challenge is timely commenced as of such dates then, without

further order of the Bankruptcy Court, to the extent not theretofore indefeasibly repaid, satisfied,

or discharged, as applicable, such claims, liens, and security interests shall, without further order

of the Bankruptcy Court, be deemed to be finally allowed for all purposes in the Chapter 11 Cases

and any subsequent Chapter 7 cases and shall not be subject to challenge or objection by any party

in interest as to validity, priority, amount or otherwise. Notwithstanding anything to the contrary

herein (other than as set forth in Paragraph 10, 11, 12, 13, and 14), if no Challenge is timely

commenced and sustained, the stipulations contained in Paragraph 10, 11, 12, 13, and 14 of this

Final DIP Order shall be binding on the Debtors’ estates, any statutory committee appointed in the

Chapter 11 Cases, and all parties in interest. If any such Challenge is timely commenced and/or

sustained, the stipulations contained in Paragraph 10, 11, 12, 13, and 14 shall nonetheless remain

binding on the Debtors’ estates, any statutory committee appointed in the Chapter 11 Cases, and

all parties in interest (other than as set forth in Paragraph 10, 11, 12, 13, and 14), except to the

extent that such stipulations were expressly challenged in such Challenge. Nothing in this Interim

DIP Order vests or confers on any Person (as defined in the Bankruptcy Code), including any

statutory committee appointed or formed in the Chapter 11 Cases, standing or authority to pursue

any cause of action belonging to the Debtors or their estates, including, without limitation, any

Challenges. It shall be an Event of Default under the DIP Credit Agreement and this Final DIP

Order if: (a) any challenge to (i) any portion of the DIP Obligations, or the extent, validity, priority

or unavoidability of the DIP Liens securing the DIP Obligations, or (ii) any portion of the

prepetition claims pursuant to the Pre-Petition ABL Claim Documents, Existing L/C Documents,

or Bank of America Credit Card Program, or the extent, validity, priority or unavoidability of the


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liens securing such claims ((i) and (ii) collectively, the “Total Credit”) is commenced by the

Debtors, or (b) any court of competent jurisdiction enters an order sustaining any Challenge to the

Total Credit by the Debtors.

        81.     If any or all of the provisions of this Final DIP Order are hereafter modified,

vacated, or stayed without the prior written agreement of the DIP Agent, such modification,

vacation, or stay shall not affect (a) the validity of any obligation, indebtedness or liability incurred

by the Debtors to the DIP Secured Parties before the effective date of such modification, vacation,

or stay or (b) the validity or enforceability of any security interest, lien, priority or other protection

authorized, granted, or created hereby or pursuant to any of the DIP Documents. Notwithstanding

any such modification, vacation, or stay, any indebtedness, obligations, or liabilities incurred by

the Debtors to the DIP Agent, for itself or for and on behalf of the DIP Lenders, before the effective

date of such modification, vacation, or stay shall be governed in all respects by the original

provisions of this Final DIP Order, and the DIP Agent, for itself and for and on behalf of the DIP

Lenders, shall be entitled to all the liens, rights, remedies, privileges, and benefits granted herein

and pursuant to the DIP Documents with respect to all such indebtedness, obligations, or liabilities.

        82.     To the extent the terms and conditions of the DIP Documents are in express conflict

(as opposed to being additive, limiting, or more specific than this Final DIP Order) with the terms

and conditions of this Final DIP Order, the terms and conditions of this Final DIP Order shall

control.

        83.     No approval, agreement, or consent requested of the DIP Agent or the Existing L/C

Issuer by the Debtors pursuant to the terms of this Final DIP Order or otherwise shall be inferred

from any action, inaction, or acquiescence of the DIP Agent or the Existing L/C Issuer other than

a writing acceptable to the DIP Agent or the Existing L/C Issuer that is signed by the DIP Agent


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or the Existing L/C Issuer, as applicable, and expressly shows such approval, agreement or

consent, without limitation. Nothing herein shall in any way affect the rights of the DIP Agent,

the DIP Lenders, or the Existing L/C Issuer as to any non-Debtor entity, without limitation. Unless

expressly required otherwise hereunder, any determination, agreement, decision, consent, election,

approval, acceptance, waiver, designation, authorization, or other similar circumstance or matter

of the DIP Agent, the DIP Lenders, or the Existing L/C Issuer hereunder or related hereto, shall be

in the DIP Agent’s, the DIP Lenders’, and/or the Existing L/C Issuer’s sole and absolute discretion.

       84.     Nothing herein shall be deemed or construed to waive, limit, or modify the rights

of the DIP Agent, for itself or for and on behalf of the DIP Lenders, to obtain further adequate

protection and other statutory protections for the use of the Collateral and Cash Collateral, or to

seek other relief in these Cases in accordance with any provision of the Bankruptcy Code or

applicable law.

       85.     Unless expressly and specifically provided otherwise herein, nothing herein shall

be deemed or construed to waive, limit, modify or prejudice the claims, rights, protections,

privileges and defenses of the DIP Secured Parties afforded pursuant to the Bankruptcy Code.

       86.     This Final DIP Order, and the findings of fact and conclusions of law contained

herein, shall be effective upon signature by the Bankruptcy Court, and may be relied upon by the

DIP Agent, the DIP Lenders, and the Debtors without the necessity of entry into the docket sheet

of these Cases. To the extent any findings may constitute conclusions, and vice versa, they are

hereby deemed as such.

       87.     This Bankruptcy Court hereby expressly retains jurisdiction over all persons and

entities, co-extensive with the powers granted to the United States Bankruptcy Court under the




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Bankruptcy Code, to enforce the terms of this Final DIP Order and to adjudicate any and all

disputes in connection therewith by motion and without necessity of an adversary proceeding.

        88.    All headings in this Final DIP Order are descriptive and for reference only, and do

not have separate meaning or change any terms therein.

        89.    The indemnification provisions in the DIP Credit Agreement are hereby approved

in their entirety and are incorporated herein by reference as if fully set forth herein.

                                      WAIVER OF CLAIMS

        90.    SUBJECT TO PARAGRAPH 80 HEREOF WITH RESPECT TO THE PRE-

PETITION AGENT, THE PRE-PETITION LENDERS, THE EXISTING L/C ISSUER AND

RELATED PARTIES, EACH OF THE DEBTORS (IN THEIR OWN RIGHT, ON BEHALF OF

THEIR     ESTATES,       REPRESENTATIVES,            DIRECTORS,        OFFICERS,      EMPLOYEES,

INDEPENDENT          CONTRACTORS,           ATTORNEYS          AND      AGENTS,       AND      THEIR

SUCCESSORS AND ASSIGNS, IN EACH CASE TO THE EXTENT PERMITTED BY

APPLICABLE LAW AND SOLELY IN THEIR CAPACITY AS SUCH) (COLLECTIVELY,

THE “RELEASING PARTIES”), HEREBY RELEASES, ACQUITS, FOREVER DISCHARGES

AND COVENANTS NOT TO SUE THE DIP AGENT, THE DIP LENDERS, THE PRE-

PETITION AGENT, THE PRE-PETITION LENDERS, THE EXISTING L/C ISSUER, THE

ISSUER OF THE P-CARDS, AND THE DIP AGENT’S, THE DIP LENDERS’, THE PRE-

PETITION AGENT’S, THE PRE-PETITION LENDERS’, THE EXISTING L/C ISSUER’S,

AND     THE     P-CARD       ISSUER’S      REPRESENTATIVES,            DIRECTORS,          OFFICERS,

EMPLOYEES, INDEPENDENT CONTRACTORS, ATTORNEYS AND AGENTS, AND

THEIR SUCCESSORS AND ASSIGNS (THE “RELEASED PARTIES”) FROM ANY AND

ALL ACTS AND OMISSIONS OF THE RELEASED PARTIES, AND FROM ANY AND ALL

CLAIMS, CAUSES OF ACTION, AVOIDANCE ACTIONS, COUNTERCLAIMS, DEMANDS,
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CONTROVERSIES, COSTS, DEBTS, SUMS OF MONEY, ACCOUNTS, RECKONINGS,

BONDS, BILLS, DAMAGES, OBLIGATIONS, LIABILITIES, OBJECTIONS, LEGAL

PROCEEDINGS, EQUITABLE PROCEEDINGS, AND EXECUTIONS OF ANY NATURE,

TYPE, OR DESCRIPTION WHICH THE RELEASING PARTIES HAVE OR MAY COME TO

HAVE AGAINST THE RELEASED PARTIES THROUGH THE DATE OF THIS FINAL DIP

ORDER, AT LAW OR IN EQUITY, BY STATUTE OR COMMON LAW, IN CONTRACT, IN

TORT, INCLUDING, WITHOUT LIMITATION, BANKRUPTCY CODE CHAPTER 5

CAUSES OF ACTION, WHETHER THE LAW OF THE UNITED STATES OR ANY OTHER

COUNTRY, UNION, ORGANIZATION OF FOREIGN COUNTRIES OR OTHERWISE,

KNOWN OR UNKNOWN, SUSPECTED OR UNSUSPECTED, BUT EXCLUDING

OBLIGATIONS UNDER THE DIP CREDIT FACILITY ARISING AFTER THE DATE OF

THIS FINAL DIP ORDER (COLLECTIVELY, THE “RELEASED CLAIMS”).               THE

DEBTORS ON BEHALF OF THE RELEASING PARTIES FURTHER COVENANT NOT TO

SUE THE RELEASED PARTIES ON ACCOUNT OF ANY RELEASED CLAIM. THIS

PARAGRAPH IS IN ADDITION TO AND SHALL NOT IN ANY WAY LIMIT ANY OTHER

RELEASE, COVENANT NOT TO SUE, OR WAIVER BY THE RELEASING PARTIES IN

FAVOR OF THE RELEASED PARTIES. NOTWITHSTANDING THE RELEASES AND

COVENANTS IN FAVOR OF THE RELEASED PARTIES CONTAINED ABOVE IN THIS

PARAGRAPH, SUCH RELEASES AND COVENANTS IN FAVOR OF THE RELEASED

PARTIES SHALL BE DEEMED ACKNOWLEDGED AND REAFFIRMED BY THE

DEBTORS EACH TIME THERE IS AN ADVANCE OF FUNDS, EXTENSION OF CREDIT,

OR FINANCIAL ACCOMMODATION UNDER THE DIP ORDERS AND THE DIP

DOCUMENTS.


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                                             NOTICE

       91.     The Debtors’ proposed counsel shall serve this Final DIP Order on all of the

following parties: (a) the Office of the United States Trustee; (b) the attorneys for the DIP Agent

and the DIP Lenders; (c) all creditors known to the Debtors who have or may assert liens against

any of the Debtors’ assets; (d) counsel to the Consenting Stakeholders; (e) the United States

Internal Revenue Service; (f) the 50 largest unsecured creditors of the Debtors; and (g) all parties

in interest who have filed a notice of appearance or upon whom service must be effected under the

Federal Rules of Bankruptcy Procedure or the Local Bankruptcy Rules. Any notice required

hereunder to the Debtors or any official committee appointed in these Cases shall be deemed given

when delivered by email, other electronic delivery, fax, or hard copy, to their respective counsel

of record in these cases.

                              EXPIRATION DATE/MATURITY

       92.     The DIP Agent’s consent and Debtors’ authority to use Cash Collateral and the DIP

Lenders’ commitment to provide credit under the DIP Credit Agreement and the DIP Orders,

subject to the funding and Budget limitations above, shall be effective upon entry of this Final DIP

Order to and including, without limitation, the earlier of: (a) the continued existence of an Event

of Default as set forth in paragraph 70 above, (b) the entry of an order pursuant to section 363 of

the Bankruptcy Code approving the sale of substantially all of the Debtors’ assets, or (c) the

effective date of any plan of reorganization, at which time all of the Debtors’ authority to use Cash

Collateral and to obtain credit under the DIP Credit Agreement and the DIP Orders shall terminate,

as shall the DIP Agent’s and the DIP Lenders’ obligation to continue funding the DIP Credit

Facility, unless extended by written agreement of the parties hereto, a copy of which, with an

updated Budget, shall be promptly filed with this Bankruptcy Court by the Debtors (the

“Expiration Date”, and (b), (c), and (d) of this paragraph, the “Termination Date”).
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      93.    This order is effective immediately.

Signed:
Signed:
       January 3, 2019
          January 03, 2019
                                                 ____________________________________
                                           __________________________________________
                                                                Marvin Isgur
                                                            Marvin  Isgur
                                                     United States Bankruptcy Judge
                                                   United States Bankruptcy Judge




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                             EXHIBIT 1

                     DIP CREDIT AGREEMENT
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                                                                   Execution Version




               DEBTOR-IN-POSSESSION CREDIT AGREEMENT

                        Dated as of December [_], 2018

                                     among

                       PARKER DRILLING COMPANY,
                             as the Parent Borrower,
                        the other Borrowers party hereto,
                 certain Subsidiaries of the Parent Borrower, as
                                   Guarantors,

                         BANK OF AMERICA, N.A.,
                    as Administrative Agent and L/C Issuer,

                                      and

                 THE OTHER LENDERS AND L/C ISSUERS
                       from time to time party hereto

                        _________________________

                            Bank of America, N.A.

                                      and

                         Deutsche Bank Securities Inc.

                                       as

                  Joint Lead Arrangers and Joint Bookrunners




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                   DEBTOR-IN-POSSESSION CREDIT AGREEMENT

        This DEBTOR-IN-POSSESSION CREDIT AGREEMENT (as amended, restated,
amended and restated, supplemented or otherwise modified from time to time, this
“Agreement”) is entered into as of December [_], 2018, among PARKER DRILLING
COMPANY, a Delaware corporation and a Debtor and Debtor-in-Possession under Chapter 11
of the Bankruptcy Code (“PKD” and in its capacity as agent for the Borrowers hereunder, the
“Parent Borrower” as set forth in Section 11.1), certain Subsidiaries of PKD, each a Debtor
and Debtor-in-Possession under Chapter 11 of the Bankruptcy Code, party hereto as borrowers
(together with the Parent Borrower, the “Borrowers”), each lender from time to time party
hereto (collectively, the “Lenders” and, individually, a “Lender”), and BANK OF
AMERICA, N.A., as the Administrative Agent and an L/C Issuer, and is acknowledged and
agreed to by the Subsidiary Guarantors (as defined below).

                              PRELIMINARY STATEMENTS:

        On December 12, 2018 (the “Petition Date”), the Borrowers and each of the Subsidiary
Guarantors (as defined below) filed voluntary petitions with the Bankruptcy Court
commencing their respective cases that are pending under Chapter 11 of the Bankruptcy Code
(collectively, the “Cases”).

        The Borrowers have requested that the Lenders extend credit to them in the form of a
debtor-in-possession revolving credit facility pursuant to which the Lenders will make loans to
the Borrowers, and the L/C Issuers will issue letters of credit for the account of the Loan Parties,
in the maximum aggregate principal amount of $50,000,000. The Lenders are willing to make
such Loans, and the L/C Issuers are willing to issue letters of credit, to the Borrowers, in each
case, on the terms and subject to the conditions set forth herein.

      In consideration of the mutual covenants and agreements herein contained and other
good and valuable consideration, the sufficiency and receipt of which are hereby
acknowledged, the parties hereto agree as follows:

                                           ARTICLE I

                       DEFINITIONS AND ACCOUNTING TERMS

       Section 1.1    Defined Terms. As used in this Agreement, the following terms shall
have the meanings set forth below:

        “Acceptable Replacement RSA” means a restructuring support agreement entered
into by the Loan Parties the terms of which, taken as a whole, are (i) more favorable to the
Loan Parties than the terms of the RSA as in effect on the Closing Date and (ii) not adverse to
the interests of the Lenders in any material respect.

        “Accounts” means accounts receivable of PKD or any of its Subsidiaries, as applicable,
arising out of the sales or leasing of goods or services made by PKD or any of its Subsidiaries,
as applicable, in the ordinary course of business, to the extent constituting an “account” as
defined in the Uniform Commercial Code.

       “Account Debtor” means a Person obligated under an Account, chattel paper or
general intangible.

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       “Administrative Agent” means Bank of America in its capacity as administrative
agent under any of the Loan Documents, or any successor administrative agent.

       “Administrative Agent’s Office” means the Administrative Agent’s address and, as
appropriate, account as set forth on Schedule 10.2, or such other address or account as the
Administrative Agent may from time to time notify to the Parent Borrower and the Lenders.

       “Administrative Questionnaire” means an Administrative Questionnaire in
substantially the form of Exhibit E-2 or any other form approved by the Administrative Agent.

          “Advance Rate” means at any time, the applicable percentage set forth in clause (i) or
(ii) of the definition of “Borrowing Base” or such other percentage having similar effect as may
become effective in lieu of or in addition to such applicable percentage in accordance with such
definition.

       “Affiliate” means, with respect to any Person, another Person that directly, or indirectly
through one or more intermediaries, Controls or is Controlled by or is under common Control
with the Person specified.

       “Agents” means, collectively, the Administrative Agent and any other agent appointed
in accordance with the terms of this Agreement, if any.

       “Aggregate Commitments” means the Commitments of all the Lenders. As of the
Closing Date, the Aggregate Commitments are $50,000,000.

       “Agreement” has the meaning specified in the introductory paragraph hereto.

       “Alternative Currency” means each currency (other than Dollars) that is approved in
accordance with Section 1.6.

        “Alternative Currency Equivalent” means, at any time, with respect to any amount
denominated in Dollars, the equivalent amount thereof in the applicable Alternative Currency
as determined by the Administrative Agent or an L/C Issuer, as the case may be, at such time
on the basis of the Spot Rate (determined in respect of the most recent Revaluation Date) for
the purchase of such Alternative Currency with Dollars.

       “Applicable Fee Rate” means 0.50% per annum.

        “Applicable Percentage” means, with respect to any Lender at any time, the
percentage (carried out to the ninth decimal place) of the Aggregate Commitments represented
by such Lender’s Commitment at such time. If the Aggregate Commitments have been
terminated or expired, then the Applicable Percentage of each Lender shall be determined
based on the Applicable Percentage of such Lender most recently in effect, giving effect to any
subsequent assignments. As of the Closing Date, the Applicable Percentage of each Lender is
set forth opposite the name of such Lender on Schedule 2.1 and thereafter in the Assignment
and Assumption (or such other instrument) pursuant to which such Lender becomes a party
hereto, as applicable.

        “Applicable Rate” means (a) with respect to Eurodollar Rate Loans, 4.00%, and (b)
with respect to Base Rate Loans, 3.00%.



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        “Applicable Time” means, with respect to any payments in any Alternative Currency,
the local time in the place of settlement for such Alternative Currency as may be determined
by the Administrative Agent or the applicable L/C Issuer, as the case may be, to be necessary
for timely settlement on the relevant date in accordance with normal banking procedures in the
place of payment.

        “Appropriate Lender” means, at any time, (a) a Lender that has a Commitment or
holds a Loan at such time and (b) with respect to the Letter of Credit Sublimit, (i) the L/C
Issuers and (ii) if any Letters of Credit have been issued pursuant to Section 2.3(a), the Lenders.

       “Approved Fund” means any Fund that is administered or managed by (a) a Lender,
(b) an Affiliate of a Lender or (c) an entity or an Affiliate of an entity that administers or
manages a Lender.

       “Arrangers” means each of Bank of America and Deutsche Bank Securities Inc. in its
capacity as a joint lead arranger and joint bookrunner.

       “Assignee Group” means two or more Eligible Assignees that are Affiliates of one
another or two or more Approved Funds managed by the same investment advisor.

        “Assignment and Assumption” means an assignment and assumption entered into by
a Lender and an Eligible Assignee (with the consent of any party whose consent is required by
Section 10.6(b)), and accepted by the Administrative Agent, in substantially the form of
Exhibit E-1 or any other form (including electronic documentation generated by use of an
electronic platform) approved by the Administrative Agent.

       “Attributable Indebtedness” means, on any date, (a) in respect of any Capitalized
Lease of any Person, the capitalized amount thereof that would appear on a balance sheet of
such Person prepared as of such date in accordance with GAAP, (b) in respect of any Synthetic
Lease Obligation, the capitalized amount of the remaining lease or similar payments under the
relevant lease or other applicable agreement or instrument that would appear on a balance sheet
of such Person prepared as of such date in accordance with GAAP if such lease or other
agreement or instrument were accounted for as a Capitalized Lease and (c) all Synthetic Debt
of such Person.

        “Audited Financial Statements” means the audited consolidated balance sheet of
PKD and its Subsidiaries for the fiscal year ended on December 31, 2017, and the related
consolidated statements of income or operations, shareholders’ equity and cash flows for such
fiscal year of the PKD and its Subsidiaries, including the notes thereto.

       “Auto-Extension Letter of Credit” has the meaning specified in Section 2.3(b)(iii).

       “Availability” means (a) the Line Cap minus (b) Total Outstandings.

        “Availability Period” means the period from and including the Closing Date to the
earliest of (a) the Maturity Date, (b) the date of termination of the Commitments pursuant to
Section 2.6, and (c) the date of termination of the commitment of each Lender to make Loans
and of the obligation of the L/C Issuers to make L/C Credit Extensions pursuant to Section 8.2.

      “Availability Reserve” means the sum (without duplication) of (a) the Rent and
Charges Reserve; (b) the Bank Product Reserve, (c) the Dilution Reserve, (d) the aggregate
amount of liabilities secured by Liens upon Collateral that are senior to Administrative Agent’s
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Liens (but imposition of any such reserve shall not waive an Event of Default arising
therefrom); (e) the Casualty Reserve; (f) the Carve-Out Reserve; and (g) such additional
reserves, in such amounts and with respect to such matters, as Administrative Agent in its
Permitted Discretion may elect to impose from time to time, provided that no additional
reserves will be taken solely to account for the pendency of the Cases.

         “Bail-In Action” means the exercise of any Write-Down and Conversion Powers by
the applicable EEA Resolution Authority in respect of any liability of an EEA Financial
Institution.

        “Bail-In Legislation” means, with respect to any EEA Member Country implementing
Article 55 of Directive 2014/59/EU of the European Parliament and of the Council of the
European Union, the implementing law for such EEA Member Country from time to time
which is described in the EU Bail-In Legislation Schedule.

       “Bank of America” means Bank of America, N.A. and its successors.

     “Bank Product Reserve” means at any time, reserves in respect of Secured Cash
Management Agreements then provided and outstanding.

       “Bankruptcy Code” means 11 U.S.C. § 101 et seq.

        “Bankruptcy Court” means the United States Bankruptcy Court for the Southern
District of Texas Houston Division or any other court having jurisdiction over the Cases from
time to time and any Federal appellate court thereof.

        “Base Rate” means for any day a fluctuating rate per annum equal to the higher of
(a) the Federal Funds Rate plus 1/2 of 1%, (b) the rate of interest in effect for such day as
publicly announced from time to time by Bank of America as its “prime rate”, and (c) the
Eurodollar Rate plus 1.00%; and if Base Rate shall be less than zero, such rate shall be deemed
zero for purposes of this Agreement. The “prime rate” is a rate set by Bank of America based
upon various factors including Bank of America’s costs and desired return, general economic
conditions and other factors, and is used as a reference point for pricing some loans, which may
be priced at, above, or below such announced rate. Any change in such rate announced by Bank
of America shall take effect at the opening of business on the day specified in the public
announcement of such change.

       “Base Rate Loan” means a Loan that bears interest based on the Base Rate.

       “Beneficial Ownership Regulation” means 31 C.F.R. § 1010.230.

        “Benefit Plan” means any of (a) an “employee benefit plan” (as defined in ERISA) that
is subject to Title I of ERISA, (b) a “plan” as defined in Section 4975 of the Code or (c) any
Person whose assets include (for purposes of ERISA Section 3(42) or otherwise for purposes
of Title I of ERISA or Section 4975 of the Code) the assets of any such “employee benefit
plan” or “plan”.

       “Borrowers” has the meaning specified in the introductory paragraph hereto.

       “Borrower Materials” has the meaning specified in Section 6.2.



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        “Borrowing” means a borrowing consisting of simultaneous Loans of the same Type
and, in the case of Eurodollar Rate Loans, having the same Interest Period made by each of the
Lenders pursuant to Section 2.1.

       “Borrowing Base” means, at any time, the amount equal at such time to:

                    (i)     eighty-five percent (85%) of the aggregate Net Amount of
       Eligible Domestic Accounts Receivable, plus

                      (ii)    the least of (A) ninety percent (90%) of the Net Book Value of
       the Eligible Rental Equipment (B) sixty percent (60%) of the Net Equipment OLV of
       the Eligible Rental Equipment, and (C) $37,500,000; provided that prior to the inclusion
       of any new or additional Eligible Rental Equipment in the Borrowing Base, the
       Administrative Agent shall have obtained an appraisal thereof in accordance with
       Section 6.12, minus

                      (iii)   the Availability Reserve,

in the case of (i) and (ii) above, as determined on the basis of the most recent Borrowing Base
Certificate delivered to the Administrative Agent pursuant to Section 6.1(d). This definition of
Borrowing Base will not be modified to increase the Advance Rates or dollar sublimits stated
above or amend the definition of “Borrowing Base” (or any material defined terms used in such
definition) such that more credit would be available to the Borrowers without the approval, as
of any date of determination, of Lenders holding at least two-thirds of the sum of the Aggregate
Commitments or, if the Aggregate Commitments have expired or terminated, Lenders holding
in the aggregate more than two-thirds of the Total Outstandings (with the aggregate amount of
each Lender’s risk participation and funded participation in L/C Obligations being deemed
“held” by such Lender for purposes of this definition); provided that the Commitment of, and
the portion of the Total Outstandings held or deemed held by, any Defaulting Lender shall be
excluded for purposes of these determinations.

        “Borrowing Base Certificate” means a certificate duly executed by a Responsible
Officer of the Parent Borrower substantially in the form of Exhibit G, or in such other form as
is reasonably satisfactory to the Administrative Agent, by which Parent Borrower certifies to
the calculation of the Borrowing Base.

       “Borrowing Base Collateral” means the Accounts and Quail Rental Assets.

       “Budget” means a written rolling 13-week budget setting forth on a line-item basis the
Loan Parties’ projected cash receipts and cash disbursements, on a weekly basis, which budget
shall be in form and substance acceptable to the Administrative Agent and the Required
Lenders and which budget may, at Parent Borrower’s option, be updated not more frequently
than once every four weeks in accordance with Section 6.16(d); provided that such updated
Budget shall be in form and substance acceptable to the Administrative Agent and the Required
Lenders. To the extent that any updated Budget is not acceptable to the Administrative Agent
and the Required Lenders, the then-existing approved budget will remain the “Budget” until
replaced by an updated budget that is acceptable to the Administrative Agent and the Required
Lenders.

     “Business Day” means any day other than a Saturday, Sunday or other day on which
commercial banks are authorized to close under the Laws of, or are in fact closed in, New York

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or the state where the Administrative Agent’s Office is located and, if such day relates to any
Eurodollar Rate Loan, means any such day on which dealings in Dollar deposits are conducted
by and between banks in the London interbank eurodollar market.

     “Capitalized Leases” means all leases that have been or should be, in accordance with
GAAP, recorded as capitalized leases.

      “Carve-Out” shall have the meaning given to such term in the Interim DIP Order or,
when applicable, the Final DIP Order.

        “Carve-Out Reserve” means, on any date, the estimated an amount of the Carve-Out
as determined on a weekly basis by the Administrative Agent, but in no event shall the Carve-
Out Reserve be less than $3,000,000.

       “Cases” has the meaning specified in the introductory paragraph hereto.

       “Cash Collateral Agreement” means that certain Cash Collateral Agreement dated as
of October 30, 2018, by and between PKD and Bank of America.

       “Cash Collateralize” has the meaning specified in Section 2.3(g).

       “Cash Equivalents” means any of the following:

                (a)     readily marketable obligations issued or directly and fully guaranteed or
insured by the United States of America or any agency or instrumentality thereof having
maturities of not more than 360 days from the date of acquisition thereof; provided that the full
faith and credit of the United States of America is pledged in support thereof;

                (b)     time deposits, Euro time deposits or overnight bank deposits with, or
insured certificates of deposit or bankers’ acceptances of, any commercial bank that (i) (A) is
a Lender or (B) is organized under the laws of the United States of America, any state thereof
or the District of Columbia or is the principal banking subsidiary of a bank holding company
organized under the laws of the United States of America, any state thereof or the District of
Columbia, and is a member of the Federal Reserve System, (ii) issues (or the parent of which
issues) commercial paper rated as described in clause (c) of this definition and (iii) has
combined capital and surplus of at least $500,000,000, in each case with maturities of not more
than 180 days from the date of acquisition thereof;

                (c)     commercial paper issued by any Person organized under the laws of any
state of the United States of America and rated at least “Prime-2” (or the then equivalent grade)
by Moody’s or at least “A-2” (or the then equivalent grade) by S&P, in each case with
maturities of not more than 180 days from the date of acquisition thereof;

                (d)    repurchase obligations of any Lender or of any commercial bank
satisfying the requirements of clause (b) of this definition, having a term of not more than 30
days with respect to securities issued or fully guaranteed or insured by the United States
government;

                (e)     securities with maturities of one year or less from the date of acquisition
issued or fully guaranteed by any state, commonwealth or territory of the United States, by any
political subdivision or taxing authority of any such state, commonwealth or territory or by any
foreign government, the securities of which state, commonwealth, territory, political

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subdivision, taxing authority or foreign government (as the case may be) are rated at least A
by S&P or A by Moody’s;

              (f)     securities with maturities of 180 days or less from the date of acquisition
backed by standby letters of credit issued by any Lender or any commercial bank satisfying the
requirements of clause (b) of this definition;

               (g)      Investments, classified in accordance with GAAP as current assets of
PKD or any of its Subsidiaries, in money market investment programs which are administered
by financial institutions that have the highest rating obtainable from either Moody’s or S&P,
and the portfolios of which are limited solely to Investments of the character, quality and
maturity described in clauses (a) through (f) of this definition; and

             (h)     shares of any money market fund for which an affiliate of Bank of
America provides investment advisory services.

       “Cash Management Agreement” means any agreement to provide cash management
services, including treasury, depository, overdraft, credit or debit card, electronic funds transfer
and other cash management arrangements.

       “Cash Management Bank” means (a) any Person that, at the time it enters into a Cash
Management Agreement, is a Lender or an Affiliate of a Lender, in its capacity as a party to
such Cash Management Agreement and (b) any Lender or Affiliate of a Lender that is party to
a Cash Management Agreement with a Borrower or one of its Subsidiaries as of the Closing
Date or the date that such Person or such Person’s Affiliate becomes a Lender hereunder.

        "Cash Management Order" means an order of the Bankruptcy Court, in form and
substance reasonably acceptable to the Required Lenders, (i) approving and authorizing the
Loan Parties to use their existing cash management system, (ii) authorizing and directing banks
and financial institutions to honor and process checks and transfers, (iii) authorizing continued
use of intercompany transactions, (iv) waiving requirements of Section 345(b) of the
Bankruptcy Code, (v) authorizing the Loan Parties to use existing bank accounts and existing
business forms and (vi) approving and authorizing the continuation of cash management and
credit card services and the payment of related fees pursuant to prepetition agreements.

        “Casualty Event” means any loss, casualty or other insured damage to, or any taking
under power of eminent domain or by condemnation or similar proceeding of, any Property or
asset of the Parent Borrower, the other Borrowers or any of their respective Subsidiaries.

        “Casualty Reserve” means any reserve in respect of any Significant Casualty Event
affecting Borrowing Base Collateral established by the Administrative Agent in its Permitted
Discretion.

        “CERCLA” means the Comprehensive Environmental Response, Compensation and
Liability Act of 1980, as amended from time to time, and any successor statute.

       “CFC” means a “controlled foreign corporation” as defined in Section 957 of the Code.

       “Change in Law” means the occurrence, after the date of this Agreement, of any of the
following: (a) the adoption or taking effect of any law, rule, regulation or treaty, (b) any change
in any law, rule, regulation or treaty or in the administration, interpretation or application
thereof by any Governmental Authority or (c) the making or issuance of any request, rule,
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guideline or directive (whether or not having the force of law) by any Governmental Authority;
provided that notwithstanding anything herein to the contrary, (x) the Dodd-Frank Wall Street
Reform and Consumer Protection Act and all requests, rules, guidelines or directives
thereunder or issued in connection therewith and (y) all requests, rules, guidelines or directives
promulgated by the Bank for International Settlements, the Basel Committee on Banking
Supervision (or any successor or similar authority) or the United States or foreign regulatory
authorities, in each case pursuant to Basel III, shall in each case be deemed to be a “Change in
Law”, regardless of the date enacted, adopted or issued.

        “Chapter 11 Plan” means the joint chapter 11 plan of reorganization filed by the Loan
Parties in the Cases to implement the Restructuring Transactions (as defined in the RSA)
together with any amendments or supplements thereto, which shall be in form and substance
reasonably satisfactory to the Administrative Agent and the Required Lenders.

        “Closing Date” means the first date all of the conditions precedent in Section 4.1 are
satisfied or waived in accordance with Section 10.1.

       “Code” means the Internal Revenue Code of 1986.

        “Collateral” means all of the “Collateral” referred to in the Interim DIP Order or Final
DIP Order, as applicable, and further described in the Collateral Documents, now owned or
hereafter acquired by the Loan Parties, that is or is intended to be subject to Liens in favor of
the Administrative Agent for the benefit of the Secured Parties (and excluding, for the
avoidance of doubt, any Excluded Assets (as defined in the Security Agreement)).
Notwithstanding the foregoing, in no event shall any Excluded Building be included in the
definition of “Collateral”; provided, that the Loan Parties’ interests in all lands situated under
any Excluded Building shall be included in the definition of “Collateral”.

        “Collateral Documents” means, collectively, the Security Agreement, collateral
assignments, Security Agreement Supplements, security agreements (including intellectual
property security agreements), pledge agreements or other similar agreements, instruments,
filings or recordings (and amendments to the foregoing, as applicable) delivered to the
Administrative Agent pursuant to Section 6.9, and each of the other agreements, instruments,
documents, filings or recordings that creates or purports to create (or continue) a Lien in favor
of the Administrative Agent for the benefit of the Secured Parties.

       “Commitment” means, as to each Lender, its obligation to (a) make Loans to the
Borrowers pursuant to Section 2.1, and (b) purchase participations in L/C Obligations, in an
aggregate principal amount at any one time outstanding not to exceed the amount set forth
opposite such Lender’s name on Schedule 2.1 as of the Closing Date under the caption
“Commitment” or opposite such caption in the Assignment and Assumption (or such other
instrument) pursuant to which such Lender becomes a party hereto, as applicable, as such
amount may be adjusted from time to time in accordance with this Agreement.

        “Committed Loan Notice” means a notice of (a) a Borrowing, (b) a conversion of
Loans from one Type to the other, or (c) a continuation of Eurodollar Rate Loans, pursuant to
Section 2.2(a), which shall be substantially in the form of Exhibit A or such other form as may
be approved by the Administrative Agent (including any form of an electronic platform or
electronic transmission system as shall be approved by the Administrative Agent),
appropriately completed and signed by a Responsible Officer of PKD.


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        “Commodity Exchange Act” means the Commodity Exchange Act (7 U.S.C. § 1 et
seq.), as amended from time to time, and any successor statute.

        “Compliance Certificate” means a certificate duly executed by a Responsible Officer
of the Parent Borrower substantially in the form of Exhibit D.

        “Confirmation Order” means the order of the Bankruptcy Court confirming the
Chapter 11 Plan pursuant to Section 1129 of the Bankruptcy Code, which Confirmation Order
shall be in form and substance reasonably satisfactory to the Administrative Agent and the
Required Lenders.

       “Connection Income Taxes” means Other Connection Taxes that are imposed on or
measured by net income (however denominated) or that are franchise Taxes or branch profits
Taxes.

       “Consolidated Cash Balance” means any unrestricted cash or Cash Equivalents of
PKD and its Subsidiaries (other than any cash or Cash Equivalents held in a deposit account in
any non-U.S. jurisdiction in the ordinary course of business with respect to amounts received
from or anticipated to become due and owing in the near term to unaffiliated third parties).

       “Contractual Obligation” means, as to any Person, any provision of any security
issued by such Person or of any agreement, instrument or other undertaking to which such
Person is a party or by which it or any of its Property is bound.

        “Control” means the possession, directly or indirectly, of the power to direct or cause
the direction of the management or policies of a Person, whether through the ability to exercise
voting power, by contract or otherwise. “Controlling” and “Controlled” have meanings
correlative thereto.

        “Cost” means in respect of any Quail Rental Assets, the net cost of such Quail Rental
Assets to Quail Tools after all cash and other discounts or other allowances which were allowed
or taken by Quail Tools against the purchase price of such Quail Rental Assets.

      “Credit Extension” means each of the following: (a) the making of a Loan and (b) an
L/C Credit Extension.

        “Debtor Relief Laws” means the Bankruptcy Code, and all other liquidation,
conservatorship, bankruptcy, assignment for the benefit of creditors, moratorium,
rearrangement, receivership, insolvency, reorganization, or similar debtor relief Laws of the
United States or other applicable jurisdictions from time to time in effect and affecting the
rights of creditors generally.

       “Default” means any event or condition that constitutes an Event of Default or that,
with the giving of any notice, the passage of time, or both, would be an Event of Default.

        “Default Rate” means (a) when used with respect to Obligations other than Letter of
Credit Fees, an interest rate equal to (i) the Base Rate plus (ii) the Applicable Rate, if any,
applicable to Base Rate Loans plus (iii) 2% per annum; provided, however, that with respect to
a Eurodollar Rate Loan, the Default Rate shall be an interest rate equal to the interest rate
(including any Applicable Rate) otherwise applicable to such Loan plus 2% per annum, and
(b) when used with respect to Letter of Credit Fees, a rate equal to the Applicable Rate plus
2% per annum.
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         “Defaulting Lender” means, subject to Section 2.16(b), any Lender that (a) has failed
to (i) fund all or any portion of its Loans within two Business Days of the date such Loans were
required to be funded hereunder unless such Lender notifies the Administrative Agent and the
Parent Borrower in writing that such failure is the result of such Lender’s determination that
one or more conditions precedent to funding (each of which conditions precedent, together
with any applicable default, shall be specifically identified in such writing) has not been
satisfied, or (ii) pay to the Administrative Agent, the L/C Issuer or any Lender any other amount
required to be paid by it hereunder (including in respect of its participation in Letters of Credit)
within two Business Days of the date when due, (b) has notified the Parent Borrower, the
Administrative Agent or the L/C Issuer in writing that it does not intend to comply with its
funding obligations hereunder, or has made a public statement to that effect (unless such
writing or public statement relates to such Lender’s obligation to fund a Loan hereunder and
states that such position is based on such Lender’s determination that a condition precedent to
funding (which condition precedent, together with any applicable default, shall be specifically
identified in such writing or public statement) cannot be satisfied), (c) has failed, within three
Business Days after written request by the Administrative Agent or the Parent Borrower, to
confirm in writing to the Administrative Agent and the Parent Borrower that it will comply
with its prospective funding obligations hereunder (provided that such Lender shall cease to be
a Defaulting Lender pursuant to this clause (c) upon receipt of such written confirmation by
the Administrative Agent and the Parent Borrower), or (d) has, or has a direct or indirect parent
company that has, (i) become the subject of a proceeding under any Debtor Relief Law, (ii) had
appointed for it a receiver, custodian, conservator, trustee, administrator, assignee for the
benefit of creditors or similar Person charged with reorganization or liquidation of its business
or assets, including the Federal Deposit Insurance Corporation or any other state or federal
regulatory authority acting in such a capacity or (iii) becomes the subject of a Bail-In Action;
provided that a Lender shall not be a Defaulting Lender solely by virtue of the ownership or
acquisition of any Equity Interest in that Lender or any direct or indirect parent company
thereof by a Governmental Authority so long as such ownership interest does not result in or
provide such Lender with immunity from the jurisdiction of courts within the United States or
from the enforcement of judgments or writs of attachment on its assets or permit such Lender
(or such Governmental Authority) to reject, repudiate, disavow or disaffirm any contracts or
agreements made with such Lender. Any determination by the Administrative Agent that a
Lender is a Defaulting Lender under any one or more of clauses (a) through (d) above, and of
the effective date of such status, shall be conclusive and binding absent manifest error, and
such Lender shall be deemed to be a Defaulting Lender (subject to Section 2.16(b)) as of the
date established therefor by the Administrative Agent in a written notice of such determination,
which shall be delivered by the Administrative Agent to the Parent Borrower, any L/C Issuer,
and each other Lender promptly following such determination.

       “Derivatives Counterparty” has the meaning specified in Section 7.6.

       “Designated Jurisdiction” means any country or territory to the extent that such
country or territory itself is the subject of any Sanction.

        “Dilution Percent” means the percent, determined for the Borrowers most recent fiscal
quarter, equal to (a) bad debt write-downs or write-offs, discounts, returns, promotions, credits,
credit memos and other dilutive items with respect to Accounts, divided by (b) gross sales.

        “Dilution Reserve” means the aggregate amount of reserves in an amount equal to the
Value of the Eligible Domestic Accounts Receivable multiplied by 1.0% for each percentage
point (or portion thereof) that the Dilution Percent exceeds 5.0%.
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       “DIP Orders” means, collectively, the Interim DIP Order and, upon entry thereof, the
Final DIP Order, as applicable.

        “Disposition” or “Dispose” means the sale, transfer, license, lease or other disposition
(including any sale and leaseback transaction) of any Property by any Person, including any
sale, assignment, transfer or other disposal, with or without recourse, of any notes or accounts
receivable or any rights and claims associated therewith.

       “Dollar” and “$” mean lawful money of the United States.

        “Dollar Equivalent” means, at any time, (a) with respect to any amount denominated
in Dollars, such amount, and (b) with respect to any amount denominated in any Alternative
Currency, the equivalent amount thereof in Dollars as determined by the Administrative Agent
or the applicable L/C Issuer, as the case may be, at such time on the basis of the Spot Rate
(determined in respect of the most recent Revaluation Date) for the purchase of Dollars with
such Alternative Currency.

        “Domestic Subsidiary” means any Subsidiary that is organized under the laws of any
political subdivision of the United States.

        “Dominion Account” means a special account established by a Borrower at Bank of
America or another bank acceptable to the Administrative Agent, over which the
Administrative Agent will have exclusive dominion and control for withdrawal purposes at any
time; provided that, the applicable Borrower may access the funds in the Dominion Account
until such time as an Event of Default has occurred and is continuing.

        “EEA Financial Institution” means (a) any credit institution or investment firm
established in any EEA Member Country which is subject to the supervision of an EEA
Resolution Authority, (b) any entity established in an EEA Member Country which is a parent
of an institution described in clause (a) of this definition, or (c) any financial institution
established in an EEA Member Country which is a subsidiary of an institution described in
clauses (a) or (b) of this definition and is subject to consolidated supervision with its parent.

       “EEA Member Country” means any of the member states of the European Union,
Iceland, Liechtenstein, and Norway.

        “EEA Resolution Authority” means any public administrative authority or any person
entrusted with public administrative authority of any EEA Member Country (including any
delegee) having responsibility for the resolution of any EEA Financial Institution.

       “Eligible Assignee” means any Person that meets the requirements to be an assignee
under Section 10.6(b)(iv), (v) and (vi) (subject to such consents, if any, as may be required
under Section 10.6(b)(iii)).

        “Eligible Domestic Accounts Receivable” means Accounts of the Borrowers,
invoiced from operations in the United States, payable in Dollars and meeting the criteria
specified below. In determining the amount to be so included, the face amount of such
Accounts shall exclude any such Accounts that the Administrative Agent determines to be
ineligible in its Permitted Discretion. Unless otherwise approved in writing by the
Administrative Agent, no Account of a Borrower shall be deemed to be an Eligible Domestic
Account Receivable if:

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                (a)     it arises out of a sale or rendition made by a Borrower to an Affiliate; or

               (b)    (i) in the case of any Account due to any Borrower from an Account
Debtor other than a Qualified Account Debtor, it is unpaid more than (A) 60 days after the
original payment due date and/or (B) 90 days after the original invoice date and (ii) in the case
of any Account due to any Borrower from an Account Debtor (or any Affiliate thereof) whose
long-term unsecured debt obligations are rated at least A by Moody’s or A2 by S&P (each, a
“Qualified Account Debtor”), it is unpaid for more than (A) 90 days after the original payment
due date and/or (B) 120 days after the original invoice date; or

                (c)     it is from the same Account Debtor (or any Affiliate thereof) and fifty
percent (50%) or more, in face amount, of all Accounts from such Account Debtor (and any
Affiliate thereof) due to the Borrowers are ineligible pursuant to clause (b) above; or

                (d)      the Account due to a Borrower, when aggregated with all other Eligible
Domestic Accounts Receivable of such Account Debtor (and any Affiliate thereof) due to all
of the Borrowers, exceeds fifteen percent (15%) in face value of all Eligible Domestic Accounts
Receivable of the Borrowers combined then outstanding, to the extent of such excess; provided,
to the extent that such Account is otherwise deemed to be an Eligible Domestic Account
Receivable, that (i) if such Account is supported or secured by an irrevocable letter of credit in
form and substance reasonably satisfactory to the Administrative Agent, issued or confirmed
by a financial institution reasonably satisfactory to the Administrative Agent, and duly
transferred to the Administrative Agent (together with sufficient documentation to permit direct
draws by the Administrative Agent), it shall be excluded to the extent of the face amount of
such letter of credit for the purposes of such calculation; and (ii) with respect to the Account
Debtors listed on Schedule 1.1(b) attached hereto (or any Affiliate thereof), the percentage
referred to above shall be deemed to be the percentage set forth on such Schedule opposite the
name of such Account Debtor; or

                (e)     (i) the Account Debtor is also a creditor of the a Borrower, (ii) the
Account Debtor has disputed its liability on, or the Account Debtor has made any claim with
respect to, such Account or any other Account due from such Account Debtor to a Borrower,
which has not been resolved or (iii) the Account otherwise is or may reasonably be expected
to become subject to any right of setoff by the Account Debtor or with respect to which any
other claim, counterclaim, chargeback, credit, defense, dispute, deduction, discount,
recoupment, reserve, rebate, allowance or offset has been, or may reasonably be expected to
be, asserted; provided that any Account deemed ineligible pursuant to this clause (e) shall only
be ineligible to the extent of the amount owed by such Borrower to the Account Debtor, the
amount of such dispute or claim, or the amount of such setoff, other claim, counterclaim,
chargeback, credit, defense, dispute, deduction, discount, recoupment, reserve, rebate,
allowance or offset, as applicable; provided further, that the portion of any Account that would
otherwise be deemed ineligible pursuant to this clause (e) shall not be deemed ineligible
pursuant to this clause (e) to the extent (i) supported or secured by an irrevocable letter of credit
in form and substance reasonably satisfactory to the Administrative Agent, issued or confirmed
by a financial institution reasonably satisfactory to the Administrative Agent, and duly
transferred to the Administrative Agent (together with sufficient documentation to permit direct
draws by the Administrative Agent) or (ii) subject to a no-offset letter in form and substance
reasonably satisfactory to the Administrative Agent; or

               (f)   the Account Debtor has commenced a voluntary case under any Debtor
Relief Law, as now constituted or hereafter amended, or made an assignment for the benefit of

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creditors, or if a decree or order for relief has been entered by a court having jurisdiction over
the Account Debtor in an involuntary case under any Debtor Relief Law, as now constituted or
hereafter amended, or if any other petition or other application for relief under any Debtor
Relief Law has been filed by or against the Account Debtor, or if the Account Debtor has filed
a certificate of dissolution under applicable state law or shall be liquidated, dissolved or wound-
up, or shall authorize or commence any action or proceeding for dissolution, winding-up or
liquidation, or if the Account Debtor has failed, suspended business, is insolvent, has declared
itself to be insolvent, is generally not paying its debts as they become due or has consented to
or suffered a receiver, trustee, liquidator or custodian to be appointed for it or for all or a
significant portion of its assets or affairs (any such act or event an “Act of Bankruptcy”) unless
(i) (x) a court presiding and having primary jurisdiction over the applicable Act of Bankruptcy
has entered an order or decree making the applicable Borrower a “critical vendor”, and such
order or decree is reasonably acceptable to the Administrative Agent and (y) such Account
Debtor has obtained adequate post-petition financing to pay the Accounts of such Borrower in
the sole discretion of the Administrative Agent and (ii) either (A) the payment of Accounts
from such Account Debtor is secured by assets of, or guaranteed by, in either case in a manner
satisfactory to the Administrative Agent, a Person with respect to which an Act of Bankruptcy
has not occurred and that is acceptable to the Administrative Agent; (B) if the Account from
such Account Debtor arises subsequent to a decree or order for relief with respect to such
Account Debtor under any Debtor Relief Law, as now or hereafter in effect, the Administrative
Agent shall have determined that the timely payment and collection of such Account will not
be impaired; or (C) the payment of such Account is supported or secured by an irrevocable
letter of credit in form and substance satisfactory to the Administrative Agent, issued or
confirmed by a financial institution satisfactory to the Administrative Agent, and duly
transferred to the Administrative Agent (together with sufficient documentation to permit direct
draws by the Administrative Agent); or

                (g)     the sale is to an Account Debtor outside of the United States unless
(i) such Account Debtor is a Qualified Account Debtor, (ii) such Account Debtor has supplied
the applicable Borrower with an irrevocable letter of credit in form and substance satisfactory
to the Administrative Agent, issued or confirmed by a financial institution satisfactory to the
Administrative Agent and which has been duly transferred to the Administrative Agent
(together with sufficient documentation to permit direct draws by the Administrative Agent);
or (iii) such Account is fully insured by credit insurance satisfactory to the Administrative
Agent; provided that the maximum aggregate amount of Accounts eligible under (i), (ii) and
(iii) above shall not exceed $2,500,000 at any time; or

               (h)     the sale to the Account Debtor is on a bill-and-hold, cash-on-delivery,
guarantied sale, sale-and-return, sale on approval or consignment basis or made pursuant to
any other written agreement providing for repurchase or return or from a sale for personal,
family or household purposes; or

                (i)   the Administrative Agent determines in its Permitted Discretion that
collection of such Account is insecure or that such Account may not be paid by reason of the
Account Debtor’s financial inability to pay; or

                (j)     the Account Debtor is the United States of America, any State or any
political subdivision, department, agency or instrumentality thereof, unless such Borrower duly
assigns its rights to payment of such Account to the Administrative Agent pursuant to the
Collateral Assignment of Claims Act of 1940 (31 U.S.C. § 3727 et seq.) or complies with any
similar State or local law as the Administrative Agent shall require; or
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                (k)   the goods giving rise to such Account have not been delivered to and
accepted by the Account Debtor or the services giving rise to such Account have not been
performed by such Borrower and accepted by the Account Debtor or the Account otherwise
does not represent a final sale (except to the extent that such Account arises from a leasing
transaction); or

               (l)     any documentation relating to the Account fails to comply in any
material respect with all applicable legal requirements, including, where applicable, the Federal
Consumer Credit Protection Act, the Federal Truth in Lending Act and Regulation Z of the
Board of Governors of the Federal Reserve System; or

                (m)     the Administrative Agent does not have a valid and perfected first
priority security interest in such Account or such Account is subject to any Lien (other than
Permitted Liens) or the Account does not otherwise conform to the covenants, representations
and warranties contained in the Credit Agreement, any Collateral Document or any of the other
Loan Documents with respect to Accounts; or

               (n)     it is subject to any adverse security deposit, progress payment, retainage
(so long as such retainage is not then due and payable) or other similar advance made by or for
the benefit of the applicable Account Debtor; provided that any Account deemed ineligible
pursuant to this clause (n) shall only be ineligible to the extent of the amount of any such
deposit, payment, retainage or other similar advance; or

              (o)     it is evidenced by or arises under any instrument or chattel paper, or it
has been reduced to judgment; or

               (p)     the Account Debtor has a presence in a State requiring the filing of
Notice of Business Activities Report or similar report in order to permit the applicable
Borrower to seek judicial enforcement in such State of payment of such Account unless such
Borrower has qualified to do business in such State or has filed a Notice of Business Activities
Report or equivalent report for the then current year or such failure to file and inability to seek
judicial enforcement is capable of being remedied without any material delay or material cost;
or

               (q)     it arises from progress billings or other billing arrangements such that
the obligation of the Account Debtor with respect to such Account is conditioned upon such
Borrower’s satisfactory completion of any further performance under the agreement giving rise
thereto; or

                (r)    the Account Debtor is subject to Sanctions or any specially designated
nationals list maintained by OFAC; or

                (s)    it includes a billing for interest, fees or late charges, but only to the
extent thereof; or

               (t)     it is deemed by the Administrative Agent in its Permitted Discretion to
be otherwise ineligible.

        “Eligible Rental Equipment” means the appraised Quail Rental Assets. Unless
otherwise approved in writing by the Administrative Agent, no Quail Rental Assets shall be
Eligible Rental Equipment unless: (i) it is owned solely by Quail Tools and Quail Tools has

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good, valid and marketable title thereto; (ii) it is at all times subject to the Administrative
Agent’s valid and duly perfected first priority security interest granted pursuant to the Interim
DIP Order or Final DIP Order and no other Lien (other than (x) any Permitted Liens referred
to in Section 7.1(a) or (y) any Lien of a landlord, warehouseman, processor, repairman,
mechanic, shipper, freight forwarder, broker or other Person who possess any Quail Rental
Assets unless a Lien Waiver or a Rent and Charges Reserve with respect thereto is required
and exists, in each case in accordance with clause (ii) of the following sentence); (iii) Quail
Tools shall at all times have title to such Quail Rental Assets and shall have the ability to direct
the disposition thereof (subject only to the rights of any lessee under any lease in effect with
respect to such Quail Rental Assets) and it is not located outside the continental United States,
Alaska or the Gulf of Mexico waters subject to U.S. state or federal jurisdiction; (iv) it is not
obsolete, unmerchantable, slow moving, in other than good working order and condition
(ordinary wear and tear excepted), in each case, as determined by the Administrative Agent in
its Permitted Discretion; (v) it conforms in all respects to the covenants, warranties and
representations set forth in this Agreement or any other Collateral Document with respect to
Quail Rental Assets; (vi) is not subject to any agreement that restricts the ability of Quail Tools
to use, sell, transport or dispose of such Quail Rental Assets (other than this Agreement or any
other Loan Document) or that restricts the Administrative Agent’s ability to take possession
of, sell or otherwise dispose of such Quail Rental Assets (subject only to the rights of any lessee
under any lease in effect with respect to such Quail Rental Assets); or (vii) it does not
constitutes “fixtures” under the applicable Laws of the jurisdiction in which such Quail Rental
Assets is located. In no event shall Eligible Rental Equipment include (i) any Quail Rental
Assets held under a Vendor Lease, (ii) any Quail Rental Assets held at a non-owned property
(other than Quail Rental Assets on active lease located at customer locations in the ordinary
course of business) unless the lessor or such Person in possession of the Quail Rental Assets
has delivered a Lien Waiver (except if a Rent and Charges Reserve for amounts due or to
become due with respect to such facility has been established by Administrative Agent in its
Permitted Discretion); provided that a Lien Waiver shall not be required in connection with
any Quail Rental Asset that is temporarily (A) located on leased premises, (B) held by a
warehouseman, processor, shipper, broker or freight forwarder, or (C) held by a repairman,
mechanic or bailee, in each case for a period of less than 60 days (it being understood that the
Administrative Agent may still impose a Rent and Charges Reserve in such circumstances in
its Permitted Discretion), (iii) any Quail Rental Asset that is being held for sale or is not used
or held for use by Quail Tools in the Ordinary Course of Business, or (iv) any Quail Rental
Assets otherwise deemed ineligible by the Administrative Agent in its Permitted Discretion.

       “EMU Legislation” means the legislative measures of the European Council for the
introduction of, changeover to or operation of a single or unified European currency.

        “Environmental Laws” means any and all Federal, state, local, and foreign statutes,
laws, regulations, ordinances, codes, rules, judgments, orders, decrees, permits, concessions,
grants, franchises, licenses, agreements or governmental restrictions relating to pollution and
the protection of the environment or the release of any materials into the environment,
including those related to hazardous substances or wastes, air emissions and discharges to
waste or public systems.

         “Environmental Liability” means any liability, contingent or otherwise (including any
liability for damages, costs of environmental remediation, fines, penalties or indemnities), of
PKD, any other Loan Party or any of their respective Subsidiaries directly or indirectly
resulting from or based upon (a) violation of any Environmental Law, (b) the generation, use,

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handling, transportation, storage, treatment or disposal of any Hazardous Materials, (c)
exposure to any Hazardous Materials, (d) the release or threatened release of any Hazardous
Materials into the environment or (e) any contract, agreement or other consensual arrangement
pursuant to which liability is assumed or imposed with respect to any of the foregoing.

        “Environmental Permit” means any permit, approval, identification number, license
or other authorization required under any Environmental Law.

        “Equity Interests” means, with respect to any Person, all of the shares of capital stock
of (or other ownership or profit interests in) such Person, all of the warrants, options or other
rights for the purchase or acquisition from such Person of shares of capital stock of (or other
ownership or profit interests in) such Person, and all of the other ownership or profit interests
in such Person (including partnership, member or trust interests therein), whether voting or
nonvoting, and whether or not such shares, warrants, options, rights or other interests are
outstanding on any date of determination.

       “ERISA” means the Employee Retirement Income Security Act of 1974, as amended,
and the rules and regulations promulgated thereunder.

        “ERISA Affiliate” means any trade or business (whether or not incorporated) under
common control with PKD within the meaning of Section 414(b) or (c) of the Code (and
Sections 414(m) and (o) of the Code for purposes of provisions relating to Section 412 or 430
of the Code or Section 302 or 303 of ERISA).

        “ERISA Event” means (a) a Reportable Event with respect to a Pension Plan; (b) a
withdrawal by PKD or any ERISA Affiliate from a Pension Plan subject to Section 4063 of
ERISA during a plan year in which it was a “substantial employer” (as defined in
Section 4001(a)(2) of ERISA) or a cessation of operations that is treated as such a withdrawal
under Section 4062(e) of ERISA; (c) a complete or partial withdrawal by PKD or any ERISA
Affiliate from a Multiemployer Plan or notification that a Multiemployer Plan is in
reorganization; (d) the filing of a notice of intent to terminate, the treatment of a Plan
amendment as a termination under Section 4041 or 4041A of ERISA, or the commencement
of proceedings by the PBGC to terminate a Pension Plan or Multiemployer Plan; (e) an event
or condition which constitutes grounds under Section 4042 of ERISA for the termination of, or
the appointment of a trustee to administer, any Pension Plan or Multiemployer Plan; or (f) the
imposition of any liability under Title IV of ERISA, other than for PBGC premiums due but
not delinquent under Section 4007 of ERISA, upon PKD or any ERISA Affiliate.

       “EU Bail-In Legislation Schedule” means the EU Bail-In Legislation Schedule
published by the Loan Market Association (or any successor person), as in effect from time to
time.

       “Euro” and “EUR” mean the lawful currency of the Participating Member States
introduced in accordance with the EMU Legislation.

       “Eurodollar Base Rate” means:

               (a)   for any Interest Period with respect to a Eurodollar Rate Loan, the rate
per annum equal to the London Interbank Offered Rate (“LIBOR”) or a comparable or
successor rate, which rate is approved by the Administrative Agent, as published on the
applicable Bloomberg screen page (or such other commercially available source providing such

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quotations as may be designated by the Administrative Agent from time to time) at
approximately 11:00 a.m., London time, two Business Days prior to the commencement of
such Interest Period, for Dollar deposits (for delivery on the first day of such Interest Period)
with a term equivalent to such Interest Period. If such rate is not available at such time for any
reason, then the “Eurodollar Base Rate” for such Interest Period shall be the rate per annum
determined by the Administrative Agent to be the rate at which deposits in Dollars for delivery
on the first day of such Interest Period in same day funds in the approximate amount of the
Eurodollar Rate Loan being made, continued or converted by Bank of America and with a term
equivalent to such Interest Period would be offered by Bank of America’s London Branch to
major banks in the London interbank eurodollar market at their request at approximately 11:00
a.m. (London time) two Business Days prior to the commencement of such Interest Period; and

               (b)   for any rate calculation with respect to a Base Rate Loan on any date,
the rate per annum equal to LIBOR, at or about 11:00 a.m., London time determined two
Business Days prior to such date for U.S. Dollar deposits with a term of one month
commencing that day;

provided that to the extent a comparable or successor rate is approved by the Administrative
Agent in connection with any rate set forth in this definition, the approved rate shall be applied
in a manner consistent with market practice; provided, further that to the extent such market
practice is not administratively feasible for the Administrative Agent, such approved rate shall
be applied in a manner as otherwise reasonably determined by the Administrative Agent.

       “Eurodollar Rate” means for any Interest Period with respect to a Eurodollar Rate
Loan, or a Base Rate Loan the interest rate on which is determined by reference to the
Eurodollar Rate component of the Base Rate, a rate per annum determined by the
Administrative Agent pursuant to the following formula:

                                                            Eurodollar Base Rate
                Eurodollar Base Rate       =
                                                    1.00 – Eurodollar Reserve Percentage

provided that, if the Eurodollar Rate shall be less than zero, such rate shall be deemed to be
zero for purposes of this Agreement.

        “Eurodollar Reserve Percentage” means, for any day during any Interest Period, the
reserve percentage (expressed as a decimal, carried out to five decimal places) in effect on such
day, whether or not applicable to any Lender, under regulations issued from time to time by
the FRB for determining the maximum reserve requirement (including any emergency,
supplemental or other marginal reserve requirement) with respect to Eurocurrency funding
(currently referred to as “Eurocurrency liabilities”). The Eurodollar Rate for each outstanding
Eurodollar Rate Loan shall be adjusted automatically as of the effective date of any change in
the Eurodollar Reserve Percentage.

      “Eurodollar Rate Loan” means a Loan that bears interest at a rate based on the
Eurodollar Rate.

       “Event of Default” has the meaning specified in Section 8.1.

       “Excluded Building” means any Building (as defined in the applicable Flood
Insurance Regulations) or Manufactured (Mobile) Home (as defined in the applicable Flood
Insurance Regulations), now or hereafter owned or leased by the Loan Parties other than those

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set forth on Schedule 1.1(c), as such schedule may be updated from time to time by the
Administrative Agent by notice to Parent Borrower in connection with the Administrative
Agent’s completion of satisfactory flood due diligence and compliance.

         “Excluded Taxes” means any of the following Taxes imposed on or with respect to the
Administrative Agent, any Lender, any L/C Issuer or any other recipient of any payment or
required to be withheld or deducted from a payment to such recipient, (a) Taxes imposed on or
measured by net income (however denominated), branch profits Taxes, and franchise Taxes,
in each case, (i) imposed as a result of such recipient being organized under the Laws of, or
having its principal office or, in the case of any Lender or L/C Issuer, its Lending Office located
in, the jurisdiction imposing such Tax (or any political subdivision thereof) or (ii) that are Other
Connection Taxes, (b) in the case of a Lender or L/C Issuer, U.S. federal withholding Taxes
imposed on amounts payable to or for the account of such Lender or L/C Issuer with respect to
an applicable interest in a Loan or Commitment pursuant to a law in effect on the date on which
(i) such Lender or L/C Issuer acquires such interest in the Loan or Commitment (other than
pursuant to an assignment request by the Parent Borrower under Section 10.13) or (ii) such
Lender changes its Lending Office, except in each case to the extent that, pursuant to
Section 3.1(a)(ii) or (c), amounts with respect to such Taxes were payable either to such Lender
or L/C Issuer’s assignor immediately before such Lender or L/C Issuer became a party hereto
or to such Lender or L/C Issuer immediately before it changed its Lending Office, (c) Taxes
attributable to such recipient’s failure to comply with Section 3.1(e), and (d) any Taxes
imposed by FATCA.

       “Existing 6.75% Senior Notes” means the $360,000,000 aggregate principal amount
of senior unsecured notes of PKD issued pursuant to the Existing 6.75% Senior Notes
Indenture.

       “Existing 7.50% Senior Notes” means the $225,000,000 aggregate principal amount
of senior unsecured notes of PKD issued pursuant to the Existing 7.50% Senior Notes
Indenture.

       “Existing 6.75% Senior Notes Indenture” means that certain Indenture, dated as of
January 22, 2014, in respect of the Existing 6.75% Senior Notes, together with all instruments
and other agreements entered into by PKD or its Subsidiaries in connection therewith.

       “Existing 7.50% Senior Notes Indenture” means that certain Indenture, dated as of
July 30, 2013, in respect of the Existing 7.50% Senior Notes, together with all instruments and
other agreements entered into by PKD or its Subsidiaries in connection therewith.

        “Existing Credit Agreement” means that certain Second Amended and Restated
Credit Agreement dated as of January 26, 2015, by and among PKD and certain of its
Subsidiaries party thereto as Borrowers, Bank of America, as administrative agent thereunder,
the lenders party thereto and Bank of America, as an issuer of letters of credit thereunder, and
the other parties thereto, as amended through July 12, 2018.

       “Existing Letters of Credit” means each letter of credit described in Schedule 1.1(a)
attached hereto.

       “Existing Senior Notes” means (a) the Existing 6.75% Senior Notes and (b) the
Existing 7.50% Senior Notes.


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       “Exit Facility Commitment Letter” means that certain Commitment Letter dated as
of December [_], 2018, by and among Parent Borrower, Bank of America, Deutsche Bank AG
New York Branch and Deutsche Bank Securities Inc.

       “Exit Facility Fee Letter” means that certain Fee Letter dated as of December 12,
2018, by and among Parent Borrower, Bank of America, Deutsche Bank AG New York Branch
and Deutsche Bank Securities Inc.

      “FASB ASC” means the Accounting Standards Codification of the Financial
Accounting Standards Board.

        “FATCA” means Sections 1471 through 1474 of the Code, as of the date of this
Agreement (or any amended or successor version that is substantively comparable and not
materially more onerous to comply with), any current or future regulations or official
interpretations thereof, any agreements entered into pursuant to Section 1471(b)(1) of the Code
and any fiscal or regulatory legislation, rules or practices adopted pursuant to any
intergovernmental agreement, treaty or convention among Governmental Authorities and
implementing such Sections of the Code.

        “Federal Funds Rate” means, for any day, the rate per annum equal to the weighted
average of the rates on overnight Federal funds transactions with members of the Federal
Reserve System arranged by Federal funds brokers on such day, as published by the Federal
Reserve Bank of New York on the Business Day next succeeding such day; provided that (a) if
such day is not a Business Day, the Federal Funds Rate for such day shall be such rate on such
transactions on the next preceding Business Day as so published on the next succeeding
Business Day, and (b) if no such rate is so published on such next succeeding Business Day,
the Federal Funds Rate for such day shall be the average rate (rounded upward, if necessary,
to a whole multiple of 1/100 of 1%) charged to Bank of America on such day on such
transactions as determined by the Administrative Agent.

      “Fee Letter” means the letter agreement, dated as of December [_], 2018, among PKD,
the Administrative Agent and the Arrangers.

        “Final DIP Order” means a Final Order of the Bankruptcy Court in substantially the
form of the Interim DIP Order (with only such modifications thereto as are necessary to convert
the Interim DIP Order to a Final Order and such other modifications as are satisfactory in form
and substance to the Administrative Agent and Required Lenders in their discretion).

         "Final Order" means an order or judgment of the Bankruptcy Court as entered on its
docket that has not been reversed, stayed pursuant to any applicable bankruptcy rule or any
other applicable rule of civil or appellate procedure, and as to which the time to appeal, petition
for certiorari, or seek re-argument or rehearing has expired, or as to which any right to appeal,
petition for certiorari or seek re-argument or rehearing has been waived in writing in a manner
satisfactory to the parties in interest, or if a notice of appeal, petition for certiorari, or motion
for re-argument or rehearing was timely filed, the order or judgment has been affirmed by the
highest court to which the order or judgment was appealed or from which the re-argument or
rehearing was sought, or a certiorari has been denied, and the time to file any further appeal or
to petition for certiorari or to seek further re-argument has expired.

       "Flood Insurance Regulations" means (a) the National Flood Insurance Act of 1968,
as now or hereafter in effect or any successor statute thereto, (b) the Flood Disaster Protection

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Act of 1973, as now or hereafter in effect or any successor statute thereto, (c) the National
Flood Insurance Reform Act of 1994 (amending 42 U.S.C. § 4001, et seq.), as the same may
be amended or recodified from time to time, and (d) the Flood Insurance Reform Act of 2004
and any regulations promulgated thereunder.

        “Foreign Benefit Event” means, with respect to any Foreign Plan or Foreign
Government Scheme or Arrangement, (i) the failure to make or, if applicable, accrue in
accordance with normal accounting practices, any employer or employee contributions
required by applicable law or by the terms of such Foreign Plan or Foreign Government
Scheme or Arrangement; (ii) the failure to register or loss of good standing (if applicable) with
applicable regulatory authorities of any such Foreign Plan or Foreign Government Scheme or
Arrangement required to be registered; or (iii) the failure of any Foreign Plan or Foreign
Government Scheme or Arrangement to comply with any provisions of applicable law and
regulations or with the terms of such Foreign Plan or Foreign Benefit Arrangement.

       “Foreign Government Scheme or Arrangement” has the meaning specified in
Section 5.12(e).

        “Foreign Lender” means, with respect to a Borrower, any Lender that is organized
under the Laws of a jurisdiction other than that in which a Borrower is resident for tax purposes
(including such a Lender when acting in the capacity of an L/C Issuer). For purposes of this
definition, the United States, each State thereof and the District of Columbia shall be deemed
to constitute a single jurisdiction.

          “Foreign Plan” has the meaning specified in Section 5.12(e).

          “FRB” means the Board of Governors of the Federal Reserve System of the United
States.

        “Fronting Exposure” means, at any time there is a Defaulting Lender, with respect to
the L/C Issuer, such Defaulting Lender’s Applicable Percentage of the Outstanding Amount of
all outstanding L/C Obligations other than L/C Obligations as to which such Defaulting
Lender’s participation obligation has been reallocated to other Lenders or Cash Collateralized
in accordance with the terms hereof.

        “Fund” means any Person (other than a natural person) that is (or will be) engaged in
making, purchasing, holding or otherwise investing in commercial loans and similar extensions
of credit in the ordinary course of its activities.

        “GAAP” means generally accepted accounting principles in the United States set forth
in the opinions and pronouncements of the Accounting Principles Board and the American
Institute of Certified Public Accountants and statements and pronouncements of the Financial
Accounting Standards Board or such other principles as may be approved by a significant
segment of the accounting profession in the United States, that are applicable to the
circumstances as of the date of determination, consistently applied.

        “Governmental Authority” means the government of the United States or any other
nation, or of any political subdivision thereof, whether state or local, and any agency, authority,
instrumentality, regulatory body, court, central bank or other entity exercising executive,
legislative, judicial, taxing, regulatory or administrative powers or functions of or pertaining to


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government (including any supra-national bodies such as the European Union or the European
Central Bank).

        “Guarantee” means, as to any Person, any (a) obligation, contingent or otherwise, of
such Person guaranteeing or having the economic effect of guaranteeing any Indebtedness or
other obligation payable or performable by another Person (the “primary obligor”) in any
manner, whether directly or indirectly, and including any obligation of such Person, direct or
indirect, (i) to purchase or pay (or advance or supply funds for the purchase or payment of)
such Indebtedness or other obligation, (ii) to purchase or lease property, securities or services
for the purpose of assuring the obligee in respect of such Indebtedness or other obligation of
the payment or performance of such Indebtedness or other obligation, (iii) to maintain working
capital, equity capital or any other financial statement condition or liquidity or level of income
or cash flow of the primary obligor so as to enable the primary obligor to pay such Indebtedness
or other obligation, or (iv) entered into for the purpose of assuring in any other manner the
obligee in respect of such Indebtedness or other obligation of the payment or performance
thereof or to protect such obligee against loss in respect thereof (in whole or in part), or (b)
Lien on any assets of such Person securing any Indebtedness or other obligation of any other
Person, whether or not such Indebtedness or other obligation is assumed by such Person (or
any right, contingent or otherwise, of any holder of such Indebtedness to obtain any such Lien);
provided, however, that the term Guarantee shall not include endorsements of instruments for
deposit or collection in the ordinary course of business. The amount of any Guarantee shall be
deemed to be an amount equal to the stated or determinable amount of the related primary
obligation, or portion thereof, in respect of which such Guarantee is made or, if not stated or
determinable, the maximum reasonably anticipated liability in respect thereof as determined
by the guaranteeing Person in good faith. The term “Guarantee” as a verb has a corresponding
meaning.

      “Guarantors” means the Parent Borrower, any other Borrower and the Subsidiary
Guarantors.

       “Guaranty” means that certain Guaranty Agreement dated as of the Closing Date (as
amended, restated, supplemented or otherwise modified from time to time), together with each
other guaranty and guaranty supplement delivered pursuant to Section 6.9.

         “Hazardous Materials” means all explosive or radioactive substances or wastes and
all hazardous or toxic substances, wastes or other pollutants, including petroleum or petroleum
distillates, asbestos or asbestos-containing materials, polychlorinated biphenyls, radon gas,
infectious or medical wastes and all other substances or wastes of any nature regulated pursuant
to, or could give rise to liability under, any Environmental Law.

       “Honor Date” has the meaning specified in Section 2.3(c)(i).

        “Indebtedness” means, as to any Person at a particular time, without duplication, all
of the following, whether or not included as indebtedness or liabilities in accordance with
GAAP:

               (a)     all obligations of such Person for borrowed money;

               (b)    all obligations of such Person for the deferred purchase price of Property
or services (other than (i) trade payables incurred in the ordinary course of such Person’s
business, and (ii) any earn-out obligation until such obligation becomes a liability on the

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balance sheet or such Person in accordance with GAAP and if not paid after becoming due and
payable);

              (c)     all obligations of such Person evidenced by bonds, debentures, notes,
loan agreements or other similar instruments;

                 (d)   all indebtedness created or arising under any conditional sale or other
title retention agreement with respect to Property acquired by such Person (even though the
rights and remedies of the seller or lender under such agreement in the event of default are
limited to repossession or sale of such Property);

              (e)    all Attributable Indebtedness in respect of Capitalized Leases and
Synthetic Lease Obligations of such Person and all Synthetic Debt of such Person;

               (f)    the maximum amount of all obligations of such Person, contingent or
otherwise, as an account party or applicant under acceptance, letter of credit or similar facilities;

               (g)     all obligations of such Person, contingent or otherwise, to purchase,
redeem, retire, defease or otherwise acquire for value (other than through the issuance of
common stock of such Person) any Equity Interest in such Person or any other Person; provided
that such obligations to acquire Equity Interests after 91 days after the Maturity Date shall not
be Indebtedness for purposes of this clause (g);

                (h)     all Guarantees of such Person in respect of any of the foregoing;

                (i)    all obligations of the kind referred to in clauses (a) through (h) above
secured by (or for which the holder of such obligation has an existing right, contingent or
otherwise, to be secured by) any Lien on Property (including, without limitation, accounts and
contract rights) owned by such Person, whether or not such Person has assumed or become
liable for the payment of such obligation; provided, however, if such Indebtedness is limited in
recourse solely to such Property, then the amount of such Indebtedness for purposes of this
Agreement will not exceed the fair market value of such Property; and

             (j)        for purposes of Section 8.1(e) only, net obligations of such Person under
any Swap Contract.

        For all purposes hereof, the Indebtedness of any Person shall include the Indebtedness
of any partnership or joint venture (other than a joint venture that is itself a corporation or
limited liability company) in which such Person is a general partner or a joint venturer, unless
such Indebtedness is expressly made non-recourse to such Person. The amount of any net
obligation under any Swap Contract on any date shall be deemed to be the Swap Termination
Value thereof as of such date. Notwithstanding the foregoing, Indebtedness shall not include
any indebtedness which has been defeased in accordance with GAAP or defeased pursuant to
the deposit of cash or Cash Equivalents (in an amount sufficient to satisfy all such indebtedness
obligations at maturity or redemption, as applicable, and all payments of interest and premium,
if any) in a trust or account created or pledged for the sole benefit of the holders of such
indebtedness, and subject to no other Liens.

        “Indemnified Taxes” means (a) Taxes, other than Excluded Taxes, imposed on or with
respect to any payment made by or on account of any obligation of any Borrower under any
Loan Document and (b) to the extent not otherwise described in (a), Other Taxes.

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       “Indemnitees” has the meaning specified in Section 10.4(b).

       “Information” has the meaning specified in Section 10.7.

       “Initial Budget” means the Budget delivered by the Borrowers to the Administrative
Agent on or prior to the Closing Date with respect to the 13-week period commencing with the
week ending December 14, 2018, as approved by the Administrative Agent and the Required
Lenders.

        “Intellectual Property” means the collective reference to all rights, priorities and
privileges relating to intellectual property, whether arising under United States, multinational
or foreign laws or otherwise, including, without limitation, copyrights, copyright licenses,
patents, patent licenses, trademarks, trademark licenses, trade dress, technology, know-how
and processes, and all rights to sue at law or in equity for any infringement or other impairment
thereof, including the right to receive all proceeds and damages therefrom.

       “Interest Payment Date” means, (a) as to any Eurodollar Rate Loan, the last day of
each Interest Period applicable to such Loan and the Maturity Date; and (b) as to any Base Rate
Loan, the first day of each calendar month and the Maturity Date.

        “Interest Period” means, as to each Eurodollar Rate Loan, the period commencing on
the date such Eurodollar Rate Loan is disbursed or converted to or continued as a Eurodollar
Rate Loan and ending on the date one month thereafter; provided that:

               (a)    any Interest Period that would otherwise end on a day that is not a
Business Day shall be extended to the next succeeding Business Day unless such Business Day
falls in another calendar month, in which case such Interest Period shall end on the next
preceding Business Day;

                (b)    any Interest Period that begins on the last Business Day of a calendar
month (or on a day for which there is no numerically corresponding day in the calendar month
at the end of such Interest Period) shall end on the last Business Day of the calendar month at
the end of such Interest Period; and

               (c)     no Interest Period shall extend beyond the Maturity Date.

       “Interim DIP Order” means an interim order of the Bankruptcy Court authorizing and
approving the financing contemplated by this Agreement on an interim basis, in the form of
Exhibit H hereto, and as the same may be amended, supplemented or modified from time to
time with the consent of the Administrative Agent and the Required Lenders.

        “Investment” means, as to any Person, any direct or indirect acquisition or investment
by such Person, whether by means of (a) the purchase or other acquisition of Equity Interests
of another Person, (b) a loan, advance or capital contribution to, Guarantee or assumption of
debt of, or purchase or other acquisition of any other debt or equity participation or interest in,
another Person (including by way of Guarantee or otherwise), or (c) the purchase or other
acquisition (in one transaction or a series of transactions) of assets of another Person that
constitute a business unit or all or a substantial part of the business of, such Person. For
purposes of covenant compliance, the amount of any Investment shall be the amount actually
invested, without adjustment for subsequent increases or decreases in the value of such
Investment.

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       “IRS” means the United States Internal Revenue Service.

       “ISP” means, with respect to any Letter of Credit, the “International Standby Practices
1998” published by the Institute of International Banking Law & Practice, Inc. (or such later
version thereof as may be in effect at the time of issuance of such Letter of Credit).

        “Issuer Documents” means with respect to any Letter of Credit, the Letter of Credit
Application, and any other document, agreement and instrument entered into by the applicable
L/C Issuer and the Parent Borrower (or any Subsidiary) or in favor of such L/C Issuer and
relating to any such Letter of Credit.

        “Laws” means, collectively, all international, foreign, Federal, state and local statutes,
treaties, rules, guidelines, regulations, ordinances, codes and administrative or judicial
precedents or authorities, including the interpretation or administration thereof by any
Governmental Authority charged with the enforcement, interpretation or administration
thereof, and all applicable administrative orders, directed duties, requests, licenses,
authorizations and permits of, and agreements or determination of an arbitration with, any
Governmental Authority, in each case whether or not having the force of law.

        “L/C Advance” means, with respect to each Lender, such Lender’s funding of its
participation in any L/C Borrowing in accordance with its Applicable Percentage. All L/C
Advances shall be denominated in Dollars.

       “L/C Borrowing” means an extension of credit resulting from a drawing under any
Letter of Credit which has not been reimbursed on the date when made or refinanced as a
Borrowing. All L/C Borrowings shall be denominated in Dollars.

        “L/C Credit Extension” means, with respect to any Letter of Credit, the issuance
thereof or extension of the expiry date thereof, or the increase of the amount thereof.

      “L/C Issuer Sublimit” means, as of the Closing Date, (i) $10,000,000 in the case of
Bank of America, and (ii) $10,000,000 in the case of Deutsche Bank AG New York Branch.

       “L/C Issuer” means in respect of each Letter of Credit issued hereunder on or after the
Closing Date, (a) Bank of America in its capacity as issuer of Letters of Credit hereunder, (b)
Deutsche Bank AG New York Branch, or (c) any successor issuer of Letters of Credit
hereunder.

        “L/C Obligations” means, as at any date of determination, the aggregate amount
available to be drawn under all outstanding Letters of Credit plus the aggregate of all
Unreimbursed Amounts, including all L/C Borrowings. For purposes of computing the amount
available to be drawn under any Letter of Credit, the amount of such Letter of Credit shall be
determined in accordance with Section 1.9. For all purposes of this Agreement, if on any date
of determination a Letter of Credit has expired by its terms but any amount may still be drawn
thereunder by reason of the operation of Rule 3.14 of the ISP, such Letter of Credit shall be
deemed to be “outstanding” in the amount so remaining available to be drawn.

       “Lender” has the meaning specified in the introductory paragraph hereto.

       “Lending Office” means, as to any Lender, the office or offices of such Lender
described as such in such Lender’s Administrative Questionnaire, or such other office or offices
as a Lender may from time to time notify the Parent Borrower and the Administrative Agent.
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        “Letter of Credit” means any letter of credit issued hereunder. All Letters of Credit
issued hereunder shall be standby letters of credit. Letters of Credit may be issued in Dollars
or in an Alternative Currency.

        “Letter of Credit Application” means an application and agreement for the issuance
or amendment of a Letter of Credit in the form from time to time in use by the relevant L/C
Issuer.

       “Letter of Credit Expiration Date” means the day that is seven days prior to the
Maturity Date (or, if such day is not a Business Day, the next preceding Business Day).

       “Letter of Credit Fee” has the meaning specified in Section 2.3(i).

       “Letter of Credit Sublimit” means an amount equal to $20,000,000. The Letter of
Credit Sublimit is part of, and not in addition to, the Aggregate Commitments hereunder.

        “LIBOR Screen Rate” means the LIBOR quote on the applicable screen page the
Administrative Agent designates to determine LIBOR (or such other commercially available
source providing such quotations as may be designated by the Administrative Agent from time
to time).

       “LIBOR Successor Rate” has the meaning specified in Section 2.15.

        “LIBOR Successor Rate Conforming Changes” means, with respect to any proposed
LIBOR Successor Rate, any conforming changes to the definition of Base Rate, Interest Period,
timing and frequency of determining rates and making payments of interest and other
administrative matters as may be appropriate, as agreed between the Administrative Agent and
the Parent Borrower, to reflect the adoption of such LIBOR Successor Rate and to permit the
administration thereof by the Administrative Agent in a manner substantially consistent with
market practice (or, if the Administrative Agent determines that adoption of any portion of
such market practice is not administratively feasible or that no market practice for the
administration of such LIBOR Successor Rate exists, in such other manner of administration
as the Administrative Agent agrees with the Parent Borrower).

       “Lien” means any mortgage, pledge, hypothecation, assignment, deposit arrangement,
encumbrance, lien (statutory or other), charge, or other security interest or preferential
arrangement in the nature of a security interest of any kind or nature whatsoever (including any
conditional sale or other title retention agreement, any easement, right of way or other
encumbrance on title to real property, and any financing lease having substantially the same
economic effect as any of the foregoing).

        “Lien Waiver” means an agreement, in form and substance reasonably satisfactory to
the Administrative Agent, by which (a) for any material Quail Rental Assets located on leased
premises, the lessor waives or subordinates any Lien it may have on such Quail Rental Assets,
and agrees to permit the Administrative Agent to enter upon the premises and remove such
Quail Rental Assets or to use the premises to store or dispose of such Quail Rental Assets; (b)
for any Quail Rental Assets held by a warehouseman, processor, shipper, broker or freight
forwarder, such Person waives or subordinates any Lien it may have on such Quail Rental
Assets, agrees to hold any documents in its possession relating to such Quail Rental Assets as
agent for the Administrative Agent, and agrees to deliver such Quail Rental Assets to the
Administrative Agent upon request; (c) for any Quail Rental Assets held by a repairman,

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mechanic or bailee, such Person acknowledges the Administrative Agent’s Lien, waives or
subordinates any Lien it may have on such Quail Rental Assets, and agrees to deliver such
Quail Rental Assets to the Administrative Agent upon request or permit the Administrative
Agent to take possession of such Quail Rental Assets and (d) for any Quail Rental Assets
subject to a licensor’s intellectual property rights, the licensor grants to the Administrative
Agent the right, vis-à-vis such licensor, to enforce the Administrative Agent’s Liens with
respect to the Quail Rental Assets, including the right to dispose of it with the benefit of the
Intellectual Property, whether or not a default exists under any applicable license.
Notwithstanding the foregoing, a Lien Waiver shall not be required to be delivered in
connection with any Quail Rental Assets that are temporarily (i) located on leased premises,
(ii) held by a warehouseman, processor, shipper, broker or freight forwarder, or (iii) held by a
repairman, mechanic or bailee, in each case for a period of less than 60 days.

     “Line Cap” means, as of any date of determination, the lesser of (a) the Aggregate
Commitments and (b) the Borrowing Base then in effect.

        “Liquidity” means, as of any date of determination, the sum of (a) all domestic
unrestricted cash of the Borrowers held in the Liquidity Account (provided that the amount of
Liquidity contributed pursuant to this clause (a) shall not exceed $15,000,000) and
(b) Availability.

       “Liquidity Account” means the deposit account number 2863596694 maintained with
Bank of America; provided that, such deposit account (i) is subject to no Liens other than the
Administrative Agent’s first priority security interest, and (ii) shall not be changed by the
Parent Borrower without the prior written consent of the Administrative Agent.

       “Loan” has the meaning specified in Section 2.1.

       “Loan Documents” means, collectively, this Agreement, the Notes, the Guaranty, the
Collateral Documents, the Fee Letter, and each Issuer Document, and, in each case, all other
agreements and certificates executed by a Loan Party in connection with this Agreement
(exclusive of commitment letters and term sheets pertaining to this Agreement as in effect on
the Closing Date, and, for the avoidance of doubt, any Secured Cash Management Agreement).

       “Loan Parties” means, collectively, Parent Borrower, any other Borrower and each
Subsidiary Guarantor.

        “Material Adverse Effect” means any event, development or circumstance that has
had or could reasonably be expected to have (a) a material adverse effect upon the business,
assets, properties or financial condition of PKD and its Subsidiaries taken as a whole (other
than as a direct result of the commencement of the Cases and the continuation and prosecution
thereof); (b) a material impairment of the rights and remedies of the Administrative Agent or
any Lender under any Loan Document or of the ability of any Loan Party to perform its
obligations under any Loan Document to which it is a party; or (c) a material adverse effect
upon the legality, validity or enforceability against any Loan Party of any material provision
of any Loan Document to which it is a party.

        “Maturity Date” means the earliest of (a) four months after the Petition Date (provided
that, subject only to (i) the absence of any Default or Event of Default and (ii) the then current
effectiveness of either the RSA or an Acceptable Replacement RSA and upon payment of an
extension fee in the amount separately agreed in the Fee Letter, such date shall be extended by

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two additional months (such date, the “Outside Maturity Date”)), (b) the date of acceleration
of the Obligations in accordance with the terms hereof and/or the DIP Orders, as applicable,
(c) the entry of an order pursuant to section 363 of the Bankruptcy Code approving the sale of
substantially all of the Loan Parties’ assets, (d) the effective date of any Loan Party’s plan of
reorganization in the Cases that has been confirmed by an order of the Bankruptcy Court, (e)
the conversion of any of the Cases to a case under Chapter 7 of the Bankruptcy Code and
(f) dismissal of any of the Cases.

       “Moody’s” means Moody’s Investors Service, Inc. and any successor thereto.

       “Multiemployer Plan” means any employee benefit plan of the type described in
Section 4001(a)(3) of ERISA, to which PKD or any ERISA Affiliate makes or is obligated to
make contributions, or during the preceding five plan years, has made or been obligated to
make contributions.

        “Net Amount” means with respect to any Account at any time, the face amount of such
Account on any date less (to the extent not otherwise deducted pursuant to the definition of
“Eligible Domestic Accounts Receivable”) any and all returns, rebates, discounts (which may,
at the Administrative Agent’s option, be calculated on shortest terms), credits, allowances or
taxes (including any sales, excise or other taxes) at any time issued, owing, claimed by any
Account Debtor, granted, outstanding or payable in connection with, or any interest accrued on
the amount of, such Account at such time.

        “Net Book Value” means (i) Cost minus (ii) accumulated depreciation calculated
(A) in accordance with GAAP and (B) consistently with the Borrowers’ accounting practices
as of the Closing Date.

        “Net Cash Proceeds” means, in connection with any issuance or sale of debt securities
or instruments or the incurrence of loans, the cash proceeds received from such issuance or
incurrence, net of attorneys’ fees, investment banking fees, accountants’ fees, underwriting
discounts and commissions and other customary fees and expenses actually incurred in
connection therewith.

        “Net Equipment OLV” means, as reasonably determined by the Administrative Agent
in good faith based on the most recent appraisal delivered in connection with the Existing
Credit Agreement or the most recent appraisal conducted pursuant to Section 6.12, the
appraised value of the Eligible Rental Equipment that is estimated to be recoverable in an
orderly liquidation of such equipment (less applicable freight and duty charges, if any), net of
liquidation expenses.

        “Net Loss Proceeds” means, in connection with any Casualty Event, all insurance
proceeds or other amounts actually received, less any deductibles applied or to be paid and any
costs and expenses incurred in the collection thereof.

       “Non-Consenting Lender” has the meaning set forth in Section 10.1.

       “Non-Defaulting Lender” means, at any time, each Lender that is not a Defaulting
Lender at such time.

       “Non-Extension Notice Date” has the meaning specified in Section 2.3(b)(iii).



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       “Note” means a promissory note made by the Borrowers in favor of a Lender
evidencing Loans made by such Lender to the Borrowers, substantially in the form of
Exhibit C, or an amended, restated or replacement note otherwise reasonably satisfactory to the
Administrative Agent.

        “Obligations” means all advances to, and debts, liabilities, obligations, covenants and
duties of, any Loan Party arising under any Loan Document or otherwise with respect to any
Loan, Letter of Credit or Secured Cash Management Agreement, whether direct or indirect
(including those acquired by assumption), absolute or contingent, due or to become due, now
existing or hereafter arising; provided, that (a) obligations of the Parent Borrower or any other
Loan Party under any Secured Cash Management Agreement shall constitute “Obligations”
hereunder only until the Termination Date and (b) any release of Collateral or Loan Parties
(other than the Parent Borrower) effected in the manner permitted by this Agreement shall not
require the consent of holders of obligations under the Secured Cash Management Agreements.

        “OFAC” means the Office of Foreign Assets Control of the United States Department
of the Treasury.

       “Ordinary Course of Business” means with respect to any transaction involving any
Person, the ordinary course of such Person’s business, as conducted by such Person in
accordance with past practices and undertaken by such Person in good faith and not for the
purpose of evading any covenant or restriction in any Loan Document.

         “Organization Documents” means, (a) with respect to any corporation, the certificate
or articles of incorporation and the bylaws (or equivalent or comparable constitutive documents
with respect to any non-U.S. jurisdiction); (b) with respect to any limited liability company,
the certificate or articles of formation or organization and operating agreement; and (c) with
respect to any partnership, limited partnership, joint venture, trust or other form of business
entity, the partnership, limited partnership, joint venture or other applicable agreement of
formation or organization and any agreement, instrument, filing or notice with respect thereto
filed in connection with its formation or organization with the applicable Governmental
Authority in the jurisdiction of its formation or organization and, if applicable, any certificate
or articles of formation or organization of such entity.

        “Other Connection Taxes” means, with respect to any Lender or L/C Issuer, Taxes
imposed as a result of a present or former connection between such Lender or L/C Issuer and
the jurisdiction imposing such Tax (other than connections arising from such Lender or L/C
Issuer having executed, delivered, become a party to, performed its obligations under, received
payments under, received or perfected a security interest under, engaged in any other
transaction pursuant to or enforced any Loan Document, or sold or assigned an interest in any
Loan or Loan Document).

        “Other Taxes” means all present or future stamp, court or documentary, intangible,
recording, filing or similar Taxes or any other excise or property Taxes, charges or similar
levies arising from any payment made hereunder or under any other Loan Document or from
the execution, delivery, performance, enforcement or registration of, from the receipt or
perfection of a security interest under, or otherwise with respect to, this Agreement or any other
Loan Document, except any such Taxes that are Other Connection Taxes imposed with respect
to an assignment (other than an assignment pursuant to Section 3.6).



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       “Outstanding Amount” means (a) with respect to Loans on any date, the aggregate
outstanding principal amount thereof after giving effect to any borrowings and prepayments or
repayments of such Loans occurring on such date; (b) with respect to any L/C Obligations that
are not Cash Collateralized on any date, the Dollar Equivalent of the amount of such L/C
Obligations on such date after giving effect to any L/C Credit Extension occurring on such date
and any other changes in the aggregate amount of the L/C Obligations as of such date, including
as a result of any reimbursements by the Borrowers of Unreimbursed Amounts or any
reductions in the maximum amount available for drawing under Letters of Credit taking effect
on such date.

       “Parent Borrower” has the meaning specified in Section 11.1.

       “Participant” has the meaning specified in Section 10.6(d).

        “Participating Member State” means any member state of the European Union that
has the Euro as its lawful currency in accordance with any EMU Legislation.

       “Payment Items” means each check, draft or other item payable to a Borrower,
including those constituting proceeds of any collateral.

       “PBGC” means the Pension Benefit Guaranty Corporation.

       “Pension Plan” means any “employee pension benefit plan” (as such term is defined
in Section 3(2) of ERISA), other than a Multiemployer Plan, that is subject to Title IV of
ERISA and is sponsored or maintained by PKD or any ERISA Affiliate or to which PKD or
any ERISA Affiliate contributes or has an obligation to contribute, or in the case of a multiple
employer or other plan described in Section 4064(a) of ERISA, has made contributions at any
time during the immediately preceding five plan years.

       “Permitted Discretion” means a determination made in the exercise, in good faith, of
reasonable business judgment (from the perspective of a secured, asset-based lender).

        “Permitted Liens” means (a) as used in the definition of Eligible Domestic Accounts
Receivable, any Liens permitted by Sections 7.1(a) (only to the extent then inchoate) or (h) or
(b) for other purposes, any Liens permitted by Section 7.1.

       “Permitted Variance” has the meaning specified in Section 6.16(b).

       “Person” means any natural person, corporation, limited liability company, trust, joint
venture, association, company, partnership, Governmental Authority or other entity.

       “Petition Date” has the meaning specified in the recitals hereto.

        “Plan” means any “employee benefit plan” (as such term is defined in Section 3(3) of
ERISA) established by PKD or any of its Subsidiaries or, with respect to any such plan that is
subject to Section 412 or 403 of the Code or Section 302 or 303 or Title IV of ERISA, any
ERISA Affiliate.

       “Platform” has the meaning specified in Section 6.2.

       “Pledged Equity Interests” has the meaning specified in the Security Agreement.


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        “Property” means any right or interest in or to property of any kind whatsoever,
whether real, personal or mixed and whether tangible or intangible, including, without
limitation, Equity Interests.

       “PTE” means a prohibited transaction class exemption issued by the U.S. Department
of Labor, as any such exemption may be amended from time to time.

       “Public Lender” has the meaning specified in Section 6.2.

       “Quail Rental Assets” means all inventory (as defined in the UCC) owned by Quail
Tools which is of a type offered for lease in the Ordinary Course of Business as conducted on
the Closing Date.

       “Quail Tools” means Quail Tools, L.P. an Oklahoma limited partnership.

       “Register” has the meaning specified in Section 10.6(c).

       “Related Parties” means, with respect to any Person, such Person’s Affiliates and the
partners, directors, officers, employees, agents, trustees, advisors and representatives of such
Person and of such Person’s Affiliates.

       “Removal Effective Date” has the meaning specified in Section 9.6.

       “Rent and Charges Reserve” means the aggregate of (a) all past due rent and other
amounts owing by a Borrower to any landlord, warehouseman, processor, repairman,
mechanic, shipper, freight forwarder, broker or other Person who possesses any Eligible Rental
Equipment or could assert a Lien on any Eligible Rental Equipment; and (b) a reserve as
determined in the Administrative Agent in its Permitted Discretion in respect of rent and other
charges that could be payable to any such Person, unless it has executed a Lien Waiver. Rent
payable under Capitalized Leases will not be included in the Rent and Charges Reserve.

        “Reportable Event” means any of the events set forth in Section 4043(c) of ERISA,
other than events for which the 30-day notice period has been waived.

        “Required Lenders” means, as of any date of determination, (a) at any time there are
two or fewer unaffiliated Lenders, all Lenders, and (b) at any time there are three or more
unaffiliated Lenders, Lenders holding more than 50% of the Aggregate Commitments or, if the
Aggregate Commitments have expired or terminated, Lenders holding in the aggregate more
than 50% of the Total Outstandings (with the aggregate amount of each Lender’s risk
participation and funded participation in L/C Obligations being deemed “held” by such Lender
for purposes of this definition); provided that the Commitment of, and the portion of the Total
Outstandings held or deemed held by, any Defaulting Lender shall be excluded for purposes of
making a determination of Required Lenders.

       “Requirement of Law” means as to any Person, any Law applicable to or binding upon
such Person or any of its Property or to which such Person or any of its Property is subject.

       “Resignation Effective Date” has the meaning specified in Section 9.6.

        “Responsible Officer” means the chief executive officer, president, chief financial
officer, treasurer, or controller of a Loan Party and (i) solely for purposes of delivery of
incumbency certificates pursuant to Section 4.1 or any similar requirement under any Loan

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Document, the secretary or any assistant secretary of such Loan Party, (ii) with respect to
financial matters, the chief financial officer of such Loan Party, (iii) in the case of Compliance
Certificates or Borrowing Base Certificates, the chief financial officer, controller or the
treasurer of such Loan Party, and (iv) solely for purposes of notices given pursuant to Article II,
any other officer or employee of the applicable Loan Party designated by any of the foregoing
officers in a notice to the Administrative Agent or any other officer or employee of the
applicable Loan Party designated in or pursuant to an agreement between the applicable Loan
Party and the Administrative Agent (and, in each case, for any Loan Party that is a limited
partnership, the foregoing individuals of its general partner). Any document delivered
hereunder that is signed by a Responsible Officer of a Loan Party shall be conclusively
presumed to have been authorized by all necessary corporate, partnership and/or other action
on the part of such Loan Party and such Responsible Officer shall be conclusively presumed to
have acted on behalf of such Loan Party.

       “Restricted Payment” has the meaning specified in Section 7.6.

        “Revaluation Date” means with respect to any Letter of Credit, each of the following:
(a) each date of issuance of a Letter of Credit denominated in an Alternative Currency, (b) each
date of an amendment of any such Letter of Credit having the effect of increasing the amount
thereof (solely with respect to the increased amount), (c) each date of any payment by the
applicable L/C Issuer under any Letter of Credit denominated in an Alternative Currency, (d)
[reserved] and (e) such additional dates as the Administrative Agent or the applicable L/C
Issuer shall determine or the Required Lenders shall require.

        “RSA” means that certain Restructuring Support Agreement dated as of December 12,
2018, by and among the Loan Parties and the Consenting Stakeholders (as defined therein), as
in effect on the Closing Date.

        “S&P” means S&P Global Ratings, a division of S&P Global, Inc. and any successor
thereto.

      “Sanction(s)” means any sanction administered or enforced by the United States
Government (including without limitation, OFAC), the United Nations Security Council, the
European Union, or Her Majesty’s Treasury (“HMT”).

       “Scheduled Unavailability Date” has the meaning specified in Section 2.15.

       “SEC” means the Securities and Exchange Commission, or any Governmental
Authority succeeding to any of its principal functions.

         “Secured Cash Management Agreement” means any Cash Management Agreement
that is entered into by and between any Loan Party and any Cash Management Bank.

       “Secured Parties” means, collectively, the Administrative Agent, each other Agent,
the Lenders, the L/C Issuers, the Cash Management Banks, each co-agent or sub-agent
appointed by the Administrative Agent from time to time pursuant to Section 9.5, and the other
Persons the Obligations owing to which are or are purported to be secured by the Collateral
under the terms of the Collateral Documents.




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       “Security Agreement” means that certain Pledge and Security Agreement dated as of
the Closing Date (as amended, restated, supplemented or otherwise modified from time to time)
made by the Loan Parties from time to time party thereto in favor of the Administrative Agent.

      “Security Agreement Supplement” has the meaning specified in the Security
Agreement.

        “Significant Casualty Event” means any Casualty Event where the fair market value
of the resulting loss of Property shall be in excess of $5,000,000 (or its equivalent in other
currencies), determined as of the date of the occurrence of an applicable Casualty Event;
provided that if insurance or other recoveries in connection with such Casualty Event reduce
the net loss therefrom to an amount less than $5,000,000, then such Significant Casualty Event
shall be deemed not to have occurred and any Casualty Reserve established therefor shall be
released.

       “Specified Personal Property” means any Property of a type in which a Lien is
purported to be granted pursuant to the Security Agreement.

        “Spot Rate” for a currency means the rate determined by the Administrative Agent or
the relevant L/C Issuer, as applicable, to be the rate quoted by the Person acting in such capacity
as the spot rate for the purchase by such Person of such currency with another currency through
its principal foreign exchange trading office at approximately 11:00 a.m. on the date two
Business Days prior to the date as of which the foreign exchange computation is made;
provided that the Administrative Agent or the relevant L/C Issuer may obtain such spot rate
from another financial institution designated by the Administrative Agent or the relevant L/C
Issuer if the Person acting in such capacity does not have as of the date of determination a spot
buying rate for any such currency; and provided further that the relevant L/C Issuer may use
such spot rate quoted on the date as of which the foreign exchange computation is made in the
case of any Letter of Credit denominated in an Alternative Currency.

         “Subsidiary” of a Person means a corporation, partnership, joint venture, limited
liability company or other business entity of which a majority of the shares of securities or
other interests having ordinary voting power for the election of directors or other governing
body (other than securities or interests having such power only by reason of the happening of
a contingency) are at the time beneficially owned, or the management of which is otherwise
controlled, directly, or indirectly through one or more intermediaries, or both, by such Person.
Unless otherwise specified, all references herein to a “Subsidiary” or to “Subsidiaries” shall
refer to a Subsidiary or Subsidiaries of PKD.

      “Subsidiary Guarantors” means, collectively, each Subsidiary of PKD listed on
Schedule 1.1(d) hereto.

        “Swap Contract” means (a) any and all rate swap transactions, basis swaps, credit
derivative transactions, forward rate transactions, commodity swaps, commodity options,
forward commodity contracts, equity or equity index swaps or options, bond or bond price or
bond index swaps or options or forward bond or forward bond price or forward bond index
transactions, interest rate options, forward foreign exchange transactions, cap transactions,
floor transactions, collar transactions, currency swap transactions, cross-currency rate swap
transactions, currency options, spot contracts, or any other similar transactions or any
combination of any of the foregoing (including any options to enter into any of the foregoing),
whether or not any such transaction is governed by or subject to any master agreement, and (b)

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any and all transactions of any kind, and the related confirmations, which are subject to the
terms and conditions of, or governed by, any form of master agreement published by the
International Swaps and Derivatives Association, Inc., any International Foreign Exchange
Master Agreement, or any other master agreement (any such master agreement, together with
any related schedules, a “Master Agreement”), including any such obligations or liabilities
under any Master Agreement.

         “Swap Termination Value” means, in respect of any one or more Swap Contracts,
after taking into account the effect of any legally enforceable netting agreement relating to such
Swap Contracts, (a) for any date on or after the date such Swap Contracts have been closed out
and termination value(s) determined in accordance therewith, such termination value(s), and
(b) for any date prior to the date referenced in clause (a), the amount(s) determined as the mark-
to-market value(s) for such Swap Contracts, as determined based upon one or more mid-market
or other readily available quotations provided by any recognized dealer in such Swap Contracts
(which may include a Lender or any Affiliate of a Lender).

        “Synthetic Debt” means, with respect to any Person as of any date of determination
thereof, all obligations of such Person in respect of transactions entered into by such Person
that are intended to function primarily as a borrowing of funds but are not otherwise included
in the definition of “Indebtedness” or as a liability on the consolidated balance sheet of such
Person and its Subsidiaries in accordance with GAAP.

        “Synthetic Lease Obligation” means the monetary obligation of a Person under (a) a
so-called synthetic, off-balance sheet or tax retention lease, or (b) an agreement for the use or
possession of property (including sale and leaseback transactions), in each case, creating
obligations that do not appear on the balance sheet of such Person but which, upon the
application of any Debtor Relief Laws to such Person, would be characterized as the
indebtedness of such Person (without regard to accounting treatment).

        “Taxes” means all present or future taxes, levies, imposts, duties, deductions,
withholdings (including backup withholding), assessments or other charges in the nature of a
tax imposed by any Governmental Authority, including any interest, additions to tax or
penalties applicable thereto.

        “Termination Date” means such time as when (a) all Commitments have been
terminated or expired, (b) all Obligations have been paid in full in cash (other than
indemnification obligations and other contingent obligations not then due and payable and as
to which no claim has been made as at the time of determination) and (c) all Letters of Credit
have terminated or expired (other than Letters of Credit as to which cash collateral has been
provided to the applicable L/C Issuer in an amount equal to the amount of such outstanding
Letters of Credit or other arrangements satisfactory to the applicable L/C Issuer (in the sole
discretion of such L/C Issuer) have been made).

       “Testing Period” has the meaning specified in Section 6.16(b)(i).

       “Threshold Amount” means $5,000,000.

      “Total Outstandings” means the aggregate Outstanding Amount of all Loans and all
L/C Obligations.



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       “Type” means, with respect to a Loan, its character as a Base Rate Loan or a Eurodollar
Rate Loan.

        “UCC” means the Uniform Commercial Code as in effect in the State of New York;
provided that, if perfection or the effect of perfection or non-perfection or the priority of any
security interest in any Collateral is governed by the Uniform Commercial Code as in effect in
a jurisdiction other than the State of New York, “UCC” means the Uniform Commercial Code
as in effect from time to time in such other jurisdiction for purposes of the provisions hereof
relating to such perfection, effect of perfection or non-perfection or priority.

       “Unfunded Pension Liability” means the excess of a Pension Plan’s benefit liabilities
under Section 4001(a)(16) of ERISA, over the current value of that Pension Plan’s assets,
determined in accordance with the assumptions used for funding the Pension Plan pursuant to
Section 412 of the Code for the applicable plan year.

       “United States” and “U.S.” mean the United States of America.

       “Unreimbursed Amount” has the meaning specified in Section 2.3(c)(i).

       “U.S. Tax Compliance             Certificate”    has    the    meaning     specified   in
Section 3.1(e)(ii)(B)(III).

         “Value” means (a) for an Account, its face amount, net of any returns, rebates,
discounts (calculated on the shortest terms then available to the applicable Account Debtor),
credits, allowances or Taxes (including sales, excise or other taxes) that have been or could
properly be claimed by the Account Debtor or any other Person and (b) with reference to the
value of the Quail Rental Assets, value determined on the basis of the lower of cost or market
of such Quail Rental Assets in accordance with GAAP, with the cost thereof calculated on a
first-in, first-out basis determined in accordance with GAAP.

        “Vendor Lease” means a lease pursuant to which Goods (as defined in the UCC) are
leased from a Vendor Lessor, whether or not such lease constitutes an operating or a capital
lease under GAAP and whether or not such lease constitutes a true lease or a secured transaction
under the UCC or any other Requirement of Law.

       “Vendor Lessor” means a Person who leases Goods (as defined in the UCC) to another
Person pursuant to a Vendor Lease.

        “Weekly BBC Trigger Period” means the period (a) commencing on the day that an
Event of Default occurs or Availability is less than $30,000,000 (unless the Administrative
Agent gives notice to the Parent Borrower that such period shall not commence on such date,
in which case such period shall commence on any date during which such Event of Default
exists, or Availability is less than $30,000,000, and in either case the Administrative Agent
gives notice to the Parent Borrower that such period then commences) and (b) continuing until,
during each of the preceding 60 consecutive days, no Event of Default has existed and
Availability has been equal to or greater than $30,000,000.

       “Write-Down and Conversion Powers” means, with respect to any EEA Resolution
Authority, the write-down and conversion powers of such EEA Resolution Authority from time
to time under the Bail-In Legislation for the applicable EEA Member Country, which write-
down and conversion powers are described in the EU Bail-In Legislation Schedule.

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       Section 1.2  Other Interpretive Provisions. With reference to this Agreement and
each other Loan Document, unless otherwise specified herein or in such other Loan Document:

                 (a)    The definitions of terms herein shall apply equally to the singular and
plural forms of the terms defined. Whenever the context may require, any pronoun shall include
the corresponding masculine, feminine and neuter forms. The words “include,” “includes” and
“including” shall be deemed to be followed by the phrase “without limitation.” The word “will”
shall be construed to have the same meaning and effect as the word “shall.” Unless the context
requires otherwise, (i) any definition of or reference to any agreement, instrument or other
document (including any Organization Document) shall be construed as referring to such
agreement, instrument or other document as from time to time amended, supplemented or
otherwise modified (subject to any restrictions on such amendments, supplements or
modifications set forth herein or in any other Loan Document), (ii) any reference herein to any
Person shall be construed to include such Person’s successors and assigns, (iii) the words
“herein,” “hereof” and “hereunder,” and words of similar import when used in any Loan
Document, shall be construed to refer to such Loan Document in its entirety and not to any
particular provision thereof, (iv) all references in a Loan Document to Articles, Sections,
Preliminary Statements, Exhibits and Schedules shall be construed to refer to Articles and
Sections of, and Preliminary Statements, Exhibits and Schedules to, the Loan Document in
which such references appear, (v) any reference to any law shall include all statutory and
regulatory provisions consolidating, amending, replacing or interpreting such law and any
reference to any law or regulation shall, unless otherwise specified, refer to such law or
regulation as amended, modified or supplemented from time to time, and (vi) the words “asset”
and “property” shall be construed to have the same meaning and effect and to refer to any and
all tangible and intangible assets and properties, including cash, securities, accounts and
contract rights.

                (b)    In the computation of periods of time from a specified date to a later
specified date, the word “from” means “from and including;” the words “to” and “until” each
mean “to but excluding;” and the word “through” means “to and including.”

              (c)     Section headings herein and in the other Loan Documents are included
for convenience of reference only and shall not affect the interpretation of this Agreement or
any other Loan Document.

       Section 1.3    Accounting Terms.

               (a)     Generally. All accounting terms not specifically or completely defined
herein shall be construed in conformity with, and all financial data (including financial ratios
and other financial calculations) required to be submitted pursuant to this Agreement shall be
prepared in conformity with, GAAP applied on a consistent basis, as in effect from time to
time, applied in a manner consistent with that used in preparing the Audited Financial
Statements, except as otherwise specifically prescribed herein.

               (b)    Changes in GAAP. If at any time any change in GAAP would affect the
computation of any financial ratio or requirement set forth in any Loan Document, and either
the Parent Borrower or the Required Lenders shall so request, the Administrative Agent, the
Lenders and the Parent Borrower shall negotiate in good faith to amend such ratio or
requirement to preserve the original intent thereof in light of such change in GAAP (subject to
the approval of the Required Lenders); provided that, until so amended, (i) such ratio or
requirement shall continue to be computed in accordance with GAAP prior to such change

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therein and (ii) the Parent Borrower shall provide to the Administrative Agent and the Lenders
financial statements and other documents required under this Agreement or as reasonably
requested hereunder setting forth a reconciliation between calculations of such ratio or
requirement made before and after giving effect to such change in GAAP. Without limiting the
foregoing, leases shall continue to be classified and accounted for on a basis consistent with
that reflected in the Audited Financial Statements for all purposes of this Agreement,
notwithstanding any change in GAAP relating thereto, unless the parties hereto shall enter into
a mutually acceptable amendment addressing such changes, as provided for above.
Notwithstanding the foregoing, for purposes of determining compliance with any covenant
(including the computation of any financial covenant) contained herein, Indebtedness of the
Parent Borrower and its Subsidiaries shall be deemed to be carried at 100% of the outstanding
principal amount thereof, and the effects of FASB ASC 825 and FASB ASC 470-20 on
financial liabilities shall be disregarded.

        Section 1.4   Rounding. Any financial ratios required to be maintained by the Parent
Borrower pursuant to this Agreement shall be calculated by dividing the appropriate
component by the other component, carrying the result to one place more than the number of
places by which such ratio is expressed herein and rounding the result up or down to the nearest
number (with a rounding-up if there is no nearest number).

        Section 1.5    Exchange Rates; Currency Equivalents. (a) The Administrative Agent
or the relevant L/C Issuer, as applicable, shall determine the Spot Rates as of each Revaluation
Date to be used for calculating Dollar Equivalent amounts of L/C Credit Extensions and
Outstanding Amounts denominated in Alternative Currencies. Such Spot Rates shall become
effective as of such Revaluation Date and shall be the Spot Rates employed in converting any
amounts between the applicable currencies until the next Revaluation Date to occur. Except for
purposes of financial statements delivered by Loan Parties hereunder or calculating financial
covenants hereunder or except as otherwise provided herein, the applicable amount of any
currency (other than Dollars) for purposes of the Loan Documents shall be such Dollar
Equivalent amount as so determined by the Administrative Agent or the relevant L/C Issuer,
as applicable.

                (b)    Wherever in this Agreement in connection with the issuance,
amendment or extension of a Letter of Credit, an amount, such as a required minimum or
multiple amount, is expressed in Dollars, but such Letter of Credit is denominated in an
Alternative Currency, such amount shall be the relevant Alternative Currency Equivalent of
such Dollar amount (rounded to the nearest unit of such Alternative Currency, with 0.5 of a
unit being rounded upward), as determined by the Administrative Agent or the relevant L/C
Issuer, as the case may be.

               (c)    The Administrative Agent does not warrant, nor accept responsibility,
nor shall the Administrative Agent have any liability with respect to the administration,
submission or any other matter related to the rates in the definition of “Eurodollar Rate” or
with respect to any comparable or successor rate thereto.

        Section 1.6     Alternative Currencies. (a) The Parent Borrower may from time to time
request that Letters of Credit be issued in a currency other than Dollars; provided that such
requested currency is a lawful currency (other than Dollars) that is readily available and freely
transferable and convertible into Dollars. In the case of any such request with respect to the
issuance of Letters of Credit, such request shall be subject to the approval of the Administrative
Agent and the L/C Issuer that is to issue such Letter of Credit.

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                 (b)     Any such request shall be made to the Administrative Agent not later
than 10:00 a.m., 20 Business Days prior to the date of the desired L/C Credit Extension (or
such other time or date as may be agreed by the Administrative Agent and the applicable L/C
Issuer, in their sole discretion). In the case of any such request pertaining to Letters of Credit,
the Administrative Agent shall promptly notify each L/C Issuer thereof. Each L/C Issuer shall
notify the Administrative Agent, not later than 10:00 a.m., ten Business Days after receipt of
such request whether it consents, in its sole discretion, to the issuance of Letters of Credit in
such requested currency.

               (c)      Any failure by an L/C Issuer to respond to such request within the time
period specified in the preceding sentence shall be deemed to be a refusal by such L/C Issuer
to permit Letters of Credit to be issued in such requested currency. If the Administrative Agent
and any L/C Issuer consent to the issuance of Letters of Credit in such requested currency, the
Administrative Agent shall so notify the Parent Borrower and such currency shall thereupon
be deemed for all purposes to be an Alternative Currency hereunder for purposes of any Letter
of Credit issuances. If the Administrative Agent shall fail to obtain consent to any request for
an additional currency under this Section 1.6, the Administrative Agent shall promptly so
notify the Parent Borrower.

       Section 1.7     Change of Currency. (a) Each obligation of the Borrowers to make a
payment denominated in the national currency unit of any member state of the European Union
that adopts the Euro as its lawful currency after the date hereof shall be redenominated into
Euro at the time of such adoption (in accordance with the EMU Legislation). If, in relation to
the currency of any such member state, the basis of accrual of interest expressed in this
Agreement in respect of that currency shall be inconsistent with any convention or practice in
the London interbank market for the basis of accrual of interest in respect of the Euro, such
expressed basis shall be replaced by such convention or practice with effect from the date on
which such member state adopts the Euro as its lawful currency.

                (b)     Each provision of this Agreement shall be subject to such reasonable
changes of construction as the Administrative Agent may from time to time specify to be
appropriate to reflect the adoption of the Euro by any member state of the European Union and
any relevant market conventions or practices relating to the Euro.

               (c)     Each provision of this Agreement also shall be subject to such
reasonable changes of construction as the Administrative Agent may from time to time specify
to be appropriate to reflect a change in currency of any other country and any relevant market
conventions or practices relating to the change in currency.

        Section 1.8    Times of Day. Unless otherwise specified, all references herein to times
of day shall be references to Central Time (daylight savings or standard, as applicable).

        Section 1.9     Letter of Credit Amounts. Unless otherwise specified herein, the amount
of a Letter of Credit at any time shall be deemed to be the Dollar Equivalent of the stated
amount of such Letter of Credit in effect at such time; provided, however, that with respect to
any Letter of Credit that, by its terms or the terms of any Issuer Document related thereto,
provides for one or more automatic increases in the stated amount thereof, the amount of such
Letter of Credit shall be deemed to be the Dollar Equivalent of the maximum stated amount of
such Letter of Credit after giving effect to all such increases, whether or not such maximum
stated amount is in effect at such time.


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       Section 1.10 Uniform Commercial Code. Terms relating to Collateral used and not
otherwise defined herein that are defined in the UCC shall have the meanings set forth in the
UCC, as applicable and as the context requires.

                                        ARTICLE II

                 THE COMMITMENTS AND CREDIT EXTENSIONS

        Section 2.1    The Loans. Subject to the terms and conditions set forth herein and in
the DIP Orders, each Lender severally agrees to make revolving loans (each such loan, a
“Loan”) to the Borrowers in Dollars from time to time, on any Business Day during the
Availability Period, in an aggregate amount not to exceed at any time outstanding the amount
of such Lender’s Commitment; provided, however, that immediately after giving effect to any
Borrowing, (i) the Total Outstandings shall not exceed the Line Cap and (ii) the aggregate
Outstanding Amount of the Loans of any Lender, plus such Lender’s Applicable Percentage of
the Outstanding Amount of all L/C Obligations shall not exceed such Lender’s Commitment.
Within the limits of the Line Cap, and subject to the other terms and conditions hereof and in
the DIP Orders, the Borrowers may borrow under this Section 2.1, prepay under Section 2.5,
and reborrow under this Section 2.1. Loans may be Base Rate Loans or Eurodollar Rate Loans,
as further provided herein.

         Section 2.2   Borrowings, Conversions and Continuations of Loans. (a) Each
Borrowing, each conversion of Loans from one Type to the other, and each continuation of
Eurodollar Rate Loans shall be made upon the Parent Borrower’s irrevocable notice to the
Administrative Agent, which may be given by (A) telephone or (B) a Committed Loan Notice;
provided that any telephonic notice must be confirmed immediately by delivery to the
Administrative Agent of a written Committed Loan Notice. Each such Committed Loan Notice
must be received by the Administrative Agent not later than 11:00 a.m. (i) three (3) Business
Days prior to the requested date of any Borrowing (except with respect to a Borrowing of
Eurodollar Rate Loans on the Closing Date, as provided in clause (ii) hereof) of, conversion to
or continuation of Eurodollar Rate Loans or of any conversion of Eurodollar Rate Loans to
Base Rate Loans and (ii) on the requested date of (x) any Borrowing of Base Rate Loans or (y)
a Borrowing of Eurodollar Rate Loans on the Effective Date. Each Borrowing of, conversion
to or continuation of Eurodollar Rate Loans shall be in a principal amount of $5,000,000 or a
whole multiple of $1,000,000 in excess thereof. Except as provided in Section 2.3(c), each
Borrowing of or conversion to Base Rate Loans shall be in a principal amount of $500,000 or
a whole multiple of $100,000 in excess thereof. Each Committed Loan Notice shall specify (i)
whether the Parent Borrower is requesting a Borrowing, a conversion of Loans from one Type
to the other, or a continuation of Eurodollar Rate Loans, (ii) the requested date of the
Borrowing, conversion or continuation, as the case may be (which shall be a Business Day),
(iii) the principal amount of Loans to be borrowed, converted or continued, (iv) the Type of
Loans to be borrowed or to which existing Loans are to be converted and (v) the applicable
Borrower. If the Parent Borrower fails to specify a Type of Loan in a Committed Loan Notice
or fails to give a timely notice requesting a conversion or continuation, then the applicable
Loans shall be made as, or converted to, Base Rate Loans. Any such automatic conversion to
Base Rate Loans shall be effective as of the last day of the Interest Period then in effect with
respect to the applicable Eurodollar Rate Loans.

               (b)     Following receipt of a Committed Loan Notice, the Administrative
Agent shall promptly notify each Lender of the amount of its Applicable Percentage of Loans,
and if no timely notice of a conversion or continuation is provided by the Parent Borrower, the
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Administrative Agent shall notify each Lender of the details of any automatic conversion to
Base Rate Loans as described in the preceding subsection. In the case of a Borrowing, each
Appropriate Lender shall make the amount of its Loan available to the Administrative Agent
in immediately available funds at the Administrative Agent’s Office not later than 2:00 p.m.
on the Business Day specified in the applicable Committed Loan Notice. Upon satisfaction or
waiver pursuant to the terms of this Agreement of the applicable conditions set forth in
Section 4.2 (and, if such Borrowing is the initial Credit Extension, Section 4.1), the
Administrative Agent shall make all funds so received available to the Parent Borrower in like
funds as received by the Administrative Agent either by (i) crediting the account of the Parent
Borrower on the books of Bank of America with the amount of such funds or (ii) wire transfer
of such funds, in each case in accordance with instructions provided to (and reasonably
acceptable to) the Administrative Agent by the Parent Borrower; provided, however, that if, on
the date a Committed Loan Notice with respect to a Borrowing is given by the Parent Borrower,
there are L/C Borrowings outstanding, then the proceeds of such Borrowing, first, shall be
applied to the payment in full of any such L/C Borrowings, and, second, shall be made available
to the Parent Borrower as provided above.

               (c)    Except as otherwise provided herein, a Eurodollar Rate Loan may be
continued or converted only on the last day of an Interest Period for such Eurodollar Rate Loan.
During the existence of an Event of Default, no Loans may be requested as, converted to or
continued as Eurodollar Rate Loans without the consent of the Required Lenders.

              (d)     The Administrative Agent shall promptly notify the Parent Borrower
and the Lenders of the interest rate applicable to any Interest Period for Eurodollar Rate Loans
upon determination of such interest rate.

                (e)     After giving effect to all Borrowings, all conversions of Loans from one
Type to the other, and all continuations of Loans as the same Type, there shall not be more than
three Interest Periods in effect.

               (f)    Notwithstanding anything to the contrary in this Agreement, any Lender
may exchange, continue or rollover all of the portion of its Loans in connection with any
refinancing, extension, loan modification or similar transaction permitted by the terms of this
Agreement, pursuant to a cashless settlement mechanism approved by the Parent Borrower, the
Administrative Agent, and such Lender.

       Section 2.3     Letters of Credit.

                (a)    The Letter of Credit Commitment. (i) (A) Subject to the terms and
conditions set forth herein and in the DIP Orders, each L/C Issuer agrees, in reliance upon the
agreements of the Lenders set forth in this Section 2.3, (x) from time to time on any Business
Day during the period from the Closing Date until the Letter of Credit Expiration Date, to issue
Letters of Credit denominated in Dollars or in one or more Alternative Currencies for the
account of the Parent Borrower or its Subsidiaries, and to amend or extend Letters of Credit
previously issued by it, in accordance with Section 2.3(b), and (y) to honor drawings under the
Letters of Credit; and (B) the Lenders severally agree to participate in Letters of Credit issued
for the account of the Parent Borrower or its Subsidiaries and any drawings thereunder;
provided that after giving effect to any L/C Credit Extension with respect to any Letter of
Credit, (x) the Total Outstandings shall not exceed the Line Cap, (y) the aggregate Outstanding
Amount of the Loans of any Lender, plus such Lender’s Applicable Percentage of the
Outstanding Amount of all L/C Obligations shall not exceed such Lender’s Commitment and

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(z) the Outstanding Amount of the L/C Obligations shall not exceed the Letter of Credit
Sublimit. Each request by the Parent Borrower for the issuance or amendment of a Letter of
Credit shall be deemed to be a representation by the Parent Borrower that the L/C Credit
Extension so requested complies with the conditions set forth in the proviso to the preceding
sentence. Within the foregoing limits, and subject to the terms and conditions hereof and in the
DIP Orders, the Parent Borrower’s ability to obtain Letters of Credit shall be fully revolving,
and accordingly the Parent Borrower may, during the foregoing period, obtain Letters of Credit
to replace Letters of Credit that have expired or that have been drawn upon and reimbursed.

                       (ii)    No L/C Issuer shall issue any Letter of Credit if:

                               (A)     subject to Section 2.3(b)(iii), the expiry date of such
               requested Letter of Credit would occur more than twelve months after the date
               of issuance or last extension, unless the Required Lenders have approved such
               expiry date; or

                               (B)     the expiry date of such requested Letter of Credit would
               occur after the Letter of Credit Expiration Date, unless either (x) all the Lenders
               have approved such expiry date or (y) the Parent Borrower Cash Collateralizes
               such Letter of Credit in an amount equal to 105% of the stated amount of such
               Letter of Credit on the date such Letter of Credit is issued;

                       (iii)   No L/C Issuer shall be under any obligation to issue any Letter
       of Credit if:

                               (A)     any order, judgment or decree of any Governmental
               Authority or arbitrator shall by its terms purport to enjoin or restrain such L/C
               Issuer from issuing such Letter of Credit, or any Law applicable to such L/C
               Issuer or any request or directive (whether or not having the force of law) from
               any Governmental Authority with jurisdiction over such L/C Issuer shall
               prohibit, or request that such L/C Issuer refrain from, the issuance of letters of
               credit generally or such Letter of Credit in particular or shall impose upon such
               L/C Issuer with respect to such Letter of Credit any restriction, reserve or capital
               requirement not in effect on the Closing Date, or shall impose upon such L/C
               Issuer any unreimbursed loss, cost or expense which was not applicable on the
               Closing Date (or, if different, the date on which such L/C Issuer became an L/C
               Issuer hereunder) and which such L/C Issuer in good faith deems material to it;

                              (B)    the issuance of such Letter of Credit would violate one or
               more policies of such L/C Issuer applicable to letters of credit generally;

                             (C)      except as otherwise agreed by the Administrative Agent
               and such L/C Issuer, such Letter of Credit is in an initial stated amount less than
               $25,000;

                              (D)     except as otherwise agreed by the Administrative Agent
               and such L/C Issuer, such Letter of Credit is to be denominated in a currency
               other than Dollars or an Alternative Currency;

                              (E)    such L/C Issuer does not as of the issuance date of such
               requested Letter of Credit issue Letters of Credit in the requested currency;

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                            (F)   such Letter of Credit contains any provisions for
             automatic reinstatement of the stated amount after any drawing thereunder;

                           (G)    immediately after giving effect to such issuance, the
             outstanding L/C Obligations in respect of all Letters of Credit issued by such
             L/C Issuer would exceed such L/C Issuer’s L/C Issuer Sublimit; or

                            (H)    a default of any Lender’s obligations to fund under
             Section 2.3(c) exists or any Lender is at such time a Defaulting Lender
             hereunder, unless the applicable L/C Issuer has entered into arrangements
             satisfactory to the L/C Issuer with the Parent Borrower or such Lender to
             eliminate such L/C Issuer’s risk with respect to such Lender.

                    (iv)    No L/C Issuer shall amend any Letter of Credit if such L/C Issuer
      would not be permitted at such time to issue such Letter of Credit in its amended form
      under the terms hereof.

                     (v)      No L/C Issuer shall be under any obligation to amend any Letter
      of Credit if (A) such L/C Issuer would have no obligation at such time to issue such
      Letter of Credit in its amended form under the terms hereof, or (B) the beneficiary of
      such Letter of Credit does not accept the proposed amendment to such Letter of Credit.

                     (vi)    Each L/C Issuer shall act on behalf of the Lenders with respect
      to any Letters of Credit issued by it and the documents associated therewith, and each
      L/C Issuer shall have all of the benefits and immunities (A) provided to the
      Administrative Agent in Article IX with respect to any acts taken or omissions suffered
      by such L/C Issuer in connection with Letters of Credit issued by it or proposed to be
      issued by it and Issuer Documents pertaining to such Letters of Credit as fully as if the
      term “Administrative Agent” as used in Article IX included such L/C Issuer with
      respect to such acts or omissions, and (B) as additionally provided herein with respect
      to each L/C Issuer.

              (b)     Procedures for Issuance and Amendment of Letters of Credit; Auto-
Extension Letters of Credit.

      Subject to Section 1.6:

                      (i)     Each Letter of Credit shall be issued or amended, as the case may
      be, upon the request of the Parent Borrower delivered to the applicable L/C Issuer (with
      a copy to the Administrative Agent) in the form of a Letter of Credit Application,
      appropriately completed and signed by a Responsible Officer of the Parent Borrower.
      Such Letter of Credit Application must be received by the applicable L/C Issuer and
      the Administrative Agent not later than 10:00 a.m. at least two Business Days (or such
      later date and time as the Administrative Agent and such L/C Issuer may agree in a
      particular instance in their sole discretion) prior to the proposed issuance date or date
      of amendment, as the case may be. In the case of a request for an initial issuance of a
      Letter of Credit, such Letter of Credit Application shall specify in form and detail
      reasonably satisfactory to the applicable L/C Issuer: (A) the proposed issuance date of
      the requested Letter of Credit (which shall be a Business Day); (B) the amount and
      currency thereof; (C) the expiry date thereof; (D) the name and address of the
      beneficiary thereof; (E) the documents to be presented by such beneficiary in case of

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     any drawing thereunder; (F) the full text of any certificate to be presented by such
     beneficiary in case of any drawing thereunder; (G) the purpose and nature of the
     requested Letter of Credit; and (H) such other matters as the applicable L/C Issuer may
     reasonably require. In the case of a request for an amendment of any outstanding Letter
     of Credit, such Letter of Credit Application shall specify in form and detail reasonably
     satisfactory to the applicable L/C Issuer (I) the Letter of Credit to be amended; (II) the
     proposed date of amendment thereof (which shall be a Business Day); (III) the nature
     of the proposed amendment; and (IV) such other matters as such L/C Issuer may
     reasonably require. Additionally, the Parent Borrower shall furnish to the applicable
     L/C Issuer and the Administrative Agent such other documents and information
     pertaining to such requested Letter of Credit issuance or amendment, including any
     Issuer Documents, as such L/C Issuer or the Administrative Agent may reasonably
     require.

                     (ii)    Promptly after receipt of any Letter of Credit Application, the
     applicable L/C Issuer will confirm with the Administrative Agent (by telephone or in
     writing) that the Administrative Agent has received a copy of such Letter of Credit
     Application from the Parent Borrower and, if not, such L/C Issuer will provide the
     Administrative Agent with a copy thereof. Unless such L/C Issuer has received written
     notice from any Lender, the Administrative Agent or any Loan Party, at least one (1)
     Business Day prior to the requested date of issuance or amendment of the applicable
     Letter of Credit, that one or more applicable conditions contained in Section 4.2 (and,
     if such L/C Credit Extension is to be made on the Closing Date, Section 4.1 shall not
     then be satisfied), then, subject to the terms and conditions hereof and in the DIP
     Orders, such L/C Issuer shall, on the requested date, issue a Letter of Credit for the
     account of a Borrower (or the applicable Subsidiary) or enter into the applicable
     amendment, as the case may be, in each case in accordance with such L/C Issuer’s usual
     and customary business practices. Immediately upon the issuance of each Letter of
     Credit, each Lender shall be deemed to, and hereby irrevocably and unconditionally
     agrees to, purchase from the applicable L/C Issuer a risk participation in such Letter of
     Credit in an amount equal to the product of such Lender’s Applicable Percentage
     multiplied by the amount of such Letter of Credit.

                     (iii)  If the Parent Borrower so requests in any applicable Letter of
     Credit Application, the applicable L/C Issuer may, in its sole and absolute discretion,
     agree to issue a Letter of Credit that has automatic extension provisions (each, an
     “Auto-Extension Letter of Credit”); provided that any such Auto-Extension Letter of
     Credit must permit such L/C Issuer to prevent any such extension at least once in each
     twelve-month period (commencing with the date of issuance of such Letter of Credit)
     by giving prior notice to the beneficiary thereof not later than a day (the “Non-
     Extension Notice Date”) in each such twelve-month period to be agreed upon at the
     time such Letter of Credit is issued. Unless otherwise directed by the applicable L/C
     Issuer, the Parent Borrower shall not be required to make a specific request to such L/C
     Issuer for any such extension. Once an Auto-Extension Letter of Credit has been issued,
     the Lenders shall be deemed to have authorized (but may not require) the applicable
     L/C Issuer to permit the extension of such Letter of Credit at any time to an expiry date
     not later than the Letter of Credit Expiration Date; provided, however, that the
     applicable L/C Issuer shall not permit any such extension if (A) such L/C Issuer has
     determined that it would not be permitted, or would have no obligation, at such time to
     issue such Letter of Credit in its revised form (as extended) under the terms hereof (by

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     reason of the provisions of clause (ii) or (iii) of Section 2.3(a) or otherwise), or the DIP
     Orders, or (B) it has received notice (which may be by telephone or in writing) on or
     before the day that is seven Business Days before the Non-Extension Notice Date (I)
     from the Administrative Agent that the Required Lenders have elected not to permit
     such extension or (II) from the Administrative Agent, any Lender or the Parent
     Borrower that one or more of the applicable conditions specified in Section 4.2 is not
     then satisfied, and in each such case directing such L/C Issuer not to permit such
     extension.

                    (iv)    Promptly after its delivery of any Letter of Credit or any
     amendment to a Letter of Credit to an advising bank with respect thereto or to the
     beneficiary thereof, the applicable L/C Issuer will also deliver to the Parent Borrower
     and the Administrative Agent a true and complete copy of such Letter of Credit or
     amendment. On a monthly basis, each L/C Issuer shall deliver to the Administrative
     Agent a complete list of all outstanding Letters of Credit issued by such L/C Issuer as
     provided in Section 2.3(f).

            (c)     Drawings and Reimbursements; Funding of Participations.

                     (i)    Upon receipt from the beneficiary of any Letter of Credit of any
     notice of a drawing under such Letter of Credit, the applicable L/C Issuer shall notify
     the Parent Borrower and the Administrative Agent thereof. In the case of a Letter of
     Credit denominated in an Alternative Currency, the Parent Borrower shall reimburse
     the applicable L/C Issuer in such Alternative Currency, unless (A) such L/C Issuer (at
     its option) shall have specified in such notice that it will require reimbursement in
     Dollars, or (B) in the absence of any such requirement for reimbursement in Dollars,
     the Parent Borrower shall have notified such L/C Issuer promptly following receipt of
     the notice of drawing that the Parent Borrower will reimburse such L/C Issuer in
     Dollars. In the case of any such reimbursement in Dollars of a drawing under a Letter
     of Credit denominated in an Alternative Currency, the applicable L/C Issuer shall notify
     the Parent Borrower of the Dollar Equivalent of the amount of the drawing promptly
     following the determination thereof. Not later than (x) 12:30 p.m. on the date of any
     payment by the applicable L/C Issuer under a Letter of Credit (each such date, an
     “Honor Date”) if the Parent Borrower shall have received notice of such payment prior
     to 10:00 a.m. on such date or (y) if such notice has not been received by the Parent
     Borrower prior to such time on the Honor Date, then 12:30 p.m. on the Business Day
     immediately following the day that the Parent Borrower receives such notice, the Parent
     Borrower shall reimburse the applicable L/C Issuer in an amount equal to the amount
     of such drawing and in the applicable currency. If the Parent Borrower fails to so
     reimburse the applicable L/C Issuer by such time, such L/C Issuer shall promptly notify
     the Administrative Agent, who shall then promptly notify each Lender, of the Honor
     Date, the amount of the unreimbursed drawing (expressed in Dollars in the amount of
     the Dollar Equivalent thereof in the case of a Letter of Credit denominated in an
     Alternative Currency) (the “Unreimbursed Amount”), and the amount of such
     Lender’s Applicable Percentage thereof. In such event, the Parent Borrower shall be
     deemed to have requested a Borrowing of Base Rate Loans to be disbursed on the Honor
     Date in an amount equal to the Unreimbursed Amount, without regard to the minimum
     and multiples specified in Section 2.2 for the principal amount of Base Rate Loans, but
     subject to the amount of the unutilized portion of the Commitments and the conditions
     set forth in Section 4.2 (other than the delivery of a Committed Loan Notice). Any

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     notice given by an L/C Issuer or the Administrative Agent pursuant to this
     Section 2.3(c)(i) may be given by telephone if immediately confirmed in writing;
     provided that the lack of such an immediate confirmation shall not affect the
     conclusiveness or binding effect of such notice.

                    (ii)    Each Lender shall upon any notice pursuant to Section 2.3(c)(i)
     make funds available to the Administrative Agent for the account of the applicable L/C
     Issuer, in Dollars, at the Administrative Agent’s Office in an amount equal to its
     Applicable Percentage of the Unreimbursed Amount not later than 12:00 p.m. on the
     Business Day specified in such notice by the Administrative Agent, whereupon, subject
     to the provisions of Section 2.3(c)(iii), each Lender that so makes funds available shall
     be deemed to have made a Base Rate Loan to the Parent Borrower in such amount. The
     Administrative Agent shall remit the funds so received to the applicable L/C Issuer in
     Dollars.

                    (iii)   With respect to any Unreimbursed Amount that is not fully
     refinanced by a Borrowing of Base Rate Loans because the conditions set forth in
     Section 4.2 cannot be satisfied or for any other reason, the Parent Borrower shall be
     deemed to have incurred from the applicable L/C Issuer an L/C Borrowing in the
     amount of the Unreimbursed Amount that is not so refinanced, which L/C Borrowing
     shall be due and payable on demand (together with interest) and shall bear interest at
     the Default Rate. In such event, each Lender’s payment to the Administrative Agent for
     the account of the applicable L/C Issuer pursuant to Section 2.3(c)(ii) shall be deemed
     payment in respect of its participation in such L/C Borrowing and shall constitute an
     L/C Advance from such Lender in satisfaction of its participation obligation under this
     Section 2.3.

                     (iv)    Until each Lender funds its Loan or L/C Advance pursuant to
     this Section 2.3(c) to reimburse the applicable L/C Issuer for any amount drawn under
     any Letter of Credit, interest in respect of such Lender’s Applicable Percentage of such
     amount shall be solely for the account of such L/C Issuer.

                     (v)     Each Lender’s obligation to make Loans or L/C Advances to
     reimburse each L/C Issuer for amounts drawn under Letters of Credit, as contemplated
     by this Section 2.3(c), shall be absolute and unconditional and shall not be affected by
     any circumstance, including (A) any setoff, counterclaim, recoupment, defense or other
     right which such Lender may have against any L/C Issuer, the Parent Borrower, any
     Subsidiary or any other Person for any reason whatsoever; (B) the occurrence or
     continuance of a Default, or (C) any other occurrence, event or condition, whether or
     not similar to any of the foregoing; provided, however, that each Lender’s obligation to
     make Loans pursuant to this Section 2.3(c) is subject to the conditions set forth in
     Section 4.2 (other than delivery by the Parent Borrower of a Committed Loan Notice).
     No such making of an L/C Advance shall relieve or otherwise impair the obligation of
     the Parent Borrower to reimburse each L/C Issuer for the amount of any payment made
     by such L/C Issuer under any Letter of Credit, together with interest as provided herein.

                    (vi)     If any Lender fails to make available to the Administrative Agent
     for the account of the applicable L/C Issuer any amount required to be paid by such
     Lender pursuant to the foregoing provisions of this Section 2.3(c) by the time specified
     in Section 2.3(c)(ii), such L/C Issuer shall be entitled to recover from such Lender
     (acting through the Administrative Agent), on demand, such amount with interest

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       thereon for the period from the date such payment is required to the date on which such
       payment is immediately available to such L/C Issuer at a rate per annum equal to the
       greater of the Federal Funds Rate and a rate determined by such L/C Issuer in
       accordance with banking industry rules on interbank compensation, plus any
       administrative, processing or similar fees customarily charged by such L/C Issuer in
       connection with the foregoing. If such Lender pays such amount (with interest and fees
       as aforesaid), the amount so paid shall constitute such Lender’s Loan included in the
       relevant Borrowing or L/C Advance in respect of the relevant L/C Borrowing, as the
       case may be. A certificate of the relevant L/C Issuer submitted to any Lender (through
       the Administrative Agent) with respect to any amounts owing under this
       Section 2.3(c)(vi) shall be conclusive absent manifest error.

              (d)     Repayment of Participations.

                      (i)    At any time after any L/C Issuer has made a payment under any
       Letter of Credit and has received from any Lender such Lender’s L/C Advance in
       respect of such payment in accordance with Section 2.3(c), if the Administrative Agent
       receives for the account of any L/C Issuer any payment in respect of the related
       Unreimbursed Amount or interest thereon (whether directly from a Borrower or
       otherwise, including proceeds of Cash Collateral applied thereto by the Administrative
       Agent), the Administrative Agent will distribute to such Lender its Applicable
       Percentage thereof in Dollars and in the same funds as those received by the
       Administrative Agent.

                      (ii)     If any payment received by the Administrative Agent for the
       account of any L/C Issuer pursuant to Section 2.3(c)(i) is required to be returned under
       any of the circumstances described in Section 10.5 (including pursuant to any
       settlement entered into by such L/C Issuer in its discretion), each Lender shall pay to
       the Administrative Agent for the account of the applicable L/C Issuer its Applicable
       Percentage thereof on demand of the Administrative Agent, plus interest thereon from
       the date of such demand to the date such amount is returned by such Lender, at a rate
       per annum equal to the Federal Funds Rate from time to time in effect. The obligations
       of the Lenders under this clause shall survive the payment in full of the Obligations and
       the termination of this Agreement.

                (e)      Obligations Absolute. The obligation of the Parent Borrower to
reimburse each L/C Issuer for each drawing under each Letter of Credit issued by such L/C
Issuer and to repay each L/C Borrowing shall be absolute, unconditional and irrevocable, and
shall be paid strictly in accordance with the terms of this Agreement and the DIP Orders under
all circumstances, including the following:

                     (i)     any lack of validity or enforceability of such Letter of Credit,
       this Agreement, or any other Loan Document;

                       (ii)   the existence of any claim, counterclaim, setoff, defense or other
       right that the Parent Borrower or any Subsidiary may have at any time against any
       beneficiary or any transferee of such Letter of Credit (or any Person for whom any such
       beneficiary or any such transferee may be acting), any L/C Issuer or any other Person,
       whether in connection with this Agreement, the transactions contemplated hereby or by
       such Letter of Credit or any agreement or instrument relating thereto, or any unrelated
       transaction;

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                       (iii)  any draft, demand, certificate or other document presented under
       such Letter of Credit proving to be forged, fraudulent, invalid or insufficient in any
       respect or any statement therein being untrue or inaccurate in any respect; or any loss
       or delay in the transmission or otherwise of any document required in order to make a
       drawing under such Letter of Credit;

                      (iv)    any payment by the applicable L/C Issuer under such Letter of
       Credit against presentation of a draft or certificate that does not strictly comply with the
       terms of such Letter of Credit; or any payment made by such L/C Issuer under such
       Letter of Credit to any Person purporting to be a trustee in bankruptcy, debtor-in-
       possession, assignee for the benefit of creditors, liquidator, receiver or other
       representative of or successor to any beneficiary or any transferee of such Letter of
       Credit, including any arising in connection with any proceeding under any Debtor
       Relief Law;

                      (v)     any adverse change in the relevant exchange rates or in the
       availability of the relevant Alternative Currency to the Parent Borrower or any
       Subsidiary or in the relevant currency markets generally; or

                      (vi)     any other circumstance or happening whatsoever, whether or not
       similar to any of the foregoing, including any other circumstance that might otherwise
       constitute a defense available to, or a discharge of, the Parent Borrower or any
       Subsidiary.

        The Parent Borrower shall promptly examine a copy of each Letter of Credit and each
amendment thereto that is delivered to it and, in the event of any claim of noncompliance with
the Parent Borrower’s instructions or other irregularity, the Parent Borrower will promptly, but
in an any event, within three (3) Business Days of receipt of such copy, notify the applicable
L/C Issuer. The Parent Borrower shall be conclusively deemed to have waived any such claim
against such L/C Issuer and its correspondents unless such notice is given as aforesaid.

                (f)     Role of the L/C Issuers. Each Lender and the Parent Borrower agree
that, in paying any drawing under a Letter of Credit, the L/C Issuers shall not have any
responsibility to obtain any document (other than any sight draft, certificates and documents
expressly required by the Letter of Credit) or to ascertain or inquire as to the validity or
accuracy of any such document or the authority of the Person executing or delivering any such
document. None of the L/C Issuers, the Administrative Agent, any of their respective Related
Parties nor any correspondent, participant or assignee of any L/C Issuer shall be liable to any
Lender for (i) any action taken or omitted in connection herewith at the request or with the
approval of the Lenders or the Required Lenders, as applicable; (ii) any action taken or omitted
in the absence of gross negligence or willful misconduct; or (iii) the due execution,
effectiveness, validity or enforceability of any document or instrument related to any Letter of
Credit or Issuer Document. The Parent Borrower hereby assumes all risks of the acts or
omissions of any beneficiary or transferee with respect to its use of any Letter of Credit;
provided, however, that this assumption is not intended to, and shall not, preclude the Parent
Borrower’s pursuing such rights and remedies as it may have against the beneficiary or
transferee at law, in equity or under any other agreement. None of the L/C Issuers, the
Administrative Agent, any of their respective Related Parties nor any correspondent,
participant or assignee of any L/C Issuer shall be liable or responsible for any of the matters
described in clauses (i) through (v) of Section 2.3(e); provided, however, that anything in such
clauses to the contrary notwithstanding, the Parent Borrower may have a claim against the

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applicable L/C Issuer, and the applicable L/C Issuer may be liable to the Parent Borrower, to
the extent, but only to the extent, of any direct, as opposed to consequential or exemplary,
damages suffered by the Parent Borrower which the Parent Borrower proves were caused by
such L/C Issuer’s willful misconduct or gross negligence or such L/C Issuer’s willful failure to
pay under any Letter of Credit after the presentation to it by the beneficiary of a sight draft and
certificate(s) strictly complying with the terms and conditions of a Letter of Credit. In
furtherance and not in limitation of the foregoing, each L/C Issuer may accept documents that
appear on their face to be in order, without responsibility for further investigation, regardless
of any notice or information to the contrary, and no L/C Issuer shall be responsible for the
validity or sufficiency of any instrument transferring or assigning or purporting to transfer or
assign a Letter of Credit or the rights or benefits thereunder or proceeds thereof, in whole or in
part, which may prove to be invalid or ineffective for any reason.

               (g)     Cash Collateral.

                     (i)    Upon the request of the Administrative Agent, (A) if any L/C
       Issuer has honored any full or partial drawing request under any Letter of Credit and
       such drawing has resulted in an L/C Borrowing or (B) if, as of the Letter of Credit
       Expiration Date, any L/C Obligation for any reason remains outstanding, the Parent
       Borrower shall, in each case, immediately Cash Collateralize the then Outstanding
       Amount of all L/C Obligations.

                        (ii)   The Administrative Agent may, with respect to outstanding
       Letters of Credit issued in an Alternative Currency, at any time and from time to time
       after the initial deposit of Cash Collateral, request that additional Cash Collateral be
       provided in order to protect against the results of exchange rate fluctuations.

                       (iii)   Sections 2.5, 2.16 and Section 8.2(c) set forth certain additional
       requirements to deliver Cash Collateral hereunder. For purposes of this Section 2.3,
       Section 2.5, Section 2.16 and Section 8.2(c), “Cash Collateralize” means to pledge
       and deposit with or deliver to the Administrative Agent, for the benefit of the L/C
       Issuers and the Lenders, as collateral for the L/C Obligations, cash or deposit account
       balances pursuant to documentation in form and substance reasonably satisfactory to
       the Administrative Agent and the L/C Issuers (which documents are hereby consented
       to by the Lenders). Derivatives of such term have corresponding meanings. The
       Borrowers hereby grant to the Administrative Agent, for the benefit of the L/C Issuers
       and the Lenders, a security interest in all such cash, deposit accounts and all balances
       therein and all proceeds of the foregoing. Cash Collateral shall be maintained in blocked
       deposit accounts at Bank of America. Reasonable interest shall accrue on any such cash
       deposit, which accrued interest shall be for the account of the applicable Borrower,
       subject to this Agreement and the DIP Orders. If at any time the Administrative Agent
       determines that any funds held as Cash Collateral are subject to any right or claim of
       any Person other than the Administrative Agent or that the total amount of such funds
       is less than the aggregate Outstanding Amount of all L/C Obligations, the Parent
       Borrower will, forthwith upon demand by the Administrative Agent, pay to the
       Administrative Agent, as additional funds to be deposited as Cash Collateral, an amount
       equal to the excess of (x) such aggregate Outstanding Amount over (y) the total amount
       of funds, if any, then held as Cash Collateral that the Administrative Agent determines
       to be free and clear of any such right and claim. Upon the drawing of any Letter of
       Credit for which funds are on deposit as Cash Collateral, such funds shall be applied,


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       to the extent permitted under applicable Laws and the DIP Orders, to reimburse the
       applicable L/C Issuer.

                (h)    Applicability of ISP. Unless otherwise expressly agreed by the
applicable L/C Issuer and the Parent Borrower when a Letter of Credit is issued, the rules of
the ISP shall apply to each standby Letter of Credit.

               (i)     Letter of Credit Fees. The Parent Borrower shall pay to the
Administrative Agent for the account of each Lender in accordance with its Applicable
Percentage, in Dollars, a Letter of Credit fee (the “Letter of Credit Fee”) for each Letter of
Credit equal to the Applicable Rate for Eurodollar Rate Loans multiplied by the Dollar
Equivalent of the daily amount available to be drawn under such Letter of Credit. For purposes
of computing the daily amount available to be drawn under any Letter of Credit, the amount of
such Letter of Credit shall be determined in accordance with Section 1.9. Letter of Credit Fees
shall be (A) due and payable on the first day of each calendar month, commencing with the
first such date to occur after the issuance of such Letter of Credit, on the Letter of Credit
Expiration Date and thereafter on demand and (B) computed on a monthly basis in arrears.
Notwithstanding anything to the contrary contained herein, while any Letter of Credit Fee is
not paid when due, all such overdue Letter of Credit Fees shall accrue at the Default Rate.

                 (j)      Fronting Fee and Documentary and Processing Charges Payable to L/C
Issuer. The Parent Borrower shall pay directly to the applicable L/C Issuer for its own account,
in Dollars, a fronting fee with respect to each standby Letter of Credit, at the rate per annum
agreed upon from time to time in writing between the Parent Borrower and such L/C Issuer,
but in any event not to exceed 0.125% per annum, computed on the Dollar Equivalent of the
daily amount available to be drawn under such Letter of Credit on a monthly basis in arrears.
Such fronting fee for each standby Letter of Credit shall be due and payable on the first day of
each calendar month in respect of the most recently-ended monthly period (or portion thereof,
in the case of the first payment), commencing with the first such date to occur after the issuance
of such Letter of Credit, on the Letter of Credit Expiration Date and thereafter on demand. For
purposes of computing the daily amount available to be drawn under any Letter of Credit, the
amount of such Letter of Credit shall be determined in accordance with Section 1.9. In addition,
the Parent Borrower shall pay directly to each L/C Issuer for its own account, in Dollars, the
customary issuance, presentation, amendment and other processing fees, and other standard
costs and charges, of such L/C Issuer relating to letters of credit as from time to time in effect.
Such customary fees and standard costs and charges are due and payable on demand and are
nonrefundable.

               (k)   Conflict with Issuer Documents. In the event of any conflict or
inconsistency between the terms hereof and the terms of any Issuer Document, the terms hereof
shall control.

               (l)      Letters of Credit Issued for Subsidiaries. Notwithstanding that a Letter
of Credit issued or outstanding hereunder is in support of any obligations of, or is for the
account of, a Subsidiary, the Parent Borrower shall be obligated to reimburse the applicable
L/C Issuer hereunder for any and all drawings under such Letter of Credit. The Parent Borrower
hereby acknowledges that the issuance of Letters of Credit for the account of Subsidiaries
inures to the benefit of the Parent Borrower, and that the Parent Borrower’s business derives
substantial benefits from the businesses of such Subsidiaries.



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        Section 2.4     Borrowing Base Collateral Casualty Event . Upon the occurrence of a
Significant Casualty Event related to any Borrowing Base Collateral, the Administrative
Agent, in the exercise of its Permitted Discretion, may establish or increase the Casualty
Reserve for purposes of calculating the Borrowing Base pursuant to the definition thereof set
forth in Section 1.1 as a result thereof.

       Section 2.5     Prepayments.

                  (a)     Optional. Each Borrower may, upon notice from the Parent Borrower to
the Administrative Agent, at any time or from time to time voluntarily prepay Loans in whole
or in part without premium or penalty; provided that (i) such notice must be in a form
reasonably acceptable to the Administrative Agent and be received by the Administrative
Agent not later than 11:00 a.m. (A) three (3) Business Days prior to any date of prepayment of
Eurodollar Rate Loans and (B) on the date of prepayment of Base Rate Loans; (ii) any
prepayment of Eurodollar Rate Loans shall be in a principal amount of $1,000,000 or a whole
multiple of $1,000,000 in excess thereof; and (iii) any prepayment of Base Rate Loans shall be
in a principal amount of $500,000 or a whole multiple of $100,000 in excess thereof or, in each
case, if less, the entire principal amount thereof then outstanding. Each such notice shall specify
the date and amount of such prepayment and the Type(s) of Loans to be prepaid and, if
Eurodollar Rate Loans are to be prepaid, the Interest Period(s) of such Loans. The
Administrative Agent will promptly notify each Lender of its receipt of each such notice, and
of the amount of such Lender’s ratable portion of such prepayment. If such notice is given by
the Parent Borrower, the applicable Borrower shall make such prepayment and the prepayment
amount specified in such notice shall be due and payable on the date specified therein,
provided, however, that notwithstanding anything to the contrary contained herein, any such
prepayment notice may be conditioned upon the effectiveness of other credit facilities or the
closing of one or more securities offerings or other transactions; provided, further, that, the
Parent Borrower must affirmatively rescind any such prepayment notice by a subsequent
written notice to the Administrative Agent, if the condition in an original prepayment notice
shall fail to be satisfied by the proposed effective date of such prepayment, and upon the
Administrative Agent’s receipt of such rescinding notice, shall have no obligation to make any
prepayment in respect of such earlier prepayment notice. Any prepayment of a Eurodollar Rate
Loan shall be accompanied by all accrued interest on the amount prepaid, together with any
additional amounts required pursuant to Section 3.5.

               (b)     Mandatory.

                      (i)     If for any reason the Total Outstandings at any time exceed the
       Line Cap at such time, the Borrowers shall immediately prepay Loans and/or the Parent
       Borrower shall Cash Collateralize the L/C Obligations (other than the L/C Borrowings)
       in an aggregate amount equal to such excess. The Administrative Agent may, at any
       time and from time to time after the initial deposit of such Cash Collateral, request that
       additional Cash Collateral be provided in order to protect against the results of further
       exchange rate fluctuations.

                      (ii)    Each prepayment of Loans pursuant to the foregoing
       Section 2.5(b)(i) shall be applied in the following manner: first, ratably to the L/C
       Borrowings, second, ratably to the outstanding Loans, and, third, to Cash Collateralize
       the remaining L/C Obligations. Upon the drawing of any Letter of Credit that has been
       Cash Collateralized, the funds held as Cash Collateral shall be applied (without any


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       further action by or notice to or from the Borrowers or any other Loan Party) to
       reimburse the relevant L/C Issuer or the Lenders, as applicable.

       Section 2.6     Termination or Reduction of Commitments.

               (a)      Optional. The Parent Borrower may, upon notice to the Administrative
Agent, terminate the Aggregate Commitments or Letter of Credit Sublimit, or from time to
time permanently reduce the Aggregate Commitments or the Letter of Credit Sublimit;
provided that (i) any such notice shall be received by the Administrative Agent not later than
10:00 a.m. three (3) Business Days prior to the date of any such termination or reduction,
(ii) any such partial reduction shall be in an aggregate amount of $5,000,000 or any whole
multiple of $1,000,000 in excess thereof, (iii) the Parent Borrower shall not terminate or reduce
(A) the Aggregate Commitments if, after giving effect thereto and to any concurrent
prepayments hereunder, the Total Outstandings would exceed the Line Cap, (B) the Letter of
Credit Sublimit if, after giving effect thereto, the Outstanding Amount of L/C Obligations not
fully Cash Collateralized hereunder would exceed the Letter of Credit Sublimit, and (iv) if,
after giving effect to any reduction of the Aggregate Commitments, the Letter of Credit
Sublimit exceeds the amount of the Aggregate Commitments, the Letter of Credit Sublimit
shall be automatically reduced by the amount of such excess.

                (b)     Application of Commitment Reductions; Payment of Fees. The
Administrative Agent will promptly notify the Lenders of any termination or reduction of the
Letter of Credit Sublimit or the Commitments under this Section 2.6. Upon any reduction of
the Aggregate Commitments, the Commitment of each Lender shall be reduced by such
Lender’s Applicable Percentage of such reduction amount. All fees accrued hereunder until the
effective date of any termination of the Aggregate Commitments shall be paid on the effective
date of such termination.

       Section 2.7     Repayment of Loans.

               (a)    Each Borrower shall repay to the Lenders on the Maturity Date the
aggregate principal amount of all Loans outstanding on such date.

                 (b)     During the continuance of an Event of Default, all funds that flow into
a Dominion Account shall immediately be applied to the Obligations, first to unpaid accrued
interest on Base Rate Loans, second to the unpaid principal of Base Rate Loans, third to accrued
interest on Eurodollar Loans and fourth, together with such amounts, to the unpaid principal of
the Eurodollar Loans in such manner as to minimize amounts due under Section 3.5(a). The
Loan Parties may retain access to the funds in the Dominion Accounts until such time as an
Event of Default has occurred and is continuing and the Administrative Agent has delivered
notice that it is exercising exclusive control over such Dominion Account.

        Section 2.8     Interest. (a) Subject to the provisions of Section 2.8(b), (i) each
Eurodollar Rate Loan shall bear interest on the outstanding principal amount thereof for each
Interest Period at a rate per annum equal to the Eurodollar Rate for such Interest Period plus
the Applicable Rate; and (ii) each Base Rate Loan shall bear interest on the outstanding
principal amount thereof from the applicable borrowing date at a rate per annum equal to the
Base Rate plus the Applicable Rate.

                (b)    (i) Upon the occurrence and during the continuance of an Event of
Default, all outstanding Loans and L/C Borrowings (whether or not overdue) shall thereafter

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bear interest at a fluctuating interest rate per annum at all times equal to the Default Rate to the
fullest extent permitted by applicable Laws until such amounts are paid in full (after as well as
before judgment).

                       (ii)    Accrued and unpaid interest on past due amounts (including
       interest on past due interest) shall be due and payable upon demand.

               (c)     Interest on each Loan shall be due and payable in arrears on each Interest
Payment Date applicable thereto and at such other times as may be specified herein.
Notwithstanding anything else to the contrary contained herein, interest hereunder shall be due
no less frequently than monthly. Interest hereunder shall be due and payable in accordance with
the terms hereof before and after judgment.

       Section 2.9     Fees. In addition to certain fees described in Sections 2.3(i) and (j):

                (a)     Commitment Fee. The Parent Borrower shall pay to the Administrative
Agent for the account of each Lender in accordance with its Applicable Percentage, a
commitment fee equal to the Applicable Fee Rate multiplied by the actual daily amount by
which the Aggregate Commitments exceeds the Total Outstandings. The commitment fee
described in this Section 2.9(a) shall accrue at all times during the relevant Availability Period,
including at any time during which one or more of the conditions in Article IV is not met, and
shall be due and payable monthly in arrears on the first day of each calendar month,
commencing with the first such date to occur after the Closing Date, and, in the case of the
commitment fee with respect to the Aggregate Commitments, on the last day of the Availability
Period. The commitment fee described in this Section 2.9(a) shall be calculated monthly in
arrears.

               (b)     Other Fees.

                      (i)     The Parent Borrower shall pay to the Arrangers and the
       Administrative Agent for their own respective accounts, in Dollars, fees in the amounts
       and at the times specified in the Fee Letter or any other written agreement with respect
       to fees in connection with this Agreement. Such fees shall be fully earned when paid
       and shall not be refundable for any reason whatsoever.

                       (ii)   The Parent Borrower shall pay to the respective Lenders, in
       Dollars, fees in the amounts and at the times specified in the Fee Letter or any other
       written agreement with respect to fees in connection with this Agreement. Such fees
       shall be fully earned when paid and shall not be refundable for any reason whatsoever.

        Section 2.10 Computation of Interest and Fees. All computations of interest for Base
Rate Loans (including Base Rate Loans determined by reference to the Eurodollar Rate) shall
be made on the basis of a year of 365 or 366 days, as the case may be, and actual days elapsed.
All other computations of fees and interest shall be made on the basis of a 360-day year and
actual days elapsed (which results in more fees or interest, as applicable, being paid than if
computed on the basis of a 365-day year) or, in the case of interest in respect of Loans
denominated in Alternative Currencies as to which market practice differs from the foregoing,
in accordance with such market practice. Interest shall accrue on each Loan for the day on
which the Loan is made, and shall not accrue on a Loan, or any portion thereof, for the day on
which the Loan or such portion is paid, provided that any Loan that is repaid on the same day
on which it is made shall, subject to Section 2.12(a), bear interest for one day. Each

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determination by the Administrative Agent of an interest rate or fee hereunder shall be
conclusive and binding for all purposes, absent manifest error.

        Section 2.11 Evidence of Debt. (a) The Credit Extensions made by each Lender or
L/C Issuer shall be evidenced by one or more accounts or records maintained by such Lender
or such L/C Issuer, as applicable, and by the Administrative Agent in the ordinary course of
business. Such accounts or records maintained by the Administrative Agent and each Lender
or L/C Issuer, as applicable, shall be conclusive absent manifest error of the amount of the
applicable Credit Extensions to the Borrowers and the interest and payments thereon. Any
failure to so record or any error in doing so shall not, however, limit or otherwise affect the
obligation of the Borrowers hereunder to pay any amount owing with respect to the
Obligations. In the event of any conflict between the accounts and records maintained by any
Lender or any L/C Issuer and the accounts and records of the Administrative Agent in respect
of such matters, the accounts and records of the Administrative Agent shall control in the
absence of manifest error. Upon the request of any Lender to the Parent Borrower made through
the Administrative Agent, the Borrowers shall execute and deliver to such Lender (through the
Administrative Agent) a Note, which shall evidence such Lender’s Loans to the Borrowers in
addition to such accounts or records. Each Lender may attach schedules to its Note and endorse
thereon the date, Type (if applicable), amount, and maturity of its Loans and payments with
respect thereto.

               (b)      In addition to the accounts and records referred to in Section 2.11, each
Lender and the Administrative Agent shall maintain in accordance with its usual practice
accounts or records evidencing the purchases and sales by such Lender of participations in
Letters of Credit. In the event of any conflict between the accounts and records maintained by
the Administrative Agent and the accounts and records of any Lender in respect of such matters,
the accounts and records of the Administrative Agent shall control in the absence of manifest
error.

       Section 2.12    Payments Generally; Administrative Agent’s Clawback.

                 (a)     General. All payments to be made by the Borrowers shall be made
without condition or deduction for any counterclaim, defense, recoupment or setoff. Except as
otherwise expressly provided herein, all payments by the Borrowers hereunder shall be made
to the Administrative Agent, for the account of the respective Lenders to which such payment
is owed, at the Administrative Agent’s Office in Dollars and in immediately available funds
not later than 2:00 p.m. on the date specified herein. If, for any reason, any Borrower is
prohibited by any Law from making any required payment hereunder in an Alternative
Currency, such Borrower shall make such payment in Dollars in the Dollar Equivalent of the
Alternative Currency payment amount. The Administrative Agent will promptly distribute to
each Lender its Applicable Percentage (or other applicable share as provided herein) of such
payment in like funds as received by wire transfer to such Lender’s Lending Office. All
payments received by the Administrative Agent (i) after 2:00 p.m., in the case of payments in
Dollars, or (ii) after the Applicable Time specified by the Administrative Agent in the case of
payments in an Alternative Currency, shall in each case be deemed received on the next
succeeding Business Day and any applicable interest or fee shall continue to accrue. If any
payment to be made by any Borrower shall come due on a day other than a Business Day,
payment shall be made on the next following Business Day, and such extension of time shall
be reflected in computing interest or fees, as the case may be. Each Borrower agrees that, during
the continuance of an Event of Default, the Administrative Agent may (and, at the request of
the Required Lenders, the Administrative Agent shall) (A) (x) cause each bank that maintains
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any account subject to a control agreement or a lockbox agreement in favor of the
Administrative Agent to transfer, on a daily basis, all collected funds in any such account to a
Dominion Account, and/or (y) require the Loan Parties to instruct each bank at which a Loan
Party maintains a deposit account that is not subject to a control agreement or lockbox
agreement in favor of the Administrative Agent to transfer, on a daily basis, all collected funds
in any such account to a Dominion Account, and (B) apply any amounts on deposit in a
Dominion Account to repay Loans whenever any Loans are outstanding.

                (b)     (i) Funding by Lenders; Presumption by Administrative Agent. Unless
the Administrative Agent shall have received notice from a Lender prior to the proposed date
of any Borrowing of Eurodollar Rate Loans (or, in the case of any Borrowing of Base Rate
Loans, prior to 12:00 p.m. on the date of such Borrowing) that such Lender will not make
available to the Administrative Agent such Lender’s share of such Borrowing, the
Administrative Agent may assume that such Lender has made such share available on such
date in accordance with Section 2.2 (or, in the case of a Borrowing of Base Rate Loans, that
such Lender has made such share available in accordance with and at the time required by
Section 2.2) and may, in reliance upon such assumption, make available to the applicable
Borrower a corresponding amount. In such event, if a Lender has not in fact made its share of
the applicable Borrowing available to the Administrative Agent, then the applicable Lender
and the applicable Borrower severally agree to pay to the Administrative Agent forthwith on
demand such corresponding amount in immediately available funds with interest thereon, for
each day from and including the date such amount is made available to the applicable Borrower
to but excluding the date of payment to the Administrative Agent, at (A) in the case of a
payment to be made by such Lender, the greater of the Federal Funds Rate and a rate
determined by the Administrative Agent in accordance with banking industry rules on
interbank compensation, plus any administrative, processing or similar fees customarily
charged by the Administrative Agent in connection with the foregoing, and (B) in the case of
a payment to be made by such Borrower, the interest rate applicable to Base Rate Loans. If the
applicable Borrower and applicable Lender shall pay such interest to the Administrative Agent
for the same or an overlapping period, the Administrative Agent shall promptly remit to such
Borrower the amount of such interest paid by such Borrower for such period. If such Lender
pays its share of the applicable Borrowing to the Administrative Agent, then the amount so
paid shall constitute such Lender’s Loan included in such Borrowing. Any payment by a
Borrower shall be without prejudice to any claim such Borrower may have against a Lender
that shall have failed to make such payment to the Administrative Agent.

                       (ii)    Payments by Borrowers; Presumptions by Administrative
       Agent. Unless the Administrative Agent shall have received notice from a Borrower
       prior to the time at which any payment is due to the Administrative Agent for the
       account of the Lenders or the L/C Issuers hereunder that such Borrower will not make
       such payment, the Administrative Agent may assume that such Borrower has made
       such payment on such date in accordance herewith and may, in reliance upon such
       assumption, distribute to the Appropriate Lenders the amount due. In such event, if such
       Borrower has not in fact made such payment, then each of the Appropriate Lenders
       severally agrees to repay to the Administrative Agent forthwith on demand the amount
       so distributed to such Lender or such L/C Issuer, in immediately available funds with
       interest thereon, for each day from and including the date such amount is distributed to
       it to but excluding the date of payment to the Administrative Agent, at the greater of
       the Federal Funds Rate and a rate determined by the Administrative Agent in
       accordance with banking industry rules on interbank compensation.

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      A notice of the Administrative Agent to any Lender or the Borrowers with respect to
any amount owing under this subsection (b) shall be conclusive, absent manifest error.

                (c)    Failure to Satisfy Conditions Precedent. If any Lender makes available
to the Administrative Agent funds for any Loan to be made by such Lender to any Borrower
as provided in the foregoing provisions of this Article II, and such funds are not made available
to such Borrower by the Administrative Agent because the conditions to the applicable Credit
Extension set forth in Section 4.2 (and, if such Credit Extension is to be made on the Closing
Date, Section 4.1) are not satisfied or waived in accordance with the terms hereof, the
Administrative Agent shall return such funds (in like funds as received from such Lender) to
such Lender, without interest.

                (d)    Obligations of Lenders Several. The obligations of the Lenders
hereunder to make Loans, to fund participations in Letters of Credit and to make payments
pursuant to Section 10.4(c) are several and not joint. The failure of any Lender to make any
Loan, to fund any such participation or to make any payment under Section 10.4(c) on any date
required hereunder shall not relieve any other Lender of its corresponding obligation to do so
on such date, and no Lender shall be responsible for the failure of any other Lender to so make
its Loan, to purchase its participation or to make its payment under Section 10.4(c).

                (e)    Funding Source. Nothing herein shall be deemed to obligate any Lender
to obtain the funds for any Loan in any particular place or manner or to constitute a
representation by any Lender that it has obtained or will obtain the funds for any Loan in any
particular place or manner.

                (f)    Insufficient Funds. If at any time insufficient funds are received by and
available to the Administrative Agent to pay fully all amounts of principal, L/C Borrowings,
interest and fees then due hereunder, such funds shall be applied (i) first, toward payment of
interest and fees then due hereunder, ratably among the parties entitled thereto in accordance
with the amounts of interest and fees then due to such parties, and (ii) second, toward payment
of principal and L/C Borrowings then due hereunder, ratably among the parties entitled thereto
in accordance with the amounts of principal and L/C Borrowings then due to such parties.

         Section 2.13 Sharing of Payments by Lenders. If any Lender shall, by exercising any
right of setoff or counterclaim or otherwise, obtain payment in respect of (a) Obligations due
and payable to such Lender hereunder and under the other Loan Documents at such time in
excess of its ratable share (according to the proportion of (i) the amount of such Obligations
due and payable to such Lender at such time to (ii) the aggregate amount of the Obligations
due and payable to all Lenders hereunder and under the other Loan Documents at such time)
of payments on account of the Obligations due and payable to all Lenders hereunder and under
the other Loan Documents at such time obtained by all the Lenders at such time or
(b) Obligations owing (but not due and payable) to such Lender hereunder and under the other
Loan Documents at such time in excess of its ratable share (according to the proportion of (i)
the amount of such Obligations owing (but not due and payable) to such Lender at such time
to (ii) the aggregate amount of the Obligations owing (but not due and payable) to all Lenders
hereunder and under the other Loan Parties at such time) of payment on account of the
Obligations owing (but not due and payable) to all Lenders hereunder and under the other Loan
Documents at such time obtained by all of the Lenders at such time then the Lender receiving
such greater proportion shall (A) notify the Administrative Agent of such fact, and (B) purchase
(for cash at face value) participations in the Loans and subparticipations in L/C Obligations of
the other Lenders, or make such other adjustments as shall be equitable, so that the benefit of

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all such payments shall be shared by the Lenders ratably in accordance with the aggregate
amount of Obligations then due and payable to the Lenders or owing (but not due and payable)
to the Lenders, as the case may be, provided that:

                       (i)     if any such participations or subparticipations are purchased and
       all or any portion of the payment giving rise thereto is recovered, such participations or
       subparticipations shall be rescinded and the purchase price restored to the extent of such
       recovery, without interest; and

                      (ii)    the provisions of this Section shall not be construed to apply to
       (A) any payment made by or on behalf of any Borrower pursuant to and in accordance
       with the express terms of this Agreement (including the application of funds arising
       from the existence of a Defaulting Lender) or (B) any payment obtained by a Lender as
       consideration for the assignment of or sale of a participation in any of its Loans or
       subparticipations in L/C Obligations to any assignee or participant, other than to the
       Parent Borrower or any Subsidiary thereof (as to which the provisions of this Section
       shall apply).

        Each Borrower consents to the foregoing and agrees, to the extent it may effectively do
so under applicable law, that any Lender acquiring a participation pursuant to the foregoing
arrangements may exercise against such Borrower rights of setoff and counterclaim with
respect to such participation as fully as if such Lender were a direct creditor of such Borrower
in the amount of such participation.

       Section 2.14   [Reserved].

       Section 2.15 LIBOR Successor Rate. Notwithstanding anything to the contrary in this
Agreement or any other Loan Documents, if the Administrative Agent determines (which
determination shall be conclusive absent manifest error), or the Parent Borrower or Required
Lenders notify the Administrative Agent (with, in the case of the Required Lenders, a copy to
Parent Borrower) that the Parent Borrower or Required Lenders (as applicable) have
determined, that:

                     (i)     adequate and reasonable means do not exist for ascertaining
       LIBOR for any requested Interest Period, including, without limitation, because the
       LIBOR Screen Rate is not available or published on a current basis and such
       circumstances are unlikely to be temporary; or

                      (ii)     the administrator of the LIBOR Screen Rate or a Governmental
       Authority having jurisdiction over the Administrative Agent has made a public
       statement identifying a specific date after which LIBOR or the LIBOR Screen Rate
       shall no longer be made available, or used for determining the interest rate of loans
       (such specific date, the “Scheduled Unavailability Date”), or

                       (iii)   syndicated loans currently being executed, or that include
       language similar to that contained in this Section 2.15, are being executed or amended
       (as applicable) to incorporate or adopt a new benchmark interest rate to replace LIBOR,

then, reasonably promptly after such determination by the Administrative Agent or receipt by
the Administrative Agent of such notice, as applicable, the Administrative Agent and the Parent
Borrower may amend this Agreement to replace LIBOR with an alternate benchmark rate

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(including any mathematical or other adjustments to the benchmark (if any) incorporated
therein), giving due consideration to any evolving or then existing convention for similar U.S.
dollar denominated syndicated credit facilities for such alternative benchmarks (any such
proposed rate, a “LIBOR Successor Rate”), together with any proposed LIBOR Successor
Rate Conforming Changes and any such amendment shall become effective at 5:00 p.m. (New
York time) on the fifth Business Day after the Administrative Agent shall have posted such
proposed amendment to all Lenders and the Parent Borrower unless, prior to such time, Lenders
comprising the Required Lenders have delivered to the Administrative Agent written notice
that such Required Lenders do not accept such amendment.

        If no LIBOR Successor Rate has been determined and the circumstances under
clause (i) above exist or the Scheduled Unavailability Date has occurred (as applicable), the
Administrative Agent will promptly so notify the Parent Borrower and each Lender. Thereafter,
(x) the obligation of the Lenders to make or maintain Eurodollar Rate Loans shall be suspended,
(to the extent of the affected Eurodollar Rate Loans or Interest Periods), and (y) the Eurodollar
Rate component shall no longer be utilized in determining the Base Rate. Upon receipt of such
notice, the Parent Borrower may revoke any pending request for a Borrowing of, conversion
to or continuation of Eurodollar Rate Loans (to the extent of the affected Eurodollar Rate Loans
or Interest Periods) or, failing that, will be deemed to have converted such request into a request
for a Borrowing of Base Rate Loans (subject to the foregoing clause (y)) in the amount
specified therein.

       Notwithstanding anything else herein, any definition of LIBOR Successor Rate shall
provide that in no event shall such LIBOR Successor Rate be less than zero for purposes of this
Agreement.

       Section 2.16    Defaulting Lenders.

               (a)    Amendments. Notwithstanding anything to the contrary contained in
this Agreement, if any Lender becomes a Defaulting Lender, then, until such time as that
Lender is no longer a Defaulting Lender, to the extent permitted by applicable Law:

                     (i)     Waivers and Amendments. Such Defaulting Lender’s right to
       approve or disapprove any amendment, waiver or consent with respect to this
       Agreement shall be restricted as set forth in the definition of “Required Lenders” and
       Section 10.1.

                        (ii)    Defaulting Lender Waterfall. Any payment of principal, interest,
       fees or other amounts received by the Administrative Agent for the account of such
       Defaulting Lender (whether voluntary or mandatory, at maturity, pursuant to
       Article VIII or otherwise) or received by the Administrative Agent from a Defaulting
       Lender pursuant to Section 10.8 shall be applied at such time or times as may be
       determined by the Administrative Agent as follows: first, to the payments of any
       amounts owing by such Defaulting Lender to the Administrative Agent hereunder;
       second, to the payment on a pro rata basis of any amounts owing by such Defaulting
       Lender to the L/C Issuer hereunder; third, to Cash Collateralize the L/C Issuer’s
       Fronting Exposure with respect to such Defaulting Lender in accordance with
       Section 2.3(g), fourth, as the Parent Borrower may request (so long as no Default
       exists), to the funding of any Loan in respect of which such Defaulting Lender has failed
       to fund its portion thereof as required by this Agreement, as determined by the
       Administrative Agent; fifth, if so determined by the Administrative Agent and the

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     Parent Borrower, to be held in a deposit account and released pro rata in order to
     (A) satisfy such Defaulting Lender’s potential future funding obligations with respect
     to Loans under this Agreement and (B) Cash Collateralize the L/C Issuer’s future
     Fronting Exposure with respect to such Defaulting Lender with respect to future Letters
     of Credit issued under this Agreement, in accordance with Section 2.3(g), sixth, to the
     payment of any amounts owing to the Lenders, or the L/C Issuer as a result of any final
     and nonappealable judgment of a court of competent jurisdiction obtained by any
     Lender or the L/C Issuer against such Defaulting Lender as a result of such Defaulting
     Lender’s breach of its obligations under this Agreement; seventh, so long as no Default
     exists, to the payment of any amounts owing to the Parent Borrower as a result of any
     final and nonappealable judgment of a court of competent jurisdiction obtained by the
     Parent Borrower against such Defaulting Lender as a result of such Defaulting Lender’s
     breach of its obligations under this Agreement; and eighth, to such Defaulting Lender
     or as otherwise directed by a court of competent jurisdiction; provided that if (x) such
     payment is a payment of the principal amount of any Loans or L/C Borrowings in
     respect of which such Defaulting Lender has not fully funded its appropriate share, and
     (y) such Loans were made or the related Letters of Credit were issued at a time when
     the conditions set forth in Section 4.2 were satisfied or waived, such payment shall be
     applied solely to pay the Loans of, and L/C Obligations owed to, all Non-Defaulting
     Lenders on a pro rata basis prior to being applied to the payment of any Loans of, or
     L/C Obligations owed to, such Defaulting Lender until such time as all Loans and
     funded and unfunded participations in L/C Obligations are held by the Lenders pro rata
     in accordance with the Commitments hereunder without giving effect to
     Section 2.16(a)(iv). Any payments, prepayments or other amounts paid or payable to a
     Defaulting Lender that are applied (or held) to pay amounts owed by a Defaulting
     Lender or to post Cash Collateral pursuant to this Section 2.16(a)(ii) shall be deemed
     paid to and redirected by such Defaulting Lender, and each Lender irrevocably consents
     hereto.

                    (iii)   Certain Fees.

                           (A)    No Defaulting Lender shall be entitled to receive any fee
            payable under Section 2.9(a) for any period during which that Lender is a
            Defaulting Lender (and the Parent Borrower shall not be required to pay any
            such fee that otherwise would have been required to have been paid to that
            Defaulting Lender).

                            (B)   Each Defaulting Lender shall be entitled to receive Letter
            of Credit Fees for any period during which that Lender is a Defaulting Lender
            only to the extent allocable to its Applicable Percentage of the stated face
            amount of Letters of Credit for which it has provided Cash Collateral pursuant
            to Section 2.3.

                           (C)    With respect to any fee payable under Section 2.9 or any
            Letter of Credit Fee not required to be paid to any Defaulting Lender pursuant
            to clause (A) or (B) above, the Parent Borrower shall (I) pay to each Non-
            Defaulting Lender that portion of any such fee otherwise payable to such
            Defaulting Lender with respect to such Defaulting Lender’s participation in L/C
            Obligations that has been reallocated to such Non-Defaulting Lender pursuant
            to clause (iv) below, (II) pay to the L/C Issuer the amount of any such fee
            otherwise payable to such Defaulting Lender to the extent allocable to such L/C
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               Issuer’s Fronting Exposure to such Defaulting Lender, and (III) not be required
               to pay the remaining amount of any such fee.

                       (iv)   Reallocation of Applicable Percentages to Reduce Fronting
       Exposure. All or any part of such Defaulting Lender’s participation in L/C Obligations
       shall be reallocated among the Non-Defaulting Lenders in accordance with their
       respective Applicable Percentages (calculated without regard to such Defaulting
       Lender’s Commitment) but only to the extent that such reallocation does not cause the
       aggregate Outstanding Amount of the Loans of such Non-Defaulting Lender, plus such
       Non-Defaulting Lender’s Applicable Percentage of the Outstanding Amount of all L/C
       Obligations to exceed such Non-Defaulting Lender’s Commitment. Subject to Section
       10.21, no reallocation hereunder shall constitute a waiver or release of any claim of any
       party hereunder against a Defaulting Lender arising from that Lender’s having become
       a Defaulting Lender, including any claim of a Non-Defaulting Lender as a result of
       such Non-Defaulting Lender’s increased exposure following such reallocation.

                       (v)     Cash Collateral. If the reallocation described in clause (a)(iv)
       above cannot, or can only partially, be effected, the Parent Borrower shall, without
       prejudice to any right or remedy available to it hereunder or under applicable Law, Cash
       Collateralize the L/C Issuer’s Fronting Exposure in accordance with the procedures set
       forth in Section 2.3(g).

               (b)     Defaulting Lender Cure. If the Parent Borrower, the Administrative
Agent and the L/C Issuers agree in writing that a Lender is no longer a Defaulting Lender, the
Administrative Agent will so notify the parties hereto, whereupon as of the effective date
specified in such notice and subject to any conditions set forth therein (which may include
arrangements with respect to any Cash Collateral), that Lender will, to the extent applicable,
purchase at par that portion of outstanding Loans of the other Lenders or take such other actions
as the Administrative Agent may determine to be necessary to cause the Loans and funded and
unfunded participations in Letters of Credit to be held on a pro rata basis by the Lenders in
accordance with their Commitments (without giving effect to Section 2.16(a)(iv)), whereupon
such Lender will cease to be a Defaulting Lender; provided that no adjustments will be made
retroactively with respect to fees accrued or payments made by or on behalf of the Parent
Borrower while that Lender was a Defaulting Lender; and provided, further, that except to the
extent otherwise expressly agreed by the affected parties, no change hereunder from Defaulting
Lender to Lender will constitute a waiver or release of any claim of any party hereunder arising
from that Lender’s having been a Defaulting Lender.

       Section 2.17    Certain Bankruptcy Matters.

                 (a)    Except to the extent expressly provided otherwise in a DIP Order, the
Loan Parties hereby agree that, subject only to the Carve-Out, the Obligations shall
(i) constitute superpriority claims over all administrative expense claims and claims against the
Loan Parties now existing or hereafter arising, of any kind or nature whatsoever, including,
without limitation, all administrative expense claims of the kind specified in Sections 105, 326,
328, 330, 331, 365, 503(a), 503(b), 506(c) (subject to entry of the Final DIP Order), 507(a),
507(b), 546(c), 546(d), 726, 1113, 1114 or any other provisions of the Bankruptcy Code and
all super-priority administrative expense claims granted to any other Person the establishment
of which super-priority shall have been approved and authorized by the Bankruptcy Court and
(ii) be secured pursuant to Sections 364(c)(2), (c)(3) and (d)(1) of the Bankruptcy Code and, to
the extent provided in any of the DIP Orders.

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                (b)    In the event of a conflict between, or inconsistency among, the Interim
DIP Order or the Final DIP Order, on the one hand, and any other Loan Document, on the other
hand, the Interim DIP Order or the Final DIP Order, as the case may be, shall control.

                 (c)     The Administrative Agent’s Liens on the Collateral shall continue to be
valid, enforceable and perfected without the need for the Administrative Agent or any Lender
to prepare, file, register or publish any financing statements, mortgages, deeds of trust, account
control agreements, notices of Lien or similar instruments or to otherwise perfect the
Administrative Agent’s Liens under applicable non-bankruptcy law.

                (d)    In connection with any Disposition of all or any portion of the Collateral,
including in each case pursuant to Sections 9-610 or 9-620 of the UCC, at any sale thereof
conducted under the provisions of the Bankruptcy Code, including Section 363 of the
Bankruptcy Code or as part of restructuring plan subject to confirmation under
Section 1129(b)(2)(A)(iii) of the Bankruptcy Code, or at any sale or foreclosure conducted by
the Administrative Agent, in accordance with applicable law and, with respect to any credit
bid, Section 363(k) of the Bankruptcy Code, each Borrower and each other Loan Party hereby
gives the Administrative Agent (at the direction of the Required Lenders) the power and right,
without assent by such Loan Party, to “credit bid” the full amount of all Obligations in order
to purchase (either directly or through one or more acquisition vehicles) all or any portion of
the Collateral.

                                         ARTICLE III

                     TAXES, YIELD PROTECTION AND ILLEGALITY

       Section 3.1     Taxes.

               (a)     Payments Free of Taxes; Obligation to Withhold; Payments on Account
of Taxes.

                      (i)    Any and all payments by or on account of any obligation of any
       Borrower hereunder or under any other Loan Document shall to the extent permitted
       by applicable Laws be made free and clear of and without reduction or withholding for
       any Taxes. If, however, applicable Laws require any Borrower or the Administrative
       Agent to withhold or deduct any Tax, such Tax shall be withheld or deducted in
       accordance with such Laws as determined in the good faith discretion of such Borrower
       or the Administrative Agent, as the case may be, upon the basis of the information and
       documentation to be delivered pursuant to subsection (e) below.

                      (ii)   If any Borrower or the Administrative Agent shall be required
       by the Code to withhold or deduct any Taxes, including both United States federal
       backup withholding and withholding taxes, from any payment, then (A) the
       Administrative Agent shall withhold or make such deductions as are determined by the
       Administrative Agent to be required based upon the information and documentation it
       has received pursuant to subsection (e) below, (B) the Administrative Agent shall
       timely pay the full amount withheld or deducted to the relevant Governmental
       Authority in accordance with the Code, and (C) to the extent that the withholding or
       deduction is made on account of Indemnified Taxes, the sum payable by the applicable
       Borrower shall be increased as necessary so that after any required withholding or the
       making of all required deductions (including deductions applicable to additional sums

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       payable under this Section) the Administrative Agent, Lender or L/C Issuer, as the case
       may be, receives an amount equal to the sum it would have received had no such
       withholding or deduction been made.

                       (iii)  If any Borrower or the Administrative Agent shall be required
       by any applicable Laws other than the Code to withhold or deduct any Taxes from any
       payment, then (A) such Borrower or the Administrative Agent, as required by such
       Laws, shall withhold or make such deductions as are determined by it to be required
       based upon the information and documentation it has received pursuant to
       subsection (e) below, (B) such Borrower or the Administrative Agent, to the extent
       required by such Laws, shall timely pay the full amount so withheld or deducted by it
       to the relevant Governmental Authority in accordance with such Laws, and (C) to the
       extent that the withholding or deduction is made on account of Indemnified Taxes, the
       sum payable by the applicable Borrower shall be increased as necessary so that after
       any required withholding or the making of all required deductions (including
       deductions applicable to additional sums payable under this Section) the Administrative
       Agent, Lender or L/C Issuer, as the case may be, receives an amount equal to the sum
       it would have received had no such withholding or deduction been made.

               (b)    Payment of Other Taxes by the Borrowers. Without limiting the
provisions of subsection (a) above, each Borrower shall timely pay any Other Taxes to the
relevant Governmental Authority in accordance with applicable Laws.

              (c)     Tax Indemnifications.

                      (i)     Without limiting the provisions of subsection (a) or (b) above,
       each Borrower shall, and does hereby, jointly and severally indemnify the
       Administrative Agent, each Lender and each L/C Issuer, and shall make payment in
       respect thereof within 10 days after demand therefor, for the full amount of any
       Indemnified Taxes (including Indemnified Taxes imposed or asserted on or attributable
       to amounts payable under this Section) payable or paid by the Administrative Agent,
       such Lender or such L/C Issuer, as the case may be, and any penalties, interest and
       reasonable expenses arising therefrom or with respect thereto, whether or not such
       Indemnified Taxes were correctly or legally imposed or asserted by the relevant
       Governmental Authority. Each Borrower shall also, and does hereby, indemnify the
       Administrative Agent, and shall make payment in respect thereof within 10 days after
       demand therefor, for any amount which a Lender or L/C Issuer for any reason fails to
       pay indefeasibly to the Administrative Agent as required by clause (ii) of this
       subsection. A certificate as to the amount of any such payment or liability delivered to
       the Parent Borrower by a Lender or L/C Issuer (with a copy to the Administrative
       Agent), or by the Administrative Agent on its own behalf or on behalf of a Lender or
       L/C Issuer, shall be conclusive absent manifest error.

                       (ii)    Without limiting the provisions of subsection (a) or (b) above,
       each Lender and L/C Issuer shall, and does hereby, severally indemnify, and shall make
       payment in respect thereof within 10 days after demand therefor, the Administrative
       Agent, against any and all Taxes and any and all related losses, claims, liabilities,
       penalties, interest and expenses (including the fees, charges and disbursements of any
       counsel) incurred by or asserted against the Administrative Agent by any Governmental
       Authority as a result of the failure by such Lender or such L/C Issuer, as the case may
       be, to deliver, or as a result of the inaccuracy, inadequacy or deficiency of, any

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       documentation required to be delivered by such Lender or such L/C Issuer, as the case
       may be, to the Administrative Agent pursuant to subsection (e). A certificate as to the
       amount of such payment or liability delivered to any Lender by the Administrative
       Agent shall be conclusive absent manifest error. Each Lender and each L/C Issuer
       hereby authorizes the Administrative Agent to set off and apply any and all amounts at
       any time owing to such Lender or such L/C Issuer, as the case may be, under this
       Agreement or any other Loan Document against any amount due to the Administrative
       Agent under this clause (ii). The agreements in this clause (ii) shall survive the
       resignation and/or replacement of the Administrative Agent, any assignment of rights
       by, or the replacement of, a Lender or any L/C Issuer, the termination of the Aggregate
       Commitments and the repayment, satisfaction or discharge of all other Obligations.

                (d)    Evidence of Payments. As soon as practicable after any payment of
Taxes by any Borrower to a Governmental Authority as provided in this Section 3.1, a
Borrower shall deliver to the Administrative Agent the original or a certified copy of a receipt
issued by such Governmental Authority evidencing such payment, a copy of any return
required by Laws to report such payment or other evidence of such payment reasonably
satisfactory to the Administrative Agent.

               (e)    Status of Lenders; Tax Documentation.

                      (i)     Each Lender and L/C Issuer shall deliver to the Parent Borrower
       and to the Administrative Agent, at the time or times prescribed by applicable Laws or
       when reasonably requested by the Parent Borrower or the Administrative Agent, such
       properly completed and executed documentation prescribed by applicable Laws or by
       the taxing authorities of any jurisdiction and such other reasonably requested
       information as will permit the Parent Borrower or the Administrative Agent, as the case
       may be, to determine

                              (A)    whether or not payments made by any Borrower
               hereunder or under any other Loan Document are subject to Taxes, withholding,
               or deduction and if applicable, the required rate of withholding or deduction,

                              (B)    whether or not such Lender or L/C Issuer is subject to
               information reporting requirements, and

                              (C)   such Lender’s or L/C Issuer’s entitlement to any
               available exemption from, or reduction of, applicable Taxes in respect of all
               payments to be made to such Lender or L/C Issuer by any Borrower pursuant to
               this Agreement or otherwise to establish such Lender’s or L/C Issuer’s status
               for withholding Tax purposes in the applicable jurisdictions.

Notwithstanding anything to the contrary in the preceding two sentences, the completion,
execution and submission of such documentation (other than such documentation set forth in
Section 3.1(e)(ii)(A), (ii)(B) and (v) below) shall not be required if in the Lender’s or L/C
Issuer’s reasonable judgment such completion, execution or submission would subject such
Lender or L/C Issuer to any material unreimbursed cost or expense or would materially
prejudice the legal or commercial position of such Lender or L/C Issuer.

                      (ii)   Without limiting the generality of the foregoing, if a Borrower is
       a “United States person,” within the meaning of Section 7701(a)(30) of the Code,

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                           (A)    any Lender or L/C Issuer that is a “United States person,”
           within the meaning of Section 7701(a)(30) of the Code, shall deliver to the
           Parent Borrower and the Administrative Agent on or prior to the date on which
           such Lender or L/C Issuer becomes a Lender or L/C Issuer under this Agreement
           (and from time to time thereafter upon reasonable request of the Parent
           Borrower or the Administrative Agent) executed copies of IRS Form W-9
           certifying that such Lender or L/C Issuer is exempt from United States federal
           backup withholding; and

                          (B)      each Foreign Lender that is entitled under the Code or
           any applicable treaty to an exemption from or reduction of withholding Tax with
           respect to payments hereunder or under any other Loan Document shall deliver
           to the Parent Borrower and the Administrative Agent (in such number of copies
           as shall be requested by the recipient) on or prior to the date on which such
           Foreign Lender becomes a Lender or L/C Issuer under this Agreement (and
           from time to time thereafter upon the request of the Parent Borrower or the
           Administrative Agent, but only if such Foreign Lender is legally entitled to do
           so), whichever of the following is applicable:

                                  (I)     in the case of a Foreign Lender claiming benefits
                  of any income tax treaty to which the United States is a party (x) with
                  respect to payments of interest under any Loan Document, executed
                  copies of IRS Form W-8BEN-E (or W-8BEN, as applicable)
                  establishing an exemption from, or reduction of United States federal
                  withholding Tax pursuant to the “interest” article of such tax treaty and
                  (y) with respect to any other applicable payments under any Loan
                  Document, IRS Form W-8BEN-E (or W-8BEN, as applicable)
                  establishing an exemption from, or reduction of, United States federal
                  withholding Tax pursuant to the “business profits” or “other income”
                  article of such tax treaty,

                                  (II)   executed copies of IRS Form W-8ECI,

                                  (III) in the case of a Foreign Lender claiming the
                  benefits of the exemption for portfolio interest under section 881(c) of
                  the Code, (x) a certificate substantially in the form of Exhibit B-1 to the
                  effect that such Foreign Lender is not (A) a “bank” within the meaning
                  of section 881(c)(3)(A) of the Code, (B) a “10 percent shareholder” of a
                  Borrower within the meaning of section 881(c)(3)(B) of the Code, or
                  (C) a “controlled foreign corporation” described in section 881(c)(3)(C)
                  of the Code (a “U.S. Tax Compliance Certificate”) and (y) executed
                  copies of IRS Form W-8BEN-E (or W-8BEN, as applicable),

                                (IV) to the extent a Foreign Lender is not the
                  beneficial owner, executed copies of IRS Form W-8IMY, accompanied
                  by IRS Form W-8ECI, IRS Form W-8BEN, IRS Form W-8BEN-E, a
                  U.S. Tax Compliance Certificate substantially in the form of Exhibit B-
                  2 or Exhibit B-3, IRS Form W-9, and/or other certification documents
                  from each beneficial owner, as applicable; provided that if the Foreign
                  Lender is a partnership and one or more direct or indirect partners of
                  such Foreign Lender are claiming the portfolio interest exemption, such

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                    Foreign Lender may provide a U.S. Tax Compliance Certificate
                    substantially in the form of Exhibit B-4 on behalf of each such direct
                    and indirect partner, or

                                    (V)     any Foreign Lender shall, to the extent it is legally
                    entitled to do so, deliver to the Parent Borrower and the Administrative
                    on or prior to the date on which such Foreign Lender becomes a Lender
                    or L/C Issuer under this Agreement (and from time to time thereafter
                    upon the reasonable request of the Parent Borrower or the
                    Administrative Agent), executed copies of any other form prescribed by
                    applicable Laws as a basis for claiming exemption from or a reduction
                    in United States federal withholding Tax, duly completed, together with
                    such supplementary documentation as may be prescribed by applicable
                    Laws to permit the Parent Borrower or the Administrative Agent to
                    determine the withholding or deduction required to be made.

                      (iii)   Each Lender and L/C Issuer shall promptly update and deliver
     any such form or certificate it previously delivered that has expired or become obsolete
     or inaccurate in any respect or notify the Parent Borrower and the Administrative Agent
     in writing of its legal inability to do so.

                    (iv)    Each Borrower shall promptly deliver to the Administrative
     Agent, any Lender or any L/C Issuer, as the Administrative Agent, such Lender, or such
     L/C Issuer shall reasonably request, on or prior to the Closing Date, and in a timely
     fashion thereafter, such documents and forms required by any relevant taxing
     authorities under the Laws of any jurisdiction, duly executed and completed by such
     Borrower, as are required to be furnished by such Lender, such L/C Issuer or the
     Administrative Agent under such Laws in connection with any payment by the
     Administrative Agent or any Lender of Taxes or Other Taxes, or otherwise in
     connection with the Loan Documents, with respect to such jurisdiction.

                    (v)    If a payment made to any Lender or any L/C Issuer under any
     Loan Document would be subject to withholding Tax imposed by FATCA if such
     Lender or L/C Issuer were to fail to comply with the applicable reporting requirements
     of FATCA (including those contained in Section 1471(b) or 1472(b) of the Code, as
     applicable), such Lender or L/C Issuer shall deliver to the Parent Borrower and the
     Administrative Agent at the time or times prescribed by law and at such time or times
     reasonably requested by the Parent Borrower or the Administrative Agent such
     documentation prescribed by applicable Law (including as prescribed by
     Section 1471(b)(3)(C)(i) of the Code), and such additional documentation reasonably
     requested by the Parent Borrower or the Administrative Agent, in each case, as may be
     necessary for the Borrowers and the Administrative Agent to comply with their
     obligations under FATCA and to determine that such Lender or L/C Issuer has
     complied with such Lender’s or L/C Issuer’s obligations under FATCA or to determine
     the amount to deduct and withhold from such payment. Solely for purposes of this
     clause (v), “FATCA” shall include any amendments made to FATCA after the Closing
     Date. For purposes of determining withholding Taxes imposed under FATCA, from
     and after the Closing Date, the Parent Borrower and the Administrative Agent shall
     treat (and the Lenders and L/C Issuers hereby authorize the Administrative Agent to
     treat) the Agreement as not qualifying as a “grandfathered obligation” within the
     meaning of Treasury Regulation Section 1.1471-2(b)(2)(i).
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                 (f)    Treatment of Certain Refunds. Unless required by applicable Laws, at
no time shall the Administrative Agent have any obligation to file for or otherwise pursue on
behalf of a Lender or an L/C Issuer, or have any obligation to pay to any Lender or any L/C
Issuer, any refund of Taxes withheld or deducted from funds paid for the account of such
Lender or such L/C Issuer, as the case may be. If the Administrative Agent, any Lender or any
L/C Issuer determines, in its sole discretion, that it has received a refund of any Taxes or Other
Taxes as to which it has been indemnified by any Borrower or with respect to which any
Borrower has paid additional amounts pursuant to this Section, it shall pay to such Borrower
an amount equal to such refund (but only to the extent of indemnity payments made, or
additional amounts paid, by such Borrower under this Section with respect to the Taxes or
Other Taxes giving rise to such refund), net of all out-of-pocket expenses and net of any loss
or gain realized in the conversion of such funds from or to another currency incurred by the
Administrative Agent, such Lender or any L/C Issuer, as the case may be, and without interest
(other than any interest paid by the relevant Governmental Authority with respect to such
refund), provided that each Borrower, upon the request of the Administrative Agent, such
Lender or such L/C Issuer, agrees to repay the amount paid over to such Borrower (plus any
penalties, interest or other charges imposed by the relevant Governmental Authority) to the
Administrative Agent, such Lender or such L/C Issuer in the event the Administrative Agent,
such Lender or such L/C Issuer is required to repay such refund to such Governmental
Authority. Notwithstanding anything to the contrary in this subsection (f), in no event will the
Administrative Agent, any Lender or any L/C Issuer be required to pay any amount to any
Borrower pursuant to this subsection (f) the payment of which would place the Administrative
Agent, such Lender or such L/C Issuer in a less favorable net after-Tax position than the
Administrative Agent, such Lender or such L/C Issuer would have been in if the Tax subject
to indemnification and giving rise to such refund had not been deducted, withheld or otherwise
imposed and the indemnification payments or additional amounts with respect to such Tax had
never been paid. This subsection shall not be construed to require the Administrative Agent,
any Lender or any L/C Issuer to make available its Tax returns (or any other information
relating to its Taxes that it deems confidential) to any Borrower or any other Person.

               (g)     Survival. Each party’s obligations under this Section 3.1 shall survive
the resignation or replacement of the Administrative Agent or any assignment of rights by, or
the replacement of, a Lender or the L/C Issuer, the termination of the Commitments and the
repayment, satisfaction or discharge of all other Obligations.

         Section 3.2    Illegality. If any Lender determines that any Law has made it unlawful,
or that any Governmental Authority has asserted that it is unlawful, for any Lender or its
applicable Lending Office to perform any of its obligations hereunder or make, maintain or
fund or charge interest with respect to any Credit Extension, or to determine or charge interest
rates based upon the Eurodollar Rate, or any Governmental Authority has imposed material
restrictions on the authority of such Lender to purchase or sell, or to take deposits of, Dollars
in the London interbank market, then, on notice thereof by such Lender to the Parent Borrower
through the Administrative Agent, any obligation of such Lender to issue, make, maintain, fund
or charge interest with respect to any such Credit Extension or to convert Base Rate Loans to
Eurodollar Rate Loans, shall be suspended until such Lender notifies the Administrative Agent
and the Parent Borrower that the circumstances giving rise to such determination no longer
exist. Upon receipt of such notice, the Parent Borrower shall, upon demand from such Lender
(with a copy to the Administrative Agent), prepay or, if applicable, convert all such Eurodollar
Rate Loans of such Lender to Base Rate Loans, either on the last day of the Interest Period
therefor, if such Lender may lawfully continue to maintain such Eurodollar Rate Loans to such

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day, or immediately, if such Lender may not lawfully continue to maintain such Eurodollar
Rate Loans. Upon any such prepayment or conversion, the Borrowers shall also pay accrued
interest on the amount so prepaid or converted.

        Section 3.3    Inability to Determine Rates. If the Required Lenders determine that for
any reason in connection with any request for a Eurodollar Rate Loan or a conversion to or
continuation thereof that (a) Dollar deposits are not being offered to banks in the London
interbank eurodollar market for the applicable amount and Interest Period of such Eurodollar
Rate Loan, (b) adequate and reasonable means do not exist for determining the Eurodollar Rate
for any requested Interest Period with respect to a proposed Eurodollar Rate Loan, or (c) the
Eurodollar Rate for any requested Interest Period with respect to a proposed Eurodollar Rate
Loan does not adequately and fairly reflect the cost to such Lenders of funding such Loan, the
Administrative Agent will promptly so notify the Parent Borrower and each Lender. Thereafter,
the obligation of the Lenders to make or maintain Eurodollar Rate Loans shall be suspended
until the Administrative Agent (upon the instruction of the Required Lenders) revokes such
notice. Upon receipt of such notice, the Parent Borrower may revoke any pending request for
a Borrowing of, conversion to or continuation of Eurodollar Rate Loans or, failing that, will be
deemed to have converted such request into a request for a Borrowing of Base Rate Loans in
the amount specified therein.

       Section 3.4    Increased Costs.

               (a)    Increased Costs Generally. If any Change in Law shall:

                       (i)   impose, modify or deem applicable any reserve, special deposit,
       compulsory loan, insurance charge or similar requirement against assets of, deposits
       with or for the account of, or credit extended or participated in by, any Lender (except
       any reserve requirement reflected in the Eurodollar Rate) or any L/C Issuer;

                       (ii)   subject the Administrative Agent, any Lender or any L/C Issuer
       to any Taxes (other than (A) Indemnified Taxes, (B) Taxes described in clauses (b)
       through (d) of the definition of Excluded Taxes and (C) Connection Income Taxes) on
       its loans, loan principal, letters of credit, commitments, or other obligations, or its
       deposits, reserves, other liabilities or capital attributable thereto; or

                     (iii) impose on any Lender or any L/C Issuer or the London interbank
       market any other condition, cost or expense affecting this Agreement or Eurodollar
       Rate Loans made by such Lender or any Letter of Credit or participation therein;

and the result of any of the foregoing shall be to increase the cost to such Lender of making or
maintaining any Eurodollar Rate Loan (or of maintaining its obligation to make any such
Loan), or to increase the cost to such Lender or such L/C Issuer of participating in, issuing or
maintaining any Letter of Credit (or of maintaining its obligation to participate in or to issue
any Letter of Credit), or to reduce the amount of any sum received or receivable by such Lender
or such L/C Issuer hereunder (whether of principal, interest or any other amount) then, upon
request of such Lender or such L/C Issuer, the Parent Borrower will pay to such Lender or such
L/C Issuer, as the case may be, such additional amount or amounts as will compensate such
Lender or such L/C Issuer, as the case may be, for such additional costs incurred or reduction
suffered.



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                (b)    Capital Requirements. If any Lender or any L/C Issuer determines that
any Change in Law affecting such Lender or such L/C Issuer or any Lending Office of such
Lender or such Lender’s or such L/C Issuer’s holding company, if any, regarding capital or
liquidity requirements has or would have the effect of reducing the rate of return on such
Lender’s or such L/C Issuer’s capital or on the capital of such Lender’s or such L/C Issuer’s
holding company, if any, as a consequence of this Agreement, the Commitments of such
Lender or the Loans made by, or participations in Letters of Credit held by, such Lender, or the
Letters of Credit issued by such L/C Issuer, to a level below that which such Lender or such
L/C Issuer or such Lender’s or such L/C Issuer’s holding company could have achieved but for
such Change in Law (taking into consideration such Lender’s or such L/C Issuer’s policies and
the policies of such Lender’s or such L/C Issuer’s holding company with respect to capital
adequacy and liquidity), then from time to time the Parent Borrower will pay to such Lender
or such L/C Issuer, as the case may be, such additional amount or amounts as will compensate
such Lender or such L/C Issuer or such Lender’s or such L/C Issuer’s holding company for any
such reduction suffered.

                (c)    Certificates for Reimbursement. A certificate of a Lender or L/C Issuer
setting forth the amount or amounts necessary to compensate such Lender or such L/C Issuer
or its holding company, as the case may be, as specified in subsection (a) or (b) of this Section
and delivered to the Parent Borrower shall be conclusive absent manifest error. The Parent
Borrower shall pay such Lender or such L/C Issuer, as the case may be, the amount shown as
due on any such certificate within 10 days after receipt thereof.

                (d)     Delay in Requests. Failure or delay on the part of any Lender or any L/C
Issuer to demand compensation pursuant to the foregoing provisions of this Section shall not
constitute a waiver of such Lender’s or such L/C Issuer’s right to demand such compensation,
provided that no Borrower shall be required to compensate a Lender or L/C Issuer pursuant to
the foregoing provisions of this Section for any increased costs incurred or reductions suffered
more than nine months prior to the date that such Lender or such L/C Issuer, as the case may
be, notifies the Parent Borrower of the Change in Law giving rise to such increased costs or
reductions and of such Lender’s or such L/C Issuer’s intention to claim compensation therefor
(except that, if the Change in Law giving rise to such increased costs or reductions is
retroactive, then the nine-month period referred to above shall be extended to include the period
of retroactive effect thereof).

        Section 3.5  Compensation for Losses. Upon demand of any Lender (with a copy to
the Administrative Agent) from time to time, the Parent Borrower shall promptly compensate
such Lender for and hold such Lender harmless from any loss, cost or expense incurred by it
as a result of:

              (a)    any continuation, conversion, payment or prepayment of any Loan other
than a Base Rate Loan on a day other than the last day of the Interest Period for such Loan
(whether voluntary, mandatory, automatic, by reason of acceleration, or otherwise);

              (b)     any failure by any Borrower (for a reason other than the failure of such
Lender to make a Loan) to prepay, borrow, continue or convert any Loan other than a Base
Rate Loan on the date or in the amount notified by any Borrower;

              (c)     any failure by any Borrower to make payment of drawing under any
Letter of Credit (or interest due thereon) denominated in an Alternative Currency on its
scheduled due date or any payment thereof in a different currency; or

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               (d)   any assignment of a Eurodollar Rate Loan on a day other than the last
day of the Interest Period therefor as a result of a request by any Borrower pursuant to
Section 10.13;

excluding any loss of anticipated profits, but including any foreign exchange losses and any
loss or expense arising from the liquidation or reemployment of funds obtained by it to maintain
such Loan, from fees payable to terminate the deposits from which such funds were obtained
or from the performance of any foreign exchange contract. The Parent Borrower shall also pay
any customary administrative fees charged by such Lender in connection with the foregoing.

For purposes of calculating amounts payable by the Parent Borrower to the Lenders under this
Section 3.5, each Lender shall be deemed to have funded each Eurodollar Rate Loan made by
it at the Eurodollar Base Rate used in determining the Eurodollar Rate for such Loan by a
matching deposit or other borrowing in the London interbank eurodollar market for a
comparable amount and for a comparable period, whether or not such Eurodollar Rate Loan
was in fact so funded.

       Section 3.6     Mitigation Obligations; Replacement of Lenders.

                   (a)     Designation of a Different Lending Office. If any Lender requests
compensation under Section 3.4, or any Borrower is required to pay any additional amount to
any Lender, any L/C Issuer, or any Governmental Authority for the account of any Lender or
any L/C Issuer pursuant to Section 3.1, or if any Lender gives a notice pursuant to Section 3.2,
then, at the request of Parent Borrower, such Lender or such L/C Issuer shall, as applicable,
use reasonable efforts to designate a different Lending Office for funding or booking its Loans
hereunder or to assign its rights and obligations hereunder to another of its offices, branches or
affiliates, if, in the judgment of such Lender or such L/C Issuer, such designation or assignment
(i) would eliminate or reduce amounts payable pursuant to Section 3.1 or 3.4, as the case may
be, in the future, or eliminate the need for the notice pursuant to Section 3.2, as applicable, and
(ii) in each case, would not subject such Lender or such L/C Issuer, as the case may be, to any
unreimbursed cost or expense and would not otherwise be disadvantageous to such Lender or
such L/C Issuer, as the case may be. The Parent Borrower hereby agrees to pay all reasonable
costs and expenses incurred by any Lender or any L/C Issuer in connection with any such
designation or assignment.

                (b)    Replacement of Lenders. If any Lender requests compensation under
Section 3.4, or if any Borrower is required to pay any additional amount to any Lender or any
Governmental Authority for the account of any Lender pursuant to Section 3.1, and in each
case, such Lender has declined or is unable to designate a different Lending Office in
accordance with Section 3.6(a), or if any Lender is a Non-Consenting Lender or a Defaulting
Lender or otherwise gives notice pursuant to Section 3.2, the Parent Borrower may replace
such Lender in accordance with Section 10.13.

       Section 3.7    Survival. All of each Borrower’s obligations under this Article III shall
survive termination of the Aggregate Commitments, repayment of all other Obligations
hereunder, and resignation of the Administrative Agent.




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                              ARTICLE IV
               CONDITIONS PRECEDENT TO CREDIT EXTENSIONS

       Section 4.1   Conditions of Initial Credit Extension. The obligation of each L/C Issuer
and each Lender to make its initial Credit Extension hereunder is subject to satisfaction (or
waiver in compliance with Section 10.1) of the following conditions precedent:

                (a)    The Administrative Agent’s receipt of the following, each of which shall
be originals, telecopies or electronic copies (followed promptly by originals) unless otherwise
specified, each properly executed by a Responsible Officer of the signing Loan Party, each
dated the Closing Date (or, in the case of certificates of governmental officials, a recent date
before the Closing Date) and each in form and substance satisfactory to the Arranger,
Administrative Agent and each of the Lenders:

                       (i)     executed counterparts of this Agreement, sufficient in number
       for distribution to the Administrative Agent, each Lender and each Loan Party;

                      (ii)    a Note executed by PKD in favor of each Lender requesting a
       Note;

                     (iii)   executed counterparts of the Security Agreement, sufficient in
       number for distribution to the Administrative Agent, each Lender and PKD, together
       with:

                               (A)     to the extent not previously delivered to the
               Administrative Agent prior to the Closing Date, certificates representing the
               Pledged Equity Interests accompanied by undated transfer powers executed in
               blank or, if any of the Pledged Equity Interests shall be uncertificated securities
               (as defined in Article 8 of the UCC), confirmation and evidence satisfactory to
               the Administrative Agent that the security interest in such uncertificated
               securities has been transferred to and perfected by the Administrative Agent for
               the benefit of the Secured Parties in accordance with Section 9-106 of the
               Uniform Commercial Code, and instruments evidencing the debt instruments
               pledged pursuant to the Collateral Documents, if any, indorsed in blank;

                              (B)     proper financing statements in form appropriate for filing
               under the Uniform Commercial Code of all jurisdictions that the Administrative
               Agent may deem necessary or desirable in order to perfect the Liens created
               under the applicable DIP Order and the Security Agreement, covering the
               Collateral described therein; and

                              (C)    evidence that all other actions, recordings and filings that
               the Administrative Agent may deem necessary or desirable in order to perfect
               the Liens created under the applicable DIP Order have been taken or made or
               arrangements therefor satisfactory to the Administrative Agent shall have been
               made;

                       (iv)    such certificates of resolutions or other action, incumbency
       certificates and/or other certificates of Responsible Officers of each Loan Party as the
       Administrative Agent may require evidencing the identity, authority and capacity of
       each Responsible Officer thereof authorized to act as a Responsible Officer in

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       connection with this Agreement and the other Loan Documents to which such Loan
       Party is a party or is to be a party;

                       (v)    such documents, agreements and certifications as the
       Administrative Agent may reasonably require to evidence that each Loan Party is duly
       organized or formed, and that each of PKD and each Subsidiary Guarantor is validly
       existing, in good standing and qualified to engage in business in each jurisdiction where
       its ownership, lease or operation of properties or the conduct of its business requires
       such qualification, in each case except to the extent that failure to be so could not
       reasonably be expected to have a Material Adverse Effect;

                       (vi)   a certificate of a Responsible Officer certifying that other than
       the Cases, there are no (1) actions, suits, proceedings, claims or disputes pending or, to
       the knowledge of the Parent Borrower, threatened in writing or (2) ongoing, pending or
       threatened investigations known to PKD, in each case, in any court or conducted before
       or by any arbitrator or Governmental Authority, by or against PKD or any of its
       Subsidiaries or against any of their properties or revenues that (a) purport to affect or
       pertain to this Agreement or any other Loan Document, or the extensions of credit
       contemplated hereby, or (b) either individually or in the aggregate, if determined
       adversely, could reasonably be expected to have a Material Adverse Effect;

                     (vii) a Borrowing Base Certificate prepared as of October 31, 2018
       and accompanied by such supporting detail and documentation as is contemplated by
       the Borrowing Base Certificate and/or as shall be reasonably requested by the
       Administrative Agent (in a form and detail satisfactory to the Administrative Agent);

                       (viii) a certificate signed by a Responsible Officer of PKD certifying
       (A) that the conditions specified in Sections 4.2(a) and (b) have been satisfied, and
       (B) that other than the filing of the Cases, there has been no event or circumstance since
       December 31, 2017 that has had or could be reasonably expected to have, either
       individually or in the aggregate, a Material Adverse Effect;

                      (ix)    all documentation and other information with respect to the Loan
       Parties required by regulatory authorities under applicable “know-your-customer” and
       anti-money laundering rules and regulations, including without limitation the USA
       Patriot Act and the Beneficial Ownership Regulation at least three (3) Business Days
       prior to the Closing Date to the extent the same have been requested at least five (5)
       Business Days prior to the Closing Date;

                      (x)     [reserved];

                      (xi)    the Initial Budget; and

                      (xii) such other assurances, certificates, documents, evidence of
       insurance or consents as the Administrative Agent, the L/C Issuers, or any Lender may
       reasonably require.

                (b)   The Administrative Agent, Lenders and Arrangers shall have received
all fees and other amounts due and payable on or prior to the Closing Date, and, to the extent
invoiced prior to the Closing Date, reimbursement or payment of all reasonable and
documented out-of-pocket fees and expenses (including reasonable and documented out-of-

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pocket fees and expenses of outside counsel and financial advisors) required to be paid to the
Administrative Agent and the Lenders (to the extent invoiced at least two (2) business days
prior to the Closing Date), provided that such amounts may be paid with proceeds of the initial
Credit Extension to be made on the Closing Date at the Parent Borrower’s option.

               (c)    The Existing Credit Agreement shall have been terminated and all
amounts owing thereunder, including all fees and expenses (including legal fees) required to
be paid by the Loan Parties thereunder shall have been paid in full.

               (d)     The RSA and the Backstop Commitment Agreement (as defined in the
RSA) shall have been executed and be in full force and effect without any modification from
the form distributed to the Lenders and their counsel by email at 8:43 a.m. Central Time on
December 12, 2018 that has not been approved by the Administrative Agent and the Required
Lenders, such approval not to be unreasonably withheld.

            (e)   The Bankruptcy Court shall have entered the Interim DIP Order and the
Cash Management Order.

                (f)     Upon the entry of the Interim DIP Order, the Administrative Agent shall,
for the benefit of the Secured Parties, have obtained valid and perfected liens on the Collateral
with the priority required by, and subject to the exceptions contained in this Agreement and the
Security Agreement, in each case to the extent approved in the Interim DIP Order, and all filing
and recording fees and taxes with respect to such liens and security interests that are then due
and payable shall have been duly paid.

               (g)    Subject to entry of the Interim DIP Order, the representations and
warranties of the Parent Borrower and each other Loan Party contained in Article V or any
other Loan Document shall be true and correct on and as of the Closing Date.

               (h)    The Loan Parties shall have delivered to the Administrative Agent all
information regarding real property owned or leased by the Loan Parties reasonably requested
by the Administrative Agent prior to the Closing Date in connection with the Administrative
Agent’s and the Lenders’ flood diligence and compliance requirements, including reasonable
identifying information for all such properties.

Without limiting the generality of the provisions of the last paragraph of Section 9.3, for
purposes of determining compliance with the conditions specified in this Section 4.1, each
Lender that has signed this Agreement shall be deemed to have consented to, approved or
accepted or to be satisfied with, each document (a draft of which such Lender has reviewed) or
other matter required thereunder to be consented to or approved by or acceptable or satisfactory
to a Lender unless the Administrative Agent shall have received notice from such Lender prior
to the proposed Closing Date specifying its objection thereto.

       Section 4.2  Conditions to all Credit Extensions. The obligation of each Lender and
of each L/C Issuer to make any Credit Extension is subject to the following conditions
precedent:

                (a)     The representations and warranties of the Parent Borrower and each
other Loan Party contained in Article V or any other Loan Document, shall be true and correct
in all material respects (except for such representations and warranties that have a materiality
or Material Adverse Effect qualification, which shall be true and correct in all respects) on and

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as of the date of such Credit Extension, except to the extent that such representations and
warranties specifically refer to an earlier date, in which case they shall be true and correct in
all material respects (except for such representations and warranties that have a materiality or
Material Adverse Effect qualification, which shall be true and correct in all respects) as of such
earlier date, and except that for purposes of this Section 4.2, the representations and warranties
contained in Section 5.5(a) and (b) shall be deemed to refer to the most recent statements
furnished pursuant to Section 6.1(a) and (b), respectively.

               (b)    No Default then exists, or would result from such proposed Credit
Extension or the application of the proceeds thereof.

               (c)     In the case of any request for a Borrowing, the Administrative Agent
shall have received a Committed Loan Notice, and in the case of any request for an L/C Credit
Extension, the Administrative Agent and the applicable L/C Issuer shall have received a Letter
of Credit Application, in each case, in accordance with the requirements hereof.

                (d)    In the case of a Credit Extension in the form of any Letter of Credit to
be denominated in an Alternative Currency, there shall not have occurred any change in
national or international financial, political or economic conditions or currency exchange rates
or exchange controls which in the reasonable opinion of the Administrative Agent or the
applicable L/C Issuer would make it impracticable for such Credit Extension to be denominated
in the relevant Alternative Currency.

               (e)   In the case of a Credit Extension in the form of a Borrowing, at any time
and immediately after giving effect to such Borrowing (net of any concurrent use of the
proceeds of such Borrowing), the Consolidated Cash Balance shall not exceed $30,000,000.

                (f)    After giving effect to such Credit Extension, Availability shall not be
less than $0.

        Each request for a Credit Extension submitted by any Borrower shall be deemed to be
a representation and warranty that the conditions specified in Sections 4.2(a), (b) and (e) have
been satisfied on and as of the date of the applicable Credit Extension.

                                 ARTICLE V
                       REPRESENTATIONS AND WARRANTIES

The Borrowers represent and warrant to the Administrative Agent and the Lenders that:

        Section 5.1     Existence; Compliance with Law. Each Loan Party (a) is duly organized
or formed, validly existing and, as applicable, in good standing under the laws of the
jurisdiction of its organization or formation, (b) subject to entry of the DIP Orders, has the
requisite power and authority, and the legal right, to own and operate its Property, to lease the
Property it operates as lessee and to conduct the business in which it is currently engaged, (c)
is duly qualified and licensed and, as applicable, in good standing under the laws of each
jurisdiction where its ownership, lease or operation of Property or the conduct of its business
requires such qualification except to the extent that the failure to be so qualified could not
reasonably be expected to have a Material Adverse Effect and (d) is in compliance with all
Requirements of Law except to the extent that the failure to comply therewith could not, in the
aggregate, reasonably be expected to have a Material Adverse Effect.


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         Section 5.2      Power; Authorization; Enforceable Obligations. Subject to the entry of
the DIP Orders, each Loan Party has the requisite power and authority to make, deliver and
perform the Loan Documents to which it is a party and, in the case of the Borrowers, to borrow
hereunder and each Loan Party has taken all necessary corporate or other action to authorize
the execution, delivery and performance of the Loan Documents to which it is a party and, in
the case of the Borrowers, to authorize the borrowings on the terms and conditions of this
Agreement. Subject to the entry of the DIP Orders, no consent or authorization of, filing with,
notice to, approval or other act by or in respect of, any Governmental Authority or any other
Person is required in connection with (a) the borrowings hereunder, (b) the execution, delivery,
performance, validity or enforceability against any Loan Party of this Agreement or any of the
other Loan Documents or (c) the exercise by the Administrative Agent or any Lender of its
rights under the Loan Documents or the remedies in respect of the Collateral pursuant to the
Collateral Documents, except, in each case, (i) consents, authorizations, filings and notices
described in Schedule 5.2, which consents, authorizations, filings and notices have been
obtained or made and are in full force and effect (except as noted on Schedule 5.2),
(ii) [reserved], (iii) in the case of any authorization, approval, action, notice or filing from or
with a Person other than a Governmental Authority, the failure to have could not, individually
or in the aggregate, reasonably be expected to have a Material Adverse Effect and (iv) for
matters that may be required after the Closing Date in the ordinary course of conducting the
business of PKD or any Subsidiary thereof. Each Loan Document has been duly executed and
delivered on behalf of each Loan Party that is a party thereto. Subject to entry of the DIP Orders,
this Agreement constitutes, and each other Loan Document upon execution will constitute, a
legal, valid and binding obligation of each Loan Party that is a party thereto, enforceable against
each such Loan Party in accordance with its terms, except as enforceability may be limited by
applicable Debtor Relief Laws and by general equitable principles (whether enforcement is
sought by proceedings in equity or at law).

        Section 5.3     No Legal Bar. Subject to the entry of the DIP Orders, the execution,
delivery and performance of this Agreement and the other Loan Documents, the issuance of
Letters of Credit, the borrowings hereunder and the use of the proceeds thereof will not violate
any Requirement of Law nor any material Contractual Obligation of the Loan Parties,
including, without limitation, arising under any material debt instrument, and will not result in,
or require, the creation or imposition of any Lien on any of their respective properties or
revenues pursuant to any Requirement of Law or any such Contractual Obligation (other than
the Liens created by the Collateral Documents). No Requirement of Law or Contractual
Obligation applicable to PKD or any of its Subsidiaries could, either individually or in the
aggregate, reasonably be expected to have a Material Adverse Effect.

        Section 5.4     No Material Litigation. Other than the Cases, no litigation, investigation,
claim or proceeding of or before any arbitrator or Governmental Authority is pending or, to the
knowledge of the Parent Borrower after due and diligent investigation, threatened by or against
PKD or any of its Subsidiaries or against any of their respective properties or revenues that (a)
purport to directly affect or pertain to this Agreement or any other Loan Document or any of
the transactions contemplated hereby or thereby, or (b) except as specifically disclosed in
Schedule 5.4, individually or in the aggregate, could reasonably be expected to have a Material
Adverse Effect, and there has been no adverse change in the status, or financial effect on any
Loan Party, of the matters described in Schedule 5.4.

       Section 5.5     Financial Statements; No Material Adverse Effect.

               (a)
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                       (i)      The audited financial statements of PKD and its Subsidiaries for
        the fiscal year ending December 31, 2017, reported on by and accompanied by an
        unqualified report from an independent certified public accounting firm of national
        reputation, present fairly in all material respects the consolidated financial condition of
        PKD and its Subsidiaries as at December 31, 2017, and the consolidated results of its
        operations and its consolidated cash flows for the fiscal year then ended.

                       (ii)    The unaudited consolidated balance sheet of PKD and its
        Subsidiaries at September 30, 2018, and the related unaudited consolidated statements
        of income and cash flows for the period ended on such date, present fairly in all material
        respects the consolidated financial condition of PKD and its Subsidiaries as at such
        date, and the consolidated results of its operations and its consolidated cash flows for
        the quarterly period then ended (subject to the absence of footnotes and normal year-
        end audit adjustments).

                 (b)    As of the Closing Date, PKD and its Subsidiaries do not have any
material Guarantees, contingent liabilities and liabilities for taxes (except for any such tax
liabilities to taxing authorities outside of the United States which are not, in the aggregate,
material to PKD and its Subsidiaries taken as a whole) or any long-term leases or unusual
forward or long-term commitments, including, without limitation, any interest rate or foreign
currency swap or exchange transaction or other obligation in respect of derivatives, that are not
reflected in the unaudited consolidated balance sheet of PKD and its Subsidiaries at September
30, 2018, and the related unaudited consolidated statements of income and cash flows for the
period ended on such date, and which should be so reflected in accordance with GAAP.

              (c)     Other than the filing of the Cases, since December 31, 2017 there has
been no event or circumstance, either individually or in the aggregate, that has had or could
reasonably be expected to have a Material Adverse Effect.

              (d)    The most recent Budget to have been furnished to the Administrative
Agent was prepared in good faith based upon reasonable assumptions at the time such Budget
was prepared.

       Section 5.6    No Default. No Loan Party is in default under or with respect to any of
its Contractual Obligations in any respect that could, either individually or in the aggregate,
reasonably be expected to have a Material Adverse Effect. No Default or Event of Default has
occurred and is continuing or would result from the consummation of the transactions
contemplated by this Agreement or any other Loan Document.

        Section 5.7      Ownership of Property; Liens. Each Loan Party has good record and
marketable title in fee simple to, or a valid leasehold interest in, all its material real property,
and good title to, or a valid leasehold interest in, all its other material Property, except for such
defects in title as could not, individually or in the aggregate, reasonably be expected to have a
Material Adverse Effect, and none of such Property is subject to any Lien except Liens
permitted by Section 7.1.

        Section 5.8     Intellectual Property. Each Loan Party owns, or is licensed to use, all
material Intellectual Property necessary for the conduct of its business as currently conducted;
no material claim has been asserted and is pending by any Person challenging or questioning
the use of any such Intellectual Property or the validity or effectiveness of any such Intellectual
Property, nor does PKD know of any valid basis for any such claim; and the use of such

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Intellectual Property by the Loan Parties does not infringe on the rights of any Person in any
material respect.

        Section 5.9     Taxes. Except to the extent excused or prohibited by the Bankruptcy
Code or not otherwise authorized by the Bankruptcy Court each of PKD and each of its
Subsidiaries has filed or caused to be filed all material Federal, state and other Tax returns and
reports that are required to be filed and has paid all Taxes shown to be due and payable on said
returns or on any assessments made against it or any of its Property and all other material Taxes,
fees or other charges imposed on it or any of its Property by any Governmental Authority (other
than any the amount or validity of which are currently being contested in good faith by
appropriate proceedings diligently conducted in each case, with respect to which adequate
reserves in conformity with GAAP have been provided on the books of PKD or its Subsidiaries,
as the case may be); and no tax Lien has been filed (except as permitted by Section 7.1(a)),
and, to the knowledge of the Parent Borrower, no claim is being asserted, with respect to any
such tax, fee or other charge (other than any such Liens and claims in favor of taxing authorities
outside of the United States which are not, in the aggregate, material to PKD and its
Subsidiaries taken as a whole). No Loan Party is party to any tax sharing agreement.

        Section 5.10 Federal Regulations. No part of the proceeds of any Loans or drawings
under any Letter of Credit will be used in violation of Regulation U issued by the FRB as now
and from time to time hereafter in effect or for any purpose that violates the provisions of the
regulations of the FRB. No Loan Party is engaged or will engage, principally or as one of its
important activities, in the business of purchasing or carrying margin stock (within the meaning
of Regulation U issued by the FRB).

        Section 5.11 Labor Matters. There are no strikes or other labor disputes against PKD
or any of its Subsidiaries pending or, to the knowledge of the Parent Borrower, threatened that
(individually or in the aggregate) could reasonably be expected to have a Material Adverse
Effect. Hours worked by and payment made to employees of PKD and its Subsidiaries have
not been in violation of the Fair Labor Standards Act or any other applicable Requirement of
Law dealing with such matters that (individually or in the aggregate) could reasonably be
expected to have a Material Adverse Effect. All payments due from PKD or any of its
Subsidiaries on account of employee health and welfare insurance that (individually or in the
aggregate) could reasonably be expected to have a Material Adverse Effect if not paid have
been paid or accrued as a liability on the books of PKD or the relevant Subsidiary.

        Section 5.12 ERISA Compliance. (a) Each Plan is in compliance in all material
respects with the applicable provisions of ERISA, the Code and other Federal or state Laws,
except where such non-compliance has not had and could not reasonably be expected to have
a Material Adverse Effect. The base prototype plan document which each Plan that is intended
to qualify under Section 401(a) of the Code uses an opinion letter from the IRS, or an
application for such a letter is currently being processed by the IRS with respect thereto and,
to the knowledge of the Parent Borrower, nothing has occurred which would prevent, or cause
the loss of, such qualification. Except to the extent the failure to do so could not reasonably be
expected to have a Material Adverse Effect, PKD and each ERISA Affiliate have made all
required contributions to each Plan subject to Section 412 of the Code, and no application for
a funding waiver or an extension of any amortization period pursuant to Section 412 of the
Code has been made with respect to any Plan.

               (b)     There are no pending or, to the knowledge of the Parent Borrower,
threatened claims, actions or lawsuits, or action by any Governmental Authority, with respect

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to any Plan that could reasonably be expected to have a Material Adverse Effect. There has
been no prohibited transaction or violation of the fiduciary responsibility rules with respect to
any Plan that has resulted or could reasonably be expected to result in a Material Adverse
Effect.

                (c)     Except to the extent such event could not reasonably be expected to have
a Material Adverse Effect: (i) No ERISA Event has occurred or is reasonably expected to occur;
(ii) no Pension Plan has any Unfunded Pension Liability; (iii) neither PKD nor any ERISA
Affiliate has incurred, or reasonably expects to incur, any liability under Title IV of ERISA
with respect to any Pension Plan (other than premiums due and not delinquent under
Section 4007 of ERISA); (iv) neither PKD nor any ERISA Affiliate has incurred, or reasonably
expects to incur, any liability (and no event has occurred which, with the giving of notice under
Section 4219 of ERISA, would result in such liability) under Section 4201 or 4243 of ERISA
with respect to a Multiemployer Plan; and (v) neither PKD nor any ERISA Affiliate has
engaged in a transaction that could be subject to Section 4069 or 4212(c) of ERISA.

                (d)    With respect to each scheme or arrangement mandated by a government
other than the United States (a “Foreign Government Scheme or Arrangement”) and with
respect to each employee benefit plan maintained or contributed to by any Loan Party or any
Subsidiary of any Loan Party that is not subject to United States law (a “Foreign Plan”), each
Foreign Plan is in compliance in all material respects with the provisions of the applicable law
or terms of the applicable Foreign Government Scheme or Arrangement and no Foreign Benefit
Event has occurred or is reasonably expected to occur, except where such non-compliance or
occurrence has not had and could not reasonably be expected to have a Material Adverse Effect.

              (e)     The Parent Borrower represents and warrants as of the Closing Date that
none of PKD, or its Subsidiaries is or will be using “plan assets” (within the meaning of 29
CFR § 2510.3-101, as modified by Section 3(42) of ERISA) of one or more Benefit Plans in
connection with the Loans, the Letters of Credit or the Commitments.

         Section 5.13 Investment Company Act; Other Regulations. No Loan Party is an
“investment company”, or a company “controlled” by an “investment company”, within the
meaning of the Investment Company Act of 1940, as amended. No Loan Party is subject to
regulation under any Requirement of Law (other than Regulation X of the FRB) which limits
its ability to incur Indebtedness.

        Section 5.14 Subsidiaries. (a) The Subsidiaries listed on Schedule 5.14 constitute all
of the Subsidiaries of PKD as of the Closing Date. Schedule 5.14 sets forth as of the Closing
Date the name and jurisdiction of incorporation and, in the case of each Loan Party, the U.S.
taxpayer identification number of each such Subsidiary and, as to each, the percentage of each
class of Equity Interest owned by each Loan Party. All of the outstanding Equity Interests in
the Subsidiaries of PKD have been validly issued, and (to the extent applicable) fully paid and
non-assessable. All of the outstanding Pledged Equity Interests that are Collateral are owned
free and clear of all Liens except those created under the Collateral Documents. As of the
Closing Date, PKD does not directly or indirectly own any Equity Interest in any corporation,
limited partnership or limited liability company (or other business entity) other than those
specifically disclosed in Schedule 5.14. Schedule 5.14 identifies as of the Closing Date each
Subsidiary.

                (b)      As of the Closing Date, there are no outstanding subscriptions, options,
warrants, calls, rights or other agreements or commitments (other than Equity Interests granted

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to employees and/or directors) of any nature relating to any Equity Interests of PKD or any
Subsidiary, except as disclosed on Schedule 5.14.

        Section 5.15 Use of Proceeds. The proceeds of the Loans, and the Letters of Credit,
shall be used to (a) pay fees, interest, payments and expenses associated with this Agreement,
(b) provide liquidity for the ongoing working capital and capital expenditure needs of the Loan
Parties during the pendency of the Cases not in contravention of any Law, (c) fund the Carve-
Out and (d) fund the costs of the administration of the Cases, including payment of professional
fees, in each case, subject to the Budget and in accordance with the DIP Orders, as applicable.

       Section 5.16 Environmental Matters. Other than as set forth on Schedule 5.16 and
exceptions to any of the following that could not, individually or in the aggregate, reasonably
be expected to have a Material Adverse Effect:

                (a)    The Loan Parties: (i) are, and within the period of all applicable statutes
of limitation have been, in compliance with all applicable Environmental Laws; (ii) hold all
Environmental Permits (each of which is in full force and effect) required for any of their
current or intended operations or for any property owned, leased, licensed or otherwise
operated by any of them; (iii) are, and within the period of all applicable statutes of limitation
have been, in compliance with all of their Environmental Permits; and (iv) reasonably believe
that: each of their Environmental Permits will be timely renewed and complied with, without
material expense; any additional Environmental Permits that may be required of any of them
will be timely obtained and complied with, without material expense; and compliance with any
Environmental Law that is or is expected to become applicable to any of them will be timely
attained and maintained, without material expense.

                (b)    Hazardous Materials are not present at, on, under, in, or about any real
property now or formerly owned, leased, licensed or operated by the Loan Parties, or at any
other location (including, without limitation, any location to which Hazardous Materials have
been sent for re-use or recycling or for treatment, storage, or disposal) which could reasonably
be expected to (i) give rise to liability of the Loan Parties under any applicable Environmental
Law or otherwise result in costs to any Loan Party, or (ii) interfere with PKD’s or any other
Loan Party’s continued operations, or (iii) impair the fair saleable value of any real property
owned or leased by any Loan Party.

                (c)     There is no judicial, administrative, or arbitral proceeding (including
any notice of violation or alleged violation) under or relating to any Environmental Law to
which any Loan Party is, or to the knowledge of any Loan Party will be, named as a party that
is pending or, to the knowledge of any Loan Party, threatened in writing.

               (d)    Neither PKD nor any other Loan Party has received any written request
for information, or been notified that it is a potentially responsible party under or relating to
the CERCLA or any similar Environmental Law, or with respect to any Hazardous Material.

                (e)     Neither PKD nor any other Loan Party has entered into or agreed to any
consent decree, order, or settlement or other agreement, or is subject to any judgment, decree,
or order or other agreement, in any judicial, administrative, arbitral, or other forum for dispute
resolution, relating to compliance with or liability under any Environmental Law.

               (f)     Neither PKD nor any other Loan Party has assumed or retained, by
contract or operation of law, any liabilities of any kind, fixed or contingent, known or unknown,

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under any Environmental Law or with respect to any Hazardous Material other than indemnity
obligations in the ordinary course of business.

        Section 5.17 Accuracy of Information, etc. No written statement or information
contained in this Agreement, any other Loan Document or any other document, certificate or
written statement furnished to the Administrative Agent or the Lenders or any of them, by or
on behalf of any Loan Party for use in connection with the transactions contemplated hereby
and the negotiation of this Agreement or the other Loan Documents or delivered hereunder or
under any other Loan Document (in each case, as modified or supplemented by other
information so furnished), contained as of the date such statement, information, document or
certificate was so furnished, any untrue statement of a material fact or omitted to state a material
fact necessary in order to make the statements contained herein or therein, taken as a whole,
not materially misleading in light of the circumstances under which made; provided that with
respect to the Budget, the Parent Borrower only makes the representation and warranty set forth
in Section 5.5(d).

        Section 5.18 Insurance. The properties of the Loan Parties are insured with
financially sound and reputable insurance companies not Affiliates of PKD, in such amounts
with such deductibles and covering such risks as are customarily carried by companies engaged
in similar businesses and owning similar properties in localities where PKD or the applicable
Loan Party operates, except to the extent that reasonable self-insurance meeting the same
standards is maintained with respect to such risks.

        Section 5.19 OFAC/Sanctions. Except as described on Schedule 5.19, no Loan Party,
nor, to the knowledge of any Loan Party, any Related Party, is an individual or entity that is,
or is owned or controlled by any individual or entity that is (i) currently the subject or target of
any Sanctions, (ii) included on OFAC’s List of Specially Designated Nationals, HMT’s
Consolidated List of Financial Sanctions Targets and the Investment Ban List, or (iii) located,
organized or residing in any Designated Jurisdiction. Except as described on Schedule 5.19, no
Loan or Letter of Credit, nor the proceeds from any Loan or Letter of Credit, has been used to
lend, contribute, provide or has otherwise made available to fund any activity or business in
any Designated Jurisdiction or to fund any activity or business of any Person located, organized
or residing in any Designated Jurisdiction or who is the subject of any Sanctions, or in any
other manner that will result in any violation by any Person (including any Lender, the
Arranger, the Administrative Agent or the L/C Issuer) of Sanctions.

        Section 5.20 Anti-Corruption Laws. Except as previously disclosed by Parent
Borrower and its Subsidiaries in public filings, the Loan Parties have conducted their
businesses in compliance with the United States Foreign Corrupt Practices Act of 1977, the
UK Bribery Act 2010, and other similar applicable anti-corruption legislation in other
jurisdictions in all material respects and have instituted and maintained policies and procedures
designed to promote and achieve compliance with such laws.

         Section 5.21   EEA Financial Institution. No Loan Party is an EEA Financial
Institution.

        Section 5.22 DIP Orders. The Loan Parties are in compliance with the terms and
conditions of the DIP Orders. The Interim Order or the Final Order, as applicable, is in full
force and effect and has not been vacated, reversed or rescinded or supplemented or modified
in any respect without the prior written consent of the Administrative Agent and the Required
Lenders.

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                                     ARTICLE VI
                               AFFIRMATIVE COVENANTS

       Until the Termination Date, the Parent Borrower shall, and shall (except in the case of
the covenants set forth in Sections 6.1, 6.2, and 6.3) cause each Loan Party to:

       Section 6.1   Financial Statements; Borrowing Base Certificate. Deliver to the
Administrative Agent (which shall promptly furnish to each Lender) on or before 5:00 p.m.
Central Time on the requisite delivery date, in form and detail reasonably satisfactory to the
Administrative Agent and the Required Lenders:

                (a)    as soon as available, but in any event within 90 days after the end of
each fiscal year of PKD, a copy of the audited consolidated balance sheet of PKD and its
consolidated Subsidiaries as at the end of such year and the related audited consolidated
statements of income and of cash flows for such year, setting forth in each case in comparative
form the figures as of the end of and for the previous year, reported on without a qualification
arising out of the scope of the audit, by independent certified public accountants of nationally
recognized standing;

               (b)      as soon as available, but in any event not later than 45 days after the end
of each of the first three quarterly periods of each fiscal year of PKD, the unaudited
consolidated balance sheet of PKD and its consolidated Subsidiaries as at the end of such
quarter and the related unaudited consolidated statements of income and of cash flows for such
quarter and the portion of the fiscal year through the end of such quarter, setting forth in each
case in comparative form the figures as of the end of and for the corresponding period in the
previous year, certified by a Responsible Officer of the Parent Borrower as being fairly stated
in all material respects (subject to normal year-end audit adjustments and the absence of
footnotes); and

               (c)     as soon as available, but in any event not later than 30 days after the end
of each month (commencing with the month ending November 30, 2018) or, in the case of the
months ending on the last day of a fiscal quarter, within 45 days after the end of such months,
the unaudited consolidated balance sheet of PKD and its consolidated Subsidiaries as at the
end of such month and the related unaudited consolidated statement of income for such month
and the portion of the fiscal year through the end of such month, setting forth in each case in
comparative form the figures as of the end of and for the corresponding period in the previous
fiscal year;

                 (d)     a Borrowing Base Certificate prepared as of the end of the applicable
period and accompanied by such supporting detail and documentation as is contemplated by
the Borrowing Base Certificate and/or as shall be reasonably requested by the Administrative
Agent (in a form and detail satisfactory to the Administrative Agent), as soon as available, but
in any event (i) not later than 25 days after the end of each month and (ii) when a Weekly BBC
Trigger Period is in effect, not later than 3 Business Days after the end of each week. All
calculations of Availability in any Borrowing Base Certificate shall originally be made by the
Parent Borrower and certified by a Responsible Officer of the Parent Borrower, provided that
the Administrative Agent may from time to time review and adjust any such calculation (A) to
reflect its reasonable estimate of declines in value of any Collateral, due to collections received
in the Dominion Accounts or otherwise; and (B) to the extent the calculation is not made in
accordance with this Agreement or does not accurately reflect the Availability Reserve;


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                (e)   all such financial statements to be complete and correct in all material
respects and to be prepared in reasonable detail and in accordance with GAAP applied
consistently throughout the periods reflected therein and with prior periods (except as approved
by such accountants or officer, as the case may be, and disclosed therein);

       As to any information contained in materials furnished pursuant to Section 6.2(c), the
Parent Borrower shall not be separately required to furnish such information under clause (a)
or (b) above, but the foregoing shall not be in derogation of the obligation of the Parent
Borrower to furnish the information and materials described in Section 6.1(a) and (b) above at
the times specified therein.

       Section 6.2     Certificates; Other Information. Deliver to the Administrative Agent
(which shall promptly furnish to each Lender), or, in the case of clause (e), to the relevant
Lender (and/or Administrative Agent if making such request itself), in form and detail
reasonably satisfactory to the Administrative Agent and the Required Lenders:

               (a)      concurrently with the delivery of the financial statements referred to in
Section 6.1(a), a certificate of the independent certified public accountants reporting on such
financial statements stating that in making the examination necessary therefor no knowledge
was obtained of any Default or Event of Default, except as specified in such certificate (it being
understood that such certificate shall be limited to the items that independent certified public
accountants are permitted to cover in such certificates pursuant to their professional standards
and customs of the profession);

               (b)   concurrently with the delivery of any financial statements pursuant to
Section 6.1, a duly completed and executed Compliance Certificate; provided that, it is
understood such Compliance Certificate shall, among other provisions, contain certifications
of a Responsible Officer of the Parent Borrower stating that such Responsible Officer has
obtained no knowledge of any Default or Event of Default except as specified in such
certificate.

                (c)    within five days after the same are sent, copies of all financial statements
and reports that PKD sends to the holders of any class of its debt securities or public equity
securities and, within five days after the same are filed, copies of all financial statements and
reports that PKD may make to, or file with, the SEC;

                (d)     promptly, at the Parent Borrower’s expense, to the Administrative
Agent, such other reports, statements and reconciliations with respect to the Borrowing Base
or the Collateral as the Administrative Agent shall from time to time reasonably request;

              (e)      promptly, such additional financial and other information as any Lender
through the Administrative Agent or the Administrative Agent itself may from time to time
reasonably request, including without limitation, information for purposes of compliance with
applicable Flood Insurance Regulations, applicable “know your customer” and anti-money-
laundering rules and regulations, including, without limitation, the Patriot Act and the
Beneficial Ownership Regulation;

                (f)     concurrently with the delivery of a Borrowing Base Certificate, detailed
agings of Accounts and a detailed listing of the Quail Rental Assets (together with a
reconciliation to its general ledger), prepared as of the end of the applicable period; and


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               (g)    promptly upon the Administrative Agent’s request (A) copies of
customer statements and credit memos, remittance advices and reports, and copies of deposit
slips and bank statements, and (B) a statement of the outstanding loans and payments made,
and Accounts owing to, Affiliates, in each case, as of the last day of the immediately preceding
period.

         Documents required to be delivered pursuant to Section 6.1(a) or (b) or Section 6.2(c)
(to the extent any such documents are included in materials otherwise filed with the SEC) may
be delivered electronically and if so delivered, shall be deemed to have been delivered on the
date (i) on which the Parent Borrower posts such documents, or provides a link thereto on
PKD’s website on the Internet at the website address listed on Schedule 10.2; or (ii) on which
such documents are posted on the Parent Borrower’s behalf on an Internet or intranet website,
if any, to which each Lender and the Administrative Agent have access (whether a commercial,
third-party website or whether sponsored by the Administrative Agent); provided that: (i) if so
requested by the Administrative Agent or any Lender, the Parent Borrower shall deliver paper
copies of such documents to the Administrative Agent or such Lender until a written request
to cease delivering paper copies is given by the Administrative Agent or such Lender and (ii)
the Parent Borrower shall notify the Administrative Agent and each Lender (by telecopier or
electronic mail) of the posting of any such documents and provide to the Administrative Agent
by electronic mail electronic versions (i.e., soft copies) of such documents. If so requested by
the Administrative Agent or any Lender, the Parent Borrower shall be required to provide paper
copies of the Compliance Certificates required by Section 6.2(b) to the Administrative Agent.
Except for such Compliance Certificates, the Administrative Agent shall have no obligation to
request the delivery or to maintain copies of the documents referred to above, and in any event
shall have no responsibility to monitor compliance by the Parent Borrower with any such
request for delivery, and each Lender shall be solely responsible for requesting delivery to it
or maintaining its copies of such documents.

        The Parent Borrower hereby acknowledges that (a) the Administrative Agent and/or the
Arranger will make available to the Lenders and the L/C Issuers materials, projections and/or
information provided by or on behalf of the Parent Borrower hereunder (collectively,
“Borrower Materials”) by posting the Borrower Materials on SyndTrak, ClearPar, IntraLinks
or a substantially similar electronic transmission system (the “Platform”) and (b) certain of the
Lenders (each, a “Public Lender”) may have personnel who do not wish to receive material
non-public information with respect to any of the Parent Borrower or its respective Affiliates,
or the respective securities of any of the foregoing, and who may be engaged in investment and
other market-related activities with respect to such Persons’ securities. The Parent Borrower
hereby agrees that it will use commercially reasonable efforts to identify that portion of the
Borrower Materials that may be distributed to the Public Lenders and that (i) all such Borrower
Materials that are to be made available to Public Lenders shall be clearly and conspicuously
marked “PUBLIC” which, at a minimum, shall mean that the word “PUBLIC” shall appear
prominently on the first page thereof; (ii) by marking Borrower Materials “PUBLIC,” the
Parent Borrower shall be deemed to have authorized the Administrative Agent, the Arranger,
the L/C Issuers and the Lenders to treat the Borrower Materials as not containing any material
non-public information (although it may be sensitive and proprietary) with respect to the Parent
Borrower or their respective securities for purposes of United States Federal and state securities
laws (provided, however, that to the extent the Borrower Materials constitute Information, they
shall be treated as set forth in Section 10.7); (iii) all Borrower Materials marked “PUBLIC” are
permitted to be made available through a portion of the Platform designated “Public Side
Information;” and (iv) the Administrative Agent and the Arranger shall be entitled to treat the

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Borrower Materials that are not marked “PUBLIC” as being suitable only for posting on a
portion of the Platform not designated “Public Side Information.”

      Section 6.3     Notices. Promptly notify the Administrative Agent (which shall
promptly furnish such notice to each Lender) of:

               (a)     the occurrence of any Default or Event of Default;

                  (b)     any (i) default or event of default under any Contractual Obligation of
PKD or any of its Subsidiaries that could reasonably be expected to have a Material Adverse
Effect or (ii) litigation, investigation or proceeding which may exist at any time between PKD
or any of its Subsidiaries and any Governmental Authority that, if adversely determined, could
reasonably be expected to have a Material Adverse Effect;

               (c)     any litigation, investigation by a third-party (excluding, for the
avoidance of doubt, any internal investigations) or proceeding, in each case other than the
Cases, affecting PKD or any of its Subsidiaries (i) in which the amount involved is $5,000,000
or more and not covered by insurance or (ii) in which injunctive or similar relief is sought
which, if granted, could reasonably be expected to have a Material Adverse Effect;

               (d)     as soon as possible and in any event within 10 days after the Parent
Borrower knows or has reason to know of the occurrence of any ERISA Event or Foreign
Benefit Event that has had or could reasonably be expected to have a Material Adverse Effect;
and

              (e)     any development or event that has had or could reasonably be expected
to have a Material Adverse Effect.

Each notice pursuant to this Section 6.3 shall be accompanied by a statement of a Responsible
Officer of the Parent Borrower setting forth details of the occurrence referred to therein and
stating what action the Parent Borrower or relevant Subsidiary has taken and proposes to take
with respect thereto. Each notice pursuant to Section 6.3(a) shall describe with particularity
any and all provisions of this Agreement and any other Loan Document that have been
breached.

        Section 6.4      Conduct of Business and Maintenance of Existence, etc. (a) (i) Preserve,
renew and keep in full force and effect its legal existence (except as otherwise permitted under
this Agreement) and (ii) take all reasonable action to maintain all rights, privileges and
franchises useful and necessary in the normal conduct of its business, except, in each case, as
otherwise permitted by Section 7.4 and except, in the case of the foregoing clause (ii), to the
extent that failure to do so could not reasonably be expected to have a Material Adverse Effect;
and (b) subject to any necessary Bankruptcy Court approvals comply with all Contractual
Obligations and Requirements of Law, except to the extent that failure to comply therewith
could not, in the aggregate, reasonably be expected to have a Material Adverse Effect.

        Section 6.5    Maintenance of Property; Insurance. (a) Keep all material Property and
systems useful and necessary in its business in good working order and condition, ordinary
wear and tear excepted, and (b) subject to any necessary Bankruptcy Court approvals, maintain
with financially sound and reputable insurance companies insurance on all its Property in at
least such amounts and against at least such risks (but including in any event public liability
and product liability) as are usually insured against in the same general area by companies

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engaged in the same or a similar business; provided, that if any real property secures any
Obligations, flood hazard diligence, documentation and insurance for such real property shall
comply with applicable Flood Insurance Regulations or shall otherwise be satisfactory to all
Lenders. The Parent Borrower shall furnish certificates, policies and endorsements to
Administrative Agent as Administrative Agent shall reasonably require as proof of such
insurance, and, if the Parent Borrower fails to do so, Administrative Agent is authorized, but
not required, to obtain such insurance at the expense of the Parent Borrower. All policies shall
provide for at least thirty (30) days prior written notice to Administrative Agent of any
cancellation or reduction of coverage and that Administrative Agent may act as attorney-in-
fact for the Parent Borrower in obtaining, and at any time an Event of Default exists or has
occurred and is continuing, adjusting, settling, amending and canceling such insurance. The
Parent Borrower shall cause Administrative Agent to be named as a loss payee and an
additional insured (but without any liability for any premiums) under such insurance policies
and the Parent Borrower shall obtain non-contributory lender’s loss payable endorsements to
all insurance policies in form and substance satisfactory to Administrative Agent. Such lender’s
loss payable endorsements shall specify that the proceeds of such insurance shall be payable to
Administrative Agent, for the ratable benefit of the Secured Parties, as its interests may appear
and further specify that Administrative Agent shall be paid regardless of any act or omission
by the Parent Borrower or any of its Affiliates. The Administrative Agent, at its option, may
apply any insurance proceeds received by Administrative Agent at any time while any Event
of Default shall have occurred and be continuing to the cost of repairs or replacement of
Collateral and/or, to payment of the Obligations, whether or not then due, in any order and in
such manner as Administrative Agent may determine or hold such proceeds as cash collateral
for the Obligations.

        Section 6.6     Inspection of Property; Books and Records; Discussions. (a) Keep
proper books of records and account in which full, true and correct entries in conformity with
GAAP and all Requirements of Law shall be made of all dealings and transactions in relation
to its business and activities and (b) permit the Administrative Agent and any Lender
(accompanied by any other Lender that so elects) to visit and inspect any of its properties and
examine and make abstracts from any of its books and records at any reasonable time, upon
reasonable prior notice, and to discuss the business, operations, properties and financial and
other condition of the Parent Borrower and its Subsidiaries with officers and employees of the
Parent Borrower and its Subsidiaries and with its independent certified public accountants (it
being understood that all such notices shall be given through the Administrative Agent and
shall be coordinated with any other such notices to the extent reasonably possible), in each case
no more often than twice in any calendar year in the aggregate for the Administrative Agent
and all Lenders and, in the sole discretion of the Administrative Agent, an additional inspection
for a total of three times in any calendar year unless an Event of Default shall have occurred
and be continuing, in which case there shall be no limit on the number of such inspections by
the Administrative Agent or Lenders.

        Section 6.7    Environmental Laws. Comply in all respects with, and take all
reasonable action to ensure compliance in all respects by all tenants and subtenants, if any,
with, all applicable Environmental Laws, and obtain and comply in all respects with and
maintain, and take all reasonable action to ensure that all tenants and subtenants obtain and
comply in all respects with and maintain, any and all licenses, approvals, notifications,
registrations or permits required by applicable Environmental Laws, except to the extent that
any failures to so comply or maintain could not, in the aggregate, reasonably be expected to
result in a Material Adverse Effect.

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        Section 6.8      Payment of Obligations. Except to the extent excused or prohibited by
the Bankruptcy Code or not otherwise authorized by the Bankruptcy Court, pay and discharge
as the same shall become due and payable, all its obligations and liabilities, including (a) all
material tax liabilities, assessments and governmental charges or levies upon it or its properties
or assets, unless the same are being contested in good faith by appropriate proceedings
diligently conducted and adequate reserves in accordance with GAAP are being maintained by
PKD or such other Loan Party and (b) all Indebtedness or other claims entered into after the
Closing Date, as and when due and payable, but subject to any subordination provisions
contained in any instrument or agreement evidencing such Indebtedness, in each case, where
non-payment thereof could reasonably be expected to, individually or in the aggregate, have a
Material Adverse Effect.

        Section 6.9    Additional Collateral. With respect to any Specified Personal Property
acquired after the Closing Date, promptly following such acquisition (i) execute and deliver to
the Administrative Agent such amendments or supplements to the Security Agreement or such
other documents as the Administrative Agent reasonably deems necessary to confirm the
Administrative Agent’s Lien in such Property, and (ii) take all actions necessary or advisable
to confirm the Administrative Agent’s perfected first priority Lien in such Property, subject to
Permitted Liens, including without limitation, the filing of UCC financing statements (or
equivalent documentation) in such jurisdictions as may be required by the Security Agreement
or by Law or as may be requested by the Administrative Agent.

       Section 6.10    [Reserved].

       Section 6.11 Cash Management Systems. In each case subject to the DIP Orders and
the Cash Management Order:

       (a) Schedule 6.11 sets forth all deposit accounts maintained by the Loan Parties as of
the Closing Date, including all Dominion Accounts. From and after the Closing Date, the Loan
Parties shall not open any new deposit account, securities account, lockbox account,
concentration account, collection account or disbursement account.

                 (b)     Borrowers shall maintain Dominion Accounts pursuant to lockbox or
other arrangements reasonably acceptable to Administrative Agent. During the continuance of
an Event of Default, the Administrative Agent may require the immediate deposit of all
remittances received in any lockbox or any account maintained by the Loan Parties to a
Dominion Account. If a Dominion Account is not maintained with Bank of America,
Administrative Agent may, during the continuance of an Event of Default, require immediate
transfer of all funds in such account to a Dominion Account maintained with Bank of America.
Administrative Agent and Lenders assume no responsibility to any Borrower for any lockbox
arrangement or Dominion Account, including any claim of accord and satisfaction or release
with respect to any Payment Items accepted by any depositary bank.

                 (c)    Each Borrower shall (i) request in writing and otherwise take such
reasonable steps to ensure that all Account Debtors forward payment directly to lockboxes and
Dominion Accounts maintained pursuant to and in accordance with Section 6.11(b), and
(ii) deposit or cause to be deposited promptly, and in any event no later than the first Business
Day after the date of receipt thereof, all cash, checks, drafts or other similar items of payment
relating to or constituting payments made in respect of any and all Collateral (whether or not
otherwise delivered to a lockbox) into one or more Dominion Accounts. All Net Cash Proceeds


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of the sale, Net Loss Proceeds relating to or other disposition of any Collateral shall be
deposited directly into a Dominion Account.

       Section 6.12    Inspection and Appraisal of Collateral.

               (a)    At any time upon the Administrative Agent’s request, permit the
Administrative Agent (or its designee) to conduct two (2) field examinations in any calendar
year to ensure the adequacy of Borrowing Base Collateral and related reporting and control
systems, and prepared on a basis reasonably satisfactory to the Administrative Agent, such
field examinations to include, without limitation, information required by applicable Laws;
provided that, notwithstanding the foregoing, in the sole discretion of the Administrative
Agent, the Parent Borrower (and the other Borrowers, as applicable) shall permit the
Administrative Agent to conduct an additional field examination for a total of three (3) in any
calendar year. The Parent Borrower shall reimburse the Administrative Agent for all reasonable
charges, costs and expenses (including a per diem field examination charge and out of pocket
expenses) related thereto with respect the field examinations during each calendar year made
pursuant to the immediately preceding sentence; provided, that when an Event of Default has
occurred and is continuing, there shall be no limitation on the number or frequency of field
examinations that shall be at the sole expense of the Parent Borrower; and

                (b)    At any time upon the Administrative Agent’s request, promptly provide
the Administrative Agent with appraisals of the Quail Rental Assets not more frequently than
two (2) times in any calendar year from an appraiser selected and engaged by the
Administrative Agent, and prepared on a basis reasonably satisfactory to the Administrative
Agent, such appraisals to include, without limitation, information required by applicable Laws;
provided that, notwithstanding the foregoing, in the sole discretion of the Administrative
Agent, the Parent Borrower (and the other Borrowers, as applicable) shall provide the
Administrative Agent with an additional appraisal of the Quail Rental Assets for a total of three
(3) in any calendar year. The Parent Borrower shall reimburse the Administrative Agent for all
reasonable charges, costs and expenses related thereto with respect to the appraisals made
during each calendar year pursuant to the immediately preceding sentence; provided, that when
an Event of Default has occurred and is continuing, there shall be no limitation on the number
or frequency of appraisals that shall be at the sole expense of the Parent Borrower.

        Section 6.13 Casualty and Condemnation; Disposition Outside the Ordinary Course
of Business. (a) Furnish to the Administrative Agent written notice promptly, and in any event
within five (5) Business Days of the occurrence, of any Casualty Event affecting Collateral
other than Borrowing Base Collateral reasonably expected by the Parent Borrower to result in
Net Loss Proceeds in excess of $5,000,000, (b) ensure that the Net Loss Proceeds of any such
event (whether in the form of insurance proceeds or otherwise) are collected and applied in
accordance with the applicable provisions of the Loan Documents, (c) furnish to the
Administrative Agent written notice promptly, and in any event within five (5) Business Days
of the occurrence, of any Significant Casualty Event involving Borrowing Base Collateral and
(d) furnish to the Administrative Agent written notice promptly, and in any event within five
(5) Business Days of the occurrence, of any Disposition outside the Ordinary Course of
Business that relates to any Borrowing Base Collateral.

        Section 6.14 Anti-Corruption Laws; Sanctions. Except as previously disclosed by
PKD and its Subsidiaries in public filings, ensure that PKD and its Subsidiaries have conducted
their businesses in compliance with the United States Foreign Corrupt Practices Act of 1977,
the UK Bribery Act 2010, and other similar applicable anti-corruption legislation in other

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jurisdictions in all material respects and have instituted and maintained policies and procedures
designed to promote and achieve compliance with such Laws.

        Section 6.15 Further Assurances. (a) Deliver all of the Collateral Documents and (b)
from time to time execute and deliver, or cause to be executed and delivered, such additional
instruments, certificates or documents, and take such actions, as the Administrative Agent may
reasonably request for the purposes of implementing or effectuating the provisions of this
Agreement and the other Loan Documents, or of more fully perfecting or renewing the rights
of the Administrative Agent and the Lenders with respect to the Collateral (or with respect to
any additions thereto or replacements or proceeds thereof or with respect to any other property
or assets hereafter acquired by any Loan Party which may be deemed to be part of the
Collateral) pursuant hereto or thereto. Upon the exercise by the Administrative Agent or any
Lender of any power, right, privilege or remedy pursuant to this Agreement, the other Loan
Documents or the DIP Orders which requires any consent, approval, recording, qualification
or authorization of any Governmental Authority, the Parent Borrower will execute and deliver,
or will cause the execution and delivery of, all applications, certifications, instruments and
other documents and papers that the Administrative Agent or such Lender may be required to
obtain from the Parent Borrower or any of its Subsidiaries for such governmental consent,
approval, recording, qualification or authorization.

       Section 6.16    Budget.

               (a)    The Debtors shall use all proceeds of Loans, and shall operate, strictly
in accordance with the Budget, as the Budget may be updated from time to time pursuant to
Section 6.16(c) or modified from time to time pursuant to Section 6.16(d), and, in each case,
subject to Permitted Variances.

                (b)    (i) As of every Thursday (or, if such Thursday is not a Business Day, the
immediately succeeding Business Day) commencing with the third week after the Petition
Date, the aggregate actual expenditures by the Loan Parties (before any debt service payments)
for the immediately preceding period of four (or, in the case of the first Testing Period, three
weeks covered by the Budget) consecutive weeks (each, a “Testing Period”) may not exceed
the projected amount therefor set forth in the Budget by more than 10% and (ii) the aggregate
actual receipts of the Loan Parties for the Testing Period may not be less than the projected
amount therefor by more than 20% (any variance not exceeding such maximum or less than
such minimum, a “Permitted Variance”). For the purpose of calculating any Permitted
Variance, the fees and expenses of any counsel, advisors or other professionals retained by the
Loan Parties, the unsecured creditors’ committee, the Administrative Agent or the Lenders
shall not be considered.

               (c)     Not later than 5:00 p.m. Central Time on Thursday of each week (or, if
such Thursday is not a Business Day, not later than 12:00 p.m. Central Time on the immediately
succeeding Business Day), Parent Borrower will provide the Administrative Agent an
extension of the current Budget (to include the rolling thirteenth week), which extension shall
be in form and substance satisfactory to the Administrative Agent and the Required Lenders.

              (d)      Not later than 5:00 p.m. Central Time on Thursday of each week (or, if
such Thursday is not a Business Day, not later than 12:00 p.m. Central Time on the immediately
succeeding Business Day) of every fourth week commencing with the first such date after
delivery of the Initial Budget, the Parent Borrower may, at its option, submit to the
Administrative Agent and the Lenders a proposed Budget for the following rolling 13-week

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period in form and substance satisfactory to the Administrative Agent and the Required
Lenders, which proposed Budget shall replace and supersede the previously delivered Budget
upon the approval thereof by the Administrative Agent and the Required Lenders; provided
that if a Lender has not notified the Administrative Agent of its consent or objection to a
proposed Budget within 5 Business Days of the Parent Borrower’s delivery thereof, then such
Lender shall be deemed to have approved such proposed Budget.

               (e)     Not later than 5:00 p.m. Central Time on Thursday of each week (or, if
such Thursday is not a Business Day, not later than 12:00 p.m. Central Time on the immediately
succeeding Business Day), Parent Borrower will provide the Administrative Agent with a
certificate which shall include a variance report certified by a Responsible Officer of Parent
Borrower, which variance report shall compare actual cash receipts and disbursements of the
Loan Parties with corresponding amounts provided for in the Budget on a line-by-line basis for
the prior week period and the Testing Period (or such shorter period as may have elapsed from
the date hereof), including written descriptions in reasonable detail explaining any material
positive or negative variances, and shall otherwise be in form and substance reasonably
acceptable to the Administrative Agent and the Required Lenders.

       Section 6.17    Additional Reports.

              (a)     As soon as reasonably practicable, but no less than two (2) Business
Days prior to filing, Parent Borrower will provide the Administrative Agent drafts of all
pleadings, motions, applications, judicial information, financial information and any other
documents intended to be filed by or on behalf of the Borrowers or the Guarantors with the
Bankruptcy Court or the Office of the United States Trustee, or to be distributed by or on behalf
of the Borrowers or any Guarantor to any official committee in the Cases.

              (b)     Upon reasonable prior written notice from the Administrative Agent, the
Parent Borrower will provide or cause to be provided to the Administrative Agent and the
Lenders telephonic weekly updates by the Borrowers and their advisors regarding the Cases
and any matters related thereto.

       Section 6.18    Bankruptcy Related Affirmative Covenants.

               (a)   The Loan Parties shall comply with the DIP Orders and the Cash
Management Order, as then in effect, in all material respects, and shall not seek any reversal,
vacatur, stay, amendment or modification thereto without the prior written consent of the
Administrative Agent and the Required Lenders.

               (b)   Except to the extent any failure to comply therewith has been waived by
the requisite number or percentage of the Backstop Commitment Parties (as defined in the
RSA), the Loan Parties shall comply with the RSA (or, if applicable, the then existing
Acceptable Replacement RSA) in all material respects.

                (c)    Upon reasonable prior written notice from the Administrative Agent, the
Loan Parties shall provide the Administrative Agent and the Lenders with reasonable access to
any consultant, turnaround management, broker or financial advisory firm retained by the Loan
Parties in any of the Cases. PKD hereby grants the Administrative Agent and the Lenders with
such access.



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                                     ARTICLE VII
                                 NEGATIVE COVENANTS

        Until the Termination Date, the Parent Borrower shall not, nor shall it permit any Loan
Party to, directly or indirectly:

       Section 7.1    Liens. Create, incur, assume or suffer to exist any Lien upon any of its
Property, assets or revenues, whether now owned or hereafter acquired, other than the
following:

               (a)     Liens for taxes, assessments or governmental charges or claims not yet
due or which are being contested in good faith by appropriate proceedings diligently conducted,
provided that adequate reserves with respect thereto are maintained on the books of PKD or its
Subsidiaries, as the case may be, in conformity with GAAP;

               (b)     Landlords’, carriers’, warehousemen’s, mechanics’, repairmen’s,
laborers’, seamen’s, preferred maritime and materialmen’s liens or other like Liens arising in
the ordinary course of business which are not overdue for a period of more than 30 days, that
are being contested in good faith by appropriate proceedings or the payment of which is
excused or prohibited by the Bankruptcy Code or is otherwise not authorized to be paid by the
Bankruptcy Court;

            (c)     pledges or deposits in connection with workers’ compensation,
unemployment insurance and other social security legislation;

               (d)      deposits to secure the payment or performance of bids, tenders,
government contracts, trade contracts (other than for borrowed money), leases, statutory or
regulatory obligations, surety and appeal bonds, performance bonds, insurance obligations and
other obligations of a like nature incurred in the ordinary course of business;

                (e)    easements, rights-of-way, restrictions and other similar encumbrances
incurred in the ordinary course of business that, in the aggregate, are not substantial in amount
and which do not in any case materially detract from the value of the Property subject thereto
or materially interfere with the ordinary conduct of the business of PKD or any of its
Subsidiaries;

                (f)     Liens in existence on the date hereof listed on Schedule 7.1(f), securing
Indebtedness permitted by Section 7.3(d), provided that no such Lien is spread to cover any
additional Property after the Closing Date other than all or part of the same property or assets
(plus improvements, accessions, proceeds or distributions and directly related general
intangibles in respect thereof) that secured or, under the written arrangements under which the
original Lien arose, could secure the Indebtedness;

                (g)     Liens securing Indebtedness of PKD or any other Loan Party incurred
pursuant to Section 7.3(c) incurred for the purpose of financing all or any part of the acquisition
purchase price or cost of construction, design, repair, replacement, installation, or improvement
of property, plant or equipment used in the business of PKD or such other Loan Party (whether
through the direct purchase of such assets or the Equity Interests of the Person owning such
assets (but no other material assets)), provided that (i) such Liens shall be created prior to or
within 120 days after such acquisition, construction or other event, (ii) such Liens do not at any
time encumber any Property other than the Property financed by such Indebtedness (plus

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improvements, accessions, proceeds or distributions and directly related general intangibles in
respect thereof) and (iii) the amount of Indebtedness secured thereby is not increased;

                  (h)   Liens created pursuant to the DIP Orders or the Collateral Documents;

             (i)     any interest or title of a lessor under any lease entered into by PKD or
any other Loan Party in the ordinary course of its business and covering only the assets so
leased;

                  (j)   [reserved];

                  (k)   judgment Liens not giving rise to an Event of Default under
Section 8.1(h);

                (l)    Liens upon specific items of inventory or other goods of PKD or any
other Loan Party securing such Person’s obligations in respect of banker’s acceptances issued
or created for the account of such Person to facilitate the purchase, shipment, or storage of such
inventory or other goods;

                 (m)     Liens securing reimbursement obligations with respect to commercial
letters of credit that encumber documents and other property or assets relating to such letters
of credit and products and proceeds thereof;

                  (n)   [reserved];

                  (o)   [reserved];

                  (p)   [reserved];

                  (q)   [reserved];

                  (r)   [reserved];

                  (s)   [reserved];

               (t)     Liens on Property or assets under construction (and related rights) in
favor of the contractor or developer;

                  (u)   [reserved];

                (v)     bankers’ Liens, rights of setoff and other similar Liens existing solely
with respect to cash and Cash Equivalents on deposit in one or more accounts maintained by
PKD or any other Loan Party, in each case granted in the ordinary course of business in favor
of the bank or banks with which such accounts are maintained, securing amounts owing to such
bank with respect to cash management and operating account arrangements, including those
involving pooled accounts and netting arrangements; provided that, unless such Liens are non-
consensual and arise by operation of law, in no case shall any such Liens secure (either directly
or indirectly) the repayment of any Indebtedness;

                (w)    maritime liens for crew wages or for salvage and general average and
similar liens, each of which is in respect of obligations that are not delinquent for a period of
more than 30 days or are being contested in good faith by appropriate proceedings;

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                 (x)     Liens on cash collateral and the collateral account in which such cash
collateral is held, in each case, securing the Existing Letters of Credit; and

              (y)      Liens arising under the Existing 6.75% Senior Notes Indenture or the
Existing 7.50% Senior Notes Indenture in favor of the trustee for its own benefit in its capacity
as such and not for the benefit of the holders of such Indebtedness;

provided, however, that nothing in this Section 7.1 shall in and of itself constitute or be deemed
to constitute an agreement or acknowledgment by the Administrative Agent or any Lender that
any Indebtedness subject to or secured by any Lien, right or other interest permitted under
subsections (a) through (y) above ranks in priority to any Obligation.

          Section 7.2   Minimum Liquidity. Permit Liquidity to be less than $30,000,000 at any
time.

          Section 7.3   Indebtedness. Create, incur, assume or suffer to exist any Indebtedness,
except:

                 (a)    Indebtedness of any Loan Party pursuant to any Loan Document;

             (b)    Indebtedness of PKD to any other Loan Party and of any Loan Party to
PKD or any other Loan Party;

              (c)    Indebtedness (including, without limitation, in respect of Capitalized
Leases and Synthetic Lease Obligations) secured by Liens permitted by Section 7.1(g);

              (d)       Indebtedness outstanding on the date hereof and listed on
Schedule 7.3(d);

               (e)   Guarantees of PKD or any Loan Party in respect of Indebtedness
permitted under this Section 7.3 (excluding Guarantees of Indebtedness permitted under
Section 7.3(h));

                 (f)    the Existing Senior Notes;

            (g)   Indebtedness in respect of Swap Contracts permitted under Section 7.13
and Cash Management Agreements.

        Section 7.4    Fundamental Changes. Enter into any merger, consolidation or
amalgamation, or liquidate, divide, wind up or dissolve itself (or suffer any liquidation or
dissolution), or Dispose of all or substantially all its Property or business or form or acquire
any new Subsidiary except that any Loan Party (other than PKD) may be merged or
consolidated with or into PKD (provided that PKD shall be the continuing or surviving Person),
with or into any other Borrower (provided that a Borrower shall be the continuing or surviving
Person) or with or into any other Loan Party (provided that (i) a Loan Party shall be the
continuing or surviving Person or (ii) simultaneously with such transaction, the continuing or
surviving Person shall become a Loan Party and the Parent Borrower shall comply with
Section 6.9 in connection therewith).

        Section 7.5    Disposition of Property. Dispose of any Property, whether now owned
or hereafter acquired, or issue or Dispose of any Equity Interest of any Person that directly or
indirectly owns any of the foregoing, except:

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                (a)    Dispositions permitted by Section 7.4;

               (b)     the Disposition of obsolete or worn out property, or property that is no
longer used or useful in such Person’s business, in the ordinary course of business;

               (c)     the Disposition of inventory or other assets in the ordinary course of
business or consistent with past practice;

                (d)    Dispositions of cash or Cash Equivalents in the ordinary course of
business;

                (e)    [reserved];

                (f)    transfers of assets between or among the Parent Borrower and the other
Loan Parties;

                (g)    any Dispositions constituted by the granting of Liens permitted by
Section 7.1;

               (h)     any lease of drill pipe by Quail Tools to a customer located outside of
the United States and any subsequent sale to such customer of any such drill pipe; and

              (i)     any sale by PKD or any Loan Party to its customers of drill pipe, tools,
and associated drilling equipment utilized in connection with a drilling contract for the
employment of a drilling rig in the ordinary course of business and consistent with past
practice;

provided, that, notwithstanding the foregoing, this Section 7.5 shall not permit PKD or any of
its Subsidiaries to Dispose of a Loan Party.

        Section 7.6     Restricted Payments. (i) Declare or pay any dividend on, or make any
payment on account of, or set apart assets for a sinking or other analogous fund for, the
purchase, redemption, defeasance, retirement or other acquisition of, any Equity Interests of
PKD or any other Loan Party, whether now or hereafter outstanding, or make any other
distribution in respect thereof, either directly or indirectly, whether in cash or property or in
obligations of PKD or any other Loan Party, or enter into any derivatives or other transaction
with any financial institution, commodities or stock exchange or clearinghouse (a “Derivatives
Counterparty”) obligating PKD or any other Loan Party to make payments to such
Derivatives Counterparty as a result of any change in market value of any such Equity Interests
or (ii) make any Investment in or to any Person, including any Subsidiary (collectively,
“Restricted Payments”), except that:

                (a)     any Loan Party (other than PKD) may make Restricted Payments to the
holders of its Equity Interests on a pro rata basis, or a more favorable basis to any such holder
which is a Loan Party;

               (b)     any Loan Party may make Investments in or to its Subsidiaries that are
also Loan Parties; and

                (c)   any Loan Party may make Investments in or to its Subsidiaries that are
not Loan Parties in the ordinary course of business and consistent with past practices and
subject to the Cash Management Order.

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     Section 7.7    Modifications of Organizational Documents. Amend its Organization
Documents in any manner adverse to the Administrative Agent or the Lenders.

        Section 7.8      Transactions with Affiliates. Enter into any transaction, including,
without limitation, any purchase, sale, lease or exchange of Property, the rendering of any
service or the payment of any management, advisory or similar fees, with any Affiliate (other
than the Parent Borrower or any other Loan Party) unless such transaction is (a) otherwise
permitted under this Agreement, and (b) upon fair and reasonable terms no less favorable to
the Parent Borrower or such other Loan Party, as the case may be, than it would obtain in a
comparable arm’s length transaction with a Person that is not an Affiliate, except for
transactions permitted by the following sentence. This Section 7.8 shall not apply to the
following transactions: (i) any employment agreement entered into by PKD or any of the other
Loan Parties in the ordinary course of business and consistent with past practices, (ii) payment
of reasonable directors’ fees to Persons who are not otherwise Affiliates of PKD, (iii)
[reserved], (iv) any Restricted Payment otherwise permitted under Section 7.6 or any
Investment in a Loan Party, (v) indemnification agreements with, and payments made, to
officers, directors, and employees of PKD or any other Loan Party pursuant to charter, bylaw,
statutory, or contractual provisions, (vi) the performance of obligations of PKD or any other
Loan Party under the terms of any agreement to which PKD or any other Loan Party is a party
as of the date of this Agreement that is disclosed on Schedule 7.8, and any amendments,
modifications, supplements, extensions, or renewals of such agreements; provided that any
such amendments, modifications, supplements, extensions, or renewals of such agreements are
not materially more disadvantageous, taken as a whole, to PKD and/or any other Loan Party
than the terms of such agreements as in effect on the date of this Agreement, (vii) transactions
consummated in accordance with the RSA, (viii) any issuance of securities, or other payments,
awards or grants in cash, securities or otherwise pursuant to, or the funding of, employment
arrangements or stock option or stock ownership plans approved by the board of directors of
PKD prior to the Closing Date in an aggregate amount payable in cash not to exceed
$1,000,000, (ix) loans or advances to employees in the ordinary course of business and
consistent with past practices, but in any event not to exceed $1,000,000 in the aggregate
outstanding at any one time, (x) dividends and distributions to PKD and its Subsidiaries by any
Affiliate, and (xi) transactions between one or more Loan Parties and one or more Subsidiaries
of PKD in the ordinary course of business and consistent with past practices.

        Section 7.9  Changes in Fiscal Periods. Permit the fiscal year of PKD to end on a day
other than December 31 or change PKD’s method of determining fiscal quarters.

        Section 7.10 Negative Pledge Clauses. Enter into or suffer to exist or become
effective any agreement that prohibits or limits the ability of the Parent Borrower or any other
Loan Party to create, incur, assume or suffer to exist any Lien upon any of its Property or
revenues, whether now owned or hereafter acquired, to secure the Obligations or, in the case
of any Guarantor, its obligations under the Guaranty, other than (a) this Agreement and the
other Loan Documents, (b) the Existing 7.50% Senior Notes Indenture and the Existing 6.75%
Senior Notes Indenture, (c) any agreements governing any purchase money Liens or
Capitalized Leases or other secured Indebtedness otherwise permitted hereby existing on the
Closing Date (in which case, any prohibition or limitation shall only be effective against the
assets financed thereby or securing such Indebtedness), (d) customary non-assignment
provisions in any contract or lease entered into in the ordinary course of business and consistent
with past practices, (e) applicable law or any applicable rule, regulation, or order of any
Governmental Authority, (f) provisions in effect on the Closing Date with respect to the

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disposition or distribution of assets or property in joint venture agreements, asset sale
agreements, stock sale agreements, and other similar agreements, (g) restrictions on cash or
other deposits or net worth imposed by customers under contracts entered into in the ordinary
course of business, and (h) any instrument governing Indebtedness assumed in connection with
any acquisition of any Person or asset and not incurred in contemplation of such acquisition,
which encumbrance or restriction is not applicable to any Person, or the properties or assets of
any Person, other than the Person or the properties or assets of the Person so acquired.

         Section 7.11 Restrictions on Subsidiary Distributions. Enter into or suffer to exist or
become effective any consensual encumbrance or restriction on the ability of any Subsidiary
of PKD that is a Loan Party to (a) make Restricted Payments in respect of any Equity Interests
of such Loan Party held by, or pay any Indebtedness owed to, the Parent Borrower or any other
Loan Party (it being understood that (i) the priority of any preferred equity in receiving
dividends or liquidating distributions prior to dividends or liquidating distributions being paid
on common equity shall not be deemed a restriction on the ability to make distributions on
Equity Interests and (ii) the subordination of loans or advances made to PKD or any other Loan
Party to other Indebtedness incurred by PKD or any other Loan Party shall not be deemed a
restriction on the ability to pay loans or advances), (b) make Investments in PKD or any other
Loan Party or (c) transfer any of its assets to PKD or any other Loan Party, except for such
encumbrances or restrictions existing under or by reason of (i) any restrictions existing under
the Loan Documents, (ii) any restrictions with respect to a Loan Party imposed pursuant to an
agreement that has been entered into in connection with the Disposition of all or substantially
all of the Equity Interests or assets of such Loan Party, (iii) any restrictions imposed pursuant
to agreements governing any purchase money Liens or Capitalized Leases or other secured
Indebtedness otherwise permitted hereby (in which case, any prohibition or limitation shall
only be effective as to transfers of the assets financed thereby or securing such Indebtedness),
(iv) customary non-assignment provisions in any contract or lease entered into in the ordinary
course of business and consistent with past practices, (v) applicable law or any applicable rule,
regulation, or order of any Governmental Authority, (vi) provisions with respect to the
disposition or distribution of assets or property in joint venture agreements, asset sale
agreements, stock sale agreements, and other similar agreements, provided that such provisions
apply only to the assets subject to such agreements, and (vii) restrictions on cash or other
deposits or net worth imposed by customers under contracts entered into in the ordinary course
of business.

        Section 7.12 Lines of Business. Enter into any material business except for those
businesses directly relating to the oil services industry in which PKD and its Subsidiaries have
previously engaged or are engaged on the Closing Date or that are incidental or reasonably
related thereto or that are a reasonable extension thereof, as determined in good faith by the
Parent Borrower or applicable Subsidiary.

        Section 7.13 Swap Contracts. Enter into any Swap Contract other than Swap
Contracts entered into in the ordinary course of business, and not for speculative purposes, to
protect against changes in interest rates or foreign exchange rates.

        Section 7.14 Anti-Corruption Laws. (a) Directly or indirectly use the proceeds of any
Credit Extension for any purpose which would breach the United States Foreign Corrupt
Practices Act of 1977, the UK Bribery Act 2010 and other similar applicable anti-corruption
legislation in other jurisdictions in any material respects. (b) Cause or permit any of the funds
of any Loan Party that are used to repay the Loans to be derived from any unlawful activity
with the result that the making of the Loans would be in violation of any Law.
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         Section 7.15 Sanctions. Directly or indirectly, use the proceeds of any Credit
Extension, or lend, contribute or otherwise make available such proceeds to any subsidiary,
joint venture partner or other individual, entity or other Person, for the purpose of funding any
activities of or business with any individual, entity or other Person, or in any country or
territory, in a manner that will result in a violation of applicable Sanctions, or in any other
manner that will result in a violation by any individual, entity or other Person (including any
individual, entity or other Person participating in the transaction, whether as underwriter,
advisor, investor, Lender, Arranger, Administrative Agent, L/C Issuer or otherwise) of
applicable Sanctions.

       Section 7.16 Prepayment, etc. of Indebtedness. Except as expressly permitted by the
terms and conditions set forth in the DIP Orders and as set forth in the Budget, make any
optional prepayment, repurchase, redemption, defeasance, exchange or any other voluntary
payment or retirement in respect of any Indebtedness.

        Section 7.17 Chapter 11 Claims. Other than the Carve-Out, incur, create, assume,
suffer to exist, or permit any claim or Lien in excess of $250,000 in the Cases (including
without limitation any claim under Section 506(c) of the Bankruptcy Code and any deficiency
claim remaining after the satisfaction of a Lien that secures a claim) to be on a parity with or
senior to the claims of the Administrative Agent for the benefit of the Lenders against the Loan
Parties hereunder, or apply to the Bankruptcy Court for authority to do so unless such relief, if
granted, would cause the Obligations to be satisfied in full. The Loan Parties shall not pay fees
and expenses to any Professional Person (as defined in the DIP Order) until such Professional
Person is authorized to be paid pursuant to any fee procedure approved by the Bankruptcy
Court.

        Section 7.18 Superpriority Claims. Create or permit to exist any superpriority claim
(including any superpriority administrative claim and all other benefits and protections
allowable under Sections 507(b) and 503(b)(1) of the Bankruptcy Code) in excess of $250,000
other than in favor of the Lenders with respect to the Obligations or as expressly permitted in
writing by the Administrative Agent.

                                  ARTICLE VIII
                        EVENTS OF DEFAULT AND REMEDIES

       Section 8.1     Events of Default. Any of the following shall constitute an Event of
Default:

               (a)     Non-Payment. The Parent Borrower or any other Loan Party fails to
(i) pay when and as required to be paid herein, and in the currency required hereunder, any
amount of principal of any Loan or any L/C Obligation or deposit any funds as Cash Collateral
in respect of L/C Obligations, or (ii) pay within three Business Days after the same becomes
due, any interest on any Loan or on any L/C Obligation, any fee due hereunder, or any other
amount payable hereunder or under any other Loan Document; or

               (b)    Specific Covenants. (i) Any Loan Party shall default in the observance
or performance of any agreement contained in Section 6.4(a)(i) or (ii), Section 6.3(a),
Section 6.11, Section 6.16, Section 6.17, Section 6.18 or Article VII, or in Article IV of the
Security Agreement, (ii) any Loan Party shall default in the observance or performance of any
agreement contained in Section 6.1(d), and such default shall continue unremedied for a period
of (A) during a Weekly BBC Trigger Period, 3 days or (B) at any other time, 5 days, (iii) any

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Loan Party shall default in the observance or performance of any agreement contained in
Section 6.1 (other than Section 6.1(d)) or Section 6.9(a)(i), and such default shall continue
unremedied for a period of 10 days or (iv)the Parent Borrower shall default in the observance
or performance of the obligations under Section 6.10; or

                (c)      Other Defaults. Any Loan Party fails to perform or observe any other
covenant or agreement (not specified in Sections 8.1(a) or (b) above or (d) below) contained in
any Loan Document on its part to be performed or observed and such failure continues for 30
days after the earlier to occur of (i) written notice thereof from the Administrative Agent to the
Parent Borrower (which notice may be given by the Administrative Agent and will be given at
the request of the Required Lenders) or (ii) a Responsible Officer of the Parent Borrower or
any other Loan Party otherwise becoming aware of such default or any “Event of Default”
under any Loan Document (other than this Agreement) shall occur and continue to exist beyond
any applicable grace period set forth in such Loan Document; or

                (d)     Representations and Warranties. Any representation, warranty,
certification or statement of fact made or deemed made by or on behalf of the Parent Borrower
or any other Loan Party herein, in any other Loan Document, or in any document delivered in
connection herewith or therewith shall be incorrect or misleading in any material respect when
made or deemed made; or

                (e)    Cross-Default. (i) Any Loan Party (A) fails to make any payment when
due (whether by scheduled maturity, required prepayment, acceleration, demand, or otherwise)
in respect of any Indebtedness or Guarantee (other than Indebtedness hereunder and
Indebtedness under Swap Contracts) entered into after the Closing Date having an aggregate
principal amount (including undrawn committed or available amounts and including amounts
owing to all creditors under any combined or syndicated credit arrangement) of more than the
Threshold Amount, or (B) fails to observe or perform any other agreement or condition relating
to any such Indebtedness or Guarantee entered into after the Closing Date or contained in any
instrument or agreement evidencing, securing or relating thereto, or any other event occurs, the
effect of which default or other event is to cause, or to permit the holder or holders of such
Indebtedness or the beneficiary or beneficiaries of such Guarantee (or a trustee or agent on
behalf of such holder or holders or beneficiary or beneficiaries) to cause, with the giving of
notice if required, such Indebtedness to be demanded or to become due or to be repurchased,
prepaid, defeased or redeemed (automatically or otherwise), or an offer to repurchase, prepay,
defease or redeem such Indebtedness to be made, prior to its stated maturity, or such Guarantee
to become payable or cash collateral in respect thereof to be demanded; or (ii) there occurs
under any Swap Contract entered into after the Closing Date an Early Termination Date (as
defined in such Swap Contract) resulting from (A) any event of default under such Swap
Contract as to which any Loan Party is the Defaulting Party (as defined in such Swap Contract)
or (B) any Termination Event (as so defined) under such Swap Contract as to which any Loan
Party is an Affected Party (as so defined) and, in either event, the Swap Termination Value
owed by any Loan Party as a result thereof is greater than the Threshold Amount; or

               (f)     [reserved]; or

               (g)     [reserved]; or

              (h)      Judgments. Other than as a result of the filing of the Cases, one or more
judgments or decrees shall be entered against any Loan Party involving, for the Loan Parties
taken as a whole, a liability (not paid or fully covered by independent third party insurance as

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to which the relevant insurance company has acknowledged coverage) in an aggregate amount
in excess of the Threshold Amount, and all such judgments or decrees shall not have been paid,
vacated, discharged, stayed or bonded pending appeal by the earlier of (i) the date which 60
days from the entry thereof and (ii) the date on which the relevant judgment creditor(s) has
begun to enforce such judgment(s) or decree(s); or

               (i)    ERISA. (i) An ERISA Event occurs with respect to a Pension Plan or
Multiemployer Plan which has resulted or could reasonably be expected to result in liability of
PKD under Title IV of ERISA to the Pension Plan, Multiemployer Plan or the PBGC in an
aggregate amount that could reasonably be expected to have a Material Adverse Effect,
(ii) PKD or any ERISA Affiliate fails to pay when due, after the expiration of any applicable
grace period, any installment payment with respect to its withdrawal liability under
Section 4201 of ERISA under a Multiemployer Plan in an aggregate amount that could
reasonably be expected to have a Material Adverse Effect or (iii) a Foreign Benefit Event
occurs which has resulted or could reasonably be expected to result in liability of PKD or one
of the other Loan Parties in an aggregate amount that could reasonably be expected to have a
Material Adverse Effect; or

               (j)     Invalidity of Loan Documents. Any Loan Document, at any time after
its execution and delivery and for any reason other than as expressly permitted hereunder or
thereunder or the occurrence of the Termination Date, ceases to be in full force and effect; or
any Loan Party contests in any manner the validity or enforceability of any Loan Document;
or any Loan Party denies that it has any or further liability or obligation under any Loan
Document, or purports to revoke, terminate or rescind any Loan Document; or

               (k)     [Reserved]; or

               (l)     [Reserved].

                (m)     Milestones. The failure to meet any of the following milestones;
provided that each deadline set forth in clauses (ii), (iii) and (iv) below shall be automatically
extended without any further action hereunder to any corresponding date of extension agreed
to by the requisite number or percentage of the Backstop Commitment Parties under the RSA;
provided, further, that in no event shall any deadline below be extended (x) to a date later than
14 days following the original date set forth herein or (y) to any date subsequent to the Outside
Maturity Date:

                     (i)      obtain entry by the Bankruptcy Court of the Final DIP Order
       within 40 days after the Petition Date;

                       (ii) obtain entry by the Bankruptcy Court of orders approving (i) the
       Disclosure Statement (as defined in the RSA), (ii) the Rights Offering Procedures (as
       defined in the RSA), and (iii) the Exit Facility Commitment Letter and Exit Facility Fee
       Letter, in each case within 45 days after the Petition Date;

                      (iii) obtain entry by the Bankruptcy Court of the Confirmation Order
       by no later than 92 days after the Petition Date; and

                       (iv) the Effective Date of the Chapter 11 Plan shall have occurred by
       no later than the later of (i) 107 days after the Petition Date and (ii) 15 days after the
       Confirmation Order is entered.

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               (n)     The entry by a court of competent jurisdiction of an order amending,
modifying, staying, revoking or reversing the Interim DIP Order or Final DIP Order, as
applicable, without the express written consent of the Administrative Agent and the Required
Lenders.

               (o)     Any Disposition of a material portion of the Collateral pursuant to
section 363 of the Bankruptcy Code other than as permitted by the DIP Orders or the approved
plan of reorganization (or pursuant to a transaction that is permitted under the Section 7.5).

               (p)    The conversion of, or the filing of any motion by a Loan Party to
convert, any of the Cases to cases under Chapter 7 of the Bankruptcy Code.

               (q)     The dismissal of, or the filing of any motion by a Loan Party to dismiss,
any of the Cases.

                (r)   The appointment of a Chapter 11 trustee or an examiner with enlarged
powers relating to the operation of the business of any Loan Party (powers beyond those set
forth in sections 1106(a)(3) and 1106(a)(4) of the Bankruptcy Code) under sections 1104(d)
and 1106(b) of the Bankruptcy Code.

                (s)    The entry of an order granting relief from the automatic stay under
section 362 of the Bankruptcy Code to a holder or holders of any security interest or lien on
any part of the Collateral to permit foreclosure (or the granting of a deed in lieu of foreclosure
or the like) on any such Collateral having a fair market value in excess of $1,000,000.

                (t)     The filing by any of the Loan Parties of or the entry of an order
confirming, a plan of reorganization or liquidation that does not require indefeasible repayment
in full of the Obligations as of the effective date of the plan.

                (u)   The termination of the RSA without the prior written consent of the
Required Lenders (such consent not to be unreasonably withheld) unless the RSA is replaced
substantially contemporaneously with an Acceptable Replacement RSA.

                (v)      The commencement of any challenge by a Loan Party with respect to
the extent, validity, priority or unavoidability of the Administrative Agent’s Liens securing the
Obligations, or the entry of any order of any court of competent jurisdiction sustaining any
such challenge by any Person, whether or not a Loan Party.

       Section 8.2      Remedies Upon Event of Default. If any Event of Default occurs and is
continuing, the Administrative Agent, subject to any notice requirement in the DIP Orders, and
with the automatic stay provisions of Section 362 of the Bankruptcy Code being automatically
vacated and modified as provided in the DIP Orders, including to the extent necessary to permit
the Administrative Agent to exercise its rights and remedies without further order of the
Bankruptcy Court, shall, at the request of, or may, with the consent of, the Required Lenders,
take any or all of the following actions:

                (a)   declare the commitment of each Lender to make Loans and any
obligation of each L/C Issuer to make L/C Credit Extensions to be terminated, whereupon such
commitments and obligation shall be terminated;

              (b)    declare the unpaid principal amount of all outstanding Loans, all interest
accrued and unpaid thereon, and all other amounts owing or payable hereunder or under any
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other Loan Document to be immediately due and payable, without presentment, demand,
protest or other notice of any kind, all of which are hereby expressly waived by the Parent
Borrower;

                (c)      require that the Parent Borrower Cash Collateralize the L/C Obligations
(in an amount equal to the then Outstanding Amount thereof; provided, however, that the
Administrative Agent or applicable L/C Issuer may, at any time and from time to time after the
initial deposit of Cash Collateral, request that additional Cash Collateral be provided in order
to protect against the results of exchange rate fluctuations and the Parent Borrower shall deposit
such additional Cash Collateral); and

              (d)     exercise on behalf of itself, the Lenders and the L/C Issuers all rights
and remedies available to it, the Lenders and the L/C Issuers under the Loan Documents.

        Section 8.3     Application of Funds. After the exercise of remedies provided for in
Section 8.2 (or after the Loans have automatically become immediately due and payable and
the L/C Obligations have automatically been required to be Cash Collateralized as set forth in
the proviso to Section 8.2), any amounts received on account of the Obligations shall be applied
by the Administrative Agent in the following order:

        First, to payment of that portion of the Obligations constituting fees, indemnities,
expenses and other amounts (including fees, charges and disbursements of counsel to the
Administrative Agent and amounts payable under Article III but excluding any principal,
interest and Letter of Credit Fees) payable to the Administrative Agent in its capacity as such;

       Second, to payment of that portion of the Obligations constituting fees, indemnities and
other amounts (other than principal, interest and Letter of Credit Fees) payable to the Lenders
and the L/C Issuers (including fees, charges and disbursements of counsel to the respective
Lenders and the L/C Issuers (including fees and time charges for attorneys who may be
employees of any Lender or any L/C Issuer) arising under the Loan Documents and amounts
payable under Article III), ratably among them in proportion to the respective amounts
described in this clause Second payable to them;

        Third, to payment of that portion of the Obligations constituting accrued and unpaid
Letter of Credit Fees and interest on the Loans, L/C Borrowings and other Obligations arising
under the Loan Documents, ratably among the Lenders and the L/C Issuers in proportion to the
respective amounts described in this clause Third payable to them;

       Fourth, to payment of that portion of the Obligations constituting unpaid principal of
the Loans, L/C Borrowings and Obligations then owing under Secured Cash management
Agreements, ratably among the Lenders, the L/C Issuers and the Cash Management Banks in
proportion to the respective amounts described in this clause Fourth held by them;

        Fifth, to the Administrative Agent for the account of the L/C Issuers, to Cash
Collateralize that portion of L/C Obligations comprised of the aggregate undrawn face amount
of Letters of Credit;

       Sixth, to payment of all other Obligations ratably among the Secured Parties; and

        Last, the balance, if any, after all of the Obligations have been indefeasibly paid in full,
to the Parent Borrower or as otherwise required by Law.

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       Subject to Section 2.3(c), amounts used to Cash Collateralize the aggregate undrawn
face amount of Letters of Credit pursuant to clause Fifth above shall be applied to satisfy
drawings under such Letters of Credit as they occur. If any amount remains on deposit as Cash
Collateral after all Letters of Credit have either been fully drawn or expired, such remaining
amount shall be applied to the other Obligations, if any, in the order set forth above.

                                     ARTICLE IX
                                ADMINISTRATIVE AGENT

        Section 9.1     Appointment and Authority. (a) Each of the Lenders and the L/C Issuers
hereby irrevocably appoints Bank of America to act on its behalf as the Administrative Agent
hereunder and under the other Loan Documents and authorizes the Administrative Agent to
take such actions on its behalf and to exercise such powers as are delegated to the
Administrative Agent by the terms hereof or thereof (including, for the avoidance of doubt, the
execution and delivery of the other Loan Documents), together with such actions and powers
as are reasonably incidental thereto. The provisions of this Article, other than the final sentence
of Section 9.10, are solely for the benefit of the Administrative Agent, the Lenders and the L/C
Issuers, and the Parent Borrower shall not have rights as a third-party beneficiary of any of
such provisions. It is understood and agreed that the use of the term “agent” herein or in any
other Loan Documents (or any other similar term) with reference to the Agents is not intended
to connote any fiduciary or other implied (or express) obligations arising under agency doctrine
of any applicable Law. Instead such term is used as a matter of market custom, and is intended
to create or reflect only an administrative relationship between contracting parties.

                 (b)    The Administrative Agent shall also act as the “collateral agent” under
the Loan Documents (including in its capacity as a potential Cash Management Bank and on
behalf of each of its Affiliates that is or may be a Cash Management Bank), and each of the
Lenders and each L/C Issuer hereby irrevocably appoints and authorizes the Administrative
Agent to act as the agent of such Lender and such L/C Issuer for purposes of acquiring, holding
and enforcing any and all Liens on Collateral granted by any of the Loan Parties to secure any
of the Obligations, together with such powers and discretion as are reasonably incidental
thereto. In connection with all of the foregoing, the Administrative Agent, as “collateral agent”
and any co-agents, sub-agents and attorneys-in-fact appointed by the Administrative Agent
pursuant to Section 9.5 for purposes of holding or enforcing any Lien on the Collateral (or any
portion thereof) granted under the Collateral Documents, or for exercising any rights and
remedies thereunder at the direction of the Administrative Agent, shall be entitled to the
benefits of all provisions of this Article IX and Article X (including Section 10.4(c), as though
such co-agents, sub-agents and attorneys-in-fact were the “collateral agent” under the Loan
Documents) as if set forth in full herein with respect thereto.

        Section 9.2    Rights as a Lender. The Person serving as the Administrative Agent
hereunder shall have the same rights and powers in its capacity as a Lender as any other Lender
and may exercise the same as though it were not the Administrative Agent, and the term
“Lender” or “Lenders” shall, unless otherwise expressly indicated or unless the context
otherwise requires, include the Person serving as the Administrative Agent hereunder in its
individual capacity. Such Person and its Affiliates may accept deposits from, lend money to,
act as the financial advisor or in any other advisory capacity for and generally engage in any
kind of business with PKD or any Subsidiary or other Affiliate thereof as if such Person were
not the Administrative Agent hereunder and without any duty to account therefor to the
Lenders.


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        Section 9.3    Exculpatory Provisions. The Administrative Agent shall not have any
duties or obligations except those expressly set forth herein and in the other Loan Documents,
and each Agent’s duties hereunder shall be administrative in nature. Without limiting the
generality of the foregoing, the Administrative Agent:

              (a)     shall not be subject to any fiduciary or other implied duties, regardless
of whether a Default has occurred and is continuing;

                (b)     shall not have any duty to take any discretionary action or exercise any
discretionary powers, except discretionary rights and powers expressly contemplated hereby
or by the other Loan Documents that the Administrative Agent is required to exercise as
directed in writing by the Required Lenders (or such other number or percentage of the Lenders
as shall be expressly provided for herein or in the other Loan Documents), provided that the
Administrative Agent shall not be required to take any action that, in its opinion or the opinion
of its counsel, may expose the Administrative Agent to liability or that is contrary to any Loan
Document or applicable law, including for the avoidance of doubt any action that may be in
violation of the automatic stay under any Debtor Relief Law or that may effect a forfeiture,
modification or termination of property of a Defaulting Lender in violation of any Debtor
Relief Law; and

               (c)     shall not, except as expressly set forth herein and in the other Loan
Documents, have any duty to disclose, and shall not be liable for the failure to disclose, any
information relating to PKD or any of its Affiliates that is communicated to or obtained by the
Person serving as the Administrative Agent or any of its Affiliates in any capacity.

         The Administrative Agent shall not be liable for any action taken or not taken by it
(i) with the consent or at the request of the Required Lenders (or such other number or
percentage of the Lenders as shall be necessary, or as the Administrative Agent shall believe
in good faith shall be necessary, under the circumstances as provided in Sections 10.1 and 8.2)
or (ii) in the absence of its own gross negligence or willful misconduct as determined by a court
of competent jurisdiction by a final nonappealable judgment. The Administrative Agent shall
be deemed not to have knowledge of any Default unless and until notice describing such
Default is given to the Administrative Agent by the Parent Borrower, a Lender or an L/C Issuer.

        The Administrative Agent shall not be responsible for or have any duty to ascertain or
inquire into (i) any statement, warranty or representation made in or in connection with this
Agreement or any other Loan Document, (ii) the contents of any certificate, report or other
document delivered hereunder or thereunder or in connection herewith or therewith, (iii) the
performance or observance of any of the covenants, agreements or other terms or conditions
set forth herein or therein or the occurrence of any Default, (iv) the validity, enforceability,
effectiveness or genuineness of this Agreement, any other Loan Document or any other
agreement, instrument or document, or the creation, perfection or priority of any Lien purported
to be created by the DIP Orders or the Collateral Documents, (v) the value or the sufficiency
of any Collateral, or (vi) the satisfaction of any condition set forth in Article IV or elsewhere
herein, other than to confirm receipt of items expressly required to be delivered to the
Administrative Agent.

        Section 9.4      Reliance by Administrative Agent. The Administrative Agent shall be
entitled to rely upon, and shall not incur any liability for relying upon, any notice, request,
certificate, consent, statement, instrument, document or other writing (including any electronic
message, Internet or intranet website posting or other distribution) believed by it to be genuine

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and to have been signed, sent or otherwise authenticated by the proper Person. The
Administrative Agent also may rely upon any statement made to it orally or by telephone and
believed by it to have been made by the proper Person, and shall not incur any liability for
relying thereon. In determining compliance with any condition hereunder to the making of a
Loan, or the issuance, extension, renewal or increase of a Letter of Credit, that by its terms
must be fulfilled to the satisfaction of a Lender or the applicable L/C Issuer, the Administrative
Agent may presume that such condition is satisfactory to such Lender or such L/C Issuer unless
the Administrative Agent shall have received notice to the contrary from such Lender or such
L/C Issuer prior to the making of such Loan or the issuance of such Letter of Credit. The
Administrative Agent may consult with legal counsel (who may be counsel for the Parent
Borrower), independent accountants and other experts selected by it, and shall not be liable for
any action taken or not taken by it in accordance with the advice of any such counsel,
accountants or experts.

          Section 9.5    Delegation of Duties. The Administrative Agent may perform any and
all of its duties and exercise its rights and powers hereunder or under any other Loan Document
by or through any one or more sub-agents appointed by the Administrative Agent. The
Administrative Agent and any such sub-agent may perform any and all of its duties and exercise
its rights and powers by or through their respective Related Parties. The exculpatory provisions
of this Article shall apply to any such sub-agent and to the Related Parties of the Administrative
Agent and any such sub-agent, and shall apply to their respective activities in connection with
the syndication of the credit facilities provided for herein as well as activities as Administrative
Agent. No Agent shall be responsible for the negligence or misconduct of any sub-agents
except to the extent that a court of competent jurisdiction determines in a final nonappealable
judgment that such Agent acted with gross negligence or willful misconduct in the selection of
such sub-agents.

       Section 9.6     Resignation of Administrative Agent.

                (a)      The Administrative Agent may at any time give notice of its resignation
to the Lenders, the L/C Issuers and the Parent Borrower. Upon receipt of any such notice of
resignation, the Required Lenders shall have the right, in consultation with the Parent
Borrower, to appoint a successor, which shall be a bank with an office in the United States, or
an Affiliate of any such bank with an office in the United States. If no such successor shall
have been so appointed by the Required Lenders and shall have accepted such appointment
within 30 days after the retiring Administrative Agent gives notice of its resignation (or such
earlier day as shall be agreed by the Required Lenders) (the “Resignation Effective Date”),
then the retiring Administrative Agent may (but shall not be obligated to) on behalf of the
Lenders and the L/C Issuers, appoint a successor Administrative Agent meeting the
qualifications set forth above, provided that in no event shall any such successor Administrative
Agent be a Defaulting Lender. Whether or not a successor has been appointed, such resignation
shall become effective in accordance with such notice on the Resignation Effective Date
(except that in the case of any collateral security held by the Administrative Agent on behalf
of the Lenders or the L/C Issuer under any of the Loan Documents, the retiring or removed
Administrative Agent shall continue to hold such collateral security until such time as a
successor Administrative Agent is appointed).

              (b)     If the Person serving as Administrative Agent is a Defaulting Lender
pursuant to clause (d) of the definition thereof, the Required Lenders may, to the extent
permitted by applicable law, by notice in writing to the Parent Borrower and such Person
remove such Person as Administrative Agent and, in consultation with the Parent Borrower,
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appoint a successor. If no such successor shall have been so appointed by the Required Lenders
and shall have accepted such appointment within 30 days (or such earlier day as shall be agreed
by the Required Lenders) (the “Removal Effective Date”), then such removal shall
nonetheless become effective in accordance with such notice on the Removal Effective Date
(except that in the case of any collateral security held by the Administrative Agent on behalf
of the Lenders or the L/C Issuer under any of the Loan Documents, the retiring or removed
Administrative Agent shall continue to hold such collateral security until such time as a
successor Administrative Agent is appointed).

                 (c)     With effect from the Resignation Effective Date or the Removal
Effective Date (as applicable) (1) the retiring or removed Administrative Agent shall be
discharged from its duties and obligations hereunder and under the other Loan Documents
(except that in the case of any collateral security held by the Administrative Agent on behalf
of the Lenders or the L/C Issuer under any of the Loan Documents, the retiring or removed
Administrative Agent shall continue to hold such collateral security until such time as a
successor Administrative Agent is appointed) and (2) except for any indemnity payments or
other amounts then owed to the retiring or removed Administrative Agent, all payments,
communications and determinations provided to be made by, to or through the Administrative
Agent shall instead be made by or to each Lender and the L/C Issuer directly, until such time,
if any, as the Required Lenders appoint a successor Administrative Agent as provided for
above. Upon the acceptance of a successor’s appointment as Administrative Agent hereunder,
such successor shall succeed to and become vested with all of the rights, powers, privileges
and duties of the retiring (or removed) Administrative Agent (other than as provided in
Section 3.1(g) and other than any rights to indemnity payments or other amounts owed to the
retiring or removed Administrative Agent as of the Resignation Effective Date or the Removal
Effective Date, as applicable), and the retiring or removed Administrative Agent shall be
discharged from all of its duties and obligations hereunder or under the other Loan Documents
(if not already discharged therefrom as provided above in this Section). The fees payable by
the Parent Borrower to a successor Administrative Agent shall be the same as those payable to
its predecessor unless otherwise agreed between the Parent Borrower and such successor. After
the retiring or removed Administrative Agent’s resignation or removal hereunder and under
the other Loan Documents, the provisions of this Article and Section 10.4 shall continue in
effect for the benefit of such retiring or removed Administrative Agent, its sub agents and their
respective Related Parties in respect of any actions taken or omitted to be taken by any of them
(i) while the retiring or removed Administrative Agent was acting as Administrative Agent and
(ii) after such resignation or removal for as long as any of them continues to act in any capacity
hereunder or under the other Loan Documents, including (a) acting as collateral agent or
otherwise holding any collateral security on behalf of any of the Lenders and (b) in respect of
any actions taken in connection with transferring the agency to any successor Administrative
Agent.

                 (d)    Any resignation or removal by Bank of America as Administrative
Agent pursuant to this Section shall also constitute its resignation as L/C Issuer. If Bank of
America resigns as an L/C Issuer, it shall retain all the rights, powers, privileges and duties of
the L/C Issuer hereunder with respect to all Letters of Credit outstanding as of the effective
date of its resignation as L/C Issuer and all L/C Obligations with respect thereto, including the
right to require the Lenders to make Base Rate Loans or fund risk participations in
Unreimbursed Amounts pursuant to Section 2.3(c). Upon the appointment by the Parent
Borrower of a successor L/C Issuer hereunder (which successor shall in all cases be a Lender
other than a Defaulting Lender) and the acceptance by such successor L/C Issuer of the rights,

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duties and obligations of such capacity hereunder, (a) such successor shall succeed to and
become vested with all of the rights, powers, privileges and duties of the retiring L/C Issuer,
(b) the retiring L/C Issuer shall be discharged from all of its duties and obligations hereunder
or under the other Loan Documents, and (c) the successor L/C Issuer shall issue letters of credit
in substitution for the Letters of Credit, if any, outstanding at the time of such succession or
make other arrangements satisfactory to Bank of America to effectively assume the obligations
of Bank of America with respect to such Letters of Credit.

       Section 9.7     Non-Reliance on Administrative Agent and Other Lenders. Each Lender
and each L/C Issuer acknowledges that it has, independently and without reliance upon the
Administrative Agent, any other Agent or any other Lender or any of their Related Parties and
based on such documents and information as it has deemed appropriate, made its own credit
analysis and decision to enter into this Agreement. Each Lender and each L/C Issuer also
acknowledges that it will, independently and without reliance upon the Administrative Agent,
any other Agent or any other Lender or any of their Related Parties and based on such
documents and information as it shall from time to time deem appropriate, continue to make
its own decisions in taking or not taking action under or based upon this Agreement, any other
Loan Document or any related agreement or any document furnished hereunder or thereunder.

       Section 9.8    No Other Duties, Etc. Anything herein to the contrary notwithstanding,
none of the “Bookrunners” or “Arrangers” or the Agents listed on the cover page hereof shall
have any powers, duties or responsibilities under this Agreement or any of the other Loan
Documents, except in its capacity, as applicable, as the Administrative Agent, a Lender or an
L/C Issuer hereunder.

        Section 9.9    Administrative Agent May File Proofs of Claim; Credit Bidding. In case
of the pendency of any proceeding under any Debtor Relief Law, including the Cases, or any
other judicial proceeding relative to any Loan Party, the Administrative Agent (irrespective of
whether the principal of any Loan or L/C Obligation shall then be due and payable as herein
expressed or by declaration or otherwise and irrespective of whether the Administrative Agent
shall have made any demand on the Parent Borrower) shall be entitled and empowered, by
intervention in such proceeding or otherwise.

               (a)     to file and prove a claim for the whole amount of the principal and
interest owing and unpaid in respect of the Loans, L/C Obligations and all other Obligations
that are owing and unpaid and to file such other documents as may be necessary or advisable
in order to have the claims of the Lenders, the L/C Issuers and the Administrative Agent
(including any claim for the reasonable compensation, expenses, disbursements and advances
of the Lenders, the L/C Issuers and the Administrative Agent and their respective agents and
counsel and all other amounts due the Lenders, the L/C Issuers and the Administrative Agent
under Section 2.3(i) and (j), 2.9 and 10.4) allowed in such judicial proceeding; and

               (b)    to collect and receive any monies or other property payable or
deliverable on any such claims and to distribute the same;

and any custodian, receiver, assignee, trustee, liquidator, sequestrator or other similar official
in any such judicial proceeding is hereby authorized by each Lender and each L/C Issuer to
make such payments to the Administrative Agent and, in the event that the Administrative
Agent shall consent to the making of such payments directly to the Lenders and the L/C Issuers,
to pay to the Administrative Agent any amount due for the reasonable compensation, expenses,


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disbursements and advances of the Administrative Agent and its agents and counsel, and any
other amounts due the Administrative Agent under Sections 2.9 and 10.4.

        Nothing contained herein shall be deemed to authorize the Administrative Agent to
authorize or consent to or accept or adopt on behalf of any Lender or any L/C Issuer any plan
of reorganization, arrangement, adjustment or composition affecting the Obligations or the
rights of any Lender or any L/C Issuer to authorize the Administrative Agent to vote in respect
of the claim of any Lender or any L/C Issuer or in any such proceeding.

        The Secured Parties hereby irrevocably authorize the Administrative Agent, at the
direction of the Required Lenders, to credit bid all or any portion of the Obligations (including
accepting some or all of the Collateral in satisfaction of some or all of the Obligations pursuant
to a deed in lieu of foreclosure or otherwise) and in such manner purchase (either directly or
through one or more acquisition vehicles) all or any portion of the Collateral (a) at any sale
thereof conducted under the provisions of the Bankruptcy Code, including under Sections 363,
1123 or 1129 of the Bankruptcy Code, or any similar Laws in any other jurisdictions to which
a Loan Party is subject, or (b) at any other sale or foreclosure or acceptance of collateral in lieu
of debt conducted by (or with the consent or at the direction of) the Administrative Agent
(whether by judicial action or otherwise) in accordance with any applicable Law. In connection
with any such credit bid and purchase, the Obligations owed to the Secured Parties shall be
entitled to be, and shall be, credit bid on a ratable basis (with Obligations with respect to
contingent or unliquidated claims receiving contingent interests in the acquired assets on a
ratable basis that would vest upon the liquidation of such claims in an amount proportional to
the liquidated portion of the contingent claim amount used in allocating the contingent
interests) in the asset or assets so purchased (or in the Equity Interests or debt instruments of
the acquisition vehicle or vehicles that are used to consummate such purchase). In connection
with any such bid (i) the Administrative Agent shall be authorized to form one or more
acquisition vehicles to make a bid, (ii) to adopt documents providing for the governance of the
acquisition vehicle or vehicles (provided that any actions by the Administrative Agent with
respect to such acquisition vehicle or vehicles, including any disposition of the assets or Equity
Interests thereof shall be governed, directly or indirectly, by the vote of the Required Lenders,
irrespective of the termination of this Agreement and without giving effect to the limitations
on actions by the Required Lenders contained in Section 10.1), (iii) the Administrative Agent
shall be authorized to assign the relevant Obligations to any such acquisition vehicle pro rata
by the Lenders, as a result of which each of the Lenders shall be deemed to have received a pro
rata portion of any Equity Interests and/or debt instruments issued by such an acquisition
vehicle on account of the assignment of the Obligations to be credit bid, all without the need
for any Secured Party or acquisition vehicle to take any further action, and (iv) to the extent
that Obligations that are assigned to an acquisition vehicle are not used to acquire Collateral
for any reason (as a result of another bid being higher or better, because the amount of
Obligations assigned to the acquisition vehicle exceeds the amount of debt credit bid by the
acquisition vehicle or otherwise), such Obligations shall automatically be reassigned to the
Lenders pro rata and the Equity Interests and/or debt instruments issued by any acquisition
vehicle on account of the Obligations that had been assigned to the acquisition vehicle shall
automatically be cancelled, without the need for any Secured Party or any acquisition vehicle
to take any further action.

        Section 9.10 Collateral and Guaranty Matters. Each of the Lenders (including in its
capacities as a potential Cash Management Bank and for on behalf of each of its Affiliates that
is or may be a Cash Management Bank) and each L/C Issuer irrevocably authorize the

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Administrative Agent, at its option and in its discretion, to (a) [reserved], (b) release any and
all Collateral from the Liens created by the Collateral Documents, subordinate any Lien on any
and all such Collateral and/or release any and all Guarantors (other than any Borrower) from
their respective obligations under the Guaranty at any time and from time to time in accordance
with the provisions of the Collateral Documents and (c) execute and deliver, and take any
action referred to in the Collateral Documents to evidence any such release or subordination.

        Upon request by the Administrative Agent at any time, the Required Lenders will
confirm in writing the Administrative Agent’s authority to release or subordinate its interest in
particular types or items of property, or to release any Borrower (other than PKD) or Subsidiary
Guarantor from its obligations under the Guaranty pursuant to Section 9.10. The
Administrative Agent shall not be responsible for or have a duty to ascertain or inquire into
any representation or warranty regarding the existence, value or collectability of the Collateral,
the existence, priority or perfection of the Administrative Agent’s Lien thereon, or any
certificate prepared by any Loan Party in connection therewith, nor shall the Administrative
Agent be responsible or liable to the Lenders for any failure to monitor or maintain any portion
of the Collateral. In addition, the Administrative Agent will have no obligation to conduct any
independent evaluation or appraisal of the assets or liabilities of the Parent Borrower, or any
other party, or opine or advise on any related solvency issues.

        Section 9.11 Secured Cash Management Agreements. No Cash Management Bank
that obtains the benefits of Section 8.3, the Guaranty or any Collateral by virtue of the
provisions hereof or of the Guaranty or any Collateral Document shall have any right to notice
of any action or to consent to, direct or object to any action hereunder or under any other Loan
Document or otherwise in respect of the Collateral (including the release or impairment of any
Collateral) other than in its capacity as a Lender and, in such case, only to the extent expressly
provided in the Loan Documents. Notwithstanding any other provision of this Article IX to the
contrary, the Administrative Agent shall not be required to verify the payment of, or that other
satisfactory arrangements have been made with respect to, Obligations arising under Secured
Cash Management Agreements unless the Administrative Agent has received written notice of
such Obligations, together with such supporting documentation as the Administrative Agent
may request, from the applicable Cash Management Bank.

       Section 9.12    Lender ERISA Representation.

                (a)    Each Lender (x) represents and warrants, as of the date such Person
became a Lender party hereto, to, and (y) covenants, from the date such Person became a
Lender party hereto to the date such Person ceases being a Lender party hereto, for the benefit
of, the Administrative Agent, the Arrangers and their respective Affiliates, and not, for the
avoidance of doubt, to or for the benefit of the Borrowers or any other Loan Party, that at least
one of the following is and will be true:

                     (i)     such Lender is not using “plan assets” (within the meaning of
       29 CFR § 2510.3-101, as modified by Section 3(42) of ERISA) of one or more Benefit
       Plans in connection with the Loans, the Letters of Credit or the Commitments,

                      (ii)   the transaction exemption set forth in one or more PTEs, such as
       PTE 84-14 (a class exemption for certain transactions determined by independent
       qualified professional asset managers), PTE 95-60 (a class exemption for certain
       transactions involving insurance company general accounts), PTE 90-1 (a class
       exemption for certain transactions involving insurance company pooled separate

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       accounts), PTE 91-38 (a class exemption for certain transactions involving bank
       collective investment funds) or PTE 96-23 (a class exemption for certain transactions
       determined by in-house asset managers), is applicable with respect to such Lender’s
       entrance into, participation in, administration of and performance of the Loans, the
       Letters of Credit, the Commitments and this Agreement,

                       (iii)    (A) such Lender is an investment fund managed by a “Qualified
       Professional Asset Manager” (within the meaning of Part VI of PTE 84-14), (B) such
       Qualified Professional Asset Manager made the investment decision on behalf of such
       Lender to enter into, participate in, administer and perform the Loans, the Letters of
       Credit, the Commitments and this Agreement, (C) the entrance into, participation in,
       administration of and performance of the Loans, the Letters of Credit, the Commitments
       and this Agreement satisfies the requirements of sub-sections (b) through (g) of Part I
       of PTE 84-14 and (D) to the best knowledge of such Lender, the requirements of
       subsection (a) of Part I of PTE 84-14 are satisfied with respect to such Lender’s entrance
       into, participation in, administration of and performance of the Loans, the Letters of
       Credit, the Commitments and this Agreement, or

                      (iv)   such other representation, warranty and covenant as may be
       agreed in writing between the Administrative Agent, in its sole discretion, and such
       Lender.

                (b)     In addition, unless sub-clause (i) in the immediately preceding clause (a)
is true with respect to a Lender or such Lender has not provided another representation,
warranty and covenant as provided in sub-clause (iv) in the immediately preceding clause (a),
such Lender further (x) represents and warrants, as of the date such Person became a Lender
party hereto, to, and (y) covenants, from the date such Person became a Lender party hereto to
the date such Person ceases being a Lender party hereto, for the benefit of, the Administrative
Agent and the Arrangers and their respective Affiliates, and not, for the avoidance of doubt, to
or for the benefit of the Borrowers or any other Loan Party, that:

                      (i)      none of the Administrative Agent or the Arrangers or any of their
       respective Affiliates is a fiduciary with respect to the assets of such Lender (including
       in connection with the reservation or exercise of any rights by the Administrative Agent
       under this Agreement, any Loan Document or any documents related to hereto or
       thereto),

                       (ii)   the Person making the investment decision on behalf of such
       Lender with respect to the entrance into, participation in, administration of and
       performance of the Loans, the Letters of Credit, the Commitments and this Agreement
       is independent (within the meaning of 29 CFR § 2510.3-21) and is a bank, an insurance
       carrier, an investment adviser, a broker-dealer or other person that holds, or has under
       management or control, total assets of at least $50 million, in each case as described in
       29 CFR § 2510.3-21(c)(1)(i)(A)-(E),

                       (iii)  the Person making the investment decision on behalf of such
       Lender with respect to the entrance into, participation in, administration of and
       performance of the Loans, the Letters of Credit, the Commitments and this Agreement
       is capable of evaluating investment risks independently, both in general and with regard
       to particular transactions and investment strategies (including in respect of the
       Obligations),

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                       (iv)   the Person making the investment decision on behalf of such
       Lender with respect to the entrance into, participation in, administration of and
       performance of the Loans, the Letters of Credit, the Commitments and this Agreement
       is a fiduciary under ERISA or the Code, or both, with respect to the Loans, the Letters
       of Credit, the Commitments and this Agreement and is responsible for exercising
       independent judgment in evaluating the transactions hereunder, and

                      (v)     no fee or other compensation is being paid directly to the
       Administrative Agent or the Arrangers or any their respective Affiliates for investment
       advice (as opposed to other services) in connection with the Loans, the Letters of Credit,
       the Commitments or this Agreement.

                 (c)     The Administrative Agent and the Arrangers hereby informs the
Lenders that each such Person is not undertaking to provide impartial investment advice, or to
give advice in a fiduciary capacity, in connection with the transactions contemplated hereby,
and that such Person has a financial interest in the transactions contemplated hereby in that
such Person or an Affiliate thereof (i) may receive interest or other payments with respect to
the Loans, the Letters of Credit, the Commitments and this Agreement, (ii) may recognize a
gain if it extended the Loans, the Letters of Credit or the Commitments for an amount less than
the amount being paid for an interest in the Loans, the Letters of Credit or the Commitments
by such Lender or (iii) may receive fees or other payments in connection with the transactions
contemplated hereby, the Loan Documents or otherwise, including structuring fees,
commitment fees, arrangement fees, facility fees, upfront fees, underwriting fees, ticking fees,
agency fees, administrative agent or collateral agent fees, utilization fees, minimum usage fees,
letter of credit fees, fronting fees, deal-away or alternate transaction fees, amendment fees,
processing fees, term out premiums, banker’s acceptance fees, breakage or other early
termination fees or fees similar to the foregoing.

                                        ARTICLE X
                                     MISCELLANEOUS

        Section 10.1 Amendments, Etc. Any provision of the Loan Documents may be
amended or waived if, but only if, such amendment or waiver is in writing and is signed by, (I)
in the case of this Agreement, the Parent Borrower and the Required Lenders and
acknowledged by the Administrative Agent, and (II) in the case of any other Loan Document,
each party thereto and the Administrative Agent (with the consent of the Required Lenders, or
otherwise in accordance with the express terms thereof or pursuant to any Loan Document),
and each such waiver or consent shall be effective only in the specific instance and for the
specific purpose for which given; provided, however, that no such amendment, waiver or
consent shall:

                (a)     waive any condition set forth in Section 4.1 (other than Section 4.1(b)),
or, in the case of the initial Credit Extension, Section 4.2, without the written consent of each
Lender;

                (b)     without limiting the generality of clause (a) above, waive any condition
set forth in Section 4.2 as to any Credit Extension without the written consent of the Required
Lenders;

            (c)    extend or increase the Commitment of any Lender (or reinstate any
Commitment terminated pursuant to Section 8.2) without the written consent of such Lender;

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               (d)    postpone any date fixed by this Agreement or any other Loan Document
for any payment (excluding mandatory prepayments) of principal, interest, fees or other
amounts due to the Lenders (or any of them) hereunder or under such other Loan Document
without the written consent of each Lender entitled to such payment;

                (e)     reduce or forgive the principal of, or the rate of interest specified herein
on, any Loan or L/C Borrowing, or (subject to clause (iii) of the third proviso to this
Section 10.1 regarding the Fee Letter) any fees or other amounts payable hereunder or under
any other Loan Document without the written consent of each Lender directly affected thereby;
provided, however, that only the consent of the Required Lenders shall be necessary to amend
the definition of “Default Rate” or to waive any obligation of the Parent Borrower to pay
interest or Letter of Credit Fees at the Default Rate even if the effect of such amendment would
be to reduce the interest rate on any Loan or L/C Borrowing or to reduce any fee payable
hereunder;

               (f)     change the definition of “Applicable Percentage”, Section 2.12(a),
Section 2.12(f), Section 2.13 or Section 8.3 in a manner that would alter the pro rata sharing of
payments required thereby without the written consent of each Lender affected thereby;

               (g)     amend Section 1.6 or the definition of “Alternative Currency” without
the written consent of each L/C Issuer;

               (h)    change (i) any provision of this Section 10.1 or the definition of
“Required Lenders” or any other provision hereof specifying the number or percentage of
Lenders required to amend, waive or otherwise modify any rights hereunder, without the
written consent of each Lender;

                (i)    release all or substantially all of the Collateral in any transaction or
series of related transactions, without the written consent of each Lender (except any such
release in accordance with a transaction permitted under the Loan Documents);

              (j)     release all or substantially all of the value of the Guaranty without the
written consent of each Lender (except any such release in accordance with a transaction
permitted under the Loan Documents); or

               (k)   amend the penultimate paragraph of Section 9.9 without the written
consent of each Lender;

and, provided further, that (i) no amendment, waiver or consent shall, unless in writing and
signed by each L/C Issuer in addition to the Lenders required above, affect the rights or duties
of the L/C Issuers under this Agreement or any Issuer Document relating to any Letter of Credit
issued or to be issued by it (and, notwithstanding anything to the contrary contained herein,
any term of any Issuer Document may be amended, waived or otherwise modified with only
the consent of only the applicable L/C Issuer and the Parent Borrower); (ii) no amendment,
waiver or consent shall, unless in writing and signed by the Administrative Agent in addition
to the Lenders required above, affect the rights or duties of the Administrative Agent under this
Agreement or any other Loan Document and (iii) the Fee Letter may be amended, or rights or
privileges thereunder waived, in a writing executed only by the parties thereto.
Notwithstanding anything to the contrary herein, no Defaulting Lender shall have any right to
approve or disapprove any amendment, waiver or consent hereunder, except that (x) the
Commitment of such Lender may not be increased or extended, nor the principal owed to such

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Lender reduced or the final maturity thereof extended, without the consent of such Lender and
(y) any waiver, amendment or modification requiring the consent of all Lenders or each
affected Lender that by its terms affects any Defaulting Lender more adversely than other
affected Lenders shall require the consent of such Defaulting Lender.

        If any Lender does not consent to a proposed amendment, waiver, consent or release
with respect to any Loan Document that requires the consent of each Lender and that has been
approved by the Required Lenders (a “Non-Consenting Lender”), the Parent Borrower may
replace such Non-Consenting Lender in accordance with Section 10.13; provided that such
amendment, waiver, consent or release can be effected as a result of the assignment
contemplated by such Section (together with all other such assignments required by the Parent
Borrower to be made pursuant to this paragraph).

       Section 10.2    Notices; Effectiveness; Electronic Communication.

               (a)    Notices Generally. Except in the case of notices and other
communications expressly permitted to be given by telephone (and except as provided in
subsection (b) below), all notices and other communications provided for herein shall be in
writing and shall be delivered by hand or overnight courier service, mailed by certified or
registered mail or sent by telecopier as follows, and all notices and other communications
expressly permitted hereunder to be given by telephone shall be made to the applicable
telephone number, as follows:

                     (i)    if to the Parent Borrower, the Administrative Agent, or Bank of
       America as an L/C Issuer, to the address, telecopier number, electronic mail address or
       telephone number specified for such Person on Schedule 10.2; and

                      (ii)  if to any other Lender or L/C Issuer, to the address, telecopier
       number, electronic mail address or telephone number specified in its Administrative
       Questionnaire.

Notices and other communications sent by hand or overnight courier service, or mailed by
certified or registered mail, shall be deemed to have been given when received; notices and
other communications sent by telecopier shall be deemed to have been given when sent (except
that, if not given during normal business hours for the recipient, shall be deemed to have been
given at the opening of business on the next Business Day for the recipient). Notices and other
communications delivered through electronic communications to the extent provided in
subsection (b) below, shall be effective as provided in such subsection (b).

                (b)    Electronic Communications. Notices and other communications to the
Lenders and the L/C Issuers hereunder may be delivered or furnished by electronic
communication (including e-mail, FpML messaging and Internet or intranet websites) pursuant
to procedures approved by the Administrative Agent, provided that the foregoing shall not
apply to notices to any Lender or any L/C Issuer pursuant to Article II if such Lender or such
L/C Issuer, as applicable, has notified the Administrative Agent that it is incapable of receiving
notices under such Article by electronic communication. The Administrative Agent, any L/C
Issuer or the Parent Borrower may, in its discretion, agree to accept notices and other
communications to it hereunder by electronic communications pursuant to procedures
approved by it, provided that approval of such procedures may be limited to particular notices
or communications.


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         Unless the Administrative Agent otherwise prescribes, (i) notices and other
communications sent to an e-mail address shall be deemed received upon the sender’s receipt
of an acknowledgement from the intended recipient (such as by the “return receipt requested”
function, as available, return e-mail or other written acknowledgement), provided that if such
notice or other communication is not sent during the normal business hours of the recipient,
such notice or communication shall be deemed to have been sent at the opening of business on
the next business day for the recipient, and (ii) notices or communications posted to an Internet
or intranet website shall be deemed received upon the deemed receipt by the intended recipient
at its e-mail address as described in the foregoing clause (i) of notification that such notice or
communication is available and identifying the website address therefor.

                 (c)    The Platform. THE PLATFORM IS PROVIDED “AS IS” AND “AS
AVAILABLE.” THE AGENT PARTIES (AS DEFINED BELOW) DO NOT WARRANT
THE ACCURACY OR COMPLETENESS OF THE BORROWER MATERIALS OR THE
ADEQUACY OF THE PLATFORM, AND EXPRESSLY DISCLAIM LIABILITY FOR
ERRORS IN OR OMISSIONS FROM THE BORROWER MATERIALS. NO WARRANTY
OF ANY KIND, EXPRESS, IMPLIED OR STATUTORY, INCLUDING ANY WARRANTY
OF MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE, NON-
INFRINGEMENT OF THIRD PARTY RIGHTS OR FREEDOM FROM VIRUSES OR
OTHER CODE DEFECTS, IS MADE BY ANY AGENT PARTY IN CONNECTION WITH
THE BORROWER MATERIALS OR THE PLATFORM. In no event shall the Administrative
Agent or any of its Related Parties (collectively, the “Agent Parties”) have any liability to the
Parent Borrower, any Lender, any L/C Issuer or any other Person for losses, claims, damages,
liabilities or expenses of any kind (whether in tort, contract or otherwise) arising out of the
Parent Borrower’s or the Administrative Agent’s transmission of Borrower Materials or notices
through the Platform, any other electronic platform or electronic messaging service, or through
the Internet, except to the extent that such losses, claims, damages, liabilities or expenses are
determined by a court of competent jurisdiction by a final and nonappealable judgment to have
resulted from the gross negligence or willful misconduct of such Agent Party; provided,
however, that in no event shall any Agent Party have any liability to the Parent Borrower, any
Lender, any L/C Issuer or any other Person for indirect, special, incidental, consequential or
punitive damages (as opposed to direct or actual damages).

                (d)    Change of Address, Etc. Each of the Parent Borrower, the
Administrative Agent and Bank of America as an L/C Issuer may change its address (including
its address for electronic communications), telecopier or telephone number for notices and
other communications hereunder by notice to the other parties hereto. Each other Lender or
L/C Issuer may change its address (including its address for electronic communications),
telecopier or telephone number for notices and other communications hereunder by notice to
the Parent Borrower, the Administrative Agent and the other L/C Issuers. In addition, each
Lender and each L/C Issuer (other than Bank of America) agrees to notify the Administrative
Agent from time to time to ensure that the Administrative Agent has on record (i) an effective
address, contact name, telephone number, telecopier number and electronic mail address to
which notices and other communications may be sent and (ii) accurate wire instructions for
such Lender. Furthermore, each Public Lender agrees to cause at least one individual at or on
behalf of such Public Lender to at all times have selected the “Private Side Information” or
similar designation on the content declaration screen of the Platform in order to enable such
Public Lender or its delegate, in accordance with such Public Lender’s compliance procedures
and applicable Law, including United States Federal and state securities Laws, to make
reference to Borrower Materials that are not made available through the “Public Side

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Information” portion of the Platform and that may contain material non-public information
with respect to PKD or its securities for purposes of United States Federal or state securities
laws.

               (e)      Reliance by Administrative Agent, L/C Issuers and Lenders. The
Administrative Agent, the L/C Issuers and the Lenders shall be entitled to rely and act upon
any notices (including telephonic or electronic notices, Committed Loan Notices or Letter of
Credit Applications) purportedly given by or on behalf of the Parent Borrower even if (i) such
notices were not made in a manner specified herein, were incomplete or were not preceded or
followed by any other form of notice specified herein, or (ii) the terms thereof, as understood
by the recipient, varied from any confirmation thereof. The Parent Borrower shall indemnify
the Administrative Agent, each L/C Issuer, each Lender and the Related Parties of each of them
from all losses, costs, expenses and liabilities resulting from the reliance by such Person on
each notice purportedly given by or on behalf of the Parent Borrower. All telephonic notices
to and other telephonic communications with the Administrative Agent may be recorded by
the Administrative Agent, and each of the parties hereto hereby consents to such recording.

        Section 10.3 No Waiver; Cumulative Remedies; Enforcement. No failure by any
Lender, any L/C Issuer or the Administrative Agent to exercise, and no delay by any such
Person in exercising, any right, remedy, power or privilege hereunder or under any other Loan
Document shall operate as a waiver thereof; nor shall any single or partial exercise of any right,
remedy, power or privilege hereunder preclude any other or further exercise thereof or the
exercise of any other right, remedy, power or privilege. The rights, remedies, powers and
privileges herein provided, and provided under each other Loan Document, are cumulative and
not exclusive of any rights, remedies, powers and privileges provided by law.

        Notwithstanding anything to the contrary contained herein or in any other Loan
Document, the authority to enforce rights and remedies hereunder and under the other Loan
Documents against the Loan Parties or any of them shall be vested exclusively in, and all
actions and proceedings at law in connection with such enforcement shall be instituted and
maintained exclusively by, the Administrative Agent in accordance with Section 8.2 for the
benefit of all the Secured Parties; provided, however, that the foregoing shall not prohibit
(a) the Administrative Agent from exercising on its own behalf the rights and remedies that
inure to its benefit (solely in its capacity as Administrative Agent) hereunder and under the
other Loan Documents, (b) each L/C Issuer from exercising the rights and remedies that inure
to its benefit (solely in its capacity as an L/C Issuer) hereunder and under the other Loan
Documents, (c) any Lender from exercising setoff rights in accordance with Section 10.8
(subject to the terms of Section 2.13), or (d) any Lender from filing proofs of claim or
appearing and filing pleadings on its own behalf during the pendency of a proceeding relative
to any Loan Party under any Debtor Relief Law; and provided, further, that if at any time there
is no Person acting as Administrative Agent hereunder and under the other Loan Documents,
then (i) the Required Lenders shall have the rights otherwise ascribed to the Administrative
Agent pursuant to Section 8.2 and (ii) in addition to the matters set forth in clauses (b), (c) and
(d) of the preceding proviso and subject to Section 2.13, any Lender may, with the consent of
the Required Lenders, enforce any rights and remedies available to it and as authorized by the
Required Lenders.

       Section 10.4    Expenses; Indemnity; Damage Waiver.

             (a)    Costs and Expenses. The Borrowers shall pay (i) all reasonable and
documented out-of-pocket expenses incurred by the Administrative Agent, the Arranger and

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their Affiliates (but limited in the case of legal fees to the reasonable and documented out-of-
pocket fees, charges and disbursements of one primary counsel for the Administrative Agent,
each L/C Issuer and each Lender, taken as a whole) in connection with the preparation,
negotiation, execution, delivery and administration of this Agreement and the other Loan
Documents or any amendments, modifications or waivers of the provisions hereof or thereof
(whether or not the transactions contemplated hereby or thereby shall be consummated), (ii) all
reasonable and documented out-of-pocket expenses incurred by each L/C Issuer in connection
with the issuance, amendment, renewal or extension of any Letter of Credit or any demand for
payment thereunder and (iii) all reasonable and documented out-of-pocket expenses incurred
by the Administrative Agent, the Arranger, any Lender or any L/C Issuer (but limited in the
case of legal fees to the fees, charges and disbursements of one primary counsel for the
Administrative Agent, the Arranger, each Lender and each L/C Issuer, taken as a whole and, if
necessary, of regulatory counsel and one local counsel in any relevant jurisdiction to such
persons, taken as a whole), in connection with the enforcement or protection of its rights (A) in
connection with this Agreement and the other Loan Documents, including its rights under this
Section, or (B) in connection with Loans made or Letters of Credit issued hereunder, including
all such reasonable and documented out-of-pocket expenses incurred during any workout,
restructuring or negotiations in respect of such Loans or Letters of Credit. Without limiting the
foregoing, the Parent Borrower agrees to pay all costs, fees and expenses contemplated by
Section 6.12.

                 (b)      Indemnification by the Borrowers. The Borrowers shall indemnify the
Administrative Agent (and any sub-agent thereof), each other Agent, the Arranger, each Lender
and each L/C Issuer, and each Related Party of any of the foregoing Persons (each such Person
being called an “Indemnitee”) against, and hold each Indemnitee harmless from, any and all
losses, claims, damages, liabilities and related expenses (including the reasonable fees, charges
and disbursements of any counsel for any Indemnitee), and shall indemnify and hold harmless
each Indemnitee from all fees and time charges and disbursements for attorneys who may be
employees of any Indemnitee, incurred by any Indemnitee or asserted against any Indemnitee
by any third party or by the Borrowers or any other Loan Party arising out of, in connection
with, or as a result of (i) the execution or delivery of this Agreement, any other Loan Document
or any agreement or instrument contemplated hereby or thereby, the performance by the parties
hereto of their respective obligations hereunder or thereunder, or the consummation of the
transactions contemplated hereby or thereby, or, in the case of the Administrative Agent (and
any sub-agent thereof) and its Related Parties only, the administration of this Agreement and
the other Loan Documents (including in respect of any matters addressed in Section 3.1),
(ii) any Loan or Letter of Credit or the use or proposed use of the proceeds therefrom (including
any refusal by any L/C Issuer to honor a demand for payment under a Letter of Credit if the
documents presented in connection with such demand do not strictly comply with the terms of
such Letter of Credit), (iii) any actual or alleged presence or release of Hazardous Materials on
or from any property owned or operated by any Borrower or any of its Subsidiaries, or any
Environmental Liability related in any way to any Borrower or any of its Subsidiaries, or
(iv) any actual or prospective claim, litigation, investigation or proceeding relating to any of
the foregoing, whether based on contract, tort or any other theory, whether brought by a third
party or by the Parent Borrower or any other Loan Party or any of the Parent Borrower’s or
such Loan Party’s directors, shareholders or creditors, and regardless of whether any
Indemnitee is a party thereto, IN ALL CASES, WHETHER OR NOT CAUSED BY OR
ARISING, IN WHOLE OR IN PART, OUT OF THE COMPARATIVE,
CONTRIBUTORY OR SOLE NEGLIGENCE OF THE INDEMNITEE; provided that
such indemnity shall not, as to any Indemnitee, be available to the extent that such losses,

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claims, damages, liabilities or related expenses (x) are determined by a court of competent
jurisdiction by final and nonappealable judgment to have resulted from the gross negligence or
willful misconduct of such Indemnitee or (y) result from a claim brought by the Parent
Borrower or any other Loan Party against an Indemnitee for breach in bad faith of such
Indemnitee’s obligations hereunder or under any other Loan Document, if the Parent Borrower
or such other Loan Party has obtained a final and nonappealable judgment in its favor on such
claim as determined by a court of competent jurisdiction. This Section 10.4(b) shall not apply
with respect to Taxes other than any Taxes that represent losses, claims, damages, liabilities or
related expenses arising from any non-Tax claim.

                 (c)    Reimbursement by Lenders. To the extent that any Borrower for any
reason fails to indefeasibly pay any amount required under subsection (a) or (b) of this Section
to be paid by it to the Administrative Agent (or any sub-agent thereof), each other Agent, any
L/C Issuer or any Related Party of any of the foregoing (and without limiting any Borrower’s
obligation to do so), each Lender severally agrees to pay to the Administrative Agent (or any
such sub-agent), such other Agent, such L/C Issuer or such Related Party, as the case may be,
such Lender’s Applicable Percentage (determined as of the time that the applicable
unreimbursed expense or indemnity payment is sought) of such unpaid amount, provided that
the unreimbursed expense or indemnified loss, claim, damage, liability or related expense, as
the case may be, was incurred by or asserted against the Administrative Agent (or any such
sub-agent), any other Agent or any L/C Issuer in its capacity as such, or against any Related
Party of any of the foregoing acting for the Administrative Agent (or any such sub-agent), any
other Agent or any L/C Issuer in connection with such capacity; and provided further that the
obligation to indemnify the L/C Issuers hereunder shall be limited solely to the Lenders. The
obligations of the Lenders under this subsection (c) are subject to the provisions of
Section 2.12(d).

               (d)     Waiver of Consequential Damages, Etc. To the fullest extent permitted
by applicable law, no Borrower shall assert, and hereby waives, any claim against any
Indemnitee, on any theory of liability, for special, indirect, consequential or punitive damages
(as opposed to direct or actual damages) arising out of, in connection with, or as a result of,
this Agreement, any other Loan Document or any agreement or instrument contemplated
hereby, the transactions contemplated hereby or thereby, any Loan or Letter of Credit or the
use of the proceeds thereof. No Indemnitee referred to in subsection (b) above shall be liable
for any damages arising from the use by unintended recipients of any information or other
materials distributed to such unintended recipients by such Indemnitee through
telecommunications, electronic or other information transmission systems in connection with
this Agreement or the other Loan Documents or the transactions contemplated hereby or
thereby other than for direct or actual damages resulting from the gross negligence or willful
misconduct of such Indemnitee as determined by a final and nonappealable judgment of a court
of competent jurisdiction.

                (e)     Payments. All amounts due under this Section shall be payable not later
than thirty days after written demand therefor (or such later time as the applicable payee shall
agree to in writing in its sole discretion).

              (f)    Survival. The agreements in this Section shall survive the resignation of
the Administrative Agent and each L/C Issuer, the replacement of any Lender, the termination
of the Aggregate Commitments and the repayment, satisfaction or discharge of all the other
Obligations.


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         Section 10.5 Payments Set Aside. To the extent that any payment by or on behalf of
any Borrower is made to the Administrative Agent, any L/C Issuer or any Lender, or the
Administrative Agent, any L/C Issuer or any Lender exercises its right of setoff, and such
payment or the proceeds of such setoff or any part thereof is subsequently invalidated, declared
to be fraudulent or preferential, set aside or required (including pursuant to any settlement
entered into by the Administrative Agent, such L/C Issuer or such Lender in its discretion) to
be repaid to a trustee, receiver or any other party, in connection with any proceeding under any
Debtor Relief Law or otherwise, then (a) to the extent of such recovery, the obligation or part
thereof originally intended to be satisfied shall be revived and continued in full force and effect
as if such payment had not been made or such setoff had not occurred, and (b) each Lender and
each L/C Issuer severally agrees to pay to the Administrative Agent upon demand its applicable
share (without duplication) of any amount so recovered from or repaid by the Administrative
Agent, plus interest thereon from the date of such demand to the date such payment is made at
a rate per annum equal to the Federal Funds Rate from time to time in effect, in the applicable
currency of such recovery or payment. The obligations of the Lenders and the L/C Issuers under
clause (b) of the preceding sentence shall survive the payment in full of the Obligations and
the termination of this Agreement.

       Section 10.6    Successors and Assigns.

                (a)      Successors and Assigns Generally. The provisions of this Agreement
shall be binding upon and inure to the benefit of the parties hereto and their respective
successors and assigns permitted hereby, except that no Borrower may assign or otherwise
transfer any of its rights or obligations hereunder without the prior written consent of the
Administrative Agent and each Lender and no Lender may assign or otherwise transfer any of
its rights or obligations hereunder except (i) to an assignee in accordance with the provisions
of subsection (b) of this Section, (ii) by way of participation in accordance with the provisions
of subsection (d) of this Section or (iii) by way of pledge or assignment of a security interest
subject to the restrictions of subsection (f) of this Section (and any other attempted assignment
or transfer by any party hereto shall be null and void). Nothing in this Agreement, expressed
or implied, shall be construed to confer upon any Person (other than the parties hereto, their
respective successors and assigns permitted hereby, Participants to the extent provided in
subsection (d) of this Section and, to the extent expressly contemplated hereby, the Related
Parties of each of the Administrative Agent, the L/C Issuers and the Lenders) any legal or
equitable right, remedy or claim under or by reason of this Agreement.

                (b)     Assignments by Lenders. Any Lender may at any time assign to one or
more assignees all or a portion of its rights and obligations under this Agreement (including all
or a portion of its Commitment and the Loans (including for purposes of this subsection (b),
participations in L/C Obligations) at the time owing to it); provided that any such assignment
shall be subject to the following conditions:

                       (i)     Minimum Amounts.

                                (A)     in the case of an assignment of the entire remaining
               amount of the assigning Lender’s Commitment and the Loans at the time owing
               to it or in the case of an assignment to a Lender, an Affiliate of a Lender or an
               Approved Fund, no minimum amount need be assigned; and

                             (B)    in any case not described in subsection (b)(i)(A) of this
               Section, the aggregate amount of the Commitment (which for this purpose

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            includes Loans outstanding thereunder) or, if the Commitment is not then in
            effect, the principal outstanding balance of the Loans of the assigning Lender
            subject to each such assignment, determined as of the date the Assignment and
            Assumption with respect to such assignment is delivered to the Administrative
            Agent or, if “Trade Date” is specified in the Assignment and Assumption, as of
            the Trade Date, shall not be less than $5,000,000, unless each of the
            Administrative Agent and, so long as no Event of Default has occurred and is
            continuing, the Parent Borrower otherwise consents (each such consent not to
            be unreasonably withheld or delayed); provided, however, that concurrent
            assignments to members of an Assignee Group and concurrent assignments
            from members of an Assignee Group to a single Eligible Assignee (or to an
            Eligible Assignee and members of its Assignee Group) will be treated as a single
            assignment for purposes of determining whether such minimum amount has
            been met.

                   (ii)    Proportionate Amounts. Each partial assignment shall be made
     as an assignment of a proportionate part of all the assigning Lender’s rights and
     obligations under this Agreement with respect to the Loans or the Commitment
     assigned;

                   (iii)   Required Consents. No consent shall be required for any
     assignment except to the extent required by subsection (b)(i)(B) of this Section and, in
     addition:

                           (A)    the consent of the Parent Borrower (such consent not to
            be unreasonably withheld or delayed) shall be required unless (1) an Event of
            Default has occurred and is continuing at the time of such assignment or
            (2) such assignment is to a Lender, an Affiliate of a Lender or an Approved
            Fund; provided that the Parent Borrower shall be deemed to have consented to
            any such assignment unless it shall object thereto by written notice to the
            Administrative Agent within 10 Business Days after having received notice
            thereof;

                           (B)    the consent of the Administrative Agent (such consent
            not to be unreasonably withheld or delayed) shall be required for assignments
            in respect of any Commitment if such assignment is to a Person that is not a
            Lender with a Commitment, an Affiliate of such Lender or an Approved Fund
            with respect to such Lender; and

                           (C)     the consent of each L/C Issuer (such consent not to be
            unreasonably withheld or delayed) shall be required for any assignment that
            increases the obligation of the assignee to participate in exposure under one or
            more Letters of Credit (whether or not then outstanding).

                    (iv)    Assignment and Assumption. The parties to each assignment
     shall execute and deliver to the Administrative Agent an Assignment and Assumption,
     together with a processing and recordation fee in the amount of $3,500; provided,
     however, that the Administrative Agent may, in its sole discretion, elect to waive such
     processing and recordation fee in the case of any assignment. The assignee, if it is not
     a Lender, shall deliver to the Administrative Agent an Administrative Questionnaire.


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                        (v)    No Assignment to Parent Borrower or Defaulting Lender. No
        such assignment shall be made to the Parent Borrower or any of the Parent Borrower’s
        Affiliates or Subsidiaries or to any Defaulting Lender or any of a Defaulting Lender’s
        Affiliates or Subsidiaries.

                      (vi)   No Assignment to Natural Persons. No such assignment shall be
        made to a natural person (or a holding company, investment vehicle or trust for, or
        owned and operated for the primary benefit of a natural person).

        Subject to acceptance and recording thereof by the Administrative Agent pursuant to
subsection (c) of this Section, from and after the effective date specified in each Assignment
and Assumption, the assignee thereunder shall be a party to this Agreement and, to the extent
of the interest assigned by such Assignment and Assumption, have the rights and obligations
of a Lender under this Agreement, and the assigning Lender thereunder shall, to the extent of
the interest assigned by such Assignment and Assumption, be released from its obligations
under this Agreement (and, in the case of an Assignment and Assumption covering all of the
assigning Lender’s rights and obligations under this Agreement, such Lender shall cease to be
a party hereto) but shall continue to be entitled to the benefits of Sections 3.1, 3.4, 3.5, and 10.4
with respect to facts and circumstances occurring prior to the effective date of such assignment.
Upon request, each Borrower (at its expense) shall execute and deliver a Note to the assignee
Lender. Any assignment or transfer by a Lender of rights or obligations under this Agreement
that does not comply with this subsection shall be treated for purposes of this Agreement as a
sale by such Lender of a participation in such rights and obligations in accordance with
subsection (d) of this Section.

                 (c)    Register. The Administrative Agent, acting solely for this purpose as an
agent of the Borrowers, shall maintain at the Administrative Agent’s Office a copy (or the
equivalent thereof in electronic form) of each Assignment and Assumption delivered to it and
a register for the recordation of the names and addresses of the Lenders, and the Commitments
of, and principal amounts (and stated interest) of the Loans and L/C Obligations owing to, each
Lender pursuant to the terms hereof from time to time (the “Register”). The entries in the
Register shall be conclusive absent manifest error, and the Borrowers, the Administrative
Agent and the Lenders shall treat each Person whose name is recorded in the Register pursuant
to the terms hereof as a Lender hereunder for all purposes of this Agreement, notwithstanding
notice to the contrary. The Register shall be available for inspection by the Parent Borrower
and any Lender, at any reasonable time and from time to time upon reasonable prior notice.

               (d)      Participations. Any Lender may at any time, without the consent of, or
notice to, any Borrower or the Administrative Agent, sell participations to any Person (other
than a natural person, or a holding company, investment vehicle or trust for, or owned and
operated for the primary benefit of a natural person, or the Parent Borrower or any of the Parent
Borrower’s Affiliates or Subsidiaries or to any Defaulting Lender or any of a Defaulting
Lender’s Affiliates or Subsidiaries) (each, a “Participant”) in all or a portion of such Lender’s
rights and/or obligations under this Agreement (including all or a portion of its Commitment
and/or the Loans (including such Lender’s participations in L/C Obligations) owing to it);
provided that (i) such Lender’s obligations under this Agreement shall remain unchanged,
(ii) such Lender shall remain solely responsible to the other parties hereto for the performance
of such obligations and (iii) the Borrowers, the Administrative Agent, the Lenders and the L/C
Issuers shall continue to deal solely and directly with such Lender in connection with such
Lender’s rights and obligations under this Agreement. Any agreement or instrument pursuant
to which a Lender sells such a participation shall provide that such Lender shall retain the sole
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right to enforce this Agreement and to approve any amendment, modification or waiver of any
provision of this Agreement; provided that such agreement or instrument may provide that such
Lender will not, without the consent of the Participant, agree to any amendment, waiver or
other modification described in the first proviso to Section 10.1 that affects such Participant.
Subject to subsection (e) of this Section, the Parent Borrower agrees that each Participant shall
be entitled to the benefits of Sections 3.1 (subject to the requirements and limitations therein,
including the requirements under Section 3.1(e) (it being understood that the documentation
required under Section 3.1(e) shall be delivered to the participating Lender)), 3.4 and 3.5 to the
same extent as if it were a Lender and had acquired its interest by assignment pursuant to
subsection (b) of this Section. To the extent permitted by Law, each Participant also shall be
entitled to the benefits of Section 10.8 as though it were a Lender, provided such Participant
agrees to be subject to Section 2.13 as though it were a Lender. Each Lender that sells a
participation shall, acting solely for this purpose as a nonfiduciary agent of the Parent
Borrower, maintain a register on which it enters the name and address of each Participant and
the principal amounts (and stated interest) of each Participant’s interest in the Loans or other
obligations under the Loan Documents (the “Participant Register”); provided that no Lender
shall have any obligation to disclose all or any portion of the Participant Register to any Person
(including the identity of any Participant or any information relating to a Participant’s interest
in any commitments, loans, letters of credit or its other obligations under any Loan Document)
except to the extent that such disclosure is necessary to establish that such commitment, loan,
letter of credit or other obligation is in registered form under Section 5f.103-1(c) of the United
States Treasury Regulations. The entries in the Participant Register shall be conclusive absent
manifest error, and such Lender shall treat each Person whose name is recorded in the
Participant Register as the owner of such participation for all purposes of this Agreement
notwithstanding any notice to the contrary.

                (e)     Limitations upon Participant Rights. A Participant shall not be entitled
to receive any greater payment under Section 3.1 or 3.4 than the applicable Lender would have
been entitled to receive with respect to the participation sold to such Participant, unless the sale
of the participation to such Participant is made with the Parent Borrower’s prior written
consent.

                 (f)     Certain Pledges. Any Lender may at any time pledge or assign a security
interest in all or any portion of its rights under this Agreement (including under its Note, if any)
to secure obligations of such Lender, including any pledge or assignment to secure obligations
to a Federal Reserve Bank or other central bank having jurisdiction over such Lender; provided
that no such pledge or assignment shall release such Lender from any of its obligations
hereunder or substitute any such pledgee or assignee for such Lender as a party hereto.

                 (g)     Resignation as L/C Issuer after Assignment. Notwithstanding anything
to the contrary contained herein, if at any time Bank of America acting as an L/C Issuer or
other Lender that has issued a then-outstanding Letter of Credit assigns all of its Commitment
and Loans pursuant to subsection (b) above, Bank of America or such other Lender, as
applicable, may, (i) upon 30 days’ notice to the Parent Borrower and the Lenders, resign as an
L/C Issuer. In the event of any such resignation as L/C Issuer, the Parent Borrower shall be
entitled to appoint from among the Lenders a successor L/C Issuer hereunder; provided,
however, that no failure by the Parent Borrower to appoint any such successor shall affect the
resignation of Bank of America or such other assigning Lender as L/C Issuer, as the case may
be. If Bank of America or such other assigning Lender resigns as an L/C Issuer, it shall retain
all the rights, powers, privileges and duties of an L/C Issuer hereunder with respect to all Letters

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of Credit outstanding as of the effective date of its resignation as an L/C Issuer and all L/C
Obligations with respect thereto (including the right to require the Lenders to make Base Rate
Loans or fund risk participations in Unreimbursed Amounts pursuant to Section 2.3(c)). Upon
the appointment of a successor L/C Issuer, (a) such successor shall succeed to and become
vested with all of the rights, powers, privileges and duties of the retiring L/C Issuer, and (b) the
successor L/C Issuer shall issue letters of credit in substitution for the Letters of Credit, if any,
outstanding at the time of such succession or make other arrangements satisfactory to Bank of
America or such other retiring L/C Issuer, as the case may be, to effectively assume the
obligations of Bank of America or such other retiring L/C Issuer, as the case may be, with
respect to such Letters of Credit.

         Section 10.7 Treatment of Certain Information; Confidentiality. Each of the
Administrative Agent, the other Agents, the Lenders and the L/C Issuers agrees to maintain the
confidentiality of the Information (as defined below), except that Information may be disclosed
(a) to its Affiliates and to its and its Affiliates’ respective partners, directors, officers,
employees, agents, trustees, advisors, independent auditors, legal counsel and representatives
(it being understood that the Persons to whom such disclosure is made will be informed of the
confidential nature of such Information and instructed to keep such Information confidential),
(b) to the extent requested by any regulatory authority purporting to have jurisdiction over it or
its Related Parties (including any self-regulatory authority, such as the National Association of
Insurance Commissioners), (c) to the extent required by applicable laws or regulations or by
any subpoena or similar legal or administrative process, (d) to any other party hereto, (e) in
connection with the exercise of any remedies hereunder or under any other Loan Document or
any action or proceeding relating to this Agreement or any other Loan Document or the
enforcement of rights hereunder or thereunder, (f) subject to an agreement containing
provisions substantially the same as those of this Section, to (i) any assignee of or Participant
in, or any prospective assignee of or Participant in, any of its rights or obligations under this
Agreement or (ii) any actual or prospective counterparty (or its advisors) to any swap or
derivative transaction relating to any of the Borrowers or their obligations hereunder, (g) with
the consent of the Parent Borrower, (h) for purposes of establishing a “due diligence” defense
or (i) to the extent such Information (x) becomes publicly available other than as a result of a
breach of this Section, (y) becomes available to the Administrative Agent, any other Agent,
any Lender, any L/C Issuer or any of their respective Affiliates (and the successors and assigns
of the foregoing) on a nonconfidential basis from a source other than the Parent Borrower or
(z) is independently developed by the Administrative Agent, any other Agent, any Lender, any
L/C Issuer or any of their respective Affiliates (and the successors and assigns of the foregoing).
In addition, the Administrative Agent and the Lenders may disclose the existence of this
Agreement and information about this Agreement to market data collectors, similar service
providers to the lending industry and service providers to the Agents and the Lenders in
connection with the administration of this Agreement, the other Loan Documents, and the
Commitments.

        For purposes of this Section, “Information” means all information received from any
Loan Party or any Subsidiary thereof relating to any Loan Party or any Subsidiary thereof or
any of their respective businesses, other than any such information that is available to the
Administrative Agent, any other Agent, any Lender or any L/C Issuer on a nonconfidential
basis prior to disclosure by any Loan Party or any Subsidiary thereof, provided that, in the case
of information received from a Loan Party or any such Subsidiary after the date hereof, such
information is clearly identified at the time of delivery as confidential. Any Person required to
maintain the confidentiality of Information as provided in this Section shall be considered to

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have complied with its obligation to do so if such Person has exercised the same degree of care
to maintain the confidentiality of such Information as such Person would accord to its own
confidential information.

       Each of the Administrative Agent, the other Agents, the Lenders and the L/C Issuers
acknowledges that (a) the Information may include material non-public information concerning
the Parent Borrower or a Subsidiary, as the case may be, (b) it has developed compliance
procedures regarding the use of material non-public information and (c) it will handle such
material non-public information in accordance with applicable Law, including United States
Federal and state securities Laws.

         Section 10.8 Right of Setoff. If an Event of Default shall have occurred and be
continuing, each Lender, each L/C Issuer and each of their respective Affiliates is hereby
authorized at any time and from time to time, to the fullest extent permitted by applicable law,
to set off and apply any and all deposits (general or special, time or demand, provisional or
final, in whatever currency) at any time held and other obligations (in whatever currency) at
any time owing by such Lender, such L/C Issuer or any such Affiliate to or for the credit or the
account of the Parent Borrower or any other Loan Party against any and all of the obligations
of the Parent Borrower or any other Loan Party now or hereafter existing under this Agreement
or any other Loan Document to such Lender or such L/C Issuer, irrespective of whether or not
such Lender or such L/C Issuer shall have made any demand under this Agreement or any other
Loan Document and although such obligations of the Parent Borrower or such Loan Party may
be contingent or unmatured or are owed to a branch or office of such Lender or such L/C Issuer
different from the branch or office holding such deposit or obligated on such indebtedness;
provided, that (x) in the event that any Defaulting Lender shall exercise any such right of setoff
hereunder, (i) all amounts so set off shall be paid over immediately to the Administrative Agent
for further application in accordance with the provisions of Section 2.16 and, pending such
payment, shall be segregated by such Defaulting Lender from its other funds and deemed held
in trust for the benefit of the Administrative Agent, the L/C Issuer and the Lenders, and (ii) the
Defaulting Lender shall provide promptly to the Administrative Agent a statement describing
in reasonable detail the Obligations owing to such Defaulting Lender as to which it exercised
such right of setoff and (y) no Lender, L/C Issuer or any such Affiliate shall set off against a
Dominion Account without the Administrative Agent’s prior consent. The rights of each
Lender, such L/C Issuer and their respective Affiliates under this Section are in addition to
other rights and remedies (including other rights of setoff) that such Lender, such L/C Issuer
or their respective Affiliates may have. Each Lender and each L/C Issuer agrees to notify the
Parent Borrower and the Administrative Agent promptly after any such setoff and application,
provided that the failure to give such notice shall not affect the validity of such setoff and
application.

        Section 10.9 Interest Rate Limitation. Notwithstanding anything to the contrary
contained in any Loan Document, the interest paid or agreed to be paid under the Loan
Documents shall not exceed the maximum rate of non-usurious interest permitted by applicable
Law (the “Maximum Rate”). If the Administrative Agent or any Lender shall receive interest
in an amount that exceeds the Maximum Rate, the excess interest shall be applied to the
principal of the Loans or, if it exceeds such unpaid principal, refunded to the Parent Borrower.
In determining whether the interest contracted for, charged, or received by the Administrative
Agent or a Lender exceeds the Maximum Rate, such Person may, to the extent permitted by
applicable Law, (a) characterize any payment that is not principal as an expense, fee, or
premium rather than interest, (b) exclude voluntary prepayments and the effects thereof, and

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(c) amortize, prorate, allocate, and spread in equal or unequal parts the total amount of interest
throughout the contemplated term of the Obligations hereunder.

        Section 10.10 Counterparts; Integration; Effectiveness. This Agreement may be
executed in counterparts (and by different parties hereto in different counterparts), each of
which shall constitute an original, but all of which when taken together shall constitute a single
contract. This Agreement and the other Loan Documents constitute the entire contract among
the parties relating to the subject matter hereof and supersede any and all previous agreements
and understandings, oral or written, relating to the subject matter hereof. Except as provided in
Section 4.1, this Agreement shall become effective when it shall have been executed by the
Administrative Agent and when the Administrative Agent shall have received counterparts
hereof that, when taken together, bear the signatures of each of the other parties hereto.
Delivery of an executed counterpart of a signature page of this Agreement by telecopy or other
electronic imaging means (e.g., “.pdf” or “.tiff”) shall be effective as delivery of a manually
executed counterpart of this Agreement.

        Section 10.11 Survival of Representations and Warranties. All representations and
warranties made hereunder and in any other Loan Document or other document delivered
pursuant hereto or thereto or in connection herewith or therewith shall survive the execution
and delivery hereof and thereof. Such representations and warranties have been or will be relied
upon by the Administrative Agent and each Lender, regardless of any investigation made by
the Administrative Agent or any Lender or on their behalf and notwithstanding that the
Administrative Agent or any Lender may have had notice or knowledge of any Default at the
time of any Credit Extension, and shall continue in full force and effect until the Termination
Date.

        Section 10.12 Severability. If any provision of this Agreement or the other Loan
Documents is held to be illegal, invalid or unenforceable, (a) the legality, validity and
enforceability of the remaining provisions of this Agreement and the other Loan Documents
shall not be affected or impaired thereby and (b) the parties shall endeavor in good faith
negotiations to replace the illegal, invalid or unenforceable provisions with valid provisions
the economic effect of which comes as close as possible to that of the illegal, invalid or
unenforceable provisions. The invalidity of a provision in a particular jurisdiction shall not
invalidate or render unenforceable such provision in any other jurisdiction.

         Section 10.13 Replacement of Lenders. If any Lender requests compensation under
Section 3.4, or if the Parent Borrower is required to pay any additional amount to any Lender
or any Governmental Authority for the account of any Lender pursuant to Section 3.1, and in
each case, such Lender has declined or is unable to designate a different Lending Office in
accordance with Section 3.6(a), if any Lender is a Non-Consenting Lender or a Defaulting
Lender, or if any other circumstance exists hereunder that gives the Parent Borrower the right
to replace a Lender as a party hereto, then the Parent Borrower may, at its sole expense and
effort, upon notice to such Lender and the Administrative Agent, require such Lender to assign
and delegate, without recourse (in accordance with and subject to the restrictions contained in,
and consents required by, Section 10.6), all of its interests, rights and obligations under this
Agreement and the related Loan Documents to an assignee that shall assume such obligations
(which assignee may be another Lender, if a Lender accepts such assignment), provided that:

              (a)     the Parent Borrower shall have paid (or caused another Borrower to pay)
to the Administrative Agent the assignment fee specified in Section 10.6(b);


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               (b)     such Lender shall have received payment of an amount equal to the
outstanding principal of its Loans and L/C Advances, accrued interest thereon, accrued fees
and all other amounts payable to it hereunder and under the other Loan Documents (including
any amounts under Section 3.5) from the assignee (to the extent of such outstanding principal
and accrued interest and fees) or the Parent Borrower or applicable other Borrower (in the case
of all other amounts);

              (c)      in the case of any such assignment resulting from a claim for
compensation under Section 3.4 or payments required to be made pursuant to Section 3.1, such
assignment will result in a reduction in such compensation or payments thereafter;

               (d)    such assignment does not conflict with applicable Laws; and

              (e)     in connection with any such replacement, if any such Non-Consenting
Lender or Defaulting Lender does not execute and deliver to the Administrative Agent a duly
executed Assignment and Assumption reflecting such replacement within five (5) Business
Days of the date on which the assignee Lender executes and delivers such Assignment and
Assumption to such Non-Consenting Lender or Defaulting Lender, then such Non-Consenting
Lender or Defaulting Lender shall be deemed to have executed and delivered such Assignment
and Assumption without any action on the part of the Non-Consenting Lender or Defaulting
Lender.

        A Lender shall not be required to make any such assignment or delegation if, prior
thereto, as a result of a waiver by such Lender or otherwise, the circumstances entitling the
Parent Borrower to require such assignment and delegation cease to apply.

       Section 10.14 Governing Law; Jurisdiction; Etc.

          (a)  GOVERNING LAW. THIS AGREEMENT SHALL BE GOVERNED
BY, AND CONSTRUED IN ACCORDANCE WITH, THE LAW OF THE STATE OF NEW
YORK AND (TO THE EXTENT APPLICABLE) THE BANKRUPTCY CODE.

            (b)  SUBMISSION TO JURISDICTION. EACH LOAN PARTY
IRREVOCABLY AND UNCONDITIONALLY AGREES THAT IT WILL NOT
COMMENCE ANY ACTION, LITIGATION OR PROCEEDING OF ANY KIND OR
DESCRIPTION, WHETHER IN LAW OR EQUITY, WHETHER IN CONTRACT OR IN
TORT OR OTHERWISE, AGAINST THE ADMINISTRATIVE AGENT, ANY LENDER,
THE L/C ISSUER, OR ANY RELATED PARTY OF THE FOREGOING IN ANY WAY
RELATING TO THIS AGREEMENT OR ANY OTHER LOAN DOCUMENT OR THE
TRANSACTIONS RELATING HERETO OR THERETO, IN ANY FORUM OTHER THAN
THE BANKRUPTCY COURT AND, IF THE BANKRUPTCY COURT DOES NOT HAVE
(OR ABSTAINS FROM) JURISDICTION, THE COURTS OF THE STATE OF NEW YORK
SITTING IN NEW YORK COUNTY AND OF THE UNITED STATES DISTRICT COURT
OF THE SOUTHERN DISTRICT OF NEW YORK, AND ANY APPELLATE COURT
FROM ANY THEREOF, AND EACH OF THE PARTIES HERETO IRREVOCABLY AND
UNCONDITIONALLY SUBMITS TO THE JURISDICTION OF SUCH COURTS AND
AGREES THAT ALL CLAIMS IN RESPECT OF ANY SUCH ACTION, LITIGATION OR
PROCEEDING SHALL BE HEARD AND DETERMINED IN SUCH NEW YORK STATE
COURT OR, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW, IN
SUCH FEDERAL COURT. EACH OF THE PARTIES HERETO AGREES THAT A FINAL
JUDGMENT IN ANY SUCH ACTION, LITIGATION OR PROCEEDING SHALL BE

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CONCLUSIVE AND MAY BE ENFORCED IN OTHER JURISDICTIONS BY SUIT ON
THE JUDGMENT OR IN ANY OTHER MANNER PROVIDED BY LAW. NOTHING IN
THIS AGREEMENT OR IN ANY OTHER LOAN DOCUMENT SHALL AFFECT ANY
RIGHT THAT THE ADMINISTRATIVE AGENT, ANY LENDER OR ANY L/C ISSUER
MAY OTHERWISE HAVE TO BRING ANY ACTION OR PROCEEDING RELATING TO
THIS AGREEMENT OR ANY OTHER LOAN DOCUMENT AGAINST ANY LOAN
PARTY OR ITS PROPERTIES IN THE COURTS OF ANY JURISDICTION.

          (c)   WAIVER OF VENUE. EACH PARTY HERETO IRREVOCABLY
AND UNCONDITIONALLY WAIVES, TO THE FULLEST EXTENT PERMITTED BY
APPLICABLE LAW, ANY OBJECTION THAT IT MAY NOW OR HEREAFTER HAVE
TO THE LAYING OF VENUE OF ANY ACTION OR PROCEEDING ARISING OUT OF
OR RELATING TO THIS AGREEMENT OR ANY OTHER LOAN DOCUMENT IN ANY
COURT REFERRED TO IN PARAGRAPH (b) OF THIS SECTION. EACH OF THE
PARTIES HERETO HEREBY IRREVOCABLY WAIVES, TO THE FULLEST EXTENT
PERMITTED BY APPLICABLE LAW, THE DEFENSE OF AN INCONVENIENT FORUM
TO THE MAINTENANCE OF SUCH ACTION OR PROCEEDING IN ANY SUCH
COURT.

           (d)    SERVICE OF PROCESS. EACH PARTY HERETO IRREVOCABLY
CONSENTS TO SERVICE OF PROCESS IN THE MANNER PROVIDED FOR NOTICES
IN SECTION 10.2. NOTHING IN THIS AGREEMENT WILL AFFECT THE RIGHT OF
ANY PARTY HERETO TO SERVE PROCESS IN ANY OTHER MANNER PERMITTED
BY APPLICABLE LAW.

      Section 10.15 Waiver of Jury Trial. EACH PARTY HERETO HEREBY
IRREVOCABLY WAIVES, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE
LAW, ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY IN ANY LEGAL
PROCEEDING DIRECTLY OR INDIRECTLY ARISING OUT OF OR RELATING TO
THIS AGREEMENT OR ANY OTHER LOAN DOCUMENT OR THE TRANSACTIONS
CONTEMPLATED HEREBY OR THEREBY (WHETHER BASED ON CONTRACT,
TORT OR ANY OTHER THEORY). EACH PARTY HERETO (A) CERTIFIES THAT NO
REPRESENTATIVE, AGENT OR ATTORNEY OF ANY OTHER PERSON HAS
REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PERSON
WOULD NOT, IN THE EVENT OF LITIGATION, SEEK TO ENFORCE THE
FOREGOING WAIVER AND (B) ACKNOWLEDGES THAT IT AND THE OTHER
PARTIES HERETO HAVE BEEN INDUCED TO ENTER INTO THIS AGREEMENT AND
THE OTHER LOAN DOCUMENTS BY, AMONG OTHER THINGS, THE MUTUAL
WAIVERS AND CERTIFICATIONS IN THIS SECTION.

        Section 10.16 No Advisory or Fiduciary Responsibility. In connection with all aspects
of each transaction contemplated hereby (including in connection with any amendment, waiver
or other modification hereof or of any other Loan Document), each Loan Party acknowledges
and agrees, and acknowledges its Affiliates’ understanding, that: (i) (A) the arranging and other
services regarding this Agreement provided by the Administrative Agent and the Arranger are
arm’s-length commercial transactions between such Loan Party and its Affiliates, on the one
hand, and the Administrative Agent and the Arranger, on the other hand, (B) each Loan Party
has consulted its own legal, accounting, regulatory and tax advisors to the extent it has deemed
appropriate, and (C) each Loan Party is capable of evaluating, and understands and accepts, the
terms, risks and conditions of the transactions contemplated hereby and by the other Loan
Documents; (ii) (A) the Administrative Agent and each of the Arrangers is and has been acting
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solely as a principal and, except as expressly agreed in writing by the relevant parties, has not
been, is not, and will not be acting as an advisor, agent or fiduciary for such Loan Party or any
of its Affiliates, or any other Person and (B) neither the Administrative Agent nor the Arranger
has any obligation to any Loan Party or any of its Affiliates with respect to the transactions
contemplated hereby except those obligations expressly set forth herein and in the other Loan
Documents; and (iii) the Administrative Agent and the Arrangers and their respective Affiliates
may be engaged in a broad range of transactions that involve interests that differ from those of
the Loan Parties and their Affiliates, and neither the Administrative Agent nor any Arranger
has any obligation to disclose any of such interests to any Loan Party or its Affiliates. To the
fullest extent permitted by law, each Loan Party hereby waives and releases any claims that it
may have against the Administrative Agent and the Arrangers with respect to any breach or
alleged breach of agency or fiduciary duty in connection with any aspect of any transaction
contemplated hereby.

        Section 10.17 Electronic Execution of Assignments and Certain Other Documents.
The words “execution,” “signed,” “signature,” and words of like import in or related to any
document to be signed in connection with this Agreement and the transactions contemplated
hereby (including without limitation any Assignment and Assumption, any amendment or other
modification hereof (including waivers and consents), amendments or other modifications,
Committed Loan Notices, or Letter of Credit Applications) shall be deemed to include
electronic signatures or the keeping of records in electronic form, each of which shall be of the
same legal effect, validity or enforceability as a manually executed signature, physical delivery
thereof or the use of a paper-based recordkeeping system, as the case may be, to the extent and
as provided for in any applicable law, including the Federal Electronic Signatures in Global
and National Commerce Act, the New York State Electronic Signatures and Records Act, or
any other similar state laws based on the Uniform Electronic Transactions Act; provided that
notwithstanding anything contained herein to the contrary neither the Administrative Agent,
the L/C Issuer nor any Lender is under any obligation to agree to accept electronic signatures
in any form or in any format unless expressly agreed to by the Administrative Agent, the L/C
Issuer or such Lender pursuant to procedures approved by it and provided further without
limiting the foregoing, upon the request of any party, any electronic signature shall be promptly
followed by such manually executed counterpart.

        Section 10.18 USA PATRIOT Act. Each Lender that is subject to the Act (as
hereinafter defined) and the Administrative Agent (for itself and not on behalf of any Lender)
hereby notifies the Parent Borrower and each other Loan Party that pursuant to the
requirements of the USA PATRIOT Act (Title III of Pub. L. 107-56 (signed into law
October 26, 2001)) (the “Act”), it is required to obtain, verify and record information that
identifies the Parent Borrower and each other Loan Party, which information includes the name
and address of each Loan Party and other information that will allow such Lender or the
Administrative Agent, as applicable, to identify each Loan Party in accordance with the Act.
The Parent Borrower shall, promptly following a request by the Administrative Agent or any
Lender, provide all documentation and other information that the Administrative Agent or such
Lender requests in order to comply with its ongoing obligations under applicable “know your
customer” and anti-money laundering rules and regulations, including the Act and the
Beneficial Ownership Regulation.

        Section 10.19 Judgment Currency. If, for the purposes of obtaining judgment in any
court, it is necessary to convert a sum due hereunder or any other Loan Document in one
currency into another currency, the rate of exchange used shall be that at which in accordance

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with normal banking procedures the Administrative Agent could purchase the first currency
with such other currency on the Business Day preceding that on which final judgment is given.
The obligation of the Parent Borrower in respect of any such sum due from it to the
Administrative Agent or any Lender hereunder or under the other Loan Documents shall,
notwithstanding any judgment in a currency (the “Judgment Currency”) other than that in
which such sum is denominated in accordance with the applicable provisions of this Agreement
(the “Agreement Currency”), be discharged only to the extent that on the Business Day
following receipt by the Administrative Agent or such Lender, as the case may be, of any sum
adjudged to be so due in the Judgment Currency, the Administrative Agent or such Lender, as
the case may be, may in accordance with normal banking procedures purchase the Agreement
Currency with the Judgment Currency. If the amount of the Agreement Currency so purchased
is less than the sum originally due to the Administrative Agent or any Lender from the Parent
Borrower in the Agreement Currency, the Parent Borrower agrees, as a separate obligation and
notwithstanding any such judgment, to indemnify the Administrative Agent or such Lender, as
the case may be, against such loss. If the amount of the Agreement Currency so purchased is
greater than the sum originally due to the Administrative Agent or any Lender in such currency,
the Administrative Agent or such Lender, as the case may be, agrees to return the amount of
any excess to the Parent Borrower (or to any other Person who may be entitled thereto under
applicable law).

     Section 10.20 ENTIRE AGREEMENT. THIS AGREEMENT AND THE OTHER
LOAN DOCUMENTS REPRESENT THE FINAL AGREEMENT AMONG THE
PARTIES AND MAY NOT BE CONTRADICTED BY EVIDENCE OF PRIOR,
CONTEMPORANEOUS, OR SUBSEQUENT ORAL AGREEMENTS OF THE
PARTIES. THERE ARE NO UNWRITTEN ORAL AGREEMENTS AMONG THE
PARTIES.

       Section 10.21 Acknowledgment and Consent to Bail-In of EEA Financial Institutions.
Notwithstanding anything to the contrary in any Loan Document or in any other agreement,
arrangement or understanding among any such parties, each party hereto acknowledges that
any liability of any Lender that is an EEA Financial Institution arising under any Loan
Document, to the extent such liability is unsecured, may be subject to the write-down and
conversion powers of an EEA Resolution Authority and agrees and consents to, and
acknowledges and agrees to be bound by:

              (a)      the application of any Write-Down and Conversion Powers by an EEA
Resolution Authority to any such liabilities arising hereunder which may be payable to it by
any Lender that is an EEA Financial Institution; and

               (b)    the effects of any Bail-In Action on any such liability, including, if
applicable:

                      (i)     a reduction in full or in part or cancellation of any such liability;

                       (ii)    a conversion of all, or a portion of, such liability into shares or
       other instruments of ownership in such EEA Financial Institution, its parent
       undertaking, or a bridge institution that may be issued to it or otherwise conferred on
       it, and that such shares or other instruments of ownership will be accepted by it in lieu
       of any rights with respect to any such liability under this Agreement or any other Loan
       Document; or


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                       (iii)  the variation of the terms of such liability in connection with the
       exercise of the write-down and conversion powers of any EEA Resolution Authority.

                                      ARTICLE XI
                                THE PARENT BORROWER

        Section 11.1 Appointment; Nature of Relationship. PKD is hereby appointed by each
of the Borrowers as its contractual representative (herein referred to as the “Parent
Borrower”) hereunder and under each other Loan Document, and each Borrower irrevocably
authorizes the Parent Borrower to act as the contractual representative of such Borrower with
the rights and duties expressly set forth herein and in the other Loan Documents. The Parent
Borrower agrees to act as such contractual representative upon the express conditions contained
in this Article XI. Additionally, each Borrower hereby appoints the Parent Borrower as its
agent to receive all of the proceeds of the Loans, at which time the Parent Borrower shall
promptly disburse such Loans to the appropriate Borrower. The Administrative Agent and the
Lenders, and their respective officers, directors, agents or employees, shall not be liable to the
Parent Borrower or any Borrower for any action taken or omitted to be taken by the Parent
Borrower or any Borrower pursuant to this Section 11.1. For the avoidance of doubt, each Loan
Party hereby appoints the Parent Borrower to act as its agent for all purposes of this Agreement,
the other Loan Documents and all other documents and electronic platforms entered into in
connection herewith and agrees that (a) the Parent Borrower may execute such documents and
provide such authorizations on behalf of such Loan Party as the Parent Borrower deems
appropriate in its sole discretion and each Loan Party shall be obligated by all of the terms of
any such document and/or authorization executed on its behalf, (b) any notice or
communication delivered by the Administrative Agent, L/C Issuer or a Lender to the Parent
Borrower shall be deemed delivered to each Loan Party and (c) the Administrative Agent, L/C
Issuer or the Lenders may accept, and be permitted to rely on, any document, authorization,
instrument or agreement executed by the Parent Borrower on behalf of each of the Loan Parties.

       Section 11.2 Powers. The Parent Borrower shall have and may exercise such powers
under the Loan Documents as are specifically delegated to the Parent Borrower by the terms
of each thereof, together with such powers as are reasonably incidental thereto. The Parent
Borrower shall have no implied duties to any Borrower, or any obligation to the Lenders to
take any action thereunder except any action specifically provided by the Loan Documents to
be taken by the Parent Borrower.

        Section 11.3 Employment of Agents. The Parent Borrower may execute any of its
duties as the Parent Borrower hereunder and under any other Loan Document by or through
authorized officers.

        Section 11.4 No Successor Parent Borrower. The Parent Borrower may not resign
from its capacity as Parent Borrower under this Agreement.

       Section 11.5 Execution of Loan Documents. Each Borrower hereby empowers and
authorizes the Parent Borrower, on its behalf, to execute and deliver to the Administrative
Agent and the Lenders the Loan Documents and all related agreements, certificates, notices,
consents, documents or instruments as shall be necessary or appropriate to effect the purposes
of the Loan Documents, including, without limitation, the Compliance Certificates. Each
Borrower agrees that any action taken by the Parent Borrower or any other Borrower in
accordance with the terms of this Agreement or the other Loan Documents, and the exercise


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by the Parent Borrower of its powers set forth therein or herein, together with such other powers
that are reasonably incidental thereto, shall be binding upon all of the Borrowers.

                          (Signature pages begin on following page)




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       IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly
executed as of the date first above written.

                                        BORROWERS:


                                        PARKER DRILLING COMPANY



                                        By:    _________________________________
                                        Name: Michael W. Sumruld
                                        Title: Senior Vice President and
                                               Chief Financial Officer



                                        PARKER DRILLING ARCTIC OPERATING,
                                        LLC



                                        By:    _________________________________
                                        Name: David W. Tucker
                                        Title: Vice President and Treasurer



                                        PARKER DRILLING OFFSHORE USA, L.L.C.



                                        By:    ____________________________________
                                        Name: David W. Tucker
                                        Title: Vice President and Treasurer



                                        QUAIL TOOLS L.P.



                                        By: Quail USA, LLC, its General Partner


                                        By:    _________________________________
                                        Name: David W. Tucker
                                        Title: Vice President and Treasurer



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                                  BANK OF AMERICA, N.A.,
                                  as Administrative Agent


                                  By:    ____________________________________
                                  Name: Terrance O. McKinney
                                  Title: Senior Vice President




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                                  BANK OF AMERICA, N.A.,
                                  as a Lender and an L/C Issuer


                                  By:    ____________________________________
                                  Name: Terrance O. McKinney
                                  Title: Senior Vice President




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                                  DEUTSCHE BANK AG NEW YORK
                                  BRANCH,
                                  as a Lender and an L/C Issuer


                                  By:    ____________________________________
                                  Name:
                                  Title:




                                  By:    ____________________________________
                                  Name:
                                  Title:




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                          Acknowledged and Agreed:

                          ANACHORETA, INC.
                          PARDRIL, INC.
                          PARKER AVIATION INC.
                          PARKER DRILLING COMPANY NORTH AMERICA,
                          INC.
                          PARKER DRILLING COMPANY OF NIGER
                          PARKER DRILLING COMPANY OF OKLAHOMA,
                          INCORPORATED
                          PARKER DRILLING COMPANY OF SOUTH
                          AMERICA, INC.
                          PARKER DRILLING MANAGEMENT SERVICES,
                          LTD.
                          PARKER DRILLING OFFSHORE COMPANY, LLC
                          PARKER NORTH AMERICA OPERATIONS, LLC
                          PARKER TECHNOLOGY, INC.
                          PARKER TECHNOLOGY, L.L.C.
                          PARKER TOOLS, LLC
                          QUAIL USA, LLC
                          2M-TEK, INC.
                          PARKER-VSE, LLC


                          By:    __________________________________________
                          Name: David W. Tucker
                          Title: Vice President and Treasurer




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                             EXHIBIT 2

                             BUDGET
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Project Drake
Debtors' DIP Budget

USD 000s                                                 Forecast Forecast Forecast Forecast Forecast Forecast Forecast Forecast Forecast Forecast Forecast Forecast Forecast
                                                           Wk-1     Wk-2     Wk-3     Wk-4     Wk-5     Wk-6     Wk-7     Wk-8     Wk-9    Wk-10    Wk-11    Wk-12    Wk-13
Week Ending (Friday)-->                                   14-Dec   21-Dec   28-Dec   4-Jan    11-Jan   18-Jan   25-Jan   1-Feb    8-Feb    15-Feb   22-Feb   1-Mar    8-Mar
BEGINNING BOOK CASH (DEBTORS)                            $ 15,720 $ 23,099 $ 20,788 $ 20,307 $ 16,930 $ 21,357 $ 24,944 $ 24,630 $ 21,080 $ 26,016 $ 24,033 $ 24,160 $ 22,055
RECEIPTS
 GOM / Alaska                                                 482      482       482       575       575        575      575       575       710       710       710        710       825
 Quail                                                      4,248    4,248     4,248     2,982     2,982      2,982    2,982     2,982     3,549     3,549     3,549      3,549     4,180
 International Drilling                                         -        -         -         -     4,832          -        -         -     4,938         -         -      4,206         -
Total Receipts                                              4,730    4,730     4,730     3,557     8,389      3,557    3,557     3,557     9,198     4,259     4,259      8,466     5,005
OPERATING DISBURSEMENTS
 Global Procurement                                          (756)     (971)     (919)   (1,528)     (973)     (914)     (884)     (884)     (884)     (884)     (884)      (884)     (884)
 GOM / Alaska Op Ex                                          (364)     (364)     (364)     (287)     (287)     (287)     (287)     (287)     (275)     (275)     (275)      (275)     (389)
 Quail Op Ex                                               (3,200)     (800)   (1,300)   (1,040)   (1,040)   (1,040)     (540)   (1,040)   (1,300)   (1,300)     (800)    (1,300)   (1,300)
 Payroll and Benefits                                        (213)   (2,452)     (765)   (2,536)     (791)   (2,513)     (791)   (2,536)     (791)   (2,513)     (791)    (2,536)     (791)
 Cap Ex                                                      (787)     (794)     (800)     (373)     (379)     (384)     (389)     (392)     (492)     (497)     (501)      (505)     (526)
 Taxes                                                         (9)     (951)     (273)       (0)       (9)        -      (640)      (14)       (9)        -      (500)        (0)       (9)
 Corporate G&A                                               (436)     (709)     (790)   (1,139)     (482)     (757)     (339)   (1,356)     (511)     (774)     (381)    (1,345)     (518)
Total Disbursements                                        (5,764)   (7,040)   (5,211)   (6,904)   (3,962)   (5,895)   (3,871)   (6,509)   (4,261)   (6,243)   (4,133)    (6,845)   (4,417)
OPERATING CASH FLOW                                        (1,034)   (2,311)    (481)    (3,347)   4,427     (2,338)    (314)    (2,952)   4,936     (1,983)     127      1,621       588
  Debtor Professionals                                          -         -         -         -         -    (2,765)        -        -          -         -         -     (2,784)        -
  Other Professionals                                           -         -         -         -         -    (1,310)        -        -          -         -         -       (855)        -
  UST Fees                                                      -         -         -         -         -         -         -     (525)         -         -         -          -         -
  Interest & Bank Fees Paid Pre-Petition                     (488)        -         -         -         -         -         -        -          -         -         -          -         -
  Interest & Bank Fees Paid Post-Petition1.                (1,100)        -         -       (30)        -         -         -      (74)         -         -         -        (86)        -
TOTAL DISBURSEMENTS                                        (7,351)   (7,040)   (5,211)   (6,934)   (3,962)   (9,970)   (3,871)   (7,108)   (4,261)   (6,243)   (4,133)   (10,570)   (4,417)
  DIP Draw / (Paydown)                                     10,000         -         -         -         -    10,000         -         -         -         -         -          -         -
NET CASH FLOW                                               7,378    (2,311)    (481)    (3,377)   4,427      3,587     (314)    (3,551)   4,936     (1,983)     127      (2,104)     588
(+ / -) Voids / Reversals / Other                               -        -        -        -        -        -        -        -        -        -        -        -        -
ENDING BOOK CASH                                         $ 23,099 $ 20,788 $ 20,307 $ 16,930 $ 21,357 $ 24,944 $ 24,630 $ 21,080 $ 26,016 $ 24,033 $ 24,160 $ 22,055 $ 22,644
 Less: Restricted Cash                                     (10,029) (10,029) (10,029) (10,029) (10,029) (10,029) (10,029) (10,029) (10,029) (10,029) (10,029) (10,029) (10,029)
ENDING UNRESTRICTED BOOK CASH                            $ 13,070 $ 10,759 $ 10,278 $ 6,901 $ 11,328 $ 14,915 $ 14,601 $ 11,051 $ 15,987 $ 14,004 $ 14,131 $ 12,026 $ 12,615
ENDING DIP BALANCE                                       $ 10,000 $ 10,000 $ 10,000 $ 10,000 $ 10,000 $ 20,000 $ 20,000 $ 20,000 $ 20,000 $ 20,000 $ 20,000 $ 20,000 $ 20,000
Ending Availability                                        40,000   40,000   40,000   40,000   40,000   30,000   30,000   30,000   30,000   30,000   30,000   30,000   30,000
TOTAL LIQUIDITY                                          $ 53,070 $ 50,759 $ 50,278 $ 46,901 $ 51,328 $ 44,915 $ 44,601 $ 41,051 $ 45,987 $ 44,004 $ 44,131 $ 42,026 $ 42,615

1. Bank fees not to exceed these budgeted amounts.
